Case 3:19-cv-00764-X Document 155 Filed 09/17/19      Page 1 of 204 PageID 4297


                       UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION


VEROBLUE FARMS USA INC.,                §
   Plaintiff                            §
                                        §
 v.                                     §
                                        §
LESLIE A. WULF, BRUCE A. HALL, JAMES    §
REA, JOHN REA, and KEITH DRIVER,        §
   Defendants/Third Party Plaintiffs,   §       CIVIL ACTION NO. 3:19-CV-00764-L
                                        §
 v.                                     §
                                        §
EVA EBSTEIN, JENS HAARKOETTER, BJORN    §
THELANDER, ANDERS WESTER, NORMAN        §
MCCOWAN, DR. OTTO HAPPEL and ALDER      §
AQUA, LTD.                              §
  Third-Party Defendants                §




   DEFENDANTS/THIRD-PARTY PLAINTIFFS’ RESPONSE AND BRIEF IN
OPPOSITION TO THIRD-PARTY DEFENDANT BJORN THELANDER’S MOTION
                 TO DISMISS THIRD-PARTY CLAIMS




                                            i
 Case 3:19-cv-00764-X Document 155 Filed 09/17/19                                                          Page 2 of 204 PageID 4298


                                                        TABLE OF CONTENTS

TABLE OF AUTHORITIES ...................................................................................................... iv
FACTUAL BACKGROUND ....................................................................................................... 1
ARGUMENT ................................................................................................................................. 3
   I. The Court Maintains Personal Jurisdiction over Thelander Based on Years of
   Activities Directed Toward VBF’s Operations in Texas. (FRCP 12(b)(2)) ......................... 4
      A. Thelander Purposefully Directed Activities at VBF’s Offices, Personnel, and
      Operations in this District. .................................................................................................... 6
         1) July 6, 2016 – Unanimous Written Consent of the Board of Directors and the Sole
         Shareholder of VBF IP, Inc. (Exhibit A-7)........................................................................................ 6
         2) July 7, 2016 – VeroBlue Farms, USA Inc. Series A Preferred Stock Purchase Agreement
         (Exhibit A-1)...................................................................................................................................... 7
         3) August 3, 2016 – Amended and Restated Certificate of Formation of VBF IP, Inc. (Exhibit A-
         8)….................................................................................................................................................... 7
         4)     August 3, 2016 – Restated Articles of Incorporation of Iowa’s First, Inc. (Exhibit A-9). ........ 8
         5) September 20-21, 2016 – Minutes of the Meeting of the Board of Directors of VeroBlue
         Farms USA, Inc. (Exhibit A-10). ....................................................................................................... 8
         6) December 6, 2016 – Iowa’s First Inc.’s Application for Authority to Transact Business in
         Illinois (Exhibit A-11). ...................................................................................................................... 8
         7) October 24, 2017 - Minutes of the Meeting of the Board of Directors of VeroBlue Farms
         USA, Inc. (Exhibit A-12). .................................................................................................................. 9
         8)     October 27, 2017 – Hall and T. Rea Termination Agreements (Exhibits A-4, A-5). ................ 9
         9) November 6, 2017 – E-mail Correspondence between Ebstein, Thelander, and Wester
         (Exhibit A-6).................................................................................................................................... 10
         10) November 9, 2017 – November 22, 2018 – E-mail Correspondence between Wulf and
         Thelander (Exhibit A-14). ............................................................................................................... 11
         11) December 1, 2017 – Wulf Termination Agreement (Exhibit A-3). .......................................... 11
      B. Founders’ Claims “Arise out of or Relate To” The Thelander's Activities With the
      Northern District of Texas. ................................................................................................. 12
      C. The Northern District of Texas Exercising Jurisdiction Would Not be
      Unreasonable........................................................................................................................ 13
   II. Founders Have Alleged Adequate Facts to State a Claim for Tortious Interference
   Against Thelander. (FRCP 12(b)(6)) ..................................................................................... 14
      A. Thelander Was Acting for His Personal Self Interest, and not as Agent for VBF, in
      Encouraging VBF to Breach its Contracts with Founders. ............................................. 14
      D. Thelander Cannot Assert VBF’s “Justification” in Breaching its Contacts with
      Founders as a Basis for Dismissal ...................................................................................... 16

                                                                              ii
 Case 3:19-cv-00764-X Document 155 Filed 09/17/19                                                        Page 3 of 204 PageID 4299


         1. The Releases in the Termination Agreements Act as a Bar to VBF’s Claims against T. Rea
         and Hall .......................................................................................................................................... 16
         2. Whether Egregious Cause Existed Under the Employment Agreement Justifying VBF’s
         Termination of James Rea is A Question of Fact ............................................................................ 18
      E. VBF’s Confirmation Plan Explicitly Carved Out Founders’ Claims against
      Thelander and the Third-Party Defendants from Release and Discharge..................... 18
      F. Thelander Actively Participated in VBF’s Breach of Founders’ Contracts ........... 21
   III. Founders’ Damages and Prayer for Attorneys’ Fees are Well Plead ......................... 22
CONCLUSION ........................................................................................................................... 26




                                                                            iii
 Case 3:19-cv-00764-X Document 155 Filed 09/17/19                                                  Page 4 of 204 PageID 4300


                                                  TABLE OF AUTHORITIES

Cases

AFTG–TG, LLC v. Nuvoton Tech. Corp.,
   689 F.3d 1358 (Fed. Cir. 2012) ............................................................................................... 3, 5
Akro Corp. v. Luker,
   45 F.3d 1541 (Fed. Cir. 1995) ..................................................................................................... 4
Alma Group, LLC v. Palmer,
   143 S.W.3d 840 (Tex. App. 2004) ............................................................................................ 24
Autogenomics, Inc. v. Oxford Gene Tech. Ltd.,
   566 F.3d 1012 (Fed. Cir. 2009) ............................................................................................... 4, 5
Bell Atlantic Corp v. Twombly,
   550 U.S. 540 (2007) .................................................................................................................... 3
Conley v. Gibson,
   335 U.S. 41 (1957) ...................................................................................................................... 3
Cypress Engine Access., LLC v. HDMS Ltd. Co,
   283 F. Supp. 3d 580 (S.D. Tex. 2017) ................................................................................ 16, 17
Daimler AG v. Bauman,
   ––U.S.–––, 134 S. Ct. 746 (2014) ............................................................................................... 5
Ed Rachel Foundation v. D’Unger,
   117 S.W.3d 348 (Tex.App. Corpus Christi,2003)............................................................... 24, 25
Elecs. for Imaging,
   340 F.3d 1344 (Fed. Cir. 2003) ........................................................................................... 3, 4, 5
Ganske v. WRS Group, Inc.,
   Cause No. 10-06-00050-CV, 2007 WL 1147357 (Tex. App. – Waco April 18, 2007, no pet.)
   ....................................................................................................................................... 17, 20, 23
Grober v. Mako Prods., Inc.,
   686 F.3d 1335 (Fed. Cir. 2012) ............................................................................................... 4, 5
Hanson v. Denckla,
   357 U.S. 235 (1958) .................................................................................................................... 4
Holloway v. Skinner,
   898 S.W.2d 793 (Tex. 1995) ..................................................................................................... 14
In re Chinese-Manufactured Drywall Products Liab. Litig.,
   753 F.3d 521 (5th Cir. 2014) ............................................................................................... 12, 13
Int'l Shoe Co. v. Washington,
   326 U.S. 310 (1945) ................................................................................................................ 4, 5
ITL Int’l, Inc. v. Constenla, S.A.,
   669 F.3d 493 (5th Cir. 2012) ..................................................................................... 6, 10, 11, 12
J. McIntyre Mach., Ltd. v. Nicastro,
   –– U.S. ––, 131 S. Ct. 2780 (2011) ............................................................................................. 4
Luv n’ care, LTD. v. Insta-mix, Inc.,
   438 F.3d 465 (5th Cir. 2006) ..................................................................................................... 13
McFadin v. Gerber,
   587 F.3d 753 (5th Cir. 2009) ....................................................................................................... 6
National Property Holdings, L.P. v. Westergren,
   453 S.W.3d 419 (Tex. 2015) ..................................................................................................... 16
                                                                         iv
 Case 3:19-cv-00764-X Document 155 Filed 09/17/19                                               Page 5 of 204 PageID 4301


Nuance Commc'ns, Inc. v. Abbyy Software House,
   626 F.3d 1222 (Fed. Cir. 2010) ................................................................................................... 5
Religious Tech. Ctr. v. Liebreich,
   339 F.3d 369 (5th Cir. 2003) ....................................................................................................... 4
Schlobohm v. Schapiro,
   784 S.W.2d 355 (Tex. 1990) ....................................................................................................... 4
Silent Drive, Inc. v. Strong Indus., Inc.,
   326 F.3d 1194 (Fed. Cir. 2003) ................................................................................................... 6
Sterner v. Marathon Oil Co.,
   767 S.W.2d 686 (Tex. 1989) ..................................................................................................... 16
Stuart v. Spademan,
   772 F.2d 1185 (5th Cir. 1985) ..................................................................................................... 3
Synthes (U.S.A.) v. G.M. Dos Reis Jr. Ind. Com. de Equip. Medico,
   563 F.3d 1285 (Fed. Cir. 2009) ................................................................................................... 6
Wien Air Alaska, Inc. v. Brandt,
   195 F.3d 208 (5th Cir. 1999) ..................................................................................................... 13
World–Wide Volkswagon Corp. v. Woodson,
   444 U.S. 286 (1984) .................................................................................................................... 5

Statutes
Bankruptcy Code §§ 524(e) and 1129 (a) ..................................................................................... 19
TEX. CIV. PRAC. & REM. CODE § 38.011 ...................................................................................... 24
TEXAS CIV. PRAC. & REM. CODE § 38.001 ............................................................................. 24, 25

Rules

FRCP 12(b)(2) ............................................................................................................................ 3, 4
FRCP 12(b)(6) .......................................................................................................................... 3, 14
FRCP 8(c)(1) ................................................................................................................................. 16




                                                                       v
    Case 3:19-cv-00764-X Document 155 Filed 09/17/19                      Page 6 of 204 PageID 4302


         Defendants/Third Party Plaintiffs, Leslie A. Wulf (“Wulf”), Bruce A. Hall (“Hall”), John

E. “Ted” Rea (“T. Rea”), and James Rea (“J. Rea”) (collectively “Founders”), hereby respond to

Third Party Defendant, Bjorn Thelander’s (“Thelander”) Motion to Dismiss Third Party Claims

Pursuant to Rules 12(b)(2) & 12(b)(6) (the “MTD”) [Dkt. No. 145]. Thelander, as a director of

VBF and a representative of VBF’s controlling shareholder, personally directed the termination of

all of the Founders, negotiated the agreements governing their termination, and then immediately

obliged VBF to breach the binding contracts it negotiated with the Founders. These actions, which

(1) all took place against Texas residents, (2) from an office based in Plano, Texas, (3) involving

agreements selecting Texas courts as the proper forum, subject Thelander to the jurisdiction of this

Court. In further opposition to Thelander’s Motion, Founders state the following:


                                      FACTUAL BACKGROUND

         Founders were the founders, officers, and directors of VeroBlue Farms, USA, Inc.

(“VBF”), and were among its original shareholders and officers: CEO (Wulf), CFO (Hall), COO

(T. Rea) and Construction Director (J. Rea). At various times between 2014 and 2016, each of the

Founders served as Directors on VBF’s Board as well. In July 2016, Alder Capital International

Ltd., (“Alder” which later became Alder Aqua, Ltd.), and FishDish LLC, an Iowa investor group

(“FishDish”), together invested $34,000,000 in VBF through a purchase of preferred stock.1 Third

Party Defendant Thelander was one of two directors that Alder appointed as its representatives to

VBF’s Board in July 2016. Thelander served as director of VBF until sometime in early 2018. At

the same time, it invested equity into VBF, Alder extended a line of credit to VBF, through its




1
 See July 9, 2016 VeroBlue Farms USA Inc. Series A Preferred Stock Purchase Agreement (“Series A Ag.”). attached
as Exhibit A-1 to Affidavit of Leslie Wulf, dated September 17, 2019, Exhibit A hereto (“Wulf Aff.”).

                                                       1
    Case 3:19-cv-00764-X Document 155 Filed 09/17/19                        Page 7 of 204 PageID 4303


affiliate, Amstar Funds (“Amstar”), and in exchange, VBF issued warrants to Alder that could be

exercised to obtain additional shares, via a separate agreement.

         Within a year of Alder’s investment, in July 2017, VBF had drawn down on the Amstar

loan and Alder exercised certain warrant rights, which resulted in Alder owning a controlling

interest (54%) in VBF. Within weeks, Thelander, along with Alder representative and VBF board

member, Jens Haarkoetter, and Alder principals, Otto Happel (“Happel”) and his daughter Eva

Ebstein (“Ebstein”), began serially terminating Founders from their positions with VBF. (Third

Party Complaint, Dkt. No. 66 (“TPC”), ¶¶ 25-30, 34-35,39, 47-48.) Since then, Founders have

discovered that Thelander and the other Third-Party Defendants participated in a scheme to oust

Founders from management, falsely accuse them of a litany of misdeeds, and avoid, or otherwise

breach VBF’s contractual obligations to the Founders. Specifically, Thelander and the other Third-

Party Defendants negotiated termination agreements between three of the four Founders and VBF,

and then directed VBF to fabricate reasons to avoid its obligations to Founders under such

agreements.2 This was succinctly stated by Ebstein in an email to Thelander before terminating

Mr. Wulf: “[A]nyone terminated by Les received a lovely golden parachute of other people’s

money. We need to try and avoid this, if legally permissible.” (Wulf Aff., Ex. A-6.)

         On July 31, 2018, VBF filed suit against Founders claiming they had misappropriated

funds and committed other misdeeds while officers and directors of the company.3 On April 10,

2019, the Founders filed their Third-Party Complaint (“TPC”) against Thelander and six other

directors and investors in VBF. [Dkt. No. 66.] In the TPC, each Founder asserts that Thelander




2
 Founders’ respective agreements with VBF are defined as they are in the TPC. (See Wulf Aff., Exs. A-2 thru A-5.)
3
 Shortly thereafter, on September 21, 2018, VBF filed for Chapter 11 bankruptcy protection in the Northern District
of Iowa (In re: VeroBlue Farms USA, Inc., Case No. 18-01297 (Bankr. N.D. Iowa) (“In re VBF”). Alder, through
Thelander, Harkoetter, Ebstein and the other Third-Party Defendants, controlled VBF’s reorganization, first as the
sole DIP lender and now, as the sole shareholder of the reorganized entity.
                                                        2
    Case 3:19-cv-00764-X Document 155 Filed 09/17/19                         Page 8 of 204 PageID 4304


and the other Third-Party Defendants used their leverage as Alder’s representatives on VBF’s

Board to tortiously interfere with his respective agreement with VBF, which led to VBF breaching

its obligations to the Founders under these contracts. Founders allege that each and every action

taken by Thelander was directed against Founders in their positions as officers of VBF, whose

principal office was located in Plano, Texas. Thelander’s actions were repeatedly made in or

directed at people, entities, activities and contracts located in and governed by Texas law. This

Court unquestionably has jurisdiction over Thelander in this matter, and Founders claims are

adequately pled and should proceed.


                                                 ARGUMENT

         Thelander’s Motion is brought under two separate grounds: (1) that this Court lacks

personal jurisdiction over him under FRCP 12(b)(2); and (2) that Founders’ Third-Party Complaint

fails to state a claim under FRCP 12(b)(6). To survive Thelander’s jurisdictional claim under Rule

12(b)(2), in the absence of jurisdictional discovery or an evidentiary hearing, Founders need only

make a prima facie showing of jurisdiction.4 In evaluating that showing, a court may consider

“affidavits, interrogatories, depositions, oral testimony, or any combination of the recognized

methods of discovery.”5 Uncontroverted allegations in the plaintiff's complaint must be accepted

as true, and any factual conflicts in the parties' evidence must be resolved in the plaintiff's favor.6

         Thelander’s motion to dismiss under Rule 12(b)(6) should be granted only if it appears

beyond a doubt that Founders can prove no set of facts in support of its claim which would entitle

them to relief.7 Such a motion merely tests the legal sufficiency of a complaint, requiring a court


4
  AFTG–TG, LLC v. Nuvoton Tech. Corp., 689 F.3d 1358, 1360 (Fed. Cir. 2012) (citing Elecs. for Imaging, 340 F.3d
at 1349)).
5
  Stuart v. Spademan, 772 F.2d 1185, 1192 (5th Cir. 1985).
6
  AFTG–TG, 689 F.3d at 1360.
7
  Conley v. Gibson, 335 U.S. 41, 48 (1957) (emphasis added); see also Fed. R. Civ. P. 12(b)(6); Bell Atlantic Corp v.
Twombly, 550 U.S. 540, 570 (2007).
                                                         3
    Case 3:19-cv-00764-X Document 155 Filed 09/17/19                         Page 9 of 204 PageID 4305


to construe the complaint liberally, assume all facts as true, and draw all reasonable inferences in

favor of the plaintiff.8 A complaint should never be dismissed because the court is doubtful that

the plaintiff will be able to prove all of the factual allegations contained therein. Id.

      I.      The Court Maintains Personal Jurisdiction over Thelander Based on Years of
              Activities Directed Toward VBF’s Operations in Texas. (FRCP 12(b)(2))

           In the Federal Circuit, “[a] personal jurisdiction determination for an out-of-state defendant

is a two-step inquiry: (1) whether a forum state's long-arm statute permits service of process and

(2) whether assertion of personal jurisdiction violates due process.”9 The Texas long-arm statute,

which governs here, is coextensive with the limits of federal due process.10 For that reason, the

personal jurisdiction analysis narrows to one inquiry: whether an exercise of personal jurisdiction

comports with the Due Process Clause of the U.S. Constitution.11

           To satisfy the Due Process Clause, a defendant must have “certain minimum contacts with

[the forum state] such that the maintenance of the suit does not offend traditional notions of fair

play and substantial justice.”12 As a general matter, the sovereign's exercise of judicial power

requires some act by which the defendant “purposefully avails itself of the privilege of conducting

activities within the forum state, thus invoking the benefit and protections of its laws.”13 In that

manner, due process principles “give a degree of predictability to the legal system that allows




8
  Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 556-57 (2007).
9
   Grober v. Mako Prods., Inc., 686 F.3d 1335, 1345 (Fed. Cir. 2012) (quoting Autogenomics, Inc. v. Oxford Gene
Tech. Ltd., 566 F.3d 1012, 1017 (Fed. Cir. 2009)) (internal quotation marks omitted).
10
   Schlobohm v. Schapiro, 784 S.W.2d 355, 357 (Tex. 1990); Religious Tech. Ctr. v. Liebreich, 339 F.3d 369, 373 (5th
Cir. 2003).
11
   See Elecs. for Imaging, Inc. v. Coyle, 340 F.3d 1344, 1349 (Fed. Cir. 2003).
12
   Akro Corp. v. Luker, 45 F.3d 1541, 1545 (Fed. Cir. 1995) (quoting Int'l Shoe Co. v. Washington, 326 U.S. 310, 316
(1945)).
13
   J. McIntyre Mach., Ltd. v. Nicastro, –– U.S. ––, 131 S. Ct. 2780, 2787 (2011) (plurality opinion) (quoting Hanson
v. Denckla, 357 U.S. 235, 253 (1958)).
                                                         4
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                           Page 10 of 204 PageID 4306


potential defendants to structure their primary conduct with some minimum assurance as to where

that conduct will and will not render them liable to suit.”14

        There are two types of minimum contacts: (1) those giving rise to “general” personal

jurisdiction, and (2) those giving rise to “specific” personal jurisdiction.15 General jurisdiction

exists only if the defendant's “continuous corporate operations within a state [are] so substantial

and of such a nature as to justify suit against it on causes of action arising from dealings entirely

distinct from those activities.”16 Specific jurisdiction, by contrast, is “based on activities that arise

out of or relate to the cause of action, and can exist even if the defendant's contacts are not

continuous or systematic.”17

        As described infra, Thelander has held himself out to multiple governmental authorities as

being officed in or otherwise located in Plano, Texas. He certainly wanted those authorities to

believe he was “essentially at home” in Texas, as required to establish general jurisdiction.18 But

even without general jurisdiction, it is clear this Court can exercise specific jurisdiction over

Thelander. The Federal Circuit applies a three-factor test to determine if specific personal

jurisdiction exists: (1) whether the defendant “purposefully directs” his activities at residents of

the forum state, (2) whether the claim “arises out of or relates to” the defendant's activities with

the forum state, and (3) whether assertion of personal jurisdiction is “reasonable and fair.”19 “The

plaintiff has the burden of proving parts one and two of the test, and then the burden shifts to the

defendant to prove that personal jurisdiction is unreasonable.”20 “Under this test, a court may


14
   World–Wide Volkswagon Corp. v. Woodson, 444 U.S. 286, 297 (1984).
15
   AFTG–TG, LLC v. Nuvoton Tech. Corp., 689 F.3d 1358, 1360 (Fed. Cir. 2012).
16
   Daimler AG v. Bauman, ––U.S.–––, 134 S. Ct. 746, 754 (2014) (quoting Int'l Shoe Co., 326 U.S. 310, 316 (1945)).
17
   Grober v. Mako Prods., Inc., 686 F.3d 1335, 1346 (Fed. Cir. 2012) (quoting Autogenomics, Inc. v. Oxford Gene
Tech. Ltd., 566 F.3d 1012, 1017 (Fed. Cir. 2009)).
18
   Daimler 134 S. Ct. at 754.
19
   AFTG–TG, LLC v. Nuvoton Tech. Corp., 689 F.3d 1358, 1361 (Fed. Cir. 2012) (citing Nuance Commc'ns, Inc. v.
Abbyy Software House, 626 F.3d 1222, 1231 (Fed. Cir. 2010)).
20
   Grober, 686 F.3d at 1356 (citing Elecs. for Imaging, Inc. v. Coyle, 340 F.3d 1344, 1350 (Fed. Cir. 2003)).
                                                        5
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                  Page 11 of 204 PageID 4307


properly assert specific jurisdiction, even if the contacts are isolated and sporadic, so long as the

cause of action arises out of or relates to those contacts.”21

       A.      Thelander Purposefully Directed Activities at VBF’s Offices, Personnel, and
               Operations in this District.

       The “touchstone” of the minimum contacts test under the first prong “is whether the

defendant's conduct shows that it ‘reasonably anticipates being haled into court.”22 “This

requirement can be satisfied by showing that the defendant purposefully directed [his] activities

toward the forum state or purposely availed [himself] of the privileges of conducting activities

there.”23 While specific jurisdiction is possible even if the defendant's forum contacts are only

isolated or sporadic, the relevant contacts “must be more than random, fortuitous, or attenuated, or

of the unilateral activity of another party or third person.”24 What follows is a nonexclusive,

chronological account of Thelander’s contacts with the State of Texas that unambiguously reveal

Thelander is acutely aware he could be “haled into” this Court.

               1) July 6, 2016 – Unanimous Written Consent of the Board of Directors and the
                  Sole Shareholder of VBF IP, Inc. (Exhibit A-7).25

       VBF IP, Inc. is a Texas corporation. VBF is the sole shareholder of VBF IP, Inc. The July

6, 2016 Unanimous Written Consent appointed Thelander to serve as an “Investor Director” on

the Board of VBF IP, Inc. This Consent also specified that the principal office of VBF IP, Inc.

would be in Plano, Collin County, Texas, and required VBF IP to maintain a list of shareholders

in accordance with the Texas Business Organizations Code (“TBOC”). The TBOC is invoked an

additional four (4) times in the July 6, 2016 Unanimous Written Consent. By agreeing to serve as


21
    Synthes (U.S.A.) v. G.M. Dos Reis Jr. Ind. Com. de Equip. Medico, 563 F.3d 1285, 1297 (Fed. Cir.
2009) (citing Silent Drive, Inc. v. Strong Indus., Inc., 326 F.3d 1194, 1200 (Fed. Cir. 2003)).
22
   McFadin v. Gerber, 587 F.3d 753, 759 (5th Cir. 2009)
23
   ITL Int’l, Inc. v. Constenla, S.A., 669 F.3d 493, 498 (5th Cir. 2012)
24
   Id. at 498-99.
25
   See Wulf Aff., Ex. A, ¶ 18, for a description of all exhibits referenced herein.
                                                   6
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                 Page 12 of 204 PageID 4308


an Investment Director on the board of a Texas corporation, with a principal office in Plano, Texas,

that was governed by the TBOC, Thelander unquestionably directed his activities towards the

Northern District of Texas.

               2) July 7, 2016 – VeroBlue Farms, USA Inc. Series A Preferred Stock Purchase
                  Agreement (Exhibit A-1).

       Alder’s equity investment into VBF is documented, in part, by the Series A Agreement. In

that Agreement, Thelander is identified as one of two “Lead Investor Directors” of VBF. (Series

A Ag., Ex. A-1, § 1.5(y).) This Agreement clearly identifies VBF’s offices as 1507 Capital

Avenue, Suite 101, Plano, Texas 75074, and requires notice to be provided to VBF’s counsel,

Jackson Walker, in Dallas. (Id., §7.5) Moreover, the Series A Agreement required Thelander to

execute an Indemnification Agreement with VBF as part of the equity transaction. (Id., §4.2(h).)

Accordingly, Thelander was specifically named as Alder’s representative to a Board of a company

(VBF) that had its named office located in Texas, and Thelander entered into an indemnification

agreement with that same company for his acts as one of its directors. Thelander not only sits on

the board of two companies with principal offices in Texas, but he has been indemnified by at least

one of them for his acts as director.

               3) August 3, 2016 – Amended and Restated Certificate of Formation of VBF IP,
                  Inc. (Exhibit A-8).

       Shortly after Thelander’s installation as director of VBF IP, that company submitted an

Amended and Restated Certificate of Formation to the Texas Secretary of State. In this Certificate,

Thelander lists his address as 1507 Capital Avenue, Suite 101, Plano, Texas 75074. This was not

merely a statement of where the company was located, but where he personally, as a director, was

located. Thelander essentially reported to the Texas Secretary of State that he could be found in

Plano, Texas - a plainly purposeful and directed activity towards this forum.

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Case 3:19-cv-00764-X Document 155 Filed 09/17/19                  Page 13 of 204 PageID 4309


               4) August 3, 2016 – Restated Articles of Incorporation of Iowa’s First, Inc.
                  (Exhibit A-9).

       Iowa’s First, Inc. is another entity owned by VBF. Thelander also sits on its Board of

Directors. Although Iowa’s First is an Iowa corporation, in its restated Articles of incorporation,

submitted to the Iowa Secretary of State, Thelander again lists his address as 1507 Capital Avenue,

Suite 101, Plano, Texas 75074. Even in other states, Thelander affirmatively holds himself out as

having a continuing presence in Plano, Texas.

               5) September 20-21, 2016 – Minutes of the Meeting of the Board of Directors of
                  VeroBlue Farms USA, Inc. (Exhibit A-10).

       Thelander participated in quarterly meetings of VBF’s Board of Directors. (Wulf Aff., Ex.

A, ¶¶ 10-11.) Several of these meetings took place via telephone calls initiated by VBF’s executive

personnel in Plano, Texas. However, Thelander was also physically present at VBF’s offices in

Plano, Texas for at least one Board of Directors meeting on September 20 – 21, 2016. (Id., ¶ 11,

Ex. A-10). Also, the minutes of this meeting name Thelander as a member of VBF’s Governance

and Compensation Committee, which was directed from VBF’s corporate office in Plano, Texas.

               6) December 6, 2016 – Iowa’s First Inc.’s Application for Authority to Transact
                  Business in Illinois (Exhibit A-11).

       On December 6, 2016, Iowa’s First, filed an Application for Authority to Transact Business

in Illinois. On the last page of the Application, Thelander is listed, again, as a director of Iowa’s

First. However, Thelander now lists his address as 3369 Premier Drive, Suite 300, Plano, Texas

75023. Via this filing, Thelander claimed two distinct addresses within the jurisdictional limits of

the Northern District of Texas.




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Case 3:19-cv-00764-X Document 155 Filed 09/17/19                Page 14 of 204 PageID 4310


               7) October 24, 2017 - Minutes of the Meeting of the Board of Directors of
                  VeroBlue Farms USA, Inc. (Exhibit A-12).

       On October 24, 2017, VBF’s Board of Directors met by telephone to discuss two matters

at the heart of Founders’ Third-Party Complaint: 1) termination of Defendants’ T. Rea and Hall;

and 2) the harassment allegations against Alder Director Haarkoetter. The minutes of this meeting

indicate that Thelander was present telephonically. But more importantly, these minutes illustrate

Thelander’s detailed involvement in Founders’ termination and negotiation of the very agreements

that VBF later breached with them. The minutes also disclose that the “terms of their [T. Rea and

Hall] severance was one year of salary each with a full release. This release was being circulated

to Bjorn Thelander and Les [Wulf] today for finalization.” The minutes go on to provide that

“Bjorn Thelander commented on the skills required for a CFO in a startup such as VBF including

tight expense controls, the ability to challenge assumptions and financial acumen – Bruce was

lacking in these skills.” The notes from this meeting indicate that Thelander was not merely a

board member of VBF, he was active, and the apparent leader of the efforts to terminate two

executives who officed out of VBF’s Plano, Texas office. Not only that, but Thelander was actively

participating in the negotiation of the Termination Agreements for Hall and T. Rea. (Wulf Aff.,

Ex. A, ¶¶ 11, 13-14.) Thelander availed himself to the jurisdiction of this Court far beyond the

“more than random, fortuitous, or attenuated” standard applied by this Court.

               8) October 27, 2017 – Hall and T. Rea Termination Agreements (Exhibits A-4,
                  A-5).

       Hall and T. Rea’s Termination Agreements were executed on October 27, 2017. Thelander

was actively involved in negotiating these Termination Agreements and was undeniably aware of

the contents of each. (Wulf Aff., Ex. A, ¶ 13). Included in Hall and T. Rea’s Termination

Agreements is a provision that they would be governed by and construed in accordance with the


                                                9
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                   Page 15 of 204 PageID 4311


laws of the State of Texas. (Id., ¶ 14). Additionally, the Termination Agreements contain the

provision that “[e]ach Party irrevocably submits to the exclusive jurisdiction of the Federal District

Court for the Northern District of Texas for the purpose of any suit, action, or other proceeding

arising out of this Agreement.” (Id., Ex. A-4, ¶ 7(l) and Ex. A-5, ¶ 7(l)). On November 14, 2017,

in an effort to clarify certain provisions of the Termination Agreements, Thelander sent Hall and

T. Rea an e-mail stating that it was “good speaking with you just now,” and that “if you can sign

and return this attachment electronically, we will process the payment immediately.” (Wulf Aff.,

¶ 13, Ex. A-13). The “attachment” referenced is a release letter designed to clarify the Termination

Agreements, and from the e-mail, it appears Thelander was withholding payments due under the

Termination Agreement until Hall and Ted signed an additional release. (Id.) Thelander inserted

himself in the negotiation and clarification of the Termination Agreements, and from his e-mail,

had the power and authority to control payments due under the Termination Agreements. As such,

Thelander was unquestionably aware that his conduct in interfering with the Termination

Agreements would subject him to the jurisdiction of this Court.

               9) November 6, 2017 – E-mail Correspondence between Ebstein, Thelander, and
                  Wester (Exhibit A-6).

       Within two weeks of terminating Hall and T. Rea, and on the very same day that Wulf was

terminated as VBF’s CEO, Ebstein was communicating with Thelander and other Third-party

Defendants to cement their scheme to gin up allegations and pretenses under which VBF could

avoid the very contractual obligations to Founders that Thelander was tasked with negotiating. As

quoted in the Third-Party Complaint, Ebstein conveyed to Thelander and others her dismay that

“anyone terminated by Les received a lovely golden parachute of other people’s money.” (Ex. A-

6). She then suggested that she, Thelander and others: “need to try and avoid this, if legally

permissible.” (Id.) At this point in time, both Hall and T. Rea had been “terminated by Les [Wulf]”

                                                 10
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                  Page 16 of 204 PageID 4312


and Thelander had just been tasked, days before, with negotiating and executing their Termination

Agreements. This e-mail provides direct evidence that Thelander was part of a scheme attempting

to reach into the Northern District of Texas and breach legally binding contracts with the Founders.

When Thelander agreed to participate in this scheme, and then actually carried it out, he forfeited

any jurisdictional argument he potentially had.

               10) November 9, 2017 – November 22, 2018 – E-mail Correspondence between
                   Wulf and Thelander (Exhibit A-14).

        Just days after Wulf was terminated, Thelander emailed him to discuss the particulars of

Wulf’s Termination Agreement. (Wulf Aff., Ex. A, ¶¶ 11-17.) In the emails, Thelander states (1)

“I promise to follow up with the lawyers today and see where we stand” in regards to editing and

finalizing Wulf’s Termination Agreement; and (2) “I have been pushing from my side to settle this

as soon as possible, and have no desire to delay or draw anything out. I will again do my best to

push the lawyers. (Id., Ex. A-14.) These communications expose that Thelander was intimately

and substantially involved in negotiating, finalizing, and executing Wulf’s Termination

Agreement. As previously discussed, Wulf was the CEO of VBF and officed exclusively out of

VBF’s Plano office. These communications between Thelander and Wulf therefore show

Thelander actively participating in the termination of a senior level executive working in the

Northern District of Texas. This action alone is sufficient to put Thelander on notice that he should

“anticipate being haled into” this Court.

               11) December 1, 2017 – Wulf Termination Agreement (Exhibit A-3).

       In the same vein, Wulf’s Termination Agreement included a provision that the Agreement

would be governed by Texas law and a provision designating the Northern District of Texas as the

exclusive jurisdiction for any disputes regarding that agreement.          Coupled with the prior

correspondence, Wulf’s Termination Agreement clearly illustrates that Thelander was well aware
                                                  11
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                            Page 17 of 204 PageID 4313


that any interference with that Agreement would be litigated in this Court. Founders have provided

more than sufficient evidence that Thelander not only tortiously interfered with the Termination

Agreements, but knew that this interference would be litigated in the Northern District of Texas.

        Thelander served on the Board of Directors of a company whose principal office was

located in Plano, Texas; he represented to three different state government bodies that he could be

personally located at an address in Plano, Texas; he visited Texas for at least one Board meeting

and participated in numerous others telephonically with the officers there; communicated weekly

with VBF’s CEO and employees about the company’s operations, and he personally negotiated

with the Founders over the very contracts that are now the subject of Founders’ claims against

him. Through all these activities, Thelander “purposefully directed” his activities at residents of

Texas, specifically the Northern District and is subject to this Court’s jurisdiction.

        B.       Founders’ Claims “Arise out of or Relate To” The Thelander's Activities
                 With the Northern District of Texas.

        The second factor in assessing specific jurisdiction is whether Founders’ claims are based

on “alleged injuries that arise out of or relate to those activities” on which the Thelander's

minimum contacts are established.26 In other words, there must be a sufficient “nexus between the

defendants' contacts with [the forum state] and the plaintiffs' [underlying] claims.”27 The Fifth

Circuit has suggested that this flexible standard aims to both ensure a “causal nexus between the

[alleged] conduct and the purposeful contact” and account for “the foreseeability and fundamental

fairness principles forming the foundation upon which the specific jurisdiction doctrine rests.”28

        Thelander’s directed contacts with the Northern District of Texas all relate to actions he

took as a director of VBF and/or one of its subsidiaries. His closest contacts: personal attendance


26
   In re Chinese-Manufactured Drywall Products Liab. Litig., 753 F.3d 521, 540 (5th Cir. 2014)
27
   ITL Int’l, 669 F.3d at 500.
28
   Chinese-Manufactured Drywall Products, 753 F.3d at 543.
                                                        12
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                              Page 18 of 204 PageID 4314


at a VBF Board meeting, emails with Ebstein and Wulf about Founders’ termination, and

negotiation of the Founders’ Termination Agreements, establish some of the very actions that

Founders claim constitute interference in their contractual agreements. Thelander was directly

involved in negotiating agreements with the Founders that he later worked with Ebstein and the

other Third Party Defendants to sabotage.29 While Thelander may challenge the validity of

Founders’ claim for tortious interference, this Court’s inquiry is simply “whether the plaintiff’s

cause of action arises out of or results from the defendant’s forum related contacts, whatever the

claims ultimate merits.30

         Accordingly, Founders have shown that Thelander purposely availed himself of the

privileges of conducting activities in the Northern District of Texas. He did so by claiming an

address at two different locations in this district, attending company board meetings here,

negotiating contracts and agreements in Texas, advising on VBF’s hiring and firing decisions in

this district (Wulf Aff. Ex. A, ¶¶ 10-17), and scheming to breach a number of those agreements

here in Texas. Thelander’s ability to tortiously interfere with Founders’ Agreement arises out of

and relates to his business dealings with the Founders in the Northern District of Texas.

         C.      The Northern District of Texas Exercising Jurisdiction Would Not be
                 Unreasonable
         Lastly, at step three of the jurisdictional analysis, “the burden of proof shifts to the

defendant to show that the exercise of jurisdiction would be unreasonable.”31 For a defendant to

carry his burden at this step, he “must make a compelling case.”32 Thelander fails even to argue

that the exercise of jurisdiction would be unreasonable and therefore cannot carry this



29
   In fact, it was these very agreements that Thelander negotiated, and the forum selection provisions they contained,
that lead the Iowa District Court to transfer this case to the Northern District of Texas.
30
   Id. at 549.
31
   Luv n’ care, LTD. v. Insta-mix, Inc., 438 F.3d 465, 470 (5th Cir. 2006)
32
   Wien Air Alaska, Inc. v. Brandt, 195 F.3d 208, 215 (5th Cir. 1999)
                                                         13
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                                 Page 19 of 204 PageID 4315


burden. Accordingly, this Court may lawfully assert personal jurisdiction over Founders’ tortious

interference claims asserted against Thelander.

     II.        Founders Have Alleged Adequate Facts to State a Claim for Tortious
                Interference Against Thelander. (FRCP 12(b)(6))

           As a separate matter, Thelander argues that Founders’ separate claims for tortious

interference against him fail to allege sufficient facts. The elements for tortious interference with

an existing contract under Texas law include: (1) an existing contract subject to interference and

(2) a willful and intentional act of interference with the contract (3) that proximately caused the

plaintiff’s injury and (4) caused actual damages or loss. Founders have alleged more than adequate

facts to establish each of these elements and their claims should proceed accordingly.

           A.      Thelander Was Acting for His Personal Self Interest, and not as Agent for
                   VBF, in Encouraging VBF to Breach its Contracts with Founders.

           Thelander first suggests that element two was not met because, as a director of VBF,

Thelander was an agent of VBF and not legally capable of tortious interference with VBF’s

contracts. (MTD, p. 12.) To be legally capable of tortious interference, Thelander must be a

“stranger to the contract” with which he allegedly interfered.33 A corporation’s agent is not a

stranger to the contract and cannot tortiously interfere with the corporation’s contract, unless the

agent is acting in his or her own self-interest.34

           Founders have alleged that Thelander was acting to benefit himself and the other Alder

Defendants, namely Alder, not VBF, in directing VBF to breach their respective termination and

employment agreements.             One of the first acts that VBF director Ebstein asked Thelander to


33
   Holloway v. Skinner, 898 S.W.2d 793, 795-95 (Tex. 1995) (emphasis added) (recognizing the fundamental principle
that a party to a contract cannot tortiously interfere with its own contract.)
34
   Id. at 795-96 (holding that for an agent to be liable for tortious interference, the plaintiff had to show that the agent
acted so contrary to the principal’s best interests that his actions could only have been motivated by personal interests).

                                                            14
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                  Page 20 of 204 PageID 4316


undertake was to consult with legal counsel to find a way to avoid the obligations to the Founders

due to their “political agendas,” notably, not due to their performance as officers. (TPC, ¶ 36 and

Ex. A-6). Ebstein was not an officer of VBF when she sent this email, but purportedly an

independent director (and the daughter of the largest shareholder). Thus, in following her direction,

Thelander was acting in his own self-interest, and that of the majority shareholder, not of VBF.

       Additionally, Thelander engaged Alder’s counsel, Davis Graham & Stubbs (“DGS”),

instead of VBF’s corporate counsel, Jackson Walker, to negotiate and document Wulf’s Separation

Agreement, (TPC, ¶ 34, 35). Refusing to utilize VBF’s corporate counsel in negotiating the

removal of a senior level is a curious decision. If Thelander was truly acting as an agent of VBF,

as he alleges in his Motion to Dismiss, it would follow that he would use VBF resources in

exercising his duties to VBF. Thelander’s decision to engage Alder’s law firm to remove Wulf

from his position as CEO certainly raises questions regarding who Thelander was representing in

this transaction. It could have been Alder, the entity that appointed Thelander to the Board of

Directors of VBF in the first place (TPC, ¶ 19), it could have been Happel, who Forbes lists as the

838th richest man in the world (TPC, ¶ 14), it could have been to protect his fellow Alder board

representative Haarkoetter, who Founders discovered and revealed had sexually harassed multiple

employees of VBF (TPC, ¶ 48). In short, Thelander was acting as an agent for, and in the interests

of multiple parties, but he did not even attempt to distinguish among those interests.

       When Founders Complaint is construed liberally, when all facts therein are assumed true,

and when all reasonable inferences are made in favor of Founders, the Complaint undeniably

would tend to support Founders’ claim for relief. Founders’ allegations are sufficient to permit

Founders to pursue a tortious interference claim against Thelander, even though he was a director

of VBF, as Thelander’s loyalties, at the very least, were conflicted.


                                                 15
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                               Page 21 of 204 PageID 4317


         D.       Thelander Cannot Assert VBF’s “Justification” in Breaching its Contacts with
                  Founders as a Basis for Dismissal.

         Next, Thelander argues that Founders did not allege sufficient facts to demonstrate that

Thelander actively persuaded VBF to breach the Termination Agreements. Specifically, Thelander

asserts that VBF had a contractual right to take the actions it did (invoking the justification

defense). Legal justification is an affirmative defense, which requires the defendant to show that

the interference: (1) was done in a bona fide exercise of the defendant’s own rights, or (2) the

defendant’s interest in the contract’s subject matter was equal or superior to the plaintiff’s.35

Thelander appears to argue only the first type of justification: that VBF was within its rights to

terminate J. Rea and to file suit against Hall and T. Rea, despite having previously released them.

(MTD, p. 13-15.)36 Thelander then claims that VBF was “justified” in bringing suit, despite the

broad releases in T. Rea’s and Hall’s Termination Agreements, because those contracts did not

include a covenant not to sue. (MTD, p. 13.) Neither of these arguments are compelling.

                  1. The Releases in the Termination Agreements Act as a Bar to VBF’s Claims
                     against T. Rea and Hall.
         Thelander cites National Property Holdings, L.P. v. Westergren, 453 S.W.3d 419, 428-29

(Tex. 2015) for the proposition that a release is not a covenant not to sue. (MTD, p. 14.) But

whether a release or settlement agreement operates as a covenant not to sue depends on the

particular language used. In Westergren, the parties simply agreed to “release all liability” related

to a lis pendens and related claims in a pending lawsuit, and the release specifically provided that

it could be plead as an affirmative defense. Id. at 422. Similarly, in Cypress Engine Access., LLC

v. HDMS Ltd. Co, 283 F. Supp. 3d 580 (S.D. Tex. 2017), also cited by Thelander, the parties could




35
 Sterner v. Marathon Oil Co., 767 S.W.2d 686, 691 (Tex. 1989).
 Part of this argument relies on VBF’s claim that the Termination Agreements are not enforceable because they
36

were fraudulently procured. (Id.) But invalidity of a contract is a separate defense from justification. FRCP 8(c)(1).
                                                          16
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                              Page 22 of 204 PageID 4318


not even agree on what constituted their settlement agreement, disputing what portion of a series

of emails and a one-page outline was the final agreement. Id. at 583. That case also related to

claims already pending in a lawsuit. The releases granted by VBF to Hall and T. Rea each are

much broader and clearly evidence the parties’ intent not to sue each other in the future. VBF not

only agreed to “release, acquit and forever discharge” Hall and T. Rea from “claims” and

“liabilities” but also from “charges, complaints, actions, causes of action, suits.” (Exhibit A-4, ¶

4(a), Exhibit A-5, ¶ 4(a)) (emphasis supplied).) This language clearly encompasses more than

merely a release of potential liability or pending claims, but an agreement to discharge the right to

bring a “charge,” “complaint,” (like the Amended Complaint), “cause of action” or “suit.”

         To that end, this case is more on point with Ganske v. WRS Group, Inc., Cause No. 10-06-

00050-CV, 2007 WL 1147357 (Tex. App. – Waco April 18, 2007, no pet.), where a company was

found liable for breach of the release in a settlement agreement with its former officer by bringing

suit (and the former officer was awarded attorneys’ fees incurred in enforcing the release as

compensatory damages). Although Ganske was decided before Westergren, the Texas Supreme

Court did not overrule Ganske in its decision and as noted by the district court in Cypress Engine,

the language in the Ganske release was more specific.37 As the Ganske court found: “There could

be no more foreseeable consequence of a breach of the settlement agreement that the cost of

litigation than it was specifically designed to avoid.”38 Hall and T. Rea did not merely agree to a

defense to any claim by VBF, but negotiated to avoid any “charges, complaints, actions, causes

of action, [and] suits” from VBF. This language constitutes more than a release, but a complete




37
   Cypress Engine, 283 F. Supp. 3d at 587. The language in the Ganske release included a statement that it was intended
to “buy his peace and avoid costly and time costing [sic] litigation” by the company’s former president. Ganske, 2007
WL 1147357 at *3. Similar to the situation at bar, in Ganske, the company’s majority shareholder chose to ignore the
negotiated release with the former president and filed suit for various business torts. Id. at *1, *4.
38
   Id., 2007 WL 1147357 at * 3.
                                                         17
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                 Page 23 of 204 PageID 4319


discharge of any action against them. By bringing the Amended Complaint against Hall and T.

Rea, VBF has breached that obligation and Thelander is liable for inducing VBF to do so.

               2. Whether Egregious Cause Existed Under the Employment Agreement Justifying
                  VBF’s Termination of James Rea is A Question of Fact.
       Also, Thelander claims VBF was justified in denying J. Rea amounts due to him under his

Employment Agreement, because that contract permitted termination for Egregious Cause. (MTD,

p. 14.) J. Rea and the Founders have alleged how VBF’s “Egregious Cause” was fabricated, after

the fact, as part of Thelander’s and the other Alder Defendants’ plan to come up with any legal

reason to avoid payments to J. Rea and the Founders under their respective contracts. (TPC, ¶¶

42-43, 47-51.) Regardless, this defense is fact-dependent, and cannot be ruled upon at the pleading

stage. This defense requires an inquiry into VBF’s ability to terminate the relevant contracts, and

VBF’s impetus to terminate and/or breach the agreements. The ultimate decision will reside with

the jury and cannot be resolved via this motion.

       E.      VBF’s Confirmation Plan Explicitly Carved Out Founders’ Claims against
               Thelander and the Third-Party Defendants from Release and Discharge.

       Thelander urges this Court to dismiss Founders claims against both himself and the other

Third-Party Defendants because they were encompassed in the discharge in VBF’s Reorganization

Plan. (MTD, pp. 15-16.) This ignores several specific modifications that Founders negotiated

with VBF’s counsel in the bankruptcy proceeding (and with VBF’s litigation counsel, who was

present at the bankruptcy confirmation hearing) that carved out Founders’ claims from the

discharge and releases in the Reorganization Plan. The only appearance that Founders made in

VBF’s Chapter 11 proceeding was to object to the non-debtor releases in the Reorganization Plan

to the extent they could apply to the affirmative defenses against VBF and claims against all Third-




                                                18
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                           Page 24 of 204 PageID 4320


Party Defendants, including Thelander, plead here.39 Founders’ TPC was already pending against

Thelander and the Alder Defendants when VBF’s Reorganization Plan was set for confirmation.

To that end, Founders objected to VBF’s plan, arguing that its releases of certain non-debtor third

parties, including all of the Third-Party Defendants, violated Bankruptcy Code §§ 524(e) and 1129

(a), as well improperly deprived Founders of their right to assert claims against Third Party

Defendants and seek set off and recoupment against VBF. (Founders Plan Obj., Dkt. No. 446, ¶¶

3, 4, 11, 14, 15, 16.) Founders explicitly objected to the discharge in § 9.13 of the Plan, the very

section that VBF relies upon, on these grounds. (Founders Plan Obj., Dkt. No. 466, ¶ 2.)

        During the confirmation hearing on VBF’s Reorganization Plan, held before the

Bankruptcy Court in the Northern District of Iowa on April 17-18, 2019, Founders raised these

objections. The parties, including VBF and both sets of its counsel, and Alder, agreed to certain

modifications to VBF’s Reorganization Plan to address Founders’ objections, and VBF submitted

these to the Court as part of its final Reorganization Plan. (In re VBF, Bankr. Dkt. No. 511 (the

“Modification”), attached as part of MTD, Ex. 2, p.144-45 thereto.)                     The Modification was

included in Exhibit 2 to Thelander’s Motion to Dismiss, but is wholly ignored in his argument.

As relevant to Thelander’s claims, the VBF Reorganization Plan, as clarified by the agreed

Modification, provides:


        •        As to Section 9.15 of the Plan, which released Thelander and the other Alder
                 Defendants, the parties agreed: “For the avoidance of doubt, Section 9.15 does not
                 apply to the claims of any party to the litigation pending as 19-cv-764 in the
                 United Stated District Court for the Northern District of Texas, provided that such
                 party does not receive payment or distribution under the Plan. (Modification, MTD,
                 Ex. 2, p. 144, ¶ 2 (emphasis supplied).)


39
  See Objection of [Founder Defendants] to Amended Joint Chapter 11 Plan of Reorganization of VeroBlue Farms
USA, Inc. and its Affiliated Debtors, filed April 12, 2019, in In re VBF, Dkt. No. 446 and Supplement to Objection
of [Founder Defendants] Amended Joint Chapter 11 Plan of Reorganization of VeroBlue Farms USA, Inc. and its
Affiliated Debtors, filed April 15, 2019 (In re VBF, Dkt. No. 466). Together, the Bankruptcy Docket Items 446 and
466 filed by Founders are referred to as “Founders’ Plan Obj.”
                                                        19
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                      Page 25 of 204 PageID 4321


        •       The parties agreed to add a statement: “Notwithstanding any provision in the Plan,
                upon entry of the Confirmation Order, parties in the litigation pending as 19-cv-
                764, in the United States District Court for the Northern District of Texas, may to
                the full extent the Bankruptcy Code permits, plead any and all defenses for an
                amount up to but not exceeding any recovery that may be obtained by the Debtors,
                without prejudice to each parties’ right to dispute such claims” (Id., MTD Ex. 2,
                pp. 144-45, ¶ 4.)
The Confirmation Order signed by the Bankruptcy Court recites that Founders’ Plan Objections

were resolved via the Modification and that document was incorporated into the Confirmation

Order. (MTD, Ex. 2, pp. 1, 8, ¶ L.) As Modification ¶ 2 provides, any release of Thelander or any

of the other Third-Party Defendants provided in VBF’s Reorganization Plan does not apply to

Founders’ claims in this litigation, as long as they do not receive distributions or payments under

the Plan. Thelander did not inform the Court of this provision and did not argue that it did not

apply because any of the Founders received distributions or payments under the Plan.40

        But Thelander asks this Court to circumvent the Modification by arguing the discharge of

VBF, provided in § 9.13 of the Plan, makes it impossible for Founders to allege breach against

VBF and therefore, makes it impossible to allege tortious interference against Thelander. (MTD,

pp. 16.) This is precisely why Founders objected to VBF’s discharge, to the extent it would affect

their defenses to VBF’s Complaint and the TPC and why they insisted on the additional language

in Paragraphs 2 and 4 of the Modification.

        These provisions apply notwithstanding any provision of the plan and allows Founders to

assert defenses against VBF in this litigation. This provision was specifically included to address

Founders’ affirmative defenses against VBF, which allege breach of Founders’ various agreements

with VBF, and seek set off and/or recoupment against VBF for any such breach. (Ans., Dkt. No.

66, Third, Fourth, Sixth, Seventh Aff. Def.) Thus, VBF’s Reorganization Plan, as clarified by the


40
   In fact, Founders did not submit proofs of claim in VBF’s Chapter 11 proceeding and will not receive any
distributions under VBF’s Reorganization Plan.
                                                    20
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                 Page 26 of 204 PageID 4322


Modification, specifically contemplated and permits Founders to allege that VBF breached its

contracts with Founders, and to seek setoff from VBF for any such breach. It follows then, that

any such breach by VBF, even if in the nature of setoff only, can then also serve as the basis for a

finding that Thelander induced that breach through his tortious interference. The Modification was

negotiated to address these very claims and the Plan does not discharge VBF’s liability, or

Thelander’s liability to Founders for these same claims.

       F.      Thelander Actively Participated in VBF’s Breach of Founders’ Contracts.

       Thelander argues Founders’ claims must be dismissed because he did not take an “active

role” in persuading VBF to breach the agreements. (MTD, p. 17.) Founders alleged multiple facts

to the contrary, including:


   •   Thelander directed Wulf and McCowan to avoid delivering contractually bargained for
       payments to Hall and T. Rea. (TPC, ¶ 31.)

   •   Thelander sent Alder’s lawyers, DGS, instead of VBF’s longtime counsel, Jackson Walker,
       to terminate Wulf and J. Rea. (TPC, ¶ 34), and also engaged DGS to negotiate Wulf’s
       Termination Agreement (TPC, ¶ 35.)

   •   Thelander was engaged in the scheme with Ebstein and Wester where the three discuss
       coming up with a plan regarding “hiring and firing,” to consult with legal counsel “with
       respect to the requirements of severance payments” and “to try and avoid this.” (Id., ¶ 35,
       Ex. A-6.)

   •   Thelander discussed ways to terminate a separate VBF employee due to his “willing
       collusion with the political agendas” of Founders. (Id., ¶ 37, Ex. A-6.)

   •   Discussed ways to have Ebstein and Wester established in a management positions of VBF
       to enable one of them to have “direct engagement with the business,” without being
       officially employed, since neither was authorized to work in the U.S. (Id., ¶ 38).

   •   Thelander specifically approved McCowan’s execution of Wulf’s Separation Agreement
       (Id., ¶ 41).

   •   After Wulf executed the Separation Agreement, VBF began ginning up reasons to avoid
       paying him the amounts due, consistent with Ebstein’s, Thelander’s and Wester’s
       communications and Haarkoetter’s directions. (Id., ¶ 42).

                                                21
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                   Page 27 of 204 PageID 4323




   •      Thelander participated in a campaign to clean house at VBF of anyone who would reveal
          Haarkoetter’s continued harassment and inappropriate behavior and who would keep both
          him and Ebstein from shadow management of VBF (Id., ¶ 48)

   •      Thelander initiated a sham investigation into Wulf and Rea in order to create what appeared
          to be legally permissible reasons to avoid VBF’s obligations to Wulf and J. Rea under their
          respective agreements with the company. (Id., ¶ 51)

   •      Thelander intentionally induced VBF to file suit against Hall in breach of Hall’s
          Termination Agreement, in order to cover up Haarkoetter’s harassment and enable Ebstein
          and Wester to insert themselves into VBF’s management. (Id., ¶ 60)

   •      Thelander intentionally induced VBF to file suit against T. Rea in breach of T. Rea’s
          Termination Agreement, in order to cover up Haarkoetter’s harassment and enable Ebstein
          and Wester to insert themselves into VBF’s management (Id., ¶ 69)

   •      Thelander intentionally induced VBF to breach Wulf’s Separation Agreement, in order to
          cover up Haarkoetter’s harassment and enable Ebstein and Wester to insert themselves into
          VBF’s management. (Id., ¶ 80)

   •      Thelander intentionally induced VBF to breach J. Rea’s Separation Agreement, in order to
          cover up Haarkoetter’s harassment and enable Ebstein and Wester to insert themselves into
          VBF’s management. (Id., ¶ 80).
          All these facts establish that Thelander actively participated in not merely a contract

violation, but a plan between himself and the other Alder Defendants to ignore Founders’ legal

rights and embroil them in litigation.

   III.      Founders’ Damages and Prayer for Attorneys’ Fees are Well Plead

          Thelander argues against three aspects of Founders’ requested relief: 1) that Hall and T.

Rea cannot seek attorneys’ fees as damages, 2) that none of the Founders are entitled to attorneys’

fees separately, and 3) there is no basis for exemplary damages. (MTD pp. 18-21.)

          Addressing these in turn, Thelander first asserts that Hall and T. Rea cannot recover

attorneys’ fees they incur in defending themselves from VBF’s claims against them in the

Amended Complaint because that is not a separate lawsuit with a third party. (MTD, p. 14.) Hall

and T. Rea negotiated full and complete releases from VBF in their Termination Agreements.
                                                  22
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                         Page 28 of 204 PageID 4324


Thelander, along with the other Third-Party Defendants, induced VBF to breach these contracts

and sue Hall and T. Rea on a plethora of matters that are clearly encompassed by the releases. If

not for Thelander’s interference with Hall’s and T. Rea’s agreements with VBF and the releases

contained therein, Hall and T. Rea would not have been pursued by VBF. This is not an instance

where Hall and Rea are trying to recover fees from Thelander in a case brought by him against

them. He is not a party to the Termination Agreements, and he has not brought claims against Hall

or T. Rea. This is not a cross claim against VBF for its breach of the agreements. It is a third-

party claim and involves Thelander’s individual liability to Hall and T. Rea deriving from VBF’s

liability to them under the agreements. Thus, this is the precise type of exception in which

attorneys’ fees are recoverable as damages: Thelander’s tortious acts, which were outside of his

position as a VBF director, lead Hall and T. Rea to be sued by VBF. The fees Hall and T. Rea

incur in defending against VBF’s claims are therefore, damages resulting from Thelander’s

individual torts and recoverable as damages.41

        Separately, Thelander claims that he cannot be liable for attorney’s fees to Wulf or J. Rea

under TEXAS CIV. PRAC. & REM. CODE § 38.001 resulting from his tortious interference with their

respective Separation and Employment Agreements. Thelander argues Texas law does not have a

statute providing for such recovery, and that there is no contract between Wulf and/or J. Rea, on

the one hand, and Thelander, on the other, permitting the recovery of attorney’s fees. (MTD,

pp.19-20.) It is important to note Founders’ requests for attorneys’ fees under their agreements

and TEX. CPRC § 38.001 is different from those requested by Hall and T. Rea in Counts 1 and 2.

In their claims for tortious interference, Hall and T. Rea seek the attorneys’ fees that they have

incurred (and continued to incur) in defending against VBF’s claims against them in the Amended


41
  Ganske, 2007 WL 1147357 at * 3 (“There could be no more foreseeable consequence of a breach of the settlement
agreement than the cost of litigation that it was specifically designed to avoid.”).
                                                      23
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                           Page 29 of 204 PageID 4325


Complaint. Those attorneys’ fees flow as consequential damages from; i) VBF’s breach of its

obligations under the release provisions of Hall’s and T. Rea’s Termination Agreements, and ii)

Thelander’s inducement of VBF’s breach (his tortious interference).

        All four Founders also seek recovery of the attorneys’ fees they incur in pursuing their

third-party claims against Thelander and the other third-party defendants, pursuant to the

provisions of their respective agreements (Hall, T. Rea, Wulf) and under TEX. CIV. PRAC. & REM.

CODE § 38.011 (J. Rea). Again, to the extent Thelander induced VBF to breach those agreements,

then the Founders are entitled to recover attorneys’ fees for that breach. VBF’s agreements with

Hall, T. Rea and Wulf all contain specific provisions awarding attorney’s fees for a breach. And

§ 38.001 allows for the recovery of attorneys’ fees “if the claim is for … (8) an oral or written

contract.” The statute does not specify that the contract breached must be one between the same

parties to the litigation. It follows then, that a party who tortiously interferes with another party’s

contract, and thereby causes that contract to be breached, should bear the full cost of inducing such

breach, including contractually provided attorneys’ fees. Otherwise, the victim would be deprived

of part of relief for which he contracted.

        None of the cases Thelander cites address this particular issue. In both cases cited, the court

found that a breach of the underlying contract had not been established and there was no separate

basis for the recovery of attorneys’ fees.42 Here, if Founders were to prevail, they would have

established a breach of multiple written contracts, and § 38.001 would apply to permit the recovery

of their fees incurred pursuing that breach.




42
   (MTD, p. 19; Alma Group, LLC v. Palmer, 143 S.W. 3d 840, 845 (Tex. App. – Corpus Christi – Edinburg 2004)
(defendant failed to prove breach of contract or tortious interference); Ed Rachel Foundation v. D’Unger, 117 S.W.
3d 348, (Tex. App. – Corpus Christi – Edinburg 2003) (defendant failed to recover damages on breach of contract
claim).
                                                       24
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                  Page 30 of 204 PageID 4326


       Finally, Thelander claims Founders have not adequately alleged fraud, malice, or gross

negligence on his part to justify an award of punitive damages. (MTD, p. 20-21.) Thelander points

to Founders’ allegations that his conduct, along with that of the other Defendants, was “intentional,

malicious, and vindictive” and states that such a conclusion is insufficient. (Id.) But this ignores

multiple other factual allegations in the TPC, including:


           •   The Alder Defendants (including Thelander) withheld funds from VBF’s credit
               facility until the Founders were terminated (evidence of fraud) (TPC, ¶ 25);

           •   Thelander imposed additional conditions on Hall and T. Rea’s severance payments
               after the fact (vindictiveness) (TPC, ¶ 31);

           •   Thelander planned to create ways to avoid payments due to Founders under their
               agreements (malice) (TPC, ¶ 36);

           •   Thelander, along with the other Alder Defendants, knew that Wulf’s wife had
               multiple sclerosis and agreed to a provision in Wulf’s Separation Agreement to
               pay his health insurance for 12 months, but then failed to make these payments,
               resulting in Wulf and his wife being denied medical coverage (fraud and malice)
               (TPC, ¶¶ 40, 45);

           •   Thelander along with the Alder Defendants engaged an outside firm to investigate
               Haarkoetter’s behavior and later, James Rea’s expenditures, but then refused to
               share the results of these reports with anyone but themselves, (fraud and malice)
               (TPC, ¶¶ 43, 51); and

           •   Thelander and the Alder Defendants considered Founders to have a “political
               agenda” with regard to Haarkoetter and wanted to terminate anyone who
               “willing[ly] collude[d]” with them in that agenda (malice) (TPC, ¶ 37).
       The campaign Founders allege in the TPC is not merely a soured business relationship or

sharp-elbowed economic competition. This was a premeditated, intentional, vindictive plan to

punish Founders for trying to protect their employees from a harassing and bullying director and

owner, and to enable the Alder Defendants to usurp control of VBF to the exclusion of hundreds

of other investors. There are more than sufficient allegations of fraud and malice, just based on

the information that Founders know today, to support their claims for exemplary damages.

                                                 25
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                  Page 31 of 204 PageID 4327


                                          CONCLUSION

       For all the reasons set forth herein, Third-Part Plaintiffs, Leslie Wulf, John E. (Ted) Rea,

Bruce Hall, and James Rea, respectfully request that this Court deny Bjorn Thelander’s Motion to

Dismiss Third Party Claims Pursuant to Rules 12(b)(2) & 12(b)(6), and award them any and all

other relief that it deems necessary and just.

Date: September 17, 2019


                                                 LESLIE WULF, BRUCE HALL,
                                                 JOHN (TED) REA, JAMES REA

                                                 By: /s/ Kimberly D. Annello
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                                                        Bruce Hall, John (Ted) Rea, and James
                                                        Rea




                                                   26
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                 Page 32 of 204 PageID 4328


                                CERTIFICATE OF SERVICE
       The undersigned hereby certifies that on this 17th day of September, 2019 a true and correct
copy of the above and foregoing was served upon counsel of records for all parties via ECF
Service.


                                             /s/ Eli D. Pierce
                                             Eli D. Pierce




                                                27
Case 3:19-cv-00764-X Document 155 Filed 09/17/19   Page 33 of 204 PageID 4329


                                Exhibit “A”
 Case 3:19-cv-00764-X Document 155 Filed 09/17/19               Page 34 of 204 PageID 4330



                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION


VEROBLUE FARMS USA INC.,
   Plaintiff

  v.

LESLIE A. WULF,BRUCE A. HALL,JAMES
REA,JOHN REA,and KEITH DRIVER,
   Defendants/Third Party Plaintiffs,                    CIVIL ACTION No. 3:19-cv-00764-L

  v.

EVA EBSTEIN,JENS HAARKOETTER,BJORN
THELANDER,ANDERS WES TER, NORMAN
MCCOWAN,DR. OTTO HAPPEL and ALDER
AQUA,LTD.
  Third-Party Defendants


                            AFFIDAVIT OF LESLIE A. WULF


STATE OF TEXAS

COUNTY OF COLLIN

       I, Leslie A. Wulf, hereby declare, pursuant to 28 U.S.C. § 1746 as follows:


       1.     My name is Leslie A. Wulf. I am over twenty-one years of age, of sound mind, and

otherwise competent to make this declaration. I submit this Affidavit in support of

Defendants/Third Party Plaintiffs ("Founders") Response and Brief in Opposition to Third-Party

Defendant Bjorn Thelander's Motion to Dismiss Third-Party Claims ("Response").

       2.     I have reviewed the Response and the factual statements contained therein are

within my personal knowledge and are true and correct.




                                               1
 Case 3:19-cv-00764-X Document 155 Filed 09/17/19                 Page 35 of 204 PageID 4331



       3.       I am one of the Defendants/Third-Party Plaintiffs in the above-captioned matter.

From October 2014 until January 2018, I served as employee, officer, and director of Plaintiff,

VeroBlue Farms USA,Inc.("VBF"). As a former officer of VBF,I have personal knowledge of

each fact stated below, and each statement contained in this Affidavit is true and correct.

       4.       From October 2014 until July 2016, I served as Chief Executive Officer of VBF.

In July 2016, Swiss national, Dr. Otto Happel ("Happel"), via his entities, Alder Aqua, Ltd.

("Alder") and Amstar Group, LLC ("Amstar"), invested over $57M dollars of debt and equity,

into VBF.

       5.       In July 2016, I entered into an Employment Agreement with VBF. It is governed

by Texas law.

       6.       I continued to serve as CEO of VBF from July 2016 until November 2017 pursuant

to the Employment Agreement. In that capacity,I managed all executive operations of VBF,made

strategic decisions and communicated with VBF's Board of Directors, lenders (including Amstar)

and shareholders, including Alder.

       7.       Pursuant to my Employment Agreement, VBF provided me an office and support

services in Plano, Texas. The entire time that I served as one of VBF's officers, its principal

corporate offices were located in Plano, Texas, near where I and the other executive officers of

VBF lived. During this time, all of the books and records of VBF were located in the Plano,Texas

office and 10 employees worked there. The only other locations where VBF had operations were

Webster City, Iowa, where the primary fish farms and nursery were located and New Athens,

Illinois where a single fish farm was located.

       8.       My Employment Agreement as well as VBF's corporate filings with the Nevada

Secretary of State from 2014 through 2017 reflected that its principal office was in Plano, Texas.



                                                 2
 Case 3:19-cv-00764-X Document 155 Filed 09/17/19                Page 36 of 204 PageID 4332



I only learned that VBF's principal office was listed as Webster City, Iowa, in 2018, after this

lawsuit was filed.

       9.      Also, as part of Alder's investment in VBF in 2016, it appointed two members to

VBF's board of directors:            Bjorn Thelander ("Thelander"), and Jens Haarkoetter

("Haarkoetter"). In June 2017, once Alder attained 51% ownership of VBF, it appointed a third

director: Eva Ebstein ("Ebstein")(Dr. Happel's daughter).

        10.    During the time I served as CEO of VBF (July 2016 until November 2017),

Thelander was involved in a substantial portion of the activities that took place in VBF's Plano

office. He approved multiple resolutions by VBF's Board of Directors which approved many

capital expenditures that are the subject of Plaintiff's Amended Complaint.

        11.    As a VBF Director, Thelander visited the Plano office for a meeting of the VBF

Board of Directors on September 19-21, 2016. Thelander was also involved in the hiring and

termination of employees who worked in the Plano office.

        12.    For instance, Thelander was involved in the search for an interview of candidates

for the following positions (1) Vice-President of Internal Control and Strategy; (2) In-house

counsel;(3)IT Manager; and (4)Financial Modeling Manager. These positions were discussed on

a teleconference with the VBF Board of Directors on July 31,2017. Thelander called into the Plano

office to discuss the candidates' resumes and to scheduling interviews for appealing individuals.

Thelander also participated in the interviews for at least two (2) of the individuals via video

 conference with the Plano office.

        13.     Additionally, Thelander was closely involved in negotiating Bruce Hall ("Hall")

 and Ted Rea's ("T. Rea")Termination Agreements. On Tuesday November 14, 2017,in an effort

 to clarify certain provisions of the Termination Agreements, Thelander sent Hall and T. Rea an e-



                                                3
 Case 3:19-cv-00764-X Document 155 Filed 09/17/19                  Page 37 of 204 PageID 4333



mail stating that it was "good speaking with you just now," and that "if you can sign and return

this attachment electronically, we will process the payment immediately." The "attachment" is a

release letter designed to clarify the Termination Agreements, and from the e-mail, it appears

Thelander was withholding payments due under the Termination Agreement until Hall and T. Rea

signed an additional release.

       14.     Hall and T. Rea's Termination Agreements are both governed by and construed in

accordance with the laws of the State of Texas. Additionally, the Termination Agreements contain

the provision that "[e]ach Party irrevocably submits to the exclusive jurisdiction of the Federal

District Court for the Northern District of Texas for the purpose of any suit, action, or other

proceeding arising out of this Agreement."

        15.    Furthermore, when I was terminated by VBF in November of 2017, I also entered

into a Termination Agreement with VBF. Thelander was again heavily involved in negotiating the

terms and conditions of my termination, and my Termination Agreement contained the same

provisions regarding jurisdiction as Hall and T. Rea's. Namely, that my Termination Agreement

would be governed by and construed in accordance with the laws of the State of Texas, and that

that the Parties to the Termination Agreement "irrevocably submit to the exclusive jurisdiction of

the Federal District Court for the Northern District of Texas for the purpose of any suit, action, or

other proceeding arising out of this Agreement."

        16.    In summary, Thelander took a leading role in negotiating and executing three

termination agreements with Texas employees, that are governed by Texas law, and list the

Northern District of Texas as having exclusive jurisdiction of any suit rising out of the Termination

Agreements.




                                                 4
 Case 3:19-cv-00764-X Document 155 Filed 09/17/19                Page 38 of 204 PageID 4334



       17.     Thelander involved himself in the daily operations of the VBF Plano office on a

consistent basis from at least July 2016 through November 2018. Thelander sent hundreds of e-

mails to employees located at the Plano office during this time, and made countless phone calls to

the Plano office during the same time to both direct and oversee VBF operations. I dealt with

Thelander on a weekly basis while serving as CEO of VBF and I was not allowed to perform a

number of my responsibilities without some form of input from Thelander.

       18.     The exhibits listed below are attached to this Affidavit and are referenced

throughout Founders' Response. The exhibits are records and documents of VBF, and were kept

by VBF in the regular course of business, and it was the regular course of business for me and any

employee or representative of VBF with knowledge of the act, event, condition, or opinion

recorded to make the record or to transmit information thereof to be included in such record; and

the record was made at or near the time or reasonably soon thereafter.

       Exhibit A-1: July 8,2016 VeroBlue Farms USA,Inc. Series A Preferred Stock Purchase
                    Agreement

       Exhibit A-2: July 1, 2016 Employment Agreement between James Rea and VBF

       Exhibit A-3: December 1, 2017 Separation Agreement between Leslie Wulf and VBF

       Exhibit A-4: October 27, 2017 Separation Agreement between Bruce Hall and VBF

       Exhibit A-5: October 27, 2017 Separation Agreement between John E. "Ted" Rea and
                    VBF

       Exhibit A-6: November 6, 2017 E-mail Correspondence between Ebstein, Thelander,
                    and Anders Wester

       Exhibit A-7: July 6, 2016 Unanimous Written Consent of the Board of Directors and the
                    Sole Shareholder of VBF IP, Inc.

       Exhibit A-8: August 3,2016 Amended and Restated Certificate of Formation of VBF IP,
                    Inc.

       Exhibit A-9: August 3, 2016 Restated Articles of Incorporation of Iowa's First, Inc.


                                                5
Case 3:19-cv-00764-X Document 155 Filed 09/17/19               Page 39 of 204 PageID 4335




       Exhibit A-10: September 20-21, 2016 Minutes of the Meeting of the Board of Directors
                     of VeroBlue Farms USA,Inc.

       Exhibit A-11: December 6, 2016 Iowa's First Inc.'s Application for Authority to Transact
                     Business in Illinois

       Exhibit A-12: October 24, 2017 Minutes of the Meeting of the Board of Directors of
                     VeroBlue Farms USA,Inc.

       Exhibit A-13: November 14, 2017 E-mail Correspondence between Thelander, Hall, and
                     T. Rea.

       Exhibit A-14: November 9, 2017 — November 22, 2018 E-mail Correspondence between
                     Wulf and Thelander


       I have read the foregoing statement of facts. Such statement is within my personal

knowledge and is true and correct.


FURTHER AFFIANT SAYETH NOT.



Dated: September 17, 2019
                                                  Leslie A. Wulf




                                              6
Case 3:19-cv-00764-X Document 155 Filed 09/17/19   Page 40 of 204 PageID 4336


                                Exhibit “A-1”
Case 3:19-cv-00764-X Document 155 Filed 09/17/19   Page 41 of 204 PageID 4337
                                                             EXECUTION VERSION




                             VEROBLUE FARMS USA, INC.

                   SERIES A PREFERRED STOCK PURCHASE AGREEMENT




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                                                                                   #13682.1
Case 3:19-cv-00764-X Document 155 Filed 09/17/19             Page 42 of 204 PageID 4338




                                  TABLE OF CONTENTS
                                                                                         Page

  1.   Purchase and Sale of Series A Preferred Stock.                                         1
       1.1.   Sale and Issuance of Series A Preferred Shares and Penalty Rights; Warrants;
              Debt Offering.                                                                  1
       1.2.   Closing; Delivery.                                                              2
       1.3.   Sale of Additional Units                                                        3
       1.4.  Use of Proceeds                                                                  4
       1.5.  Certain Defined Terms Used in this Agreement                                     4

  2.   Representations and Warranties of the Company                                          9
       2.1.   Organization, Good Standing, Corporate Power and Qualification                  9
       2.2.  Capitalization.                                                                  9
       2.3.  Subsidiaries                                                                    11
       2.4.  Authorization                                                                   12
       2.5.  Valid Issuance of Shares                                                        12
       2.6.  Governmental Consents and Filings                                               13
       2.7.  Litigation                                                                      13
       2.8.  Intellectual Property                                                           13
       2.9.  Compliance with Other Instruments                                               14
       2.10. Agreements; Actions                                                             15
       2.11. Certain Transactions                                                            15
       2.12. Rights of Registration and Voting Rights                                        16
       2.13. Assets                                                                          16
       2.14. Owned Real Property                                                             16
       2.15. Leased Real Property                                                            16
       2.16. Financial Statements                                                            17
       2.17. Changes                                                                         17
       2.18. Employee Matters                                                                18
       2.19. Tax Matters                                                                     20
       2.20. Insurance                                                                       20
       2.21. [Intentionally Omitted]                                                         20
       2.22. Permits                                                                         20
       2.23. Corporate Documents                                                             20
       2.24. Real Property Holding Corporation                                               21
       2.25. Environmental and Safety Laws                                                   21
       2.26. Business Plan                                                                   21
       2.27. Disclosure                                                                      22
       2.28. Foreign Corrupt Practices Act                                                   22

  3    Representations and Warranties of the Investors                                       22
       3.1.  Organization, Good Standing, Corporate Power and Qualification of Investors     22
       3.2.  Authorization                                                                   23
       3.3.  Purchase Entirely for Own Account                                               23
       3.4.  Disclosure of Information                                                       23
       3.5.  Restricted Securities                                                           23

                                             (i)
 4133768.14


                                                                                              #13682.2
Case 3:19-cv-00764-X Document 155 Filed 09/17/19              Page 43 of 204 PageID 4339

                                    TABLE OF CONTENTS
                                        (continued)
                                                                                       Page
         3.6.    No Public Market                                                       24
         3.7.    Legends                                                                24
         3.8.    Accredited Investor                                                    24
         3.9.    Foreign Investor                                                       24
         3.10.   No General Solicitation                                                24
         3.11.   Residence                                                              24
         3.12.   Governmental Consents and Filings                                      25
   4.    Closing Deliveries                                                             25
         4.1.   Deliveries of the Company at the Initial Closing                        25
         4.2.   Deliveries of Parent at the Initial Closing                             27
         4.3.   Deliveries of the Investors at Initial Closing                          27
         4.4.   Conditions to Lead Investor's Obligations at each Repurchase Closing    28
         4.5.   Conditions of the Company's Obligations at each Repurchase Closing      29
  5.    Certain Covenants of the Company                                                29
        5.1.   Restructuring; Redomestication                                           29
        5.2.   Share Repurchase Program                                                 29
        5.3.   USRPHC Reporting                                                         30
        5.4.   Execution of Stockholders Agreement                                      30
        5.5.   Confidential Information Agreements                                      30
        5.6.   Other Post-Initial Closing Covenants                                     31
  6.    Indemnification                                                                 31
        6.1.  Survival                                                                  31
        6.2.  Indemnification by Parent and Company                                     31
        6.3.  Indemnification by the Investors                                          31
        6.4.  Indemnification Procedure                                                 31
        6.5.  Certain Limitations                                                       33
        6.6.  Materiality Qualifications                                                34
        6.7.  Indemnification as Sole Remedy                                            34
        6.8.  Investigation                                                             34
        6.9.  Purchase Price Adjustment                                                 35
  7.    Miscellaneous                                                                  35
        7.1.   Successors and Assigns; Assignment                                      35
        7.2.   Governing Law                                                           35
        7.3.   Counterparts                                                            35
        7.4.   Titles and Subtitles; Currency                                          35
        7.5.   Notices                                                                 35
        7.6.   Finder's Fees                                                           37
        7.7.   Fees and Expenses                                                       37
        7.8.   Attorneys' Fees                                                         37
        7.9.   Amendments and Waivers                                                  37
        7.10. Severability                                                             37
        7.11 . Delays or Omissions                                                     38


 4133768.14


                                                                                         #13682.3
Case 3:19-cv-00764-X Document 155 Filed 09/17/19       Page 44 of 204 PageID 4340

                                TABLE OF CONTENTS
                                    (continued)
                                                                             Page
        7.12. Entire Agreement                                                38
        7.13. Dispute Resolution                                              38
        7.14. No Commitment for Additional Financing                          39
        7.15. Non-Reliance                                                    39
        7.16. Representation                                                  39


        Exhibit A -     FORM OF CERTIFICATE OF DESIGNATION
        Exhibit B -     FORM OF OPTION AGREEMENT
        Exhibit C -     [RESERVED]
        Exhibit D -     USE OF PROCEEDS
        Exhibit E -     FORM OF INDEMNIFICATION AGREEMENT
        Exhibit F -     FORM OF PENALTY RIGHTS AGREEMENT
        Exhibit G -     FORM OF REGISTRATION RIGHTS AGREEMENT
        Exhibit H -     FORM OF VOTING AGREEMENT
        Exhibit I -     DISCLOSURE SCHEDULES
        Exhibit J -     FORM OF EMPLOYMENT AGREEMENT
        Exhibit K -    FORM OF CONSULTING AGREEMENT
        Exhibit L -    [RESERVED]
        Exhibit M -    FORM OF MAINSTREAM AMENDMENT
        Exhibit N -    FORM OF STOCKHOLDERS AGREEMENT
        Exhibit 0 -    FORM OF LEAD INVESTOR WARRANT
        Exhibit P -    FORM OF MANAGEMENT OPTION AGREEMENT
       Exhibit Q -     FORM OF TANK MANUFACTURING AGREEMENT
       Exhibit R -     BUSINESS PLANS
       Schedule I -    INVESTOR DETAILS




 4133768.14


                                                                               #13682.4
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                  Page 45 of 204 PageID 4341




                                 VEROBLUE FARMS USA, INC.


                 SERIES A PREFERRED STOCK PURCHASE AGREEMENT


          THIS SERIES A PREFERRED STOCK PURCHASE AGREEMENT (this
  "Agreement"), is made as of the 7th day of July, 2016 by and between VeroBlue Farms Inc., a
  Canadian corporation (the "Parent"), VeroBlue Farms USA, Inc., a Nevada corporation (the
  "Company"), Alder Capital International Ltd., a British Virgin Islands Business Company
  ("Lead Investor"), and FishDish, LLC, an Iowa limited liability company ("Fish Dish"). Each
  of Lead Investor and Fish Dish are sometimes individually known as an "Investor" and
  collectively as the "Investors".

         The parties hereby agree as follows:

         1.      Purchase and Sale of Series A Preferred Stock.

                1.1.   Sale and Issuance of Series A Preferred Shares and Penalty Rights;
  Warrants; Debt Offering.

                          (a)     The Company shall (i) adopt and file with the Nevada Secretary of
  State before the Initial Closing (as defined below) Amended and Restated Articles of
  Incorporation, duly adopted by the stockholders of the Company, authorizing the issuance of
  shares of preferred stock with terms to be determined by the Board (as amended by the
  Certificate of Designation, the "Restated Certificate") and (ii) adopt and file with the Nevada
  Secretary of State at or prior to the Initial Closing a Certificate of Designation to the Company's
  Articles of Incorporation in the form of Exhibit A attached to this Agreement (the "Certificate
  of Designation"), and such Restated Certificate and Certificate of Designation shall remain in
  full force and effect unmodified as of the Initial Closing.

                        (b)    Subject to the terms and conditions of this Agreement, at the Initial
 Closing the Company agrees to sell and issue to the Investors 34,000,000 shares of Series A
  Preferred Stock, par value $0.01, of the Company (each, a "Series A Preferred Share"),
 together with 34,000,000 Penalty Rights (one Series A Preferred Share together with one Penalty
 Right being one "Unit"; provided, that the definition of Unit shall be subject to appropriate
 adjustment in the event of any stock split, combination or other similar recapitalization with
 respect to the Series A Preferred Shares), and the Company will sell and issue to Lead Investor
 warrants exercisable by Lead Investor for the purchase of Preferred Shares (the "Warrant
 Shares") as provided in the Warrant Agreement, the form of which is attached hereto as Exhibit
 0 (the "Lead Investor Warrants"). Each Investor agrees severally, but not jointly, to purchase
 from the Company the number of Units listed next to such Investor's name on Schedule I and, in
 the case of Lead Investor, the Lead Investor Warrants, for an aggregate purchase price of
 US$34,000,000 (the "Purchase Price") with each Investor's share of the Purchase Price listed
 next to such Investor's name on Schedule I (each such Investor's share, a "Purchase Price
 Share"). The Series A Preferred Shares issued pursuant to this Agreement, the Option
 Agreement and the Lead Investor Warrants (including any Option Shares, Penalty Shares,


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 4133768.14


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Case 3:19-cv-00764-X Document 155 Filed 09/17/19                  Page 46 of 204 PageID 4342




  Warrant Shares and Repurchase Shares (as each are defined below)) are referred to herein as
  "Shares".

                         (c)     Simultaneously with the Initial Closing, certain promissory notes
  issued by the Parent and the Company, each of which is set forth on Schedule 1.1(c) (including
  the name of the holder (each a "Note Holder"), the country of residence or organization of the
  holder, the issuer, the issue date, the principal and accrued interest, the number of shares that
  such holder has irrevocable committed to convert into and retain, if any, the cash consideration
  being paid to such holder as of the Initial Closing, if any, and any tax withholding of cash or
  Note Shares to be made by the Company, if any) (the "Promissory Notes"), shall be converted
  to 4,078,889 Common Shares (the "Note Shares", with each Promissory Note holder receiving
  Note Shares being a "Converting Note Holder"), with an aggregate $4,551,388 being paid to
  the Note Holders as payoff amounts, which, together with the issuance of the Note Shares to
  such holders, shall constitute full satisfaction of the Promissory Notes (with such conversions
  and payments being referred to herein as the "Note Conversions and Payoffs"). The Company
  shall cause each Converting Note Holder to become a party to the Stockholders Agreement as a
  condition to issuance of the Note Shares. The Company covenants and agrees that any payment
  of cash or Note Shares to a Note Holder in the Note Conversions and Payoffs shall be made net
  of any withholding required by or advisable under applicable law, including but not limited to
  under Section 1445 of the Code (a "FIRPTA Withholding") or other withholding requirements
  for income paid to foreign persons. If a FIRPTA Withholding is made by the Company, it shall
  hold any such withholding in escrow, apply to the IRS for an appropriate withholding certificate
  and notify the Note Holders from whom proceeds were withheld of such application as required
  by the Code.

                        (d)      Simultaneously with the Initial Closing, Lead Investor and Parent
  shall enter into that certain Series A Preferred Share Purchase Agreement (the "Parent
  Preferred Share Purchase Agreement"), pursuant to which Lead Investor shall purchase from
  Parent, and Parent shall issue to Lead Investor, one (1) Series A Preferred Share of Parent.

                          (e)     Simultaneously with the Initial Closing, VBF Operations Holding
  Inc., Iowa's First, Inc. and the other Subsidiaries will enter into a Credit Agreement (the "Credit
  Agreement") with Amstar Group, LLC as agent and lender, whereby VBF Operations Holding
  Inc. and Iowa's First, Inc. may borrow up to US$29,000,000 (the "Debt Offering"), subject to
  the terms and conditions of the Credit Agreement.

                              Simultaneously with the Initial Closing, options to purchase
  6,620,000 Common Shares in the aggregate will be issued to the members of management of the
  Company listed on Schedule 1.1(f) (each a "Management Option Recipient") in the respective
  amounts listed on Schedule 1.1(f) under the Stock Plan (as defined below) (the "Management
  Option Issuances"). which option agreements will be in the form attached hereto as Exhibit P
  (the "Management Option Agreements").

                 1.2.   Closing; Delivery.

                       (a)    The initial purchase and sale of the Units and Lead Investor
  Warrants shall take place remotely via the exchange of documents and signatures on the date

                                                  2
  4133768.14


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Case 3:19-cv-00764-X Document 155 Filed 09/17/19                 Page 47 of 204 PageID 4343




  hereof, or at such other place as the Company and the Investors mutually agree upon, orally or in
  writing (such closing of the purchases and sales being the "Initial Closing"). The term
  "Closing" shall apply to the Initial Closing and each Repurchase Closing (as defined below), if
  any.

                          (b)    At each Closing, the Company shall deliver to the relevant
  Investors a certificate representing the Shares being purchased by such Investor at such Closing
  against payment of the purchase price therefor by certified check payable to the Company or by
  wire transfer to a bank account designated by the Company.

                1.3.    Sale of Additional Units.

                       (a)     Contemporaneously with its execution of this Agreement, the
  Company shall enter into an option agreement for the purchase by Lead Investor of additional
  Units (the "Option Units" with the Series A Preferred Shares included in the Option Units being
  the "Option Shares") in the form attached hereto as Exhibit B (the "Option Agreement"). The
  Option Agreement sets forth the terms and conditions for the purchase of the Option Units by
  Lead Investor.

                           (b)   After the Initial Closing, with the consent of Lead Investor and
  pursuant to Subsection 5.2, the Parent shall undertake to repurchase Parent Common Shares (as
  defined below) from existing holders of Parent Common Shares, or to assist Lead Investor or an
  Affiliate in soliciting from existing holders of Parent Common Shares offers to sell, pursuant to
  the Share Repurchase Program (as defined below). In the case of repurchases by Parent under the
  Share Repurchase Program, upon the satisfaction or Lead Investor's waiver of the conditions set
  forth in Subsection 4.4 with respect to a Repurchase Closing (as defined below), and
  simultaneously with the closing of the corresponding Parent Repurchase and Common
  Repurchase (each defined in Subsection 5.2), Lead Investor shall purchase from the Company,
  and the Company shall sell to Lead Investor at a price per Unit of US$1, that number of Units
  that is equal to the aggregate price paid (in US$) by the Company in the corresponding Common
  Repurchase plus any required withholding by the Company and any tax incurred by Parent in
  connection with the Common Repurchase (the "Parent Redemption Price") divided by US$1
  (the consummation of any such purchase by Lead Investor being a "Repurchase Closing", the
  Units purchased in the Repurchase Closings being the "Repurchase Units", the Series A
  Preferred Shares included in the Repurchase Units being the "Repurchase Shares" and the
  aggregate consideration paid by Lead Investor in a Repurchase Closing being the "Repurchase
  Consideration"). Each Repurchase Closing shall be made pursuant to the terms of this
  Agreement and the proceeds therefrom shall be used solely to effect the corresponding
  redemption of Common Shares held by Parent, and the amounts distributed to Parent pursuant to
  such redemption shall be used solely to effect the corresponding Common Repurchase. In the
  case of share purchases by Lead Investor or an Affiliate under the Share Repurchase Program,
  the Company and Parent shall in good faith use commercially reasonable efforts to effect a direct
  or indirect exchange of such purchased Parent Common Shares for Units (such Units being
  included in the definition of Repurchase Units for purposes of this Agreement). Any such
  exchange shall be made pursuant to documentation reasonably satisfactory to Company, Parent,
  Lead Investor and any participating Affiliate.


                                                    3
  4133768.14


                                                                                                  #13682.7
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                  Page 48 of 204 PageID 4344




                 1.4.    Use of Proceeds. Except as otherwise set forth in Subsection 1.3(b), in
  accordance with the directions of the Company's Board of Directors, as it shall be constituted in
  accordance with the Stockholders Agreement, the Company will use the proceeds from the sale
  of the Units to the Investors, and the borrowings under the Debt Offering, for the purposes set
  forth on Exhibit D, which shall include at the Initial Closing the repayment in full of all amounts
  borrowed and otherwise due under the Revere Note, the Sheriff Note and the Lender Note.

                1.5.    Certain Defined Terms Used in this Agreement. The following terms used
  in this Agreement shall be construed to have the meanings set forth or referenced below.

                         (a)    "Adverse Consequences" means any and all liabilities, losses,
 damages, awards, royalties, deficiencies, penalties, fines, Taxes, demands, claims, costs and
  expenses (including reasonable fees and expenses of attorneys, accountants and other experts
 paid in connection with the investigation or defense of, and all amounts paid in settlement with
  respect to, any of the foregoing or any Proceeding relating to any of the foregoing); provided,
 however, that (i) the term Adverse Consequences shall not include any special, indirect,
 consequential, exemplary, or punitive damages, (ii) the term Adverse Consequences shall not
 include any damages associated with any lost profits, lost opportunities, or diminution in value,
 and (iii) for purposes of computing the amount of any Adverse Consequences incurred by an
 Indemnified Party there shall be deducted an amount equal to the amount of (A) any Tax benefit
 actually received or reasonably expected to be receivable by such Indemnified Party or any of its
 Affiliates in connection with such Adverse Consequences or any of the circumstances giving rise
 thereto, and (B) any insurance proceeds, indemnification payments, contribution payments or
 reimbursements actually received or receivable by the Indemnified Party or any of its affiliates in
 connection with such Adverse Consequences or any of the circumstances giving rise thereto.

                       (b)    "Affiliate" means, with respect to any specified Person, any other
 Person who, directly or indirectly, controls, is controlled by, or is under common control with
 such Person, including, without limitation, any general partner, managing member, officer or
 director of such Person or any entity now or hereafter existing that is controlled by one or more
 general partners or managing members of, or shares the same management company with, such
 Person.

                       (c)    "Aggregate Purchase Price" means an amount equal to the
 Purchase Price plus the aggregate Repurchase Consideration.

                      (d)    "Aggregate Purchase Price Share" means with respect to each
 Investor an amount equal to such Investor's Purchase Price Share plus amounts paid by such
 Investor as Repurchase Consideration.

                       (e)    "Board" or "Board of Directors" means the board of directors of
 the Company.

                       (f)    "Code" means the Internal Revenue Code of 1986, as amended.

                         (g)    "Company Covered Person" means, with respect to the Company
 as an "issuer" for purposes of Rule 506 promulgated under the Securities Act, any Person listed
 in the first paragraph of Rule 506(d)(1).

                                                 4
 4133768.14


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Case 3:19-cv-00764-X Document 155 Filed 09/17/19                 Page 49 of 204 PageID 4345




                        (h)    "Company Indemnified Parties" means the Company and Parent.

                        (i)     "Company Intellectual Property" means all patents, patent
  applications, trademarks, trademark applications, service marks, service mark applications.
  tradenames, copyrights, trade secrets, domain names, mask works, information and proprietary
  rights and processes, similar or other intellectual property rights, subject matter of any of the
  foregoing, tangible embodiments of any of the foregoing, licenses in, to and under any of the
  foregoing, and any and all such cases as are used by the Company in the conduct of the
  Company's business as now conducted and as presently proposed to be conducted.

                       (j)     "Consulting Agreement" means that certain Consulting
  Agreement entered into as of even date herewith by and between the Company and R. L. Sheriff
  Custom Contracting, Inc.

                        (k)   "Contract" means any contract, commitment, agreement,
  instrument, obligation, undertaking or other legally binding arrangement or understanding,
  whether written or oral.

                        (1)    "Fish Dish Director" means Kenneth Lockhard.

                         (m)    "Fish Dish Indemnified Parties" means Fish Dish, each of its
  Affiliates (other than Parent, the Company and the Subsidiaries) and their respective equity
  holders, directors, managers, officers, employees, agents and representatives.

                        (n)    "Fraud" means intentional or willful misrepresentations of
  material facts which would constitute common law or statutory fraud under Delaware Law.

                          (o)  "Fundamental Representations" means, collectively, the
  representations and warranties contained in Subsections 2.1, 2.2, 2.4, 2.5, 2.11, 2.18(d), 2.19,
  2.24, 2.28, 3.1, and 3.2.

                         (p)     "Governmental Entity" means any government or political
  subdivision or regulatory authority, whether federal, state, local, or foreign, and any agency,
  commission, bureau, department, authority, court, or other instrumentality of such government or
  political subdivision or regulatory authority.

                          (q)     "Indemnification Agreements" means an agreement between the
  Company and each of the directors serving on the Board of Directors pursuant to the Restated
  Certificate and the Stockholders Agreement including initially the Initial Closing Directors,
  dated as of the date of the Initial Closing, in the form of Exhibit E attached to this Agreement.

                        (r)    "Indemnification Share" means, for each Investor, an amount
  equal to the quotient (expressed as a percentage carried to four decimal points) of 0) such
  Investor's Purchase Price Share, divided by (ii) the Purchase Price.

                      (s)     "Initial Closing Directors" shall mean any Person who is a
  member of the Board of Directors as of the Initial Closing, including the Investor Directors.


                                                 5
  4133768.14


                                                                                                  #13682.9
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                  Page 50 of 204 PageID 4346




                        (t)   "Investor Directors" means collectively the Lead Investor
 Directors and the Fish Dish Director.

                       (u)    "Investor Indemnified Parties" means the Lead Investor
 Indemnified Parties and Fish Dish Indemnified Parties.

                       (v)    "IP Purchase" means the purchase of certain intellectual property
 assets pursuant to that certain Intellectual Property Purchase Agreement (the "IP Purchase
 Agreement"), dated as of June 29, 2016, by and between VBF IP, Inc., R. L. Sheriff Custom
 Contracting, Inc., a Florida corporation , Richard L. Sheriff, Kathleen M. Sheriff, Opposing
 Flows Aquaculture, Inc.. a Texas corporation, and VeroBlue Farms, Inc.

                       (w)    "Key Persons" means Leslie Wulf, Bruce Hall, Keith Driver,
 James Rea, John Rea, Mark Nelson and Jeffrey Nelson, as well as any employee or consultant
 who either alone or in concert with others develops, invents, programs or designs any Company
 Intellectual Property, which includes, but is not limited to, Richard Sheriff. "Nelson Key
 Persons" means Mark Nelson and Jeffrey Nelson.

                      (x)    "Knowledge" including the phrase "to the Company's
 Knowledge" shall mean the actual knowledge of the following persons: Leslie Wulf, Bruce Hall,
 Keith Driver, James Rea, John Rea, Mark Nelson and Jeffrey Nelson.

                       (y)     "Lead Investor Directors" means Bjorn Thelander and Jens
 Haarkotter.

                          (z)    "Lead Investor Indemnified Parties" means Lead Investor, each
 of its Affiliates (other than Parent, the Company and the Subsidiaries) and their respective equity
 holders, directors, managers, officers, employees, agents and representatives.

                    (aa) "Lender Note" means that certain Secured Promissory Note issued
 by the Company to Amstar Group, LLC, a Colorado limited liability company, dated as of June
 29, 2016;

                         (bb) "Lien" means any mortgage, pledge, lien, encumbrance, charge,
 other security interest, claim, easement, or other restriction.

                          (cc) "Material Adverse Effect" means any fact. event, circumstance,
 or change that has a material adverse effect on the business, assets (including intangible assets),
 liabilities, financial condition, property, or results of operations of the Company.

                         (dd) "Parent Articles of Amendment" means the Director Amended
 Articles (as defined in the Parent Preferred Share Purchase Agreement).

                        (ee) "Parent Shareholders Agreement" means the Shareholders
 Agreement among the Parent, Lead Investor and certain other shareholders of the Parent, dated
 as of the date hereof.



                                                 6
 4133768.14


                                                                                                  #13682.10
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                  Page 51 of 204 PageID 4347




                            (ff)   "Penalty Right" means a right to receive up to one (1) Series A
   Preferred Share (subject to certain anti-dilution adjustments as set forth in the Penalty Rights
   Agreement) upon the satisfaction of certain conditions, subject to the terms of and as more
   particularly set forth in the Penalty Rights Agreement.

                      (gg) "Penalty Rights Agreement" means the agreement among the
   Company and the Investors, dated as of the Initial Closing, in the form of Exhibit F attached to
   this Agreement.

                         (hh) "Penalty Share" means each Series A Preferred Share (or fraction
  thereof) that the Company is required to issue to the Investors (or their permitted transferees) at
  any time pursuant to the Penalty Rights Agreement.

                          (ii)    "Permitted Liens" means (a) mechanics', warehousemens',
   materialmens', or similar Liens incurred in the ordinary course and not delinquent and that will
   be paid and discharged in the ordinary course; (b) Liens for Taxes not yet due and payable or for
  delinquent Taxes that the taxpayer is contesting in good faith through appropriate proceedings
  and for which reserves have been accrued on the Financial Statements to the extent required by
  IFRS applied using the same accounting methods, practices, principles, policies and procedures,
  with consistent classifications, judgments and valuation and estimation methodologies that were
  used in the preparation of the Financial Statements for the most recent fiscal year end; (c)
  purchase money Liens and Liens created under capital lease arrangements; (d) Liens incurred in
  the ordinary course of business of the Company in connection with workers' compensation,
  unemployment insurance and other types of social security; (e) Liens in the nature of zoning
  restrictions, easements, rights or restrictions of record on the use of Real Property if the same do
  not materially detract from the value of the property encumbered thereby or materially impair the
  use of such property in the business of Parent, the Company or any of its Subsidiaries; (f) Liens
  on any leased property (including Leased Real Property) in favor of the landlord or lessors of
  such leased property lenders; (g) Liens created in connection with the Debt Offering; (h) Liens
  created by any of the Transaction Agreements; and (i) Liens listed on Section 1.5(ii) of the
  Disclosure Schedule.

                         (jj)   "Person" means any individual, corporation, partnership, trust,
  limited liability company, association or other entity.

                        (kk) "Registration Rights Agreement" means the agreement among
  the Company and the Investors dated as of the date of the Initial Closing, in the form of Exhibit
  G attached to this Agreement.

                          (II)   "Restated Parent Articles" means the Shareholder Amended
  Articles (as defined in the Parent Preferred Share Purchase Agreement).

                       (mm) "Revere Note" means that certain Term Note, issued by the
  Company and Iowa's First, Inc. to Revere High Yield Fund, LP, for the original principal
  amount of $2,400,000.00 and dated as of September 30, 2015;




                                                  7
 4133768.14


                                                                                                  #13682.11
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                 Page 52 of 204 PageID 4348




                       (nn) "Revere Loan Documents" mean the Loan Documents, as defined
  in that certain Term Loan and Security Agreement, dated as of September 10, 2015, by and
  among Revere High Yield Fund, LP, the Company and Iowa's First, Inc.

                         (oo) "Securities Act" means the Securities Act of 1933, as amended,
  and the rules and regulations promulgated thereunder.

                       (pp) "Sheriff Loan Documents" mean the Sheriff Note and that certain
  Security Agreement, dated as of June 29, 2016, by and among the Sheriff Parties and VBF IP,
  Inc.

                        (qq) "Sheriff Note" means that certain Secured Promissory Note issued
  by VBF IP Inc. to the Sheriff Parties in the original principal amount of $2,550,000 and dated as
  of June 29, 2016.

                        (rr)   "Sheriff Parties" means R. L. Sheriff Custom Contracting, Inc., a
  Florida corporation, Richard L. Sheriff, and Kathleen M. Sheriff

                     (ss)   "Stockholders Agreement" means the Stockholders Agreement
  among the Company, the Investors and the other stockholders of the Company dated as of the
  date hereof.

                        (tt)    "Subsidiaries" means each direct and indirect subsidiary of the
  Company, which at the Initial Closing includes VBF IP Inc., a Texas corporation, VBF
  Operations Inc., a Texas corporation. Iowa's First Inc.. an Iowa corporation, VBF Transport,
  Inc., a Delaware corporation, and VeroStream Seafood Marketing, Inc., a Texas corporation.

                        (uu) "Taxes" means (a) all taxes, including any net income, gross
 income, corporation, gross receipts, transfer, franchise, license, withholding, social security,
 payroll, unemployment, severance, stamp, excise, occupation, property, sales, use, ad valorem,
 levies, assessments, customs duties, fees, or charges imposed by any Governmental Entity upon
 any Person, and any interest and penalties in respect of the foregoing; (b) any liability for the
 payment of any amount of the type described in the immediately preceding clause (a) as a result
 of being a member of a consolidated, affiliated, unitary or combined group with any other
 corporation or entity at any time on or prior to the Closing; and (c) any liability for the payment
 of any amount of the type described in the preceding clause (a) and (b) as a result of a
 contractual obligation to any other Person or as a result of transferor, successor or secondary
 liability.

                     (vv) "Transaction Agreements" means this Agreement, the
 Registration Rights Agreement, the Stockholders Agreement, the Parent Preferred Share
 Purchase Agreement, the Parent Shareholders Agreement, the Voting Agreement, the Option
 Agreement, the Penalty Rights Agreement, the Employment Agreements, the Indemnification
 Agreements, the Consulting Agreement, the Lead Investor Warrants and the IP Purchase
 Agreement.




                                                 8
 4133768.14


                                                                                                 #13682.12
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                   Page 53 of 204 PageID 4349




                          (ww) "Updated Disclosure Schedule" means an updated Disclosure
   Schedule dated as of the date of each subsequent Closing, which updated Disclosure Schedule
   shall be in conformity with the form of the Disclosure Schedule attached hereto.

                          (xx) "Voting Agreement" means the agreement among the Company,
  Lead Investor and the participants in the 2016 Stock Option Plan of the Company, dated as of the
  date of the Initial Closing, in the form of Exhibit H attached to this Agreement.

          2.     Representations and Warranties of the Company and Parent. The Company and
  Parent hereby represent and warrant, jointly and severally, to the Investors, as of the Initial
  Closing and each subsequent Closing, that, except as set forth on (i) with respect to the Initial
  Closing, the Disclosure Schedule attached as Exhibit I to this Agreement (the "Disclosure
  Schedule"), and (ii) with respect to any subsequent Closing, the applicable Updated Disclosure
  Schedule, which exceptions shall be deemed to be part of the representations and warranties
  made hereunder, the following representations are true and complete as of the date of the Initial
  Closing and each subsequent Closing, except as otherwise indicated. The Disclosure Schedule
  shall be arranged in sections corresponding to the numbered and lettered sections and
  subsections contained in this Section 2.

                 For purposes of these representations and warranties (other than those in
  Subsections 2.1, 2.2, 2.3, 2.4, 2.5, and 2.6), the term the "Company" shall include the
  Subsidiaries, unless otherwise noted herein.

              2.1.    Organization, Good Standing, Corporate Power and Qualification of the
  Company and Parent.

                          (a)     The Company is a corporation duly organized, validly existing and
   in good standing under the laws of the state of Nevada and has all requisite corporate power and
  authority to carry on its business as presently conducted and as proposed to be conducted. Each
  of the Subsidiaries are corporations duly organized, validly existing and in good standing under
  the laws of the state of their organization, and have all requisite corporate power and authority to
  carry on their businesses as presently conducted and as proposed to be conducted. The Company
  and each Subsidiary are duly qualified to transact business and are in good standing in each
  jurisdiction in which the failure to so qualify would have a Material Adverse Effect.

                       (b)    The Parent is a corporation duly organized. validly existing and in
  good standing under the laws of the province of Ontario, Canada, and has all requisite corporate
  power and authority to carry on its business as presently conducted and as proposed to be
  conducted.

                 2.2.    Capitalization.

                          (a)   The authorized capital of the Company consists, immediately prior
 to the Initial Closing, of:

                               (i)     175,000,000 shares of common stock, par value $0.01 per
         share (the "Common Shares"), 33,914,814 shares of which are issued and outstanding
         immediately prior to the Initial Closing and all of which are held by Parent. All of the

                                                  9
 4133768.14


                                                                                                   #13682.13
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                   Page 54 of 204 PageID 4350




         outstanding Common Shares have been duly authorized, are fully paid and nonassessable
         and were issued in compliance with all applicable U.S. federal and state securities laws.

                                (ii)   150,000,000 shares of preferred stock, par value $0.01 per
         share (the "Preferred Shares"), of which 150,000,000 shares have been designated
         Series A Preferred Shares, none of which are issued and outstanding immediately prior to
         the Initial Closing. There are no other Preferred Shares or shares of any other series of
         Preferred Shares issued and outstanding immediately prior to the Initial Closing. The
         rights, privileges and preferences of the Preferred Shares are as stated in the Restated
         Certificate, as amended by the Certificate of Designation, and as provided by the Nevada
         Private Corporations Chapter of the Nevada Revised Statute.

                            (b)   The authorized capital of the Parent consists, immediately prior to
 the Initial Closing, of:

                                (i)    Unlimited common shares (the "Parent Common
         Shares"), 33,914,813 shares of which are issued and outstanding immediately prior to the
         Initial Closing. All of the outstanding Common Shares have been duly authorized, are
         fully paid and nonassessable and were issued in compliance with all applicable U.S. and
         Canadian federal, state and provincial securities laws;

                                (ii)   An unlimited number of preferred shares ("Parent
         Preferred Shares"), issuable in series, of which no series other than the Series A
         preferred share (the "Parent Series A Preferred Share") has been authorized; and

                               (iii)  One (1) Series A preferred share, which immediately prior
        to the Initial Closing had not been issued and was not outstanding and which shall be
        issued and outstanding to the Lead Investor simultaneously with the Initial Closing
        pursuant to the Parent Preferred Share Purchase Agreement. The rights, privileges and
        preferences of the Parent Series A Preferred Share are as stated in the Restated Parent
        Articles, as amended by the Parent Articles of Amendment, and as provided by the
        Canada Business Corporations Act.

                        (c)     The Company has reserved 8,000,000 Common Shares for
 issuance to officers, directors, employees and consultants of the Company pursuant to its 2016
 Stock Option Plan, duly adopted by the Board of Directors and approved by the Company
 stockholders (the "Stock Plan"). Of such reserved Common Shares, none have been issued, no
 options to purchase Common Shares under the Stock Plan have been issued, other than those that
 shall be granted to the Management Option Recipients pursuant to the Stock Plan as set forth on
 Schedule 1.1(f), and 1,380,000 Common Shares remain available for issuance to officers,
 directors, employees and consultants pursuant to the Stock Plan after giving effect to the
 reservation of Common Shares for issuance under the Management Option Issuances. The
 Company has furnished to each Investor complete and accurate copies of the Stock Plan and
 forms of agreements used thereunder.

                         (d)     Subsection 2.2(d) of the Disclosure Schedule sets forth the
 anticipated capitalization of the Company immediately following the Initial Closing and the Note


                                                   10
 4133768.14


                                                                                                   #13682.14
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                  Page 55 of 204 PageID 4351




  Conversions and Payoffs, including the number of shares of stock of the following and the
  holders and beneficial holders thereof: (i) issued and outstanding Common Shares, including,
  with respect to restricted Common Shares, vesting schedule and repurchase price; (ii) granted
  stock options, including vesting schedule and exercise price; (iii) Common Shares reserved for
  future award grants under the Stock Plan; (iv) each series of Preferred Shares; and (v) warrants
  or stock purchase rights, if any. Except for (A) the conversion privileges of the Series A
  Preferred Shares, (B) the rights to receive Series A Preferred Shares pursuant to the Penalty
  Rights issued to Investors under this Agreement, (C) the Lead Investor Warrants, (D) the Option
  Agreement, (E) the obligation of Lead Investor to purchase additional Units pursuant to
  Subsection 1.3, (F) the preemptive rights of the holders of Series A Preferred Shares pursuant to
  the Restated Certificate, (G) as provided in Section 3 of the Stockholders Agreement and (H) as
  required of Lead Investor pursuant to the Share Repurchase Program, there are no outstanding
  options, warrants, rights (including conversion or preemptive rights and rights of first refusal or
  similar rights) or agreements, orally or in writing, to purchase or acquire from the Company any
  Common Shares, Preferred Shares (including Series A Preferred Shares) or securities convertible
  into or exchangeable for Common Shares or Preferred Shares (including Series A Preferred
  Shares).

                          (e)     Subsection 2.2(e) of the Disclosure Schedule sets forth the
  anticipated capitalization of the Parent immediately following the Initial Closing, including the
  number of shares of the following and the holders and beneficial holders thereof: (i) issued and
  outstanding Parent Common Shares, including, with respect to restricted Parent Common Shares,
  vesting schedule and repurchase price; (ii) granted stock options, including vesting schedule and
  exercise price; (iii) each series of Parent Preferred Shares; and (iv) warrants or stock purchase
  rights, if any. Except for (A) the conversion privileges of the Promissory Notes, all of which will
  be exercised or waived in the Note Conversions and Payoffs and (B) as provided in Section 3 of
  the Parent Shareholders Agreement, there are no outstanding options, warrants, rights (including
  conversion or preemptive rights and rights of first refusal or similar rights) or agreements, orally
  or in writing, to purchase or acquire from the Parent any Parent Common Shares, Parent
  Preferred Shares (including the Parent Series A Preferred Share) or securities convertible into or
  exchangeable for Parent Common Shares or Parent Preferred Shares (including The Parent Series
  A Preferred Share).

                          (f)    409A. The Company believes that any "nonqualified deferred
  compensation plan" (as such term is defined under Section 409A(d)(1) of the Code and the
  guidance thereunder) under which the Company makes, is obligated to make or promises to
  make, payments (each, a "409A Plan") complies in all material respects, in both form and
  operation, with the requirements of Section 409A of the Code and the guidance thereunder. To
  the Knowledge of the Company, no payment to be made under any 409A Plan is, or will be,
  subject to the penalties of Section 409A(a)(1) of the Code.

                        (g)     The Company has obtained valid waivers of any rights by other
  parties to purchase any of the Shares covered by this Agreement, the Penalty Rights Agreement,
  the Lead Investor Warrants and the Option Agreement.

                  2.3.    Subsidiaries. Subsection 2.3 of the Disclosure Schedule sets forth all of
  the direct and indirect Subsidiaries of the Company and their capitalization, which consist solely

                                                  11
  4133768.14


                                                                                                   #13682.15
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                    Page 56 of 204 PageID 4352




  of the Subsidiaries. Other than as set forth on Subsection 2.3 of the Disclosure Schedule, the
  Company does not currently own or control, directly or indirectly, any interest in any other
  corporation, partnership, trust, joint venture, limited liability company, association, or other
  business entity. The Company is not a participant in any joint venture, partnership or similar
  arrangement.

                 2.4.    Authorization. All corporate action required to be taken by the Company's
  Board of Directors and stockholders and the Parent's Board of Directors and shareholders in
  order to authorize each of the Company and the Parent to enter into the Transaction Agreements
  to which they are a party, to adopt the Restated Certificate and the Certificate of Designation, in
 the case of the Company. and the Restated Parent Articles and the Parent Articles of
 Amendment, in the case of the Parent, to issue the Units and Lead Investor Warrants at the Initial
 Closing, enter into the Debt Offering, issue the Option Units, issue the Repurchase Units and
  issue the Penalty Shares, has been taken. All action on the part of the officers of the Company
 necessary for the execution and delivery of the Transaction Agreements, the performance of all
 obligations of the Company under the Transaction Agreements to be performed as of the Initial
 Closing, and the issuance and delivery of the Shares in accordance with this Agreement has been
 taken. The Transaction Agreements constitute valid and legally binding obligations of the
 Company and Parent, enforceable against the Company and Parent in accordance with their
 respective terms except (i) as limited by applicable bankruptcy, insolvency, reorganization,
 moratorium, fraudulent conveyance, or other laws of general application relating to or affecting
 the enforcement of creditors' rights generally, (ii) as limited by laws relating to the availability of
 specific performance, injunctive relief, or other equitable remedies, or (iii) to the extent the
 indemnification provisions contained in the Indemnification Agreements may be limited by
 applicable U.S. federal or state laws.

                2.5.    Valid Issuance of Shares.

                         (a)     The Shares, when issued, sold and delivered in accordance with the
  terms and for the consideration set forth in this Agreement and the Transaction Agreements, will
  be validly issued, fully paid and nonassessable and free of restrictions on transfer other than
  restrictions on transfer under the Transaction Agreements, applicable U.S. federal and state
  securities laws, liens or encumbrances created by or imposed by the Investors and the
  Stockholders Agreement. Assuming the accuracy of the representations of the Investors in
  Section 3 of this Agreement and subject to the filings described in Subsection 2.6 below, the
  Shares will be issued in compliance with all applicable federal and state securities laws. The
  Common Shares issuable upon conversion of the Shares have been duly reserved for issuance,
 and upon issuance in accordance with the terms of the Restated Certificate as amended by the
 Certificate of Designation, will be validly issued, fully paid and nonassessable and free of
 restrictions on transfer other than restrictions on transfer under the Transaction Agreements,
 applicable federal and state securities laws and liens or encumbrances created by or imposed by
 the Investors. The Option Shares, Penalty Shares, Warrant Shares and Repurchase Shares have
 been duly reserved for issuance, and upon issuance in accordance with the terms of this
 Agreement ,the Option Agreement, the Lead Investor Warrants or the Penalty Rights Agreement,
 as applicable, will be validly issued, fully paid and nonassessable and free of restrictions on
 transfer other than restrictions on transfer under the Transaction Agreements, applicable federal
 and state securities laws and liens or encumbrances created by or imposed by the Investors.

                                                 12
 4133768.14


                                                                                                     #13682.16
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                   Page 57 of 204 PageID 4353




 Based in part upon the representations of the Investors in Section 3 of this Agreement, and
 subject to Subsection 2.5(b) below, the Common Shares issuable upon conversion of the Shares,
 the Repurchase Shares issuable in accordance with the terms of this Agreement, the Option
 Shares issuable in accordance with the terms of the Option Agreement, the Warrant Shares
 issuable in accordance with the terms of the Lead Investor Warrants and the Penalty Shares
 issuable in accordance with the terms of the Penalty Rights Agreement will be issued in
 compliance with all applicable federal and state securities laws.

                         (b)     No "bad actor" disqualifying event described in Rule 506(d)(1)(i)-
 (viii) of the Securities Act (a "Disqualification Event") is applicable to the Company or, to the
 Company's Knowledge, any Company Covered Person, except for a Disqualification Event as to
 which Rule 506(d)(2)(ii—iv) or (d)(3), is applicable.

                 2.6.    Governmental Consents and Filings. Assuming the accuracy of the
 representations made by the Investors in Section 3 of this Agreement, no consent, approval,
 order or authorization of, or registration, qualification, designation, declaration or filing with,
 any federal, state, provincial or local governmental authority is required on the part of the
 Company or Parent in connection with the consummation of the transactions contemplated by
 this Agreement, except for (i) the filing of the Restated Certificate and the Certificate of
 Designation, which will have been filed as of the Initial Closing, (ii) the filing of the Restated
 Parent Articles and the Parent Articles of Amendment. which will have been filed as of the
 Initial Closing, and (iii) filings pursuant to the Securities Act (Ontario) or the Securities Act, and
 other applicable U.S. and Canadian federal, state provincial or territorial securities laws, which
 have been made or will be made in a timely manner.

                 2.7.    Litigation. There is no claim, action, suit, proceeding, arbitration,
 complaint, charge or investigation (together with any Enforcement Action, a "Proceeding")
 pending or to the Company's Knowledge, currently threatened (i) against the Company or Parent
 or any officer, director or Key Person of the Company or Parent arising out of or related to their
 employment, consulting or board relationship with the Company or Parent; (ii) that questions the
 validity of the Transaction Agreements or the right of the Company or Parent to enter into them,
 or to consummate the transactions contemplated by the Transaction Agreements; or (iii)
 otherwise against the Company or Parent. Neither the Company or Parent nor, to the Company's
 Knowledge, any of their officers, directors or Key Persons are a party or are named as subject to
 the provisions of any order, writ, injunction, judgment or decree of any court or government
 agency or instrumentality (in the case of officers, directors or Key Persons, such as would affect
 the Company or Parent). There is no Proceeding by the Company or Parent pending or which the
 Company or Parent intends to initiate. The foregoing includes, without limitation, actions, suits,
 proceedings or investigations pending or threatened in writing (or any basis therefor known to
 the Company or Parent) involving the prior employment of any of the Company's or Parent's
 employees, their services provided in connection with the Company's business, as consultants or
 otherwise, any information or techniques allegedly proprietary to any of their former employers
 or their obligations under any agreements with prior employers or counterparties to consulting or
 contractor arrangements.

                2.8.   Intellectual Property. The Company and its Subsidiaries own or possess
 sufficient legal rights to all Company Intellectual Property without, to the Company's

                                                  13
 4133768.14


                                                                                                     #13682.17
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                 Page 58 of 204 PageID 4354




 Knowledge, any conflict with, or infringement of, the rights of others. To the Company's
 Knowledge, no product or service marketed or sold (or proposed to be marketed or sold) by the
 Company violates or will violate any license or infringes or will infringe any intellectual
 property rights of any other party. Other than with respect to commercially available software
 products under standard end-user object code license agreements, there are no outstanding
 options, licenses, agreements, claims, encumbrances or shared ownership interests of any kind
 relating to the Company Intellectual Property, nor, is the Company bound by or a party to any
 options, licenses or agreements of any kind with respect to the patents, trademarks, service
 marks, trade names, copyrights, trade secrets, licenses, information, proprietary rights and
 processes of any other Person. The Company has not received any written communications
 alleging that the Company has violated, or by conducting its business, would violate any of the
 patents, trademarks, service marks, tradenames, copyrights, trade secrets, mask works or other
 proprietary rights or processes of any other Person. The Company has obtained and possesses
 valid licenses to use all of the software programs present on the computers and other software-
 enabled electronic devices that it owns or leases or that it has otherwise provided to its
 employees for their use in connection with the Company's business. To the Company's
 Knowledge, it will not be necessary to use any inventions of any of its employees or consultants
 (or Persons it currently intends to hire) made prior to their employment or engagement by the
 Company. To the Company's Knowledge, each employee and consultant has assigned to the
 Company all intellectual property rights he or she owns that are related to the Company's
 business as now conducted and as presently proposed to be conducted. Subsection 2.8 of the
 Disclosure Schedule lists all registered Company Intellectual Property. Neither the Company nor
 any of its suppliers have embedded any open source, copyleft or community source code in any
 of its products, including the various components and systems comprising the opposing flows
 tank technology (including control and monitoring systems) (the "OFT Technology"), generally
 available or in development nor is any such code present in any of the property purchased in the
 IP Purchase, including but not limited to any libraries or code licensed under any General Public
 License, Lesser General Public License or similar license arrangement. For purposes of this
 Subsection 2.8, the Company shall be deemed to have knowledge of a patent right if the
 Company has actual knowledge of the patent right or would be found to be on notice of such
 patent right as determined by reference to United States patent laws.

                 2.9.   Compliance with Other Instruments. Except as set forth on Subsection 2.9
 of the Disclosure Schedule, neither the Company nor Parent is in violation or default (i) of any
 provisions of its Restated Certificate in the case of the Company, the Restated Parent Articles as
 amended by the Parent Articles of Amendment in the case of Parent, or their respective Bylaws,
 (ii) of any instrument, judgment, order, writ or decree, (iii) under any note, indenture or
 mortgage, or (iv) under any Contract to which it is a party or by which it is bound, or (v) of any
 provision of federal. provincial or state statute, rule or regulation applicable to the Company or
 Parent. The execution, delivery and performance of the Transaction Agreements and the
 consummation of the transactions contemplated by the Transaction Agreements will not result in
 any such violation or be in conflict with or constitute, with or without the passage of time and
 giving of notice, either a default under any such provision, instrument, judgment, order, writ,
 decree, or Contract; or an event which results in the creation of any Lien other than a Permitted
 Lien upon any assets of the Company or Parent or the suspension, revocation, forfeiture, or
 nonrenewal of any material permit or license applicable to the Company, Parent or any
 Subsidiary.

                                                14
 4133768.14


                                                                                                 #13682.18
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                 Page 59 of 204 PageID 4355




                 2.10. Agreements; Actions.

                          (a)    Except for the Transaction Agreements or as set forth on
  Subsection 2.10(a) of the Disclosure Schedule, there are no agreements, understandings,
  instruments, contracts or proposed transactions to which the Company or Parent is a party or by
  which it is bound that involve (i) obligations (contingent or otherwise) of, or payments to, the
  Company or Parent in excess of $100,000, (ii) the license of any patent, copyright, trademark,
  trade secret or other proprietary right to or from the Company or Parent (excluding licenses from
  third parties to the Company or Parent of so-called "off-the-shelf" and "shrink wrap" software,
  software embedded in equipment, software as a service, web, and mobile applications in each
  case licensed to the Company in the ordinary course of business and easily obtainable without
  expense by the Company of $15,000 or more per license), (iii) the grant of rights to manufacture,
  produce, assemble, license, market, or sell its products or the OFT Technology to any other
  Person that limit the Company's exclusive right to develop, manufacture, assemble, distribute,
  market or sell its products or the OFT Technology, or (iv) indemnification by the Company or
  Parent with respect to infringements of proprietary rights. The Company has all necessary rights
  under all agreements, instruments and contracts used in the operation of the business of the
  Company for the conduct of the business as currently conducted or proposed to be conducted.

                          (b)    Except as set forth on Subsection 2.10(b) of the Disclosure
  Schedule, neither the Company nor the Parent has (i) declared or paid any dividends, or
  authorized or made any distribution upon or with respect to any class or series of its capital
  stock, (ii) incurred any indebtedness for money borrowed or incurred any other liabilities
  individually in excess of $100,000, (iii) made any loans or advances to any Person, other than
  ordinary advances for travel expenses, or (iv) sold, exchanged or otherwise disposed of any of its
  assets or rights, other than the sale of its inventory in the ordinary course of business. For the
  purposes of (a) and (b) of this Subsection 2.10, all indebtedness, liabilities, agreements,
  understandings, instruments, contracts and proposed transactions involving the same Person
  (including Persons the Company has reason to believe are affiliated with each other) shall be
  aggregated for the purpose of meeting the individual minimum dollar amounts of such
  subsection.

                        (c)    Neither the Company nor Parent is a guarantor or indemnitor of
  any indebtedness of any other Person.

                2.11.   Certain Transactions.

                          (a)   Other than (i) standard employee benefits generally made available
  to all employees, (ii) the Management Services Agreements with Affiliates of the Key Persons,
  all of which, other than those with the Nelsons Key Persons, will be terminated, superseded and
  replaced by the Employment Agreements (or in the case of Richard Sheriff, the Consulting
  Agreement) entered into by the Key Persons other than the Nelson Key Persons at the Initial
  Closing, and (iii) the Sheriff Loan Documents, which will be satisfied and terminated at the
  Initial Closing, there are no agreements, understandings or proposed transactions between the
  Company and any of its officers, directors, consultants or Key Persons, or any Affiliate thereof.




                                                 15
  4133768.14


                                                                                                 #13682.19
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                  Page 60 of 204 PageID 4356




                          (b)    Except as specifically set forth on Subsection 2.11(b) of the
  Disclosure Schedule, neither the Company nor the Parent is indebted, directly or indirectly, to
  any of its directors, officers or employees or to their respective spouses or children or to any
  Affiliate of any of the foregoing, other than for customary employee benefits made generally
  available to all employees. None of the Company's or Parent's directors, officers or employees,
  or any members of their immediate families, or any Affiliate of the foregoing are, directly or
  indirectly, indebted to the Company. Subsection 2.11(b) of the Disclosure Schedule sets forth all
  amounts owed by Parent and the Company under the MSAs.

                 2.12. Rights of Registration and Voting Rights. Except as provided in the
  Registration Rights Agreement, neither the Company nor Parent is under any obligation to
  register under the Securities Act or its foreign equivalents any of its currently outstanding
  securities or any securities issuable upon exercise or conversion of its currently outstanding
  securities. To the Company's Knowledge, except as contemplated in the Stockholders
  Agreement and the Voting Agreement, no stockholder of the Company has entered into any
  agreements with respect to the voting of shares of capital stock of the Company. Except as
  contemplated in the Parent Stockholder Agreement, no shareholder of the Parent has entered into
  any agreements with respect to the voting of capital shares of the Parent.

                2.13. Assets. Except as set forth on Subsection 2.13 of the Disclosure Schedule,
  the Company and its Subsidiaries own good and marketable title to, or a valid right to use, all of
  the tangible and intangible assets and property excluding Owned Real Property (as defined
  below) used or held in connection with their businesses, free and clear of any and all Liens other
  than Permitted Liens. The Parent owns no tangible or intangible assets or property other than
  Common Shares of the Company, which it holds free and clear of any and all Liens other than
  Permitted Liens.

                  2.14. Owned Real Property. Subsection 2.14 of the Disclosure Schedule sets
  forth a complete list, including an address and description, of all real property owned in fee by
  the Company or any Subsidiary ("Owned Real Property"). With respect to Owned Real
  Property: (i) the Company or a Subsidiary has good and marketable indefeasible fee simple title,
  free and clear of all Liens except Permitted Liens; (ii) neither the Company nor any Subsidiary
  has leased, licensed or otherwise granted to any Person the right to use or occupy the Owned
  Real Property or any portion thereof; and (iii) there are no outstanding options, rights of first
  offer or rights of first refusal to purchase the Owned Real Property or any portion thereof or
  interest therein. The Company or Subsidiary owning each Owned Real Property has all necessary
  permits, licenses and approvals for the use and occupancy of such Owned Real Property and for
  the conduct of its business at such location.

                2.15. Leased Real Property. Subsection 2.15 of the Disclosure Schedule sets
  forth a complete list, including an address of each leasehold or subleasehold estate or other right
  to use or occupy any interest in real property held by the Company or a Subsidiary ("Leased
  Real Property" and, together with Owned Real Property, "Real Property"). With respect to
  each Leased Real Property, (i) the Company's or Subsidiary's possession and quiet enjoyment
  under the applicable Real Property Lease has not been disturbed and (ii) neither Company nor
  any Subsidiary has subleased, licensed or otherwise granted any Person the right to use or
  occupy any Leased Real Property or any portion thereof. The Company or Subsidiary leasing

                                                 16
  4133768.14


                                                                                                  #13682.20
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                    Page 61 of 204 PageID 4357




 each Leased Real Property has all necessary permits, licenses and approvals for the use and
 occupancy of such Leased Real Property and for the conduct of its business at such location.

                 2.16. Financial Statements. Parent has delivered to each of the Investors its
 unaudited financial statements for the fiscal year ended December 31, 2015 and its unaudited
 financial statements (including balance sheet, income statement and statement of cash flows) for
 the three-month period ended March 31, 2016 (the "Interim Financial Statements" and
 collectively, the "Financial Statements"). The Financial Statements have been prepared in
 accordance with the international financial reporting standards ("IFRS") applied on a consistent
 basis throughout the periods indicated subject, in the case of the Interim Financial Statements, to
 absence of notes required by IFRS and to normal year-end adjustments. The Financial
 Statements fairly present in all material respects the financial condition and operating results of
 Parent, the Company and its Subsidiaries on a consolidated basis as of the dates, and for the
 periods, indicated therein, subject in the case of the Interim Financial Statements to normal year-
 end adjustments. Except as set forth in the Financial Statements, Parent and the Company have
 no material liabilities or obligations, contingent or otherwise, other than (i) liabilities incurred in
 the ordinary course of business subsequent to March 31, 2016; (ii) obligations under contracts
 and commitments incurred in the ordinary course of business; and (iii) liabilities and obligations
 of a type or nature not required under IFRS to be reflected in the Financial Statements, which, in
 all such cases, individually and in the aggregate would not have a Material Adverse Effect. The
 Company maintains and will continue to maintain a standard system of accounting established
 and administered in accordance with IFRS.

                2.17. Changes. Except as expressly contemplated in this Agreement and the
 other Transaction Agreements, since March 31. 2016 there has not been:

                         (a)  any change in the assets, liabilities, financial condition or operating
 results of Parent or the Company from that reflected in the Financial Statements, except changes
 in the ordinary course of business that have not caused, in the aggregate, a Material Adverse
 Effect;

                       (b)    any damage, destruction or loss, whether or not covered by
 insurance, that would reasonably be expected to have a Material Adverse Effect;

                       (c)      any waiver or compromise by the Company of a valuable right or
 of a material debt owed to it;

                      (d)    any satisfaction or discharge of any Lien or payment of any
 obligation by the Company, except in the ordinary course of business and the satisfaction or
 discharge of which would not reasonably be expected to have a Material Adverse Effect;

                     (e)      any material change to a material Contract or agreement by which
 the Company or any of its assets is bound or subject;

                     (f)    any material change in any compensation arrangement or
 agreement with any employee, officer, consultant, director or stockholder;



                                                  17
 4133768.14


                                                                                                      #13682.21
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                Page 62 of 204 PageID 4358




                      (g)      any resignation or termination of employment or consulting
 arrangement of any officer or Key Person of Parent or the Company;

                     (h)     any mortgage, pledge, transfer of a Lien in, or Lien, created by the
 Company, with respect to any of its material properties or assets, except for Permitted Liens;

                        (i)    any loans or guarantees made by Parent or the Company to or for
 the benefit of its employees, officers or directors, or any members of their immediate families,
 other than travel advances and other advances made in the ordinary course of its business;

                       (j)      any declaration, setting aside or payment or other distribution in
 respect of any of Parent's or the Company's capital stock, or any direct or indirect redemption,
 purchase, or other acquisition of any of such stock by Parent or the Company;

                       (k)    any sale, assignment or transfer of any Company Intellectual
 Property;

                       (1)     receipt of notice that there has been a loss of, or material order
 cancellation by, any major customer of the Company, or a loss of or material reduction in supply
 from any major supplier of the Company;

                       (m)    to the Company's Knowledge, any other event or condition of any
 character, other than events affecting the economy or the Company's industry generally, that
 would reasonably be expected to result in a Material Adverse Effect; or

                        (n)     any arrangement or commitment by Parent or the Company to do
 any of the things described in this Subsection 2.17.

               2.18.   Employee Matters.

                        (a)   As of the date hereof, the Company employs twenty full-time
 employees and three part-time employees and engages three consultants or independent
 contractors. Subsection 2.18(a) of the Disclosure Schedule sets forth a description of all
 compensation, including salary, bonus, severance obligations and deferred compensation paid or
 payable for each officer, employee, consultant and independent contractor of the Company who
 received compensation in excess of $100,000 for the fiscal year ended December 31, 2015 or is
 anticipated to receive compensation in excess of $100,000 for the fiscal year ending December
 31, 2016.

                       (b)    To the Company's Knowledge, none of its employees are obligated
 under any Contract (including licenses, covenants or commitments of any nature) or other
 agreement, or subject to any judgment, decree or order of any court or administrative agency,
 that would materially interfere with such employee's ability to promote the interest of the
 Company or that would conflict with the Company's business. Neither the execution or delivery
 of the Transaction Agreements, nor the carrying on of the Company's business by the employees
 of the Company. nor the conduct of the Company's business as now conducted and as presently
 proposed to be conducted, will, to the Company's Knowledge, conflict with or result in a breach


                                               18
 4133768.14


                                                                                                #13682.22
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                  Page 63 of 204 PageID 4359




 of the terms, conditions, or provisions of, or constitute a default under, any Contract, covenant or
 instrument under which any such employee is now obligated.

                       (c)    Except as set forth on Subsection 2.18(c) of the Disclosure
 Schedule, neither the Company nor Parent is delinquent in payments to any of its employees,
 consultants, or independent contractors for any wages, salaries, commissions, bonuses, expense
 reimbursement or other direct compensation for any service performed for it to the date hereof or
 amounts required to be reimbursed to such employees, consultants or independent contractors.

                        (d)     The Company has complied in all material respects with all
 applicable U.S. state and federal equal employment opportunity laws and with other laws related
 to employment, including those related to wages, hours, worker classification and collective
 bargaining. The Company and Parent have withheld and paid to the appropriate Governmental
 Entity or is holding for payment not yet due to such Governmental Entity all amounts required to
 be withheld from employees or other service providers of the Company and Parent and are not
 liable for any arrears of wages, taxes, penalties or other sums for failure to comply with any of
 the foregoing. All Key Persons are legal residents of the United States or are foreign citizens
 with all necessary authorizations to remain in the United States as employees of the Company.

                         (e)     To the Company's Knowledge, no Key Person intends to terminate
 their employment or consulting arrangements with the Company or Parent or is otherwise likely
 to become unavailable to continue as a Key Person, nor does the Company or Parent have a
 present intention to terminate the employment or engagement of any of the foregoing. The
 employment of each employee, or engagement of each consultant, of the Company or Parent is
 terminable at the will of the Company or Parent, as applicable. Except as set forth in Subsection
 2.18(e) of the Disclosure Schedule, in the Employment Agreements to be entered into at the
 Initial Closing, or as required by law, upon termination of the employment or engagement of any
 such employees or consultants, no severance or other payments will become due. Except as set
 forth in Subsection 2.18(e) of the Disclosure Schedule, neither the Company nor Parent have any
 policy, practice, plan or program of paying severance pay or any form of severance
 compensation in connection with the termination of employment services.

                       (f)     Neither the Company nor Parent has made any representations
 regarding equity incentives to any officer, employee, director or consultant.

                        (g)     Subsection 2.18(g) of the Disclosure Schedule sets forth each
 employee benefit plan maintained, established or sponsored by the Company or Parent, or which
 the Company or Parent participates in or contributes to, which is subject to the Employee
 Retirement Income Security Act of 1974, as amended ("ERISA"). The Company and Parent
 have made all required contributions and has no liability to any such employee benefit plan,
 other than liability for health plan continuation coverage described in Part 6 of Title I(B) of
 ERISA, and has complied in all material respects with all applicable laws for any such employee
 benefit plan.

                      (h)   The Company is not bound by or subject to (and none of its assets
 or properties is bound by or subject to) any written or oral, express or implied, contract,
 commitment or arrangement with any labor union, and no labor union has requested or, to the

                                                 19
 4133768.14


                                                                                                   #13682.23
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                  Page 64 of 204 PageID 4360




 knowledge of the Company, has sought to represent any of the employees, representatives or
 agents of the Company. There is no strike or other labor dispute involving the Company pending,
 or to the Company's Knowledge, threatened, nor is the Company aware of any labor
 organization activity involving its employees.

                         (i)      To the Company's Knowledge, none of the Key Persons or
 directors of the Company or Parent has been (a) subject to voluntary or involuntary petition
 under the federal bankruptcy laws or any state insolvency law or the appointment of a receiver,
 fiscal agent or similar officer by a court for his business or property; (b) convicted in a criminal
 Proceeding or named as a subject of a pending criminal Proceeding (excluding traffic violations
 and other minor offenses); (c) subject to any order, judgment or decree (not subsequently
 reversed, suspended, or vacated) of any court of competent jurisdiction permanently or
 temporarily enjoining him from engaging, or otherwise imposing limits or conditions on his
 engagement in any securities, investment advisory, banking, insurance, or other type of business
 or acting as an officer or director of a public company; or (d) found by a court of competent
 jurisdiction in a civil action or by the Securities and Exchange Commission or the Commodity
 Futures Trading Commission or any Canadian securities authority to have violated any federal,
 provincial or state securities, commodities, or unfair trade practices law.

                2.19. Tax Matters. There are no federal, state, county, local or foreign Taxes due
 and payable by the Company or Parent which have not been timely paid. There are no accrued
 and unpaid federal, state, provincial, county, local or foreign Taxes of the Company or Parent
 which are due, whether or not assessed or disputed. There have been no examinations or audits
 of any tax returns or reports by any applicable federal, state. provincial, local or foreign
 governmental agency. The Company and Parent have duly and timely filed all federal, state,
 provincial county, local and foreign tax returns required to have been filed by them and there are
 in effect no waivers of applicable statutes of limitations with respect to Taxes for any year.

                2.20. Insurance. To the Company's Knowledge, the Company has in full force
 and effect fire and casualty insurance policies with extended coverage, sufficient in amount
 (subject to reasonable deductions) to allow it to replace any of its properties that might be
 damaged or destroyed and that is commercially reasonable for the businesses in which the
 Company and its Subsidiaries engage.

                2.21.   fIntentionally Omitted].

                2.22. Permits. The Company has all material franchises, permits, licenses and
 any similar authority necessary for the conduct of its business, including all federal, state and
 local permits and licenses necessary for (i) the import of Barramundi fish into the United States
 and Iowa, and (ii) for the sale and transport of fish where and in the manner the Company
 currently conducts business. The Company is not in default in any material respect under any of
 such franchises, permits, licenses or other similar authority.

                2.23. Corporate Documents. The Restated Certificate and Bylaws of the
 Company are in the form provided to the Investors. The Restated Parent Articles, as amended by
 the Parent Articles of Amendment, and Bylaws of Parent are in the form provided to the
 Investors. The copies of the minute books of the Company and Parent provided to the Investors

                                                   20
 4133768.14


                                                                                                   #13682.24
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                   Page 65 of 204 PageID 4361




  contains minutes of all meetings of directors and stockholders (or shareholders) and all actions
  by written consent without a meeting by the directors and stockholders (or shareholders) of each
  company since their respective dates of incorporation and accurately reflects in all material
  respects all actions by the directors (and any committee of directors) and stockholders (or
  shareholders) with respect to all transactions referred to in such minutes.

                 2.24. Real Property Holding Corporation. Neither the Company nor any
  Subsidiary is now a "United States real property holding corporation" as defined in the Code and
  any applicable regulations promulgated thereunder. The Company has filed with the Internal
  Revenue Service all statements, if any, with its United States income tax returns which are
  required under such regulations.

                 2.25. Environmental and Safety Laws. (a) The Company is and has been in
  compliance with all applicable Environmental Laws; (b) to the Company's Knowledge there are
  no, and have never been any, Hazardous Substances at property or facilities currently or formerly
 owned, leased or operated by the Company or other facts, circumstances or conditions
  reasonably expected to impose liability against the Company under any Environmental Law; (c)
 to the Company's Knowledge there have been no Hazardous Substances generated by the
 Company that have been disposed of or come to rest at any site that has been included in any
 published U.S. federal, state or local "superfund" site list or any other similar list of hazardous or
 toxic waste sites published by any governmental authority in the United States; and (d) to the
 Company's Knowledge there are no underground storage tanks located on, no polychlorinated
 biphenyls ("PCBs") or PCB-containing equipment used or stored on, and no hazardous waste as
 defined by the Resource Conservation and Recovery Act, as amended, stored on, any site owned
 or operated by the Company, except for the storage of hazardous waste in compliance with
 Environmental Laws. The Company has made available to the Investors a list of all material
 environmental records, reports, notifications, certificates of need, permits, pending permit
 applications, correspondence, engineering studies and environmental studies or assessments and
 copies of such reports where requested and where such disclosure will not violate any applicable
 law.

         For purposes of this Subsection 2.25, "Environmental Laws" means any law, regulation,
 or other applicable requirement relating to (a) releases or threatened release of Hazardous
 Substance; (b) pollution or protection of employee health or safety, public health or the
 environment; (c) the manufacture, handling, transport, use, treatment, storage, or disposal of
 Hazardous Substances; or (d) the treatment and discharge of waste water. "Hazardous
 Substances" means all substances, materials, and wastes defined as a "hazardous substance"
 under the National Oil and Hazardous Substances Pollution Contingency Plan, 40 C.F.R. §300.5,
 or otherwise regulated by or subject to liability under any Environmental Law, including
 petroleum or any fraction, product or byproduct thereof.

                2.26. Business Plan. Reference is hereby made to that certain: (i) Executive
 Summary of the Company: and (ii) Equity Deck of the Company, dated December 21, 2015,
 copies of which are attached hereto as Exhibit R (collectively, the "Business Plans"). Subject to
 the qualifiers set forth in the Business Plans, the Business Plans do not contain any untrue
 statement of a material fact or omit to state a material fact necessary in order to make the
 statements contained herein or therein not misleading in light of the circumstances under which

                                                 21
 4133768.14


                                                                                                    #13682.25
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                    Page 66 of 204 PageID 4362




  they were made. The Business Plans were prepared in good faith; however, the Company does
  not warrant that it will achieve any results projected in the Business Plan, but the Company
  represents and warrants that it believes that the assumptions underlying such projections were
  and are reasonable.

                 2.27. Disclosure. No representation or warranty of the Company contained in
  this Agreement, as qualified by the Disclosure Schedule, and no certificate furnished or to be
  furnished to Investors at the Closing contains any untrue statement of a material fact or omits to
  state a material fact necessary in order to make the statements contained herein or therein not
  misleading in light of the circumstances under which they were made.

                   2.28. Foreign Corrupt Practices Act. Neither the Parent nor the Company nor
  any of the Company's or Parent's directors, officers, consultants, employees or agents have,
  directly or indirectly, made, offered, promised or authorized any payment or gift of any money or
  anything of value to or for the benefit of any "foreign official" (as such term is defined in the
  U.S. Foreign Corrupt Practices Act of 1977, as amended (the "FCPA")), foreign political party
  or official thereof or candidate for foreign political office for the purpose of (i) influencing any
  official act or decision of such official, party or candidate, (ii) inducing such official, party or
  candidate to use his, her or its influence to affect any act or decision of a foreign governmental
  authority, or (iii) securing any improper advantage, in the case of (i), (ii) and (iii) above in order
  to assist the Parent, the Company or any of their Affiliates in obtaining or retaining business for
  or with, or directing business to, any Person. Neither the Parent nor the Company nor any of their
  respective directors, officers, employees or agents have made or authorized any bribe, rebate,
  payoff, influence payment, kickback or other unlawful payment of funds or received or retained
  any funds in violation of any law, rule or regulation. The Company and Parent each further
  represent that they have maintained, and have caused each of their Subsidiaries and Affiliates to
  maintain, systems of internal controls (including, but not limited to, accounting systems,
  purchasing systems and billing systems) to ensure compliance with the FCPA or any other
  applicable anti-bribery or anti-corruption law. Neither the Company nor Parent, or, to the
  Company's Knowledge, any of their respective officers, directors or employees are the subject of
  any allegation, voluntary disclosure, investigation, prosecution or other enforcement action
  related to the FCPA or any other anti-corruption law (collectively, "Enforcement Action").

         3.      Representations and Warranties of the Investors. Each Investor severally, but not
 jointly, hereby represents and warrants to each of Company and Parent that as of the Initial
 Closing and, with respect to the Lead Investor, each subsequent Closing the following
 representations are true and complete as to such Investor as of the date of the Initial Closing and,
 with respect to the Lead Investor, each subsequent Closing, except as otherwise indicated.

                 3.1.    Organization, Good Standing, Corporate Power and Qualification of
 Investors. Investor is an entity duly organized, validly existing and in good standing in the form
 and under the laws of the jurisdiction listed next to such Investor's name on Schedule I and has
 all requisite corporate power and authority to carry on its business as presently conducted and as
 proposed to be conducted. Such Investor is duly qualified to transact business and is in good
 standing in each jurisdiction in which the failure to so qualify would have a Material Adverse
 Effect.


                                                   22
 4133768.14


                                                                                                     #13682.26
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                   Page 67 of 204 PageID 4363




                 3.2.    Authorization. All corporate, limited liability company, or partnership
 action required to be taken by Investor's governing persons and equity owners in order to
 authorize such Investor's entrance into the Transaction Agreements to which it is a party has
 been taken. Such Investor has full power and authority to enter into the Transaction Agreements
 to which it is a party. The Transaction Agreements to which such Investor is a party, when
 executed and delivered by such Investor, will constitute valid and legally binding obligations of
 such Investor, enforceable in accordance with their terms, except (a) as limited by applicable
 bankruptcy, insolvency, reorganization, moratorium, fraudulent conveyance and any other laws
 of general application affecting enforcement of creditors' rights generally, and as limited by laws
 relating to the availability of specific performance, injunctive relief or other equitable remedies,
 or (b) to the extent the indemnification provisions contained in the Registration Rights
 Agreement may be limited by applicable federal or state securities laws.

                 3.3.    Purchase Entirely for Own Account. This Agreement is made with
 Investor in reliance upon such Investor's representation to the Company, which by such
 Investor's execution of this Agreement, such Investor hereby confirms, that the Shares (and any
 Common Shares underlying such Shares) to be acquired by such Investor will be acquired for
 investment for such Investor's own account, not as a nominee or agent, and not with a view to
 the resale or distribution of any part thereof, and that such Investor has no present intention of
 selling, granting any participation in, or otherwise distributing the same. By executing this
 Agreement, such Investor further represents that the such Investor does not presently have any
 Contract with any Person to sell, transfer or grant participations to such Person or to any third
 Person, with respect to any of the Shares and any Common Shares underlying such Shares.

                3.4. Disclosure of Information. Investor has had an opportunity to discuss the
 Company's business, management, financial affairs and the terms and conditions of the offering
 of the Units with the Company's management and has had an opportunity to review the
 Company's facilities. The foregoing, however, does not limit or modify the representations and
 warranties of the Company in Section 2 of this Agreement or the right of such Investor to rely
 thereon.

                3.5.    Restricted Securities. Investor understands that the Shares, and the
 Common Shares underlying such Shares, have not been, and will not be, registered under the
 Securities Act, by reason of a specific exemption from the registration provisions of the
 Securities Act which depends upon, among other things, the bona fide nature of the investment
 intent and the accuracy of such Investor's representations as expressed herein. Such Investor
 understands that the Shares, and the Common Shares underlying such Shares, are "restricted
 securities" under the Securities Act and applicable state securities laws and that, pursuant to
 these laws, such Investor must hold the Shares, and the Common Shares underlying such Shares,
 indefinitely unless they are registered with the Securities and Exchange Commission and
 qualified by state authorities, or an exemption from such registration and qualification
 requirements is available. Such Investor acknowledges that the Company has no obligation to
 register or qualify the Shares, or the Common Shares into which they may be converted, for
 resale except as set forth in the Registration Rights Agreement. Such Investor further
 acknowledges that if an exemption from registration or qualification is available, it may be
 conditioned on various requirements including, but not limited to, the time and manner of sale,
 the holding period for the Shares, and the Common Shares underlying such Shares, and on

                                                 23
 4133768.14


                                                                                                   #13682.27
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                     Page 68 of 204 PageID 4364




 requirements relating to the Company which are outside of such Investor's control, and which
 the Company is under no obligation and may not be able to satisfy.

                3.6.    No Public Market. Investor understands that no public market now exists
 for the Shares. or the Common Shares underlying such Shares, and that the Company has made
 no assurances that a public market will ever exist for the Shares or the Common Shares
 underlying such Shares.

               3.7.    Legends. Investor understands that the Shares, the Common Shares
 underlying such Shares, and any securities issued in respect of or exchange for the Penalty
 Rights, may be notated with one or all of the following legends:

 "THE SHARES OF STOCK REPRESENTED HEREBY HAVE NOT BEEN REGISTERED
 UNDER THE SECURITIES ACT OF 1933, AND HAVE BEEN ACQUIRED FOR
 INVESTMENT AND NOT WITH A VIEW TO, OR IN CONNECTION WITH, THE SALE
 OR DISTRIBUTION THEREOF. NO SUCH TRANSFER MAY BE EFFECTED WITHOUT
 AN EFFECTIVE REGISTRATION STATEMENT RELATED THERETO OR AN OPINION
 OF COUNSEL IN A FORM SATISFACTORY TO THE COMPANY THAT SUCH
 REGISTRATION IS NOT REQUIRED UNDER THE SECURITIES ACT OF 1933."

                          (a)    Any legend set forth in, or required by, the other Transaction
 Agreements.

                        (b)    Any legend required by securities laws to the extent such laws are
 applicable to the Shares represented by the certificate, instrument, or book entry so legended.

               3.8.    Accredited Investor. Investor is an accredited investor as defined in Rule
 501(a) of Regulation D promulgated under the Securities Act.

                 3.9.    Foreign Investor. Investor hereby represents that it has satisfied itself as to
 the full observance of the laws of its jurisdiction in connection with any invitation to subscribe
 for the Units or any use of this Agreement, including (i) the legal requirements within its
 jurisdiction for the purchase of the Units, (ii) any foreign exchange restrictions applicable to such
 purchase, (iii) any governmental or other consents that may need to be obtained, and (iv) the
 income tax and other tax consequences, if any, that may be relevant to the purchase, holding,
 redemption, sale, or transfer of the Units. Such Investor's subscription and payment for and
 continued beneficial ownership of the Units will not violate any applicable securities or other
 laws of such Investor's jurisdiction.

                 3.10. No General Solicitation. Neither Investor. nor any of its officers, directors,
 employees, agents, stockholders, members, partners or other equityholders has either directly or
 indirectly, including, through a broker or finder (a) engaged in any general solicitation, or
 (b) published any advertisement in connection with the offer and sale of the Units.

                  3.11.   Residence. Investor's principal place of business is listed next to its name
 on Schedule I.



                                                   24
 4133768.14


                                                                                                      #13682.28
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                    Page 69 of 204 PageID 4365




                  3.12. Governmental Consents and Filings. Assuming the accuracy of the
  representations made by the Company in Section 2 of this Agreement, no consent, approval,
  order or authorization of, or registration, qualification, designation, declaration or filing with,
  any federal, state, provincial or local governmental authority is required on the part of Investor in
  connection with the consummation of the transactions contemplated by this Agreement.

         4.      Closing Deliveries.

               4.1.    Deliveries of the Company at the Initial Closing. At the Initial Closing, the
  Company shall deliver to each Investor (unless otherwise specified below) the following:

                       (a)     share certificates representing the Series A Preferred Shares
  purchased by such Investor hereunder at the Initial Closing;

                      (b)       in the case of the Lead Investor, the Option Agreement, duly
  executed by the Company;

                         (c)    the Penalty Rights Agreement, duly executed by the Company;

                      (d)       in the case of the Lead Investor, the Lead Investor Warrants, duly
  executed by the Company;

                     (e)     the Stockholders Agreement, duly executed by each of Parent,
 Company, and each participant in the Stock Plan as of the Initial Closing;

                         (f)    the Registration Rights Agreement, duly executed by the
 Company;

                     (g)    in the case of the Lead Investor, the Voting Agreement, duly
 executed by the Company and each participant in the Stock Plan as of the Initial Closing;

                        (h)     a copy of the Stock Plan and the adopting resolution of the Board;

                        (i)    an Employment Agreement, substantially in the form attached
 hereto as Exhibit J, duly executed by the Company, and each of Leslie Wulf, Bruce Hall, Keith
 Driver, James Rea, John Rea, Mark Nelson and Jeffrey Nelson (each, an "Employment
 Agreement", and collectively, the "Employment Agreements");

                       (j)    a Consulting Agreement, substantially in the form attached hereto
 as Exhibit K, duly executed by the Company and Richard Sheriff;

                       (k)     Management Option Agreements with each Management Option
 Recipient, duly executed by the Company and each Management Option Recipient;

                        (I)    an Indemnification Agreement with each Initial Closing Director
 duly executed by the Company and with respect to the Initial Closing Directors other than the
 Investor Directors, duly executed by such other Initial Closing Directors;



                                                  25
 4133768.14


                                                                                                     #13682.29
Case 3:19-cv-00764-X Document 155 Filed 09/17/19               Page 70 of 204 PageID 4366




                        (m)    a certificate duly executed by the Secretary of the Company
 certifying (i) the Bylaws of the Company, (ii) the Articles of Incorporation of the Company (in
 the form of the Restated Certificate as amended by the Certificate of Designation) certified by
 the Secretary of State of Nevada, (iii) resolutions of the Board of Directors of the Company
 approving the Transaction Agreements and the transactions contemplated under the Transaction
 Agreements, and (iv) resolutions of the Board and stockholders of the Company approving the
 Certificate of Designation and appointing the Investor Directors to the Board;

                        (n)     a certificate of good standing for Parent, the Company and each
 Subsidiary issued not more than ten (10) days prior to the Initial Closing by the Secretary of
 State or comparable governmental authority of its jurisdiction of organization and each other
 jurisdiction in which any of them are qualified to do business;

                          (o)    termination and release agreements effecting the termination of
 any agreement for consulting or management services with any Key Person other than the
 Nelson Key Persons (the "MSAs"), including in the case of termination of the MSAs, terms
 indicating that upon payment of the outstanding amounts set forth on Subsection 2.11(b) of the
 Disclosure Schedule, the obligations of the Company and Parent under such agreements shall be
 satisfied in full and forever discharged;

                       (p)    a payoff letter from Revere High Yield Fund, L.P. indicating that
 upon payment of a specified amount, the Revere Note shall be paid in full and such holder shall
 automatically release its security interests under the Revere Loan Documents and authorize
 Company to file Uniform Commercial Code termination statements, or such other documents or
 endorsements necessary to release of record the security interests of such holder;

                       (q)     a payoff letter from the Sheriff Parties indicating that upon
 payment of a specified amount, the Sheriff Note shall be paid in full and such holders shall
 automatically release their security interests under the Sheriff Loan Documents and authorize
 Company to file Uniform Commercial Code termination statements, or such other documents or
 endorsements necessary to release of record the security interests of such holder;

                       (r)     executed irrevocable Letters of Transmittal with each holder of a
 Promissory Note reflecting the Note Conversions and Payoffs as described on Schedule 1.1(c),
 each of which shall be irrevocable and effective as of the Initial Closing;

                    (s)    the Contract, duly executed by Mississippi Prison Industries
 Corporation and VBF Operations, Inc., substantially in the form attached hereto as Exhibit Q
 (the "Tank Manufacturing Agreement");

                       (t)     an amendment to the Supply Agreement, dated June 6, 2015, by
 and between the Company and Mainstream Aquaculture Pty Ltd. ("Mainstream") in the form
 attached hereto as Exhibit M, duly executed by the Company and Mainstream; and

                       (u)     resolutions duly adopted by the stockholders, members, partners,
 or other equity owners of the Company and of each Subsidiary appointing the Investor Directors
 to the Board of Directors of the Company and of each Subsidiary and the adoption of bylaws,


                                              26
 4133768.14


                                                                                              #13682.30
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                 Page 71 of 204 PageID 4367




 and in the case of Subsidiaries. amended and restated articles of incorporation (or their
 equivalent) in a form reasonably satisfactory to Lead Investor.

                 4.2.   Deliveries of Parent at the Initial Closing. At the Initial Closing, Parent
 shall deliver to Lead Investor the following:

                        (a)    the Parent Preferred Share Purchase Agreement, duly executed by
 Parent, together with such other documents, agreements, and certificates required to be delivered
 to Lead Investor thereunder;

                       (b)    a certificate duly executed by the Secretary of Parent certifying
 that Parent has performed and complied with all covenants, agreements, obligations and
 conditions contained in the Parent Preferred Share Purchase Agreement that are required to be
 performed or complied with by it on or before the Closing (as defined in such agreement);

                      (c)     share certificates representing the Parent Series A Preferred Share
 purchased by Lead Investor at the Initial Closing; and

                       (d)    the Parent Shareholders Agreement, duly executed by Parent.

                4.3.   Deliveries of the Investors at Initial Closing. At the Initial Closing, each
 Investor (unless otherwise specified below) shall deliver to the Company the following:

                       (a)    a wire transfer of immediately available funds in the amount of
 such Investor's Purchase Price Share wired to an account designated by the Company in writing
 to such Investor;

                       (b)     in the case of Lead Investor, the Option Agreement, duly executed
 by Lead Investor;

                       (c)    the Penalty Rights Agreement, duly executed by such Investor;

                      (d)     in the case of Lead Investor, the Lead Investor Warrants, duly
 executed by Lead Investor;

                       (e)    the Stockholders Agreement, duly executed by such Investor;

                       (f)    the Registration Rights Agreement, duly executed by such
 Investor;

                       (g)    in the case of Lead Investor, the Voting Agreement, duly executed
 by Lead Investor;

                       (h)     the Indemnification Agreements, (i) in the case of Fish Dish duly
 executed by the Fish Dish Director, and (ii) in the case of Lead Investor, duly executed by each
 of the Lead Investor Directors; and




                                                27
 4133768.14


                                                                                                 #13682.31
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                  Page 72 of 204 PageID 4368




                       (i)     in the case of Lead Investor, the Parent Shareholders Agreement,
  duly executed by Lead Investor.

                  4.4.   Conditions to Lead Investor's Obligations at each Repurchase Closing.
  The obligation of Lead Investor to purchase Units at any Repurchase Closing is subject to the
  fulfillment, on or before such Closing, of each of the following conditions by the Company and
  Parent, unless otherwise waived:

                       (a)     Parent shall have entered into definitive documentation to effect
 the corresponding Parent Repurchase with each selling shareholder, in a form reasonably
 acceptable to Lead Investor, under which Parent has an irrevocable right to purchase the Parent
 Common Shares being repurchased thereunder contingent only upon payment by Parent of the
 repurchase consideration to be derived from Lead Investor's purchase of Units at the Repurchase
 Closing and the simultaneous repurchase by the Company of Common Shares held by Parent at
 the Company Repurchase.

                        (b)    The representations and warranties of the Company made in
 Section 2, shall be true and correct in all material respects as of such Closing with the same
 effect as though made at and as of such date except: (i) those representations and warranties that
 address matters only as of a specified date shall be true and correct in all respects as of that
 specified date, (ii) those representations and warranties which are qualified by materiality or
 Material Adverse Effect, which shall be true and correct in all respects, and (iii) all
 representations and warranties will be qualified by the relevant Updated Disclosure Schedule
 (with the exceptions contained therein deemed to be part of the representations and warranties
 made hereunder) rather than the Disclosure Schedule attached hereto.

                       (c)     The Company and Parent shall have performed and complied with
 all covenants, agreements, obligations and conditions contained in this Agreement that are
 required to be performed or complied with by the Company on or before such Closing.

                        (d)     All authorizations, approvals or permits, if any, of any
 governmental authority or regulatory body of the U.S., or of any state that are required in
 connection with the lawful issuance and sale of the Units pursuant to this Agreement shall be
 obtained and effective as of such Closing.

                        (e)     The Secretary of the Company shall have delivered to Lead
 Investor at the Closing a certificate certifying (i) the Bylaws of the Company, (ii) the Articles of
 Incorporation of the Company, and (iii) resolutions of the Board of Directors of the Company
 approving the Common Repurchase, the issuance of the applicable Units to Lead Investor and
 associated agreements.

                        (f)    All corporate and other proceedings in connection with the
 transactions contemplated at the Closing and all documents incident thereto shall be reasonably
 satisfactory in form and substance to Lead Investor, and Lead Investor (or its counsel) shall have
 received all such counterpart original and certified or other copies of such documents as
 reasonably requested, which shall include certificates of good standing of the Company and each
 Subsidiary.


                                                 28
 4133768.14


                                                                                                   #13682.32
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                   Page 73 of 204 PageID 4369




                          (g)     The Company shall have fully satisfied (including with respect to
  rights of timely notification) or obtained enforceable waivers in respect of any preemptive or
  similar rights directly or indirectly affecting any of its securities.

                        (h)    The Chief Executive Officer of the Company shall deliver to Lead
  Investor at such Closing a certificate certifying that the conditions specified in Subsection 4.4
  have been fulfilled.

                  4.5.   Conditions of the Company's Obligations at each Repurchase Closing.
  The obligations of the Company to sell Units to Lead Investor at any Repurchase Closing are
  subject to the fulfillment, on or before such Closing, of each of the following conditions, unless
  otherwise waived:

                          (a)     The representations and warranties of Lead Investor contained in
  Section 3 shall be true and correct in all material respects as of such Closing with the same effect
  as though made at and as of such date except: (i) those representations and warranties that
  address matters only as of a specified date shall be true and correct in all respects as of that
  specified date, and (ii) those representations and warranties which are qualified by materiality or
  Material Adverse Effect, which shall be true and correct in all respects.

                       (b)     Lead Investor shall have performed and complied with all
  covenants, agreements, obligations and conditions contained in this Agreement that are required
  to be performed or complied with by it on or before such Closing.

                       (c)    All authorizations, approvals or permits, if any, of any
  governmental authority or regulatory body of the U.S., Canada or of any state or province that
  are required in connection with the lawful issuance and sale of the Units pursuant to this
  Agreement, the repurchase of Common Shares at the Common Repurchase and the repurchase of
  Parent Common Shares at the Parent Repurchase shall be obtained and effective as of the
  Closing.

         5.      Certain Covenants of the Company. Following the Initial Closing:

                 5.1.    Restructuring; Redomestication. The Company and Parent shall cooperate
  with Lead Investor in examining potential restructuring of Parent, the Company, its Subsidiaries
  and its ownership, as well as their respective domicile, in order to achieve certain tax and other
  efficiencies desirable to Lead Investor. The Company and Parent shall use their commercially
  reasonable efforts to undertake any such restructurings and/or redomestications that are approved
  by Lead Investor, Parent (which approval by Parent shall require the approval by a majority of
  the non-Lead Investor designated directors of Parent) and the Company, prior to December 31,
  2016.

                 5.2.   Share Repurchase Program. For a period of ninety (90) days following the
  Initial Closing, Parent shall approach existing shareholders of Parent with the express prior
  written consent of Lead Investor and use its commercially reasonable efforts to, after
  consultation with Lead Investor, either:



                                                  29
  4133768.14


                                                                                                   #13682.33
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                   Page 74 of 204 PageID 4370




                         (a)     repurchase Parent Common Shares from such shareholders on
  terms that are reasonably acceptable to Parent; provided, however, that unless otherwise
  consented to by Lead Investor (a) no such repurchase shall be made for a price per share greater
  than US$1 and (b) each such repurchase shall be consummated within ninety (90) days following
  the Initial Closing (each such repurchase being a "Parent Repurchase"). Simultaneously with
  each Parent Repurchase, the Company shall repurchase that number of Common Shares (which
  may include fractional shares) held by Parent (each a "Common Repurchase") equal to the
  number of Units purchased by Lead Investor in the associated Repurchase Closing.; or

                           (b)     assist Lead Investor or an Affiliate in soliciting for sale to Lead
  Investor or an Affiliate Parent Common Shares from such holders on terms satisfactory to Lead
  Investor in its sole discretion (each a "Direct Purchase").

         In no event shall the aggregate Direct Purchases and purchases of Units through
 Repurchase Closings exceed US$7,061,925. The processes set forth in the preceding subsections
 (a) and (b) are referred to herein collectively as the (the "Share Repurchase Program"). Lead
 Investor may in its sole discretion continue the Share Repurchase Program at any point and for
 any period of time following the initial 90 day period.

                  5.3.   USRPHC Reporting. For so long as Lead Investor holds any equity
  interest in the Company or any Subsidiary, Company shall provide Lead Investor with monthly
  testing reports setting forth the Company's determination of its status as a United States real
  property holding corporation ("USRPHC") as defined in the Code (each a "USRPHC Report"),
  with such determination based on the Code and other applicable law. Each such USRPHC
  Report shall include reasonable detail such that Lead Investor shall be able to reasonably verify
 the determinations made by the Company, and the Company shall make its employees and
 advisors available to Lead Investor and its advisors during normal business hours for the purpose
 of verifying the information and calculations included in a USRPHC Report. The Company shall
 prepare and provide to Lead Investor a USRPHC Report prior to any acquisition by it or a
 Subsidiary of any real property, the making of any material improvement to any piece of real
 property, the sale or other disposition of any material asset of the Company or a Subsidiary other
 than in the ordinary course of business, or the write-down or write-off of any asset that is a non-
 real property asset for the purposes of determining the Company's status as a USRPHC. The
 Company and its Subsidiaries shall at no time take any action that would cause the Company to
 be a USRPHC and shall use their respective best efforts to ensure that that the Company at no
 time becomes a USRPHC.

                5.4.  Execution of Stockholders Agreement. As soon as practicable following
 the Closing, the Company shall use all commercially reasonable efforts to obtain the signatures
 of each Converting Noteholder acquiring Common Stock to execute the signature page to the
 Stockholders Agreement and become a party thereto.

               5.5.   Confidential Information Agreements. The Company shall use
commercially reasonable efforts to cause each current employee, consultant and officer of the
Company to promptly execute an agreement with the Company regarding confidentiality,
proprietary information and assignment of inventions in a form reasonably acceptable to Lead
Investor.

                                                 30
4133768.14


                                                                                                    #13682.34
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                  Page 75 of 204 PageID 4371




                5.6. Other Post-Initial Closing Covenants. In the event that either or both of the
 Investors waive any of the conditions to the Initial Closing contained in Section 4.1 or 4.2 (each
 a "Closing Condition"), the Company or Parent, as applicable, shall use its commercially
 reasonable efforts to satisfy such Closing Conditions unless and until fully and finally waived in
 writing by the Investors.

        6.      Indemnification

                6.1.    Survival. The representations, warranties, covenants and agreements
 contained herein shall survive each of the Closings for the periods set forth below. No action for
 breach of any representation or warranty given at a Closing shall be brought more than 18
 months after such Closing, except for any claim for breach of any Fundamental Representations,
 which shall be brought within seven (7) years after the Closing (giving effect to any waiver,
 mitigation or extension thereof) applicable to the subject matter of such representations and
 warranties bars all claims with respect to such subject matter (each period, as applicable, the
 "Applicable Claims Period"). The agreements and covenants set forth in this Agreement shall
 survive indefinitely, unless specifically stated otherwise. Notwithstanding anything to the
 contrary, the Company and each Investor will be obligated to provide the indemnification
 contemplated under Subsections 6.2, and 6.3 respectively, only if the party entitled to receive
 indemnification under any such section validly delivers a written notice of such Claim (as
 defined below) in accordance with Subsection 6.4 to the party required to provide such
 indemnification on or prior to the conclusion of the Applicable Claims Period; provided,
 however, that if a Claim is validly delivered prior to the expiration of the Applicable Claims
 Period, then the rights of the party entitled to receive indemnification for the applicable
 representation or warranty will survive until such matter is resolved.

                 6.2.    Indemnification by Parent and Company. Company and Parent jointly and
 severally agree to indemnify and hold harmless the Investor Indemnified Parties from and
 against, and pay or reimburse the Investor Indemnified Parties for, any and all Adverse
 Consequences which any Investor Indemnified Party may suffer, sustain or incur directly or
 indirectly arising out of, relating to or otherwise by virtue of: (i) any inaccuracy in or breach of
 any of the representations or warranties contained in Section 2; (ii) any Proceeding that is or
 should be disclosed on Subsection 2.7; (iii) any inaccuracy in or breach of any of the
 representations or warranties contained in Subsection 2.24; (iv) any inaccuracy in or breach of
 any of the representations or warranties contained in Subsection 7.6; (v) a breach by Parent or
 Company of any of its covenants or agreements contained in this Agreement; and (vi) any Fraud.

                 6.3.   Indemnification by the Investors. Each Investor agrees severally, and not
 jointly, to indemnify and hold harmless the Company Indemnified Parties from and against, and
 pay or reimburse the Company Indemnified Parties for, any and all Adverse Consequences
 which any Company Indemnified Party may suffer, sustain or incur directly or indirectly arising
 out of, relating to or otherwise by virtue of: (i) any inaccuracy in or breach of any of the
 representations and warranties of such Investor contained in Section 3; (ii) a breach by such
 Investor of any of its covenants or agreements contained in this Agreement, or (iii) Fraud
 committed by such Investor.

                6.4.   Indemnification Procedure.

                                                 31
 4133768.14


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Case 3:19-cv-00764-X Document 155 Filed 09/17/19                   Page 76 of 204 PageID 4372




                         (a)    In the event that any Person entitled to indemnification under this
 Agreement (an "Indemnified Party") receives notice of the assertion of any claim (a "Claims")
 whether such Claim is brought by any Person who is not a Party or an Affiliate of a Party (a
 "Third Party Claim"), or of the commencement of any Proceeding by the same against such
 Indemnified Party, or a Direct Claim (as defined below) by a Company Indemnified Party
 against an Investor or an Investor Indemnified Party against the Company, with respect to which
 a Party is or may be required to provide indemnification under this Agreement (an
 "Indemnifying Party"), the Indemnified Party shall give written notice regarding such Claim
 describing the claim, the amount thereof (if known and quantifiable) and a reasonable description
 of the basis thereof (such notice, a "Claim Notice") to the Indemnifying Party within thirty (30)
 days after learning of such Claim; provided, however, that the failure to so notify an
 Indemnifying Party shall not relieve the Indemnifying Party of its obligations hereunder except
 to the extent (and only to the extent) that the Indemnifying Party forfeits rights or defenses by
 reason of such failure. The Indemnifying Party shall be entitled to participate in the defense of
 such Third Party Claim at such Indemnifying Party's expense, and at its option shall be entitled
 to assume the defense thereof (subject to the limitations set forth below) by appointing counsel
 reasonably acceptable to the Indemnified Party to be the lead counsel in connection with such
 defense.

                        (b)    If the Indemnifying Party has assumed the defense of a Third Party
 Claim in accordance with the terms hereof, the Indemnified Party shall be entitled to participate
 in the defense of such claim and to employ counsel of its choice for such purpose, and the fees
 and expenses of such separate counsel shall be borne by the Indemnified Party other than (i) any
 fees and expenses of such separate counsel that are reasonably incurred prior to the date the
 Indemnifying Party assumes control of such defense and (ii) any fees and expenses of such
 separate counsel if the Indemnified Party reasonably shall have concluded (upon advice of its
 counsel) that there may be one or more legal defenses available to such Indemnified Party that
 are not available to the Indemnifying Party or that the Indemnified Party and the Indemnifying
 Party may have materially different, conflicting, or adverse legal positions or interests with
 respect to such Third Party Claim.

                        (c)     Notwithstanding anything to the contrary contained herein, the
 Indemnifying Party shall not be entitled to control the defense of a Third Party Claim (and the
 Indemnified Party shall be entitled to maintain or assume control of the defense of such Third
 Party Claim) if (i) the Third Party Claim relates to or involves any criminal or quasi criminal
 Proceeding; (ii) the Indemnified Party reasonably believes an adverse determination with respect
 to the Third Party Claim would be detrimental to or injure the Indemnified Party's reputation or
 future business prospects; (iii) the Third Party Claim seeks an injunction or other equitable relief
 against the Indemnified Party; or (iv) the Indemnified Party reasonably believes that the Adverse
 Consequences relating to the claim could exceed the maximum amount that such Indemnified
 Party would then be entitled to recover under this Section 6.

                        (d)     If the Indemnifying Party shall control the defense of any Third
 Party Claim, the Indemnifying Party shall obtain the prior written consent of the Indemnified
 Party before entering into any settlement of, consenting to the entry of any judgment with respect
 to or ceasing to defend such Third Party Claim if (i) pursuant to or as a result of such settlement,
 consent or cessation, injunctive or other equitable relief will be imposed against the Indemnified

                                                 32
 4133768.14


                                                                                                    #13682.36
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                  Page 77 of 204 PageID 4373




 Party, or a finding or admission of any violation of law would be made by any Indemnified
 Party, or such settlement, consent or cessation could otherwise reasonably be expected to
 interfere with or adversely affect the business, operations or assets of the Indemnified Party; or
 (ii) such settlement or judgment does not expressly and unconditionally release the Indemnified
 Party from all liabilities and obligations with respect to such Third Party Claim.

                         (e)     Any claim by an Indemnified Party for indemnification not
 involving a Third Party Claim (a "Direct Claim") may be asserted by sending the Indemnifying
 Party a Claim Notice in accordance with Subsection 6.4(a). The Indemnifying Party shall have
 thirty (30) days after its receipt of such notice to respond in writing to such Direct Claim. If the
 Indemnifying Party does not so respond within such thirty (30) day period. the Indemnifying
 Party shall be deemed to have rejected such Claim, in which case the Indemnified Party shall be
 free to pursue such remedies as may be available to the Indemnified Party on the terms and
 subject to the provisions of this Agreement.

                6.5.   Certain Limitations.

                        (a)    Threshold on Adverse Consequences of Investor Indemnified
 Parties. Parent and the Company shall not be liable under Subsection 6.2(i) unless the aggregate
 Adverse Consequences incurred by the Investor Indemnified Parties with respect to all matters
 for which indemnification is to be provided under Subsection 6.2(i) exceed:

                              (i)      with respect to the Lead Investor Indemnified Parties, 1%
        of the Aggregate Purchase Price Share of the Lead Investor (the "Lead Investor
        Threshold"), in which event Parent and Company shall be jointly and severally liable
        under Subsection 6.2(i) for all Adverse Consequences in excess of 0.5% of the Aggregate
        Purchase Price Share of the Lead Investor (the "Lead Investor Deductible"); and

                              (ii)     with respect to the Fish Dish Indemnified Parties, 1% of the
        Aggregate Purchase Price Share of the Fish Dish Indemnified Parties (the "Fish Dish
        Threshold"), in which event Parent and Company shall be jointly and severally liable
        under Subsection 6.2(i) for all Adverse Consequences in excess of 0.5% of the Aggregate
        Purchase Price Share of Fish Dish (the "Fish Dish Deductible").

                        (b)    Threshold on Adverse Consequences of Company Indemnified
 Parties. Each Investor shall not be liable under Subsection 6.3(i) unless the aggregate Adverse
 Consequences incurred by the Company Indemnified Parties with respect to all matters for which
 indemnification is to be provided under Subsection 6.3(i) exceed the Lead Investor Threshold,
 with respect to the Lead Investor, or the Fish Dish Threshold, with respect to Fish Dish, in which
 event the applicable Investor shall be liable under Subsection 6.3(i) for all Adverse
 Consequences in excess of the Lead Investor Deductible or the Fish Dish Deductible, as
 applicable.

                      (c)     Cap on Adverse Consequences of Investor Indemnified Parties.
 The aggregate amount required to be paid by Parent and the Company to each Investor
 Indemnified Party under Subsection 6.2(i) shall not exceed the product of (i) such Investor's
 Indemnification Share, multiplied by (ii) $17,500,000 (the "Cap").


                                                 33
 4133768.14


                                                                                                   #13682.37
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                   Page 78 of 204 PageID 4374




                       (d)     Cap on Adverse Consequences of Company Indemnified Parties.
 The aggregate amount required to be paid by each Investor under Subsection 6.3(i) shall not
 exceed the product of (i) such Investor's Indemnification Share, multiplied by, (ii) the Cap.

                          (e)     Exceptions to Threshold, Deductible and Cap. Notwithstanding
 anything to the contrary contained herein, (i) the limitations set forth in Subsections 0 through (c)
 shall not apply to Adverse Consequences arising out of, relating to or otherwise by virtue of,
 directly or indirectly, any breach of the representations and warranties contained in Subsections
 2.1, 2.2, 2.4, 2.5, 2.19, 2.24, 2.28, 3.1, and 3.2, and (ii) no indemnification payment made by any
 Indemnifying Party arising out of, relating to or otherwise by virtue of, directly or indirectly, any
 breach of the representations and warranties contained in Subsections 2.1, 2.2, 2.4, 2.5, 2.19,
 2.24, 2.28, 3.1, and 3.2 shall be considered in determining whether the Lead Investor Threshold,
 the Fish Dish Threshold, the Lead Investor Deductible, the Fish Dish Deductible or the Caps
 have been exceeded; provided, however, in no event will the Company or Parent be responsible
 for Adverse Consequences to any Investor in excess of such Investor's Purchase Price Share.

                 6.6.    Materiality Qualifications. Notwithstanding anything to the contrary
 contained herein, for purposes of determining (a) the amount of Adverse Consequences arising
 from such a breach for which the Investor Indemnified Parties or the Company Indemnified
 Parties are entitled to indemnification under this Agreement and (b) whether the Lead Investor
 Threshold or the Fish Dish Threshold, as applicable, has been exceeded, each representation and
 warranty contained in this Agreement shall be read without giving effect to any qualification that
 is based on materiality, including the words "material", "material adverse effect", "in any
 material respect" and other uses of the word "material" or words of similar meaning (and shall be
 treated as if such words were deleted from such representation or warranty).

                6.7.    Indemnification as Sole Remedy. The indemnification provided for in this
 Section 6 shall be the sole and exclusive remedy and recourse for any breach of this Agreement.
 Notwithstanding anything in this Agreement to the contrary, (a) in the case of Fraud, the Investor
 Indemnified Parties or the Company Indemnified Parties, as applicable, shall have all remedies
 available under this Agreement or otherwise without giving effect to any of the limitations
 contained herein, and (b) nothing herein shall limit any party's right to seek and obtain equitable
 remedies with respect to any covenant or agreement contained in this Agreement.

                 6.8.    Investigation. Notwithstanding anything to the contrary contained in this
 Agreement, the representations, warranties, covenants and agreements contained herein, and any
 Person's right to indemnification or other remedies with respect thereto, shall not be affected or
 deemed waived by reason of (a) any investigation made by or on behalf of such Person or any of
 its Affiliates or the directors, officers, employees, consultants, financial advisors, counsel,
 accountants and other agents of such Person or any of its Affiliates or the fact that such Person or
 any of its Affiliates or the directors, officers, employees, consultants, financial advisors, counsel,
 accountants and other agents of such Person or any of its Affiliates knew or should have known
 at any time that any such representation or warranty is, was or might be inaccurate, or that any
 such covenant or agreement was, or may have been breached, in each case, at any time, whether
 before or after the execution and delivery of this Agreement or the Closing, or (b) such Person's
 waiver of any condition to the Closing or participation in the Closing.


                                                  34
 4133768.14


                                                                                                    #13682.38
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                  Page 79 of 204 PageID 4375




                  6.9.    Purchase Price Adjustment. Any indemnification received under this
  Section 6 shall be treated by Investors, Parent and the Company and their respective Affiliates, to
  the extent permitted by law, as an adjustment to the Purchase Price.

         7.      Miscellaneous.

                 7.1.   Successors and Assigns; Assignment. The terms and conditions of this
  Agreement shall inure to the benefit of and be binding upon the respective successors and
  permitted assigns of the parties. Nothing in this Agreement, express or implied, is intended to
  confer upon any party other than the parties hereto or their respective successors and assigns any
  rights, remedies, obligations or liabilities under or by reason of this Agreement, except as
  expressly provided in this Agreement. Each Investor may assign its rights, interests or
  obligations under in this Agreement to any Affiliate, and Lead Investor may assign to any
  Person, but this Agreement may not be assigned by any Investor to a non-Affiliate or a direct
  industry competitor without the prior written consent of the Company and Parent. This
  Agreement may not be assigned by the Company or Parent without the prior written consent of
  each Investor with any assignment not so consented to by the Investors being null and void ab


                 7.2.   Governing Law. This Agreement shall be governed by the internal laws of
  the State of Delaware without regard to the conflict of laws or rules of such state.

                 7.3.    Counterparts. This Agreement may be executed in two (2) or more
  counterparts, each of which shall be deemed an original, but all of which together shall constitute
  one and the same instrument. Counterparts may be delivered via facsimile, electronic mail
  (including .pdf) or other equivalent transmission method and any counterpart so delivered shall
  be deemed to have been duly and validly delivered and be valid and effective for all purposes.

                  7.4.   Titles and Subtitles; Currency. The titles and subtitles used in this
  Agreement are used for convenience only and are not to be considered in construing or
  interpreting this Agreement. Unless otherwise noted herein, all references to $ or dollars are to
  United States Dollars.

                 7.5. Notices. All notices and other communications given or made pursuant to
  this Agreement shall be in writing and shall be deemed effectively given upon the earlier of
  actual receipt, or (a) personal delivery to the party to be notified, (b) when sent, if sent by
  electronic mail or facsimile during normal business hours of the recipient, and if not sent during
  normal business hours, then on the recipient's next business day, (c) five (5) days after having
  been sent by registered or certified mail, return receipt requested, postage prepaid, or (d) one (1)
  business day after deposit with a nationally recognized overnight courier, freight prepaid,
  specifying next business day delivery, with written verification of receipt. All communications
  shall be sent to the respective parties at their address as set forth below, or to such e-mail
  address, facsimile number or address as subsequently modified by written notice given in
  accordance with this Subsection 7.5.

  If to the Company or Parent:



                                                  35
  4133768.14


                                                                                                   #13682.39
Case 3:19-cv-00764-X Document 155 Filed 09/17/19               Page 80 of 204 PageID 4376




                         VeroBlue Farms USA, Inc.
                         1507 Capital Avenue, Suite 101
                         Plano, Texas 75074
                         Attn: Chief Executive Officer
                         Facsimile:
                         E-mail: les.wulf@verobluefarms.com

         With a copy to (which shall not constitute notice):

                         Jackson Walker LLP
                         2323 Ross Avenue, Suite 600
                         Dallas, Texas 75201
                         Attn: Richard Dahlson
                         Facsimile: (214) 953-5896
                         Email: rdahlson@jw.com

  If to Lead Investor:
                         Alder Capital International Ltd.
                         131 Front Street
                         Hamilton HM 12, Bermuda
                         Attn: Director

         With a copy to (which shall not constitute notice):

                         Davis Graham & Stubbs LLP
                         1550 Seventeenth Street, Suite 500
                         Denver, Colorado 80202
                         Attn: Ron Levine
                         Facsimile: (303) 893-1379
                         Email: ron.levine@dgslaw.com

  If to Fish Dish:
                         FishDish, LLC
                         4501 Prairie Parkway
                         Cedar Falls, Iowa 50613
                         Attn: Kenneth A. Lockhard
                         Facsimile: (319) 277-8080
                         E-mail: ken( lockardonline.com




                                                    36
  4133768.14


                                                                                      #13682.40
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                   Page 81 of 204 PageID 4377




                With a copy to (which shall not constitute notice):

                      Christopher J. Rausch, Esq.
                      Senior Vice President & General Counsel
                      Lockard Development, Inc.
                      Lockard Construction, Inc.
                      4501 Prairie Parkway
                      Cedar Falls, Iowa 50613
                      Facsimile: (319) 277-8080
                      Email: CRausch@lockardonline.com

                 7.6.   Finder's Fees. The purchase of Units in the Initial Closing are subject to
 finder's fees to be paid to certain third parties by the Company or Parent out of the proceeds of
 the Initial Closing, in an amount or amounts that have been disclosed to the Investors
 (collectively, the "Finders Fees"). The Company and Parent represent that other than the Finders
 Fees, they both neither are nor will be obligated for any other finder's fee or commission in
 connection with the transactions contemplated by this Agreement, including the purchase of the
 Repurchase Units, the Option Units, the Lead Investor Warrants or purchase of Shares
 thereunder, the conversion of any Shares, the issuance of any Shares pursuant to a Penalty Right,
 or any purchases made by Lead Investor in the Share Repurchase Program. Further, the
 Company represents and warrants that the Finders Fees will be paid only in accordance with all
 applicable law.

                7.7.    Fees and Expenses. At the Initial Closing, the Company shall pay the
  reasonable fees and expenses of Lead Investor, including, without limitation Davis Graham &
  Stubbs LLP, counsel for Lead Investor, PricewaterhouseCoopers, and other advisers up to an
  aggregate of US$300,000. At each subsequent Closing, the Company shall pay any additional
  reasonable fees and expenses of Lead Investor, in an amount not to exceed, in the aggregate for
  each Repurchase Closing, US$50,000.

                 7.8.    Attorneys' Fees. If any action at law or in equity (including, arbitration) is
  necessary to enforce or interpret the terms of any of the Transaction Agreements, the prevailing
  party shall be entitled to reasonable attorneys' fees, costs and necessary disbursements in
  addition to any other relief to which such party may be entitled.

                 7.9.   Amendments and Waivers. Any term of this Agreement may be amended,
  terminated or waived only with the written consent of the Company, Parent, and each Investor;
  provided, however, that (i) Subsections 1.1(d), 1.3, 4.4, 4.5, 5.1, 5.2, 7.7, and 7.14 may be
  amended or waived by the written consent of Company, Parent, and Lead Investor, and (ii) any
  Subsection may be waived individually by the written consent of all parties to whom such
  condition or provision applies to be charged with such waiver.

                  7.10. Severability. If any provision in or obligation under this Agreement or any
  other document related to this Agreement shall be invalid, illegal or unenforceable in any
  jurisdiction, the validity, legality and enforceability of the remaining provisions or obligations, or
  of such provision or obligation in any other jurisdiction, shall not in any way be affected or
  impaired thereby. If a court of competent jurisdiction should determine that a provision hereof

                                                   37
  4133768.14

                                                                                                    #13682.41
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                  Page 82 of 204 PageID 4378




 would be valid or enforceable if a period of time were extended or shortened or a particular
 percentage were increased or decreased, then such court may make such change as shall be
 necessary to render the provision in question effective and valid under applicable law.

                7.11. Delays or Omissions. No delay or omission to exercise any right, power or
 remedy accruing to any party under this Agreement, upon any breach or default of any other
 party under this Agreement, shall impair any such right, power or remedy of such non-breaching
 or non-defaulting party nor shall it be construed to be a waiver of any such breach or default, or
 an acquiescence therein, or of or in any similar breach or default thereafter occurring; nor shall
 any waiver of any single breach or default be deemed a waiver of any other breach or default
 theretofore or thereafter occurring. Any waiver, permit, consent or approval of any kind or
 character on the part of any party of any breach or default under this Agreement, or any waiver
 on the part of any party of any provisions or conditions of this Agreement, must be in writing
 and shall be effective only to the extent specifically set forth in such writing. All remedies under
 this Agreement shall be cumulative and not alternative.

                7.12. Entire Agreement. This Agreement (including the Exhibits hereto), the
  Restated Certificate, the Certificate of Designation, the Restated Parent Articles, the Parent
  Articles of Amendment and the other Transaction Agreements constitute the full and entire
  understanding and agreement between the parties with respect to the subject matter hereof, and
  supersede all prior and contemporaneous written or oral agreements, negotiations,
  correspondence, undertakings and communications of the parties relating to the subject matter
  hereof.

            7.13. Dispute Resolution. THE PARTIES AGREE THAT ANY ACTION
  BROUGHT BY EITHER PARTY UNDER OR IN RELATION TO THIS AGREEMENT,
  INCLUDING WITHOUT LIMITATION ALL DISPUTES ARISING OUT OF OR RELATING
  TO THIS AGREEMENT, WILL BE BROUGHT IN THE FEDERAL COURTS OR THE
  COURT OF CHANCERY SITTING IN WILMINGTON, DELAWARE. EACH PARTY
  IRREVOCABLY AGREES TO AND SUBMITS TO THE JURISDICTION AND VENUE OF
  ANY SUCH COURT AND WAIVE ANY OBJECTION TO VENUE LAID THEREIN,
  INCLUDING ANY OBJECTION BASED ON AN ASSERTION OF INCONVENIENCE OF
  SUCH FORUM OR FORUM NON CONVENIENS.

  WAIVER OF JURY TRIAL: EACH PARTY HEREBY WAIVES ITS RIGHTS TO A JURY
  TRIAL OF ANY CLAIM OR CAUSE OF ACTION BASED UPON OR ARISING OUT OF
  THIS AGREEMENT, THE OTHER TRANSACTION DOCUMENTS, THE SECURITIES OR
  THE SUBJECT MATTER HEREOF OR THEREOF. THE SCOPE OF THIS WAIVER IS
  INTENDED TO BE ALL-ENCOMPASSING OF ANY AND ALL DISPUTES THAT MAY BE
  FILED IN ANY COURT AND THAT RELATE TO THE SUBJECT MATTER OF THIS
  TRANSACTION, INCLUDING, WITHOUT LIMITATION, CONTRACT CLAIMS, TORT
  CLAIMS (INCLUDING NEGLIGENCE), BREACH OF DUTY CLAIMS, AND ALL OTHER
  COMMON LAW AND STATUTORY CLAIMS. THIS SECTION HAS BEEN FULLY
  DISCUSSED BY EACH OF THE PARTIES HERETO AND THESE PROVISIONS WILL
  NOT BE SUBJECT TO ANY EXCEPTIONS. EACH PARTY HERETO HEREBY FURTHER
  WARRANTS AND REPRESENTS THAT SUCH PARTY HAS REVIEWED THIS WAIVER
  WITH ITS LEGAL COUNSEL, AND THAT SUCH PARTY KNOWINGLY AND

                                                  38
  4133768.14

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Case 3:19-cv-00764-X Document 155 Filed 09/17/19                   Page 83 of 204 PageID 4379




  VOLUNTARILY WAIVES ITS JURY TRIAL RIGHTS FOLLOWING CONSULTATION
  WITH LEGAL COUNSEL

                   7.14. N❑ Commitment for Additional Financing. The Company and Parent
  acknowledge and agree that Lead Investor has made no representation, undertaking, commitment
  or agreement to provide or assist the Company or Parent or any Subsidiary in obtaining any
  financing, investment or other assistance, other than the purchase of the Shares as set forth herein
  and subject to the conditions set forth herein. In addition, the Company and Parent acknowledge
  and agree that (i) no statements, whether written or oral, made by Lead Investor or its
  representatives on or before the date of this Agreement shall create an obligation, commitment or
  agreement to provide or assist the Company, Parent or any Subsidiary in obtaining any financing
  or investment, (ii) the Company and Parent shall not rely on any such statement by Lead Investor
  or its representatives, and (iii) an obligation, commitment or agreement to provide or assist the
  Company, Parent or any Subsidiary in obtaining any financing or investment may only be
  created by a written agreement, signed by Lead Investor and the Company, Parent or Subsidiary
  setting forth the terms and conditions of such financing or investment and stating that the parties
  intend for such writing to be a binding obligation or agreement. The Lead Investor shall have the
  right, in its sole and absolute discretion, to refuse or decline to participate in any other financing
  of or investment in the Company, Parent or Subsidiary, including declining to exercise any right
  to purchase Shares or Units under any other Transaction Agreement, and shall have no obligation
  to assist or cooperate with the Company, Parent or Subsidiary in obtaining any financing,
  investment or other assistance.

                  7.15. Non-Reliance. The Investors acknowledge and agree (i) that they have not
  relied upon the accuracy or completeness of any express or implied representation, warranty,
  statement, or information of any nature made or provided by or on behalf of the Company or the
  Parent, except for the representations and warranties of the Company expressly set forth in this
  Agreement or any other Transaction Agreement to which the Company or Parent is a party, and
  (ii) that the Company and the Parent will have no liability to any Investor with respect to any
  representation, warranty, statement, or information of any nature made or provided by or on
  behalf of the Company or Parent that is not set forth in this Agreement or any other Transaction
  Agreement; provided, however, that this Section 7.15 shall in no event be construed to bar any
  claim brought by an Investor or Investors for a breach of the representations and warranties of
  Section 2.26 or 2.27.

                  7.16. Representation. It is acknowledged by each of the parties hereto that the
  Company and Parent have retained Jackson Walker LLP (the "Legal Counsel") to act as their
  counsel in connection with the transactions contemplated hereby and that the Legal Counsel has
  not acted as counsel for any other Person in connection with the transactions contemplated
  hereby and that no other party to this Agreement or Person has the status of a client of any of the
  Legal Counsel for conflict of interest or any other purposes as a result thereof. Each Investor
  hereby agrees that, in the event that a dispute arises between any Investor or any of its Affiliates
  (including after the Company in the event the Company becomes an Affiliate of any Investor)
  and, Parent or any of its Affiliates, the Legal Counsel may represent Parent, the Company, any of
  their Affiliates, and any members of management of any of the foregoing (the "Management
  Persons") in such dispute even though the interests of such Person may be directly adverse to
  Investors or any of its Affiliates (including the Company if it becomes an Affiliate of any

                                                   39
   4133768.14

                                                                                                    #13682.43
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                   Page 84 of 204 PageID 4380




  Investor), and even though the Legal Counsel may have represented the Company in a matter
  substantially related to such dispute or may be handling ongoing matters for the Company. Each
  Investor, Parent, the Company, hereby waive, on behalf of themselves and each of their
  Affiliates, (a) any claim they have or may have that any of the Legal Counsel has a conflict of
  interest in connection with or is otherwise prohibited from engaging in such representation, (b)
  agree that, in the event that a dispute arises after the Closing between any Investor or any of their
  Affiliates (including the Company in the event it becomes an Affiliate of any Investor) on the
  one hand, and Parent, its Affiliates, or any Management Persons, on the other hand, the Legal
  Counsel may represent the Parent, its Affiliates, or such Management Persons, in such dispute
  even though the interest of any such party may be directly adverse to (i) such Investors or any of
  their Affiliates (including the Company if relevant), or (ii) Parent, the Company, its Affiliates, or
  any Management Persons and even though the Legal Counsel may have represented Parent, its
  Affiliates, or any Management Persons in a matter substantially related to such dispute or may be
  handling ongoing matters for any of Parent, its Affiliates, or any Management Persons. Each
  Investor further agrees that, (i) as to all communications between the Legal Counsel and Parent,
  the Company, its Affiliates, and any Management Persons that relate in any way to the
  transactions contemplated by this Agreement and the other Transaction Agreement, the attorney-
  client privilege, the expectation of client confidence and all other rights to any evidentiary
  privilege belong to either to the given Parent, the Company, Affiliate or Management Person, as
  applicable, and may be controlled by such Parent, Affiliate or Management Person, as
  applicable, and shall not pass to or be claimed by any Investor, the Company or any Subsidiary,
  and (ii) in the event that the Company becomes an Affiliate of any Investor or multiple Investors,
  as to all communications between the Legal Counsel and the Company, or among the Legal
  Counsel, the Company, the Parent, their Affiliates and/or the Management Persons prior to the
  Closing that relate in any way to the transactions contemplated by this Agreement and the other
  Transaction Agreements, the attorney-client privilege, the expectation of client confidence and
  all other rights to evidentiary privilege belongs to Parent or any specific Affiliate or Management
  Person who receives a communication, as applicable, and may be controlled by such Person, as
  applicable, and shall not pass to or be claimed by the Company or any Subsidiary. The parties
  hereto further agree that the Legal Counsel and their respective partners and employees are third
  party beneficiaries of this Section 7.16. It is acknowledged by each of the parties hereto that
  Lead Investor has retained Davis Graham & Stubbs LLP (the "Lead Investor Legal Counsel")
  to act as its counsel in connection with the transactions contemplated hereby and under the
  Transaction Agreements and that the Lead Investor Legal Counsel has not acted as counsel for
  any other Person, including but not limited to Fish Dish, in connection with the transactions
  contemplated hereby and that no other party to this Agreement or other Person has the status of a
  client of any of the Lead Investor Legal Counsel for conflict of interest or any other purposes as
  a result thereof. The parties hereto further agree that the Lead Investor Legal Counsel and their
  respective partners and employees are third party beneficiaries of this Section 7.16.

                                       [Signature Page Follows]




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Case 3:19-cv-00764-X Document 155 Filed 09/17/19                   Page 85 of 204 PageID 4381




              IN WITNESS WHEREOF, the parties have executed this Series A Preferred Share
        Purchase Agreement as of the date first written above.

                                                  PARENT:


                                                  VEROBLUE FARMS INC., a Canadian
                                                  corporation


                                                  By:
                                                  Name:             t`eJle.         taW/ c

                                                  Title:



                                                  COMPANY:


                                                  VEROBLUE FARMS USA, INC., a Nevada
                                                  corporation


                                                  By:
                                                  Name:            1,-QT 4c     Avc,if
                                                  Title:                  Ct   cY


                                                  LEAD INVESTOR:


                                                  ALDER CAPITAL INTERNATIONAL LTD.



                                                  By:
                                                  Name: Claude F. Lang
                                                 Title: Director




                         SIGNATURE PAGE TO VBF USA SHARE PURCHASE AGREEMENT




                                                                                             #13682.45
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                 Page 86 of 204 PageID 4382




             IN WITNESS WHEREOF, the parties have executed this Series A Preferred Share
       Purchase Agreement as of the date first written above.

                                                PARENT:


                                                VEROBLUE FARMS INC., a Canadian
                                                corporation


                                                By:
                                               Name:

                                                Title:



                                                COMPANY:


                                               VEROBLUE FARMS USA, INC., a Nevada
                                               corporation


                                               By:
                                               Name:

                                               Title:



                                               LEAD INVESTOR:


                                               ALDER CAP AL INTERNATIONAL LTD.



                                               By:
                                               Na          ct
                                               Title: Di   tor




                      SIGNATURE PAGE TO VBF USA SHARE PURCHASE AGREEMENT




                                                                                           #13682.46
Case 3:19-cv-00764-X Document 155 Filed 09/17/19         Page 87 of 204 PageID 4383




                                          FISH DISH:


                                          FISHDISH, LLC, an Iowa limited liability
                                          company




                  SIGNATURE PAGE TO VBF USA SHARE PURCHASE AGREEMENT




                                                                                     #13682.47
Case 3:19-cv-00764-X Document 155 Filed 09/17/19   Page 88 of 204 PageID 4384




                                   EXHIBITS



       Exhibit A -    FORM OF CERTIFICATE OF DESIGNATION
       Exhibit B -    FORM OF OPTION AGREEMENT
       Exhibit C -    [RESERVED]
       Exhibit D -    USE OF PROCEEDS
       Exhibit E -    FORM OF INDEMNIFICATION AGREEMENT
       Exhibit F -    FORM OF PENALTY RIGHTS AGREEMENT
       Exhibit G -    FORM OF REGISTRATION RIGHTS AGREEMENT
       Exhibit H -    FORM OF VOTING AGREEMENT
       Exhibit I -    DISCLOSURE SCHEDULES
       Exhibit J -    FORM OF EMPLOYMENT AGREEMENT
       Exhibit K -    FORM OF CONSULTING AGREEMENT
       Exhibit L -    [RESERVED]
       Exhibit M -    FORM OF MAINSTREAM AMENDMENT
       Exhibit N -    FORM OF STOCKHOLDERS AGREEMENT
       Exhibit 0 -    FORM OF LEAD INVESTOR WARRANT
       Exhibit P -    FORM OF MANAGEMENT OPTION AGREEMENT
       Exhibit Q -    FORM OF TANK MANUFACTURING AGREEMENT
       Exhibit R -    BUSINESS PLANS
       Schedule I -   INVESTOR DETAILS




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Case 3:19-cv-00764-X Document 155 Filed 09/17/19   Page 89 of 204 PageID 4385


                                Exhibit “A-2”
 Case 3:19-cv-00764-X Document 155 Filed 09/17/19                      Page 90 of 204 PageID 4386




                                 EMPLOYMENT AGREEMENT


         This Employment Agreement (this ''Agreemenf'), dated as of July 1, 2016 (the
 "Effective Date"), is by and between James Rea (the "Employee"), and VeroBlue Farms USA,
 Inc., a Nevada corporation (the "Company"). Employee and the Company are sometimes each
 referred to herein as a "Party" and collectively, as the "Parties".

                                            RECITALS

        WHEREAS, Employee performed services for the Company as a designated
 representative of RGI Dragon, LLC, an independent contractor ("Consultant") under that certain
 Management Services Agreement (the "MSA") among the Company, Consultant and the
 Company's parent, VeroBlue Famls Inc., a corporation incorporated under the laws of the
 Province of Ontario, Canada ("Parent Corporation");

       WHEREAS, the Parties .desire to terminate the MSA pursuant to that certain
 Termination and Payoff Agreement of even date herewith and replace it with this Agreement
 whereby the Company desires to employ Employee on the terms and conditions set forth herein,
 and Employee desires to accept such employment terms;

         NOW, THEREFORE, in consideration of the mutual covenants, promises and
 obligations set forth herein, the Parties agree as follows:

         1.     Employment.

               (a)      Title and Duties.       The Company hereby employs Employee, and
Employee hereby accepts such employment, to serve as Director of Construction, Design and
Tank Production of the Company. Subject to the provisions of this Agreement, the Company
and Employee agree that Employee's employment constitutes "at-will" employment. Employee's
duties, responsibilities and authority shall be consistent with Employee's position and title at the
Company and shall include such other duties, responsibilities and authority as may be assigned
to Employee by the Board of Directors of the Company (the "Boart"). Employee shall report to
the Chief Executive Officer of the Company .

                .(b)   Services and Exclusivity of Services. Employee shall devote Employee's
full business time and shall use Employee's best efforts, energy and ability exclusively toward
advancing the business, affairs and interests of .the Company, and matters related thereto.
Employee will not engage in any other business, profession or occupation for compensation or
otherwise which would conflict or interfere with the performance of such services either directly
or indirectly without the prior written consent of the Board. Except as prohibited by Section 4,
nothing in this Agreement shall preclude Employee from serving or participating on a board of
or in trade organizations, charitable, community, school or religious activities or participating in
other business endeavors, so long as such activities do not interfere with his duties and
responsibilities hereunder or conflict with the interests of the Company.

             (c)   Location of Office. The Company shall make available to Employee an
office and support services in Dallas, Texas, or at another location pursuant to the



16602960v.l
 Case 3:19-cv-00764-X Document 155 Filed 09/17/19                     Page 91 of 204 PageID 4387




 recommendation of the Chief Executive Officer and the Board. Employee's main office shall be
 at such location; provided, however, that Employee will travel from time to time as business
 needs arise.

         2.      Term. The term of this Agreement shall commence on the Effective Date and
 shall continue indefinitely until terminated pursuant to Section 5 below (the "Term").

          3.    Compensation.

                  (a)    Base Salary. During the Term, the Company will pay to Employee a base
  salary at the rate of $400,000 per year, payable in accordance with the Company's practices in
 effect from time to time ("Base Salary"). Amounts payable shall be reduced by standard
 withholdings and other authorized deductions. Such Base Salary shall be reviewed during the
 Tenn for adjustment in the sole discretion of the Board, or such individual, group or committee
 that the Board may select as its delegate, not less frequently than annually during the Ternl;
 provided that no decrease may be made to Base Salary unless a corresponding percentage
 decrease in base salary is being made to all similarly situated employees of the Company. In
 conducting any such review, the Board or such delegate shall consider and take into account,
 among other things, any change in Employee's responsibilities, performance of Employee, the
 compensation of other similarly situated employees of comparable companies and other pertinent
 factors.

               (b)     Car Allowance. Employer will pay Employee a car allowance of $1,500
 per calendar month, payable on the first day of each month.

                 (c)     Bonuses, Savings and Retirement Plans; Benefit Plans. Employee shall be
entitled to participate in all annual and long-term bonuses, savings and retirement plans generally
available to other similarly situated employees of the Company. The decision to provide any
bonus and the amount and terms of any bonus shall be in the sole and absolute discretion of the
Board. Employee, and Employee's family as the case may be, and to the extent Employee and
such family member are eligible, may participate in and receive all benefits under health benefit
plans, practices, programs and policies provided to employees of the Company. The Company
reserves the right to modify, suspend or discontinue any and all of its benefits referr~d to in this
Section 3(b) at· any time in its sole discretion without recourse by Employee so ·long as such
action is taken generally with respect to other employees and does not single out Employee .

              . (d)  Reimbursement of Expenses. The Company shall promptly reimburse
 Employee for any reasonable and necessary out-of-pocket expenses incurred by him in
connection with the performance of Employee's duties hereunder, provided that Employee
furnishes to the Company in a timely manner appropriate documentation in accordance with the
Company's expense reimbursement policies and procedures and such other reasonable
documentation and accounting as the Company, from time to time, may reasonably request.

               (e)   Vacation. Employee shall provide services for 48 out of every 52 week
period during the Tenn (e.g., the equivalent of four (4) weeks of paid vacation).




                                                2
16602960v.l
 Case 3:19-cv-00764-X Document 155 Filed 09/17/19                      Page 92 of 204 PageID 4388




          4.     Representations; Confidential Information; Non-Competition; Non-Solicitation.

                (a)     Representations. In order to induce the Company to enter into this
 Agreement, Employee represents and warrants to the Company that neither the execution nor the
 performance of this Agreement by Employee will violate or conflict in any way with any other
 agreement by which Employee may be bound, or with any other duties imposed upon Employee
 by corporate or other statutory or common law.

                 (b)      Confidentiality. Employee acknowledges that during his employment and
 as a result of his past, present and future relationship with the Company, Employee has obtained
 and will· obtain knowledge of, and has been given and will be given access to, infonnation
 concerning the Company and Parent Corporation and their respective affiliates, including, but
 not limited to, information regarding the business, operations, services, proposed services,
 business processes, business and marketing strategies, advertising, marketing and promotional
 plans and materials, pricing strategies and policies, financial information, stockholders and other
 trade secrets, confidential information and proprietary material of the Company, including
 information and material originated, discovered or developed in whole or in part by Employee
 (collectively referred to herein as "Confidential In/or/nation"). The tenn "Confidential
Information" does not include any infonnation which (i) at the time of disclosure is generally
 available to the public (other than as a result of a disclosure by Employee in breach of this
Agreement), or (ii) was available to Employee on a non-confidential basis from a source (other
than the Company or its representatives) that is not and was not prohibited from disclosing such
information to Employee by a contractual, legal or fiduciary obligation. Employee agrees that
during the Term and, to the fullest extent permitted by law, thereafter, Employee will, in a
fiduciary capacity for the benefit of the Company, hold all Confidential Infonnation strictIy in
confidence and will not directly or indirectly reveal, report, disclose, publish or transfer any of
such Confidential Information to any person or entity, or utilize any of the Confidential
Information for any purpose, except in furtherance of Employee's employment under this
Agreement and except to the extent that Employee may be required by law to disclose any
Confidential Infonnation. Employee acknowledges that the Company is providing Employee
additional Confidential lnfonnation that Employee was not given prior to execution of this
Agreement, as further consideration to Employee for executing this Agreement, including the
promises and covenants made by Employee in this Section 4.

                (c)     Non-Competition and Non-Solicitation. In further consideration of the
 compensation to be paid to Employee hereunder, Employee acknowledges that during the course
 of his employment and prior service with the Company, he has, and will, become familiar with
 the trade secrets of the Company and. with other Confidential Information concerning the
Company and that his services have been and shall continue to be of special, unique and
extraordinary value to the Company. Therefore, Employee agrees that, during Employee's
employment hereunder and for one year after the date of termination of employment (the
"Restricted Periotf'), he shall not directly or indirectly: (i) own any interest in, manage, control,
participate in, consult with, render services for, be employed in an executive, managerial or
administrative capacity by, or in any manner engage in, any Competing Business (as defined
below); (ii) solicit, request or induce any employee, consultant or agent of the Company or
Parent Corporation or any of their respective affiliates to terminate his or her employment or
relationship with such company, nor hire any employee, or consultant of the Company or Parent

                                                 3
16602960v.l
 Case 3:19-cv-00764-X Document 155 Filed 09/17/19                       Page 93 of 204 PageID 4389




  Corporation or any of their respective affiliates, or (iii) solicit, request, or induce or attempt to
  solicit, request, or itiduceor attempt to induce any customer, supplier, licensee or other business
  relation of the Company or Parent Corporation or any of their respective affiliates to cease doing
  business with, or modify its business relationship with the Company or Parent Corporation or
  any of their respective affiliates, or in any way interfere with or hinder the relationship between
  any such customer, supplier, licensee or business relation and the Company or Parent
  Corporation or any of their respective affiliates, as applicable; provided that with respect to this
  Section 4(c), the Company shall have the option, but not the obligation, in its sole discretion, to.
  extend the Restricted Period from a period of one (1) year to a period of two (2) years from the
  date of Employee's termination by agreeing in writing within one (1) month of such termination
  to extend the Severance Term provided in Section 5(d)(i)(B) from (1) year to two (2) years from
 the date following termination. For purposes hereof, "Competing Business" means a business
 that competes with the Company or Parent Corporation, or any of their respective affiliates in
 any geographic territory in which the Company, Parent Corporation, or any such affiliate
 conducts, sells or markets its business or plans to conduct, sell or market its business. Nothing
 herein shall prohibit Employee from being a passive owner of not more than five percent (5%) of
 the outstanding stock of any class of a corporation that is publicly traded, so long as Employee
 has no active participation in the business of such corporation.

                 (d)     Proprietary Interest. All correspondence, communications (electronic or
  otherwise), data, reports, software, systems, databases, methodology, processes, programs,
  templates, procedures, know-how, inventions, discoveries, creations, designs, improvements,
 patents, copyrights, discoveries or ideas which Employee conceives, develops, or produces
 (whether before the Effective Date during his past services, as part of his employment
 obligations and/or duties, solely or jointly with others, or otherwise), which relate to the business
 of the Company (collectively, the "Work Product"), including trade secrets, data, methodology,
 processes, programs, templates, and information concerning proprietary teclmology developed
 for the business, or for any interests of the Company, shall belong solely and exclusively to the
 Company, together with any intellectual property rights associated with such Work Product (the
"]P Rights"). Employee acknowledges that all original works of authorship which are made by
 Employee (solely or jointly with others) during his prior services or within the scope of his
 employment with the Company and which are protectable by copyright laws are "works made
 for hire," pursuant to the United States Copyright Act (17 U.S.C., Section 101), and that such
works made for hire shall constitute part of the IP Rights. Employee shall assist the Company or
its designees to obtain, and from time to time enforce, United States and foreign IP Rights in any
and all countries. To that end, Employee shall execute, verify, and deliver such documents and
perform such other acts (including appearing as a witness) as the Company may reasonably
request for use in applying for, obtaining, perfecting, evidencing, sustaining and enforcing such
IP Rights and the assignment thereof. In addition, Employee wiII execute, verify, and deliver
assignments of such IP Rights to the Company or its designee. Employee's obligation to assist
the Company with respect to IP Rights shall continue beyond Employee's employment with the
Company. Employee hereby waives and quitclaims to the Company any and all claims, of any
nature whatsoever, which Employee now or may hereafter have for infringement of any IP
Rights assigned hereunder to the Company.

               (e)    Return of Materials. Employee expressly acknowledges that all physical
property, data, books, records and other Confidential Information of the Company obtained in

                                                  4
16602960v.l
 Case 3:19-cv-00764-X Document 155 Filed 09/17/19                    Page 94 of 204 PageID 4390




 connection with the Company's business is the exclusive property of the Company and that upon
 the tennination of Employee's employment by the Company, Employee will immediately
 surrender and return to the Company all such items and all other property· belonging to the
 Company then in the possession of Employee, and Employee shall not make or retain any copies
 thereof.

                 (f)     Property of the Company. Employee acknowledges that from time to time
 in the course of providing past services and future services pursuant to this Agreement,
 Employee shall have had and will have the opportunity to inspect and use certain property, both
 tangible and intangible, of the Company and Employee hereby agrees that such property shall
 remain the exclusive property of the Company. Employee shall have no right or proprietary
 interest in such property, whether tangible or intangible.

               (g)     Reasonable in Scope and Duration; Consideration. Employee agrees and
 acknowledges that the restrictions contained in this Section 4 are reasonable in scope and
 duration and are necessary to protect the business interests and Confidential Information of the
 Company after the Effective Date, and Employee further agrees and acknowledges that he has
 reviewed the provisions of this Agreement with his legal counseL Employee acknowledges and
 agrees that Employee will receive substantial, valuable consideration from the Company for the
 covenants contained in this Section 4, including without limitation, compensation and other
 benefits.

               (h)     Non-Disparagement. Following separation of employment:

                       (i)     Employee agrees not to make to any person, including but not
               limited to customers of the Company, any statement that disparages the Company,
               Parent Corporation and its stockholders, or the Company's affiliates, or which
               reflects negatively upon the Company, Parent Corporation and its stockholders or
               the Company's affiliates,' including but not limited to statements regarding the
               Company's or Parent Corporation's financial condition, its officers, managers,
               stockholders, employees and affiliates; and

                      (ii)  The Company agrees not to make to any person any statement that
               disparages Employee, or which reflects negatively upon Employee.

                (i)     Enforcement. If, at the time of enforcement of Section 4 of this
Agreement, a court holds that the restrictions stated herein are unreasonable under circumstances
then existing, the Parties hereto agree that the maximum duration, scope or geographical area
reasonable under such circumstances shall be substituted for the stated period, scope or area and
that the court shall be allowed to revise the restrictions contained herein to cover the maximum
duration, scope and area permitted by law.

               (j)    Extension of Restricted Periods. In addition to the remedies the Company,
may seek and obtain pursuant to this Agreement, the applicable restricted periods set forth herein
shall be extended by any and all periods during which Employee shall be found by a court of
competent jurisdiction to have been in violation of the covenants contained herein.



                                                5
16602960v.l
 Case 3:19-cv-00764-X Document 155 Filed 09/17/19                      Page 95 of 204 PageID 4391




          5.    Termination.

                (a)   Termination Prior to Expiration of Term. Notwithstanding anything to the
 contrary contained in Section 2, Employee's employment· may be terminated prior to the
 expiration of the Term only as provided in this Section 5. Employee's employment with the
 Company shall cease effective on such tennination date, and except as provided in this Section 5,
 the Company shall have no further obligations to Employee.

                (b)    Death or Disability.

                       (i)     The Company may terminate Employee's employment hereunder
               due to death or Disability (as defined below). If Employee's employment
               hereunder is terminated as a result of death or Disability, Employee (or
               Employee's estate or personal representative in the event of death) shall be
               entitled to receive: (i) all Base Salary due to Employee through the date of
               termination; (ii) any previously vested benefits, such as retirement benefits and
               vacation pay, in accordance with the terms of the plan or agreement pursuant to
               which such benefits were granted to Employee; (items (i) and (ii) above
               collectively referred to as "Accrued Employment Entitlements"); and (iii) any
               benefits payable to Employee or Employee's beneficiaries, as applicable, in
               accordance with the terms of the applicable benefit plan.

                        (ii)   As used herein, "Disability" shall mean a determination by the
               Company, in its reasonable discretion, that the Employee is unable to engage in
               the customary duties and responsibilities of his position by reason of any
               medicaI1y determinable physical or mental impairment that can be expected to
               result in death or can be expected to la:st for a continuous period of at least six (6)
               months. Employee's Disability shall be determined by the Company, in good
               faith, based upon information supplied by Employee andlor a physician mutually
               agreed upon by the Company and Employee. Employee agrees to submit to
               physical exams and diagnostic tests reasonably recommended by such physician.

             (c)     Termination by the Company for Cause or by Employee because of a
Voluntary Tem1ination.

                       (i)     Employee's employment hereunder may be terminated by the
               Company for Cause (as hereinafter defined) or, subject to Section 5(d) hereof, by
               Employee under a Voluntary Termination (as hereinafter defined). If Employee's
               employment hereunder is terminated under this Section 5(c), Employee shall be
               entitled to receive Employee's Accrued Employment Entitlements. Except as
               specifically set forth in this Section 5(c), the Company shall have no further
               obligations to Employee following a termination for Cause, or a Voluntary
               Termination.

                      (ii)     "Egregiolls Cause" shall mean (i) commission by Employee of a
               felony or crime involving moral turpitude, or the commission by Employee of any
               other willful act or willful omission involving dishonesty or fraud with respect to


                                                 6
16602960v.l
 Case 3:19-cv-00764-X Document 155 Filed 09/17/19                   Page 96 of 204 PageID 4392




               the Company, or any of its customers or suppliers; (ii) a breach of this Agreement
               by Employee and/or Employee's gross neglect of Employee's duties hereunder
               which is not cured to the Board's reasonable satisfaction within fifteen (15) days
               after notice thereof is given to Employee by the Board; and (iii) damage to or
               misappropriation or conversion of any funds or assets of the Company.

                      (iii)  "Non-Egregious Cause" shall mean (i) engaging in conduct
              bringing the Company into public disgrace or disrepute or causing economic
              harm; (ii) material or repeated failure to perform Employee's duties as directed by
              the Board following notice of such breach and failure to cure such breach within
              fifteen (15) days of such notice; and (iii) Employee's failure to follow the
              Company's policies or applicable law in connection with the performance of
              Employee's duties, and such failure is not cured by Employee within fifteen (15)
              days following Employee's receipt of written notice from the Company
              specifying such failure.

                       (iv)   "Cause" shall mean either Egregious Cause or Non-Egregious
              Cause.

                     (v)     "Voluntary Terminatioll" shall mean a termination of employment
              by Employee on Employee's own initiative other than (i) a termination due to
              death or Disability or (ii) a termination for Good Reason (as defined below).

                 (d)     Termination by the Company without Cause or by Employee for Good
Reason. The Company may terminate Employee's employment hereunder without Cause and
Employee shall be permitted to terminate Employee's employment hereunder for Good Reason
(as hereinafter defined) prior to the end of the Term. If the Company terminates Employee's
employment hereunder without Cause, other than due to death or Disability, or if Employee
effects a termination for Good Reason, Employee shall be entitled to receive the payments and
benefits set forth in this Section 5(d).

                      (i)    So long as Employee has not breached any of the terms contained
              in Section 4, Employee shall be entitled to each of the following:

                              (A)   Employee's Accrued Employment Entitlements;

                              (B)   Except as otherwise modified pursuant to Section 4Cc),
                                    Employee's miliual Base Salary in effect as of the date of -
                                    such termination, payable in accordance with the
                                    Company's normal payroll practices for a period of one (1)
                                    year ("Severance Tel'm") following such tennination; and

                              (C)   the actual bonus, if any, he would have received in respect
                                    of the fiscal year in which his termination occurs, prorated
                                    by a fraction, the numerator of which is the number of days
                                    in such fiscal year prior to the date of Employee's
                                    termination and the denominator of which is 365, payable
                                    at the same time as any such bonus payments are made to

                                              7
16602960v.l
  Case 3:19-cv-00764-X Document 155 Filed 09/17/19                     Page 97 of 204 PageID 4393




                                       other similarly situated active employees pursuant to the
                                       terms of the bonus plan and subject to satisfaction of the
                                       performance targets for such fiscal year; provided that, any
                                     . such bonus payment shall be paid to Employee in the fiscal
                                       year following the fiscal year in which the termination of
                                       employment occurred;

                       (ii)    "Good Reason" means and shall be deemed to exist if, without the
               prior written consent of Employee, (i) Employee suffers a reduction in Base
               Salary of greater than ten percent (10%) or a material reduction in duties,
               responsibilities or effective authority associated with Employee's title and
               position as set forth and described in this Agreement or is otherwise assigned any
               duties or responsibilities inconsistent in any material respect therewith (other than
               to the extent any such reduction in Base Salary is commensurate with a reduction
               of the salaries of other senior management of the Company); provided that, the
               foregoing shall not apply to any material reduction in duties following notice
               being provided of a termination for Cause, Disability or under a Voluntary
               Ternlination; (ii) the Company fails to pay Employee any amounts required to be
              paid or provided under this Agreement or is otherwise in material breach of this
              Agreement; or (iii) the office where Employee is required to report for work is
              moved more than fifty (50) miles from its current location. No termination by
              Employee shall be for "Good Reason" unless written notice of such termination
              setting forth in particular the event(s) constituting Good Reason is delivered to the
              Company within thirty (30) days following the date on which the event
              constituting Good Reason occurs and the Company fails to cure or remedy the
              event(s) identified in the notice within thirty (30) days after receipt of such notice,
              and Employee actually terminates employment within thirty (30) days following
              the end ofthe Company's cure period.

              (e)     Rights and Conditions Regarding Termination.

                       (i)     Any payments made to Employee pursuant to this Section 5 shall
               be in lieu of any rights under any severance plan or policy being utilized for or
              provided to the Company's other officers and employees, if applicable.
              Reporting of and withholding on any payment under this subsection for tax
              purposes shall be at the discretion of the Company in conformance with
              applicable tax laws. If a claim is made against the Company for any additional
              tax or Withholding in connection with or arising out of any payment pursuant to
              this subsection, Employee shall pay any such claim within thirty (30) days of
              being notified by the Company and agrees to indemnify the Company and hold it
              harmless against such claims, including, but not limited to, any taxes, attorneys'
              fees, penalties, and/or interest, which are or become due from the Company.

                     (ii)     Employee's receipt of any pay under this Section 5 shall be subject
              to the execution by Employee of, and terms of, a general release of claims,
              substantially in a form to be provided by the Comp~IllY to Employee within ten
              (10) days following such termination, and the non-revocation of such release by


                                                8
16602960v.l
 Case 3:19-cv-00764-X Document 155 Filed 09/17/19                      Page 98 of 204 PageID 4394



                 Employee pursuant to any revocation rights afforded by applicable law. The
                 general release must be executed and become irrevocable no later than sixty (60)
                 days following the date of such termination, otherwise Employee shall forfeit any
                 and all rights to such pay.

                          (iii)   If the sixty (60)-day period described in Section 5(e)(ii) begins in
                 one calendar year and ends in a second calendar year (a "Crossover 60-Day
                 Periotf') and if there are any payments under this Section 5 due Employee that
                 are: (i) conditioned on Employee signing and not revoking a release of claims and
                 (ii) otherwise due to be paid during the portion of the Crossover 60-Day Period
                 that falls within the first year, then such payments will be delayed and paid in a
                 lump sum during the portion of the Crossover 60-Day Period that falls within the
                 second year.

                  (f)     Transfers of Equity Prior to and Following Termination of Employment.
 During the term of Employee's employment hereunder, neither Employee nor any of his
 affiliates shall be entitled to assign, sell, pledge, mortgage, hypothecate, encumber, dispose of or
 otherwise transfer ("Transfer") any shares of commori stock or other equity of the Company or
 Parent Corporation oWned by Employee or such affiliate (excluding any common stock or other
 equity that Employee or such affiliate receives pursuant to the 2016 Stock Option Plan of the
 Company) (collectively, the "Employee Equity") except by operation of law upon Employee's or
 such affiliate's death. Following the termination of Employee's employment hereunder for any
 reason, neither Employee nor any of his affiliates shall be entitled to Transfer any Employee
 Equity except by operation of law upon Employee's or such affiliate's death or in accordance
 with this Section 5{f):                                   .

                        (i)      At any time when the Majority Series A Holder (as defined in the
                Articles of Incorporation of the Company, as amended, including by the
                Certificate of Voting Powers, Designations, Preferences, Limitations,
                Restrictions, Relative Rights and Distinguishing Designation of Series A
                Preferred Stock of the Company) (the "Majority Series A Holder") owns less than
                fifty-one percent (51 %) of the aggregate common stock and preferred stock (on an
                as-converted basis) of the Company then outstanding, neither Employee nor any
                of his affiliates may Transfer any Employee Equity without (A) first providing the
                Majority Series A Holder the right of first refusal to purchase all of such
               Employee Equity for the purchase price determined in accordance with
               Section 5(f)(iii) and on other terms reasonably acceptable to the Majority Series A
               Holder, which right of first refusal shall be exercisable for a period of at least
               fifteen (15) business days after the Majority Series A Holder receives written
               notice of the desired transfer and the purchase price determined in accordance
               with Section 5(f)(iii); (B) if the Majority Series.A Holder does not exercise such
               right of first refusal, then providing each other holder of shares of Series. A
               prefened stock of the Company a secondary refusal right to purchase (on a pro
               rata basis in accordance with their respective ownership of Series A prefened
               stock of the Company or in such other proportions agreed to by such
               stockholders) all of such Employee Equity for the purchase price determined in
               accordance with Section 5(O(iii) and on other tenns no more favorable to such

                                                 9
16602960v.l
 Case 3:19-cv-00764-X Document 155 Filed 09/17/19                      Page 99 of 204 PageID 4395




                holders of Series A preferred stock than those offered to the Majority Series A
                Holder, which secondary refusal right shall be exercisable for a period of at least
                fifteen (15) business days; and (C) if the Majority Series A Holder and the other
               holders of Series A preferred stock of the Company do not exercise their rights
               pursuant to the preceding clauses (A) and (B), then providing the Company a
               tertiary refusal right to purchase all of such Employee Equity for the purchase
               price determined in accordance with Section 5(f)(iii) and on other terms no more
               favorable to the Company than those offered to the Majority Series A Holder,
               which tertiary refusal right shall be exercisable for a period of at least fifteen (15)
               business days. If none of the foregoing persons exercises its refusal right in
               connection with such proposed Transfer, then for a period of ninety (90) days
               after the end of the Company's fifteen (15)-day exercise period, Employee or
               such affiliate shall be entitled to Transfer all, but not less than all, of such
               Employee Equity that was offered to the foregoing persons to any third-party
               purchaser, for a purchase price equal to or greater than the purchase price
               determined iIi accordance with Section S(D(iii) and on other terms no more
               favorable to such third-party purchaser than those offered to the Majority Series A
               Holder (or at any lesser purchase price or on more favorable terms, provided that
              such purchase price and more favorable terms are first offered to the Majority
              Series A Holder and, if applicable, the other holders of Series A preferred stock of
              the Company and, if applicable, the Company, in accordance with this
              Section 5(f)(i»), subject to compliance with applicable law and subject to such
              third-party purchaser'S execution of a joinder agreement to each stockholders
              agreement (or the equivalent) of the Company or Parent Corporation by which
              Employee or such transferring affiliate is bound with respect to the transferred
              Employee Equity; provided that if such Transfer is not consummated within such
              ninety (90)-day period, such Transfer shall again become subject to the refusal
              rights set forth in this Section S(D.

                      (ii)     At any time when the Majority Series A Holder owns at least fifty-
              one percent (51%) of the aggregate common stock and preferred stock (on an as-
               converted basis) of the Company then outstanding, neither Employee nor any of
              his affiliates may Transfer any Employee Equity without (A) first providing the
              Company the right of first refusal to purchase all of such Employee Equity for the
              purchase price determined in accordance with Section S(f)(iii) and on other terms
              reasonably acceptable to the Company, which right of first refusal shall ·be
              exercisable for a period of at least fifteen (15) business days after the Company
              receives written notice of the desired transfer and the purchase price determined
              in accordance with Section S(f)(iii); (8) if the Company does not exercise such
              right of first refusal, then providing the Majority Series A Holder the secondary
              refusal right to purchase all of such Employee Equity for the purchase price
              detennined in accordance with Section S(f)(iii) and on other terms reasonably
              acceptable to the Majority Series A Holder, which secondary refusal right shall be
              exercisable for a period of at least fifteen (15) business days; (C) if the Company
              and the Majority Series A Holder do not exercise their rights pursuant to the
              preceding clauses (A) and (B), then providing each other holder of shares of
              Series A preferred stock of the Company a tertiary refusal right to purchase (on a

                                                10
16602960v.l
 Case 3:19-cv-00764-X Document 155 Filed 09/17/19                    Page 100 of 204 PageID 4396




                 pro rata basis in accordance with their respective ownership of Series A preferred
                 stock of the Company or in such other proportions agreed to by such
                 stockholders) all of such Employee Equity for the purchase price determined in
                 accordance with Section S(f)(iii) and on other terms no more favorable to such
                 holders of Series A prefelTed stock than those offered to the Majority Series A
                 Holder, which tertiary refusal right shall be exercisable for a period of at least
                 fifteen (15) business days; and (D) if the Company, the Majority Series A Holder
                 and the other holders of Series A preferred stock of the Company do not exercise
                their rights pursuant to the preceding clauses (A), (B) and (C), then providing the
                 other stockholders of the Company a quaternary refusal right to purchase (on a
                pro rata basis in accordance with their respective ownership of common stock of
                the Company or in such other proportions agreed to by such stockholders) all of
                such Employee Equity for the purchase price determined in accordance with
                Section 5Cf)(iii) and on other terms no more favorable to the other stockholders
                than those offered to the Majority Series A Holder, which quaternary refusal right
                shall be exercisable for a period of at least fifteen (15) business days. If none of
                the foregoing persons exercises its refusal right in connection with such proposed
               Transfer, then for a period of ninety (90) days after the end of the fifteen (IS)-day
               exercise period provided for in the preceding clause (D), Employee or such
               affiliate shall be entitled to Transfer all, but not less than all, of such Employee
               Equity that was offered to the foregoing persons to any third-party purchaser, for
               a purchase price equal to or greater than the purchase price detennined in
               accordance with Section 5(f)Wi) and on other terms no more favorable to such
               third-party purchaser than those offered to the Majority Series A Holder (or at any
               lesser purchase price or on more favorable terms, provided that such purchase
               price and more favorable ternlS are first offered to the Company and, if
              applicable, the Majority Series A Holder and, if applicable, the other holders of
              Series A preferred stock of the Company and, if applicable, the other stockholders
              of the Company, in accordance with this Section 5(f)(ii), subject to compliance
              with applicable law and subject to such third-party purchaser'S executing a
              joinder agreement to each stockholders agreement (or the equivalent) of the
              Company or Parent Corporation by which Employee or such transferring affiliate
              is bound with respect to the transferred Employee Equity; provided that if such
              Transfer is not consummated within such ninety (90)-day period, such Transfer
              shall again become subject to the refusal rights set forth in this Section 5(f).

                      (iii)  The purchase price at which Employee or his affiliate shall first
              offer to sell any Employee Equity to the Majority Series A Holder, other
              stockholders of the Company or the Company, as applicable, pursuant to this
              Section 5(f) shall be detelmined as follows: (A) if Employee's employment
              hereunder was terminated for Egregious Cause, such purchase price shall be an
              amount determined by the Board, which shall be no less than the cost-basis for
              such Employee Equity and no more than the Fair Market Value (as defined
              below) of such Employee Equity, less in either case all applicable withholding
              taxes; and (B) if Employee's employment hereunder was terminated for any
              reason other than for Egregious Cause, such purchase price shall be an amount
              equal to the Fair Market Value of such Employee Equity, less all applicable

                                               11
16602960v.l
 Case 3:19-cv-00764-X Document 155 Filed 09/17/19                   Page 101 of 204 PageID 4397




               withholding taxes. "Fair Market Value" means as of any date, the value of the
               Employee Equity determined as follows: (x) If the Employee Equity is listed on
               any established stock exchange, the Fair Market Value of a share of common
               stock shall be the closing sales price for such stock as quoted on such exchange
               (or the exchange with the greatest volume of trading in the common stock) on the
               last market trading day prior to the day of determination, as reported in The Wall
               Street Journal or such other source as the Board deems reliable, or (y) in the
               absence of such markets for the Employee Equity, the Fair Market Value shall be
               determined in good faith by the Board in accordance with Section 409A and the
               regulations and other guidance promulgated thereunder.

                       (iv)   Employee acknowledges and agrees that any purchaser of
               Employee Equity pursuant to this Section 5(f) shall be entitled to pay and/or
               withhold from the applicable purchase price therefor, any amount with respect to
               taxes that such purchaser (in its sole discretion) determines is required to be paid
               or withheld or advisable to payor withhold under applicable law, and any amount
               so paid or withheld shall be treated for purposes of this Section 5(0 as an amount
               paid to Employee or its affiliate, as applicable, with respect to the purchased
               Employee Equity purchased. EMPLOYEE FURTHER ACKNOWLEDGES
               AND AGREES THAT HE SHALL BE SOLELY RESPONSIBLE AND
               LIABLE FOR ANY TAXES AND TAX CONSEQUENCES WITH
               RESPECT TO THE OWNERSHIP OR DISPOSITION BY EMPLOYEE OF
               ANY EMPLOYEE EQUITY AND WITH RESPECT TO THE
               PROVISIONS OF THIS SECTION 5(F:) AND THE TRANSACTIONS
               CONTEMPLATED HEREBY.                     NEITHER THE COMPANY NOR
               PARENT CORPORATION NOR ANY OF THEIR RESPECTIVE
               STOCKHOLDERS MAKES ANY REPRESENTATIONS, WARRANTIES
               OR     COVENANTS           REGARDING            SUCH      TAXES        OR TAX
              CONSEQUENCES OF EMPLOYEE, AND THE COMPANY, PARENT
              CORPORATION AND THEIR RESPECTIVE STOCKHOLDERS SHALL
              HA VE NO LIABILITY THEREFOR. EMPLOYEE ACKNOWLEDGES
              THAT HE IS AWARE THAT THE TAX CONSEQUENCES ARISING
              FROM THE OWNERSHIP AND DISPOSITION BY EMPLOYEE OF ANY
              EMPLOYEE EQUITY AND THE TAX CONSEQUENCES ARISING IN
              CONNECTION WITH THE PROVISIONS OF THIS SECTION 5(F) AND
              THE TRANSACTIONS CONTEMPLATED HEREBY ARE COMPLEX
              AND THAT EMPLOYEE HAS BEEN ENCOURAGED TO SEEK
              INDEPENDENT PROFESSIONAL GUIDANCE OR COUNSEL WITH
              RESPECT TO SUCH TAX CONSEQUENCES.                                     EMPLOYEE .
              ACKNOWLEDGES THAT HE HAS EITHER SOUGHT SUCH
              GUIDANCE OR COUNSEL OR DETERMINED AFTER REVIEWING
              THIS AGREEMENT CAREFULLY THAT HE WILL WAIVE SUCH
              RIGHT.

                      (v)   Notwithstanding anything to the contrary herein, (A) the Majority
              Series A Holder may assign any or all of its rights under this Section 5(0 at any
              time to any Person and (B) the Company may assign any or all of its rights under

                                              12

16602960v.l
 Case 3:19-cv-00764-X Document 155 Filed 09/17/19                      Page 102 of 204 PageID 4398




                 this Section 5(f) with respect to any proposed Transfer of common stock or other.
                 equity of Parent Corporation to Parent Corporation, in either case with written
                 notice to Employee of any such assignment.

                        (vi)   The Majority Series A Holder and the other stockholders of the
                 Company are express third-party beneficiaries of this Section 5(D, and this
                 Section 5et) may not be amended without the written consent of the Majority
                 Series A Holder.

         6.     Notices. Any notice or other communications relating to this Agreement shall be
 in writing and delivered personally or mailed by certified mail, return receipt requested, or sent
 by overnight courier, to the Party concerned at the address set forth below:

                  If to Company:           VeroBlue Farms USA, Inc.
                                           1507 Capital Avenue, Suite 101
                                           Plano, TX 75074


                  If to Employee:          James Rea
                                           1507 Capital Avenue, Suite 101
                                           Plano, TX 75074

 Either Party may change the address for the giving of notices at any time by written notice given
 to the other Party under the provisions of this Section 6. If notice is given by personal delivery or
 overnight courier, said notice shall be conclusively deemed given at the time of such delivery or
 upon receipt of such couriered notice. If notice is given by mail, such notice shall be
 conclusively deemed given upon deposit thereof in the United States mail.

        7.     Assignment. Except as otherwise provided in Section 5(Dev), neither this
Agreement nor any of the rights, interests or obligations hereunder shall be assigned by any Party
hereto without the prior written consent of the other Party hereto. In the event of the assigmnent
of this Agreement pursuant to the provisions of this Section 7, this Agreement shall be binding
upon and inure to the benefit of the Parties hereto and their successors and permitted assigns.

        8.      Remedies. Employee acknowledges that the services Employee is to render under
this Agreement are of a unique and special nature, and because Employee has access to
Confidential Information, the loss of which cannot reasonably or adequately be compensated for
in monetary damages, and that irreparable injury and damage will result to the Company in the
event of any default or breach of this Agreement by Employee. The Parties agree and
acknowledge that the breach by Employee of any of the terms of this Agreement will cause
irreparable damage to the Company, and upon any such breach, the Company shall be entitled to
injunctive relief, specific perfonnancc, or other equitable relief (without posting a bond or other
security); provided, however, that this shall in no way limit any other remedies which the
Company may have (including, without limitations, the right to seek monetary damages).

        9.    Entire Agreement. This Agreement constitutes the entire agreement betwecn the
Parties and supersedes all prior written and oral and all contemporaneous oral agreements,
understandings and negotiations with respect to the subject matter hereof Without limiting the

                                                 13
16602960v.l
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                    Page 103 of 204 PageID 4399



 generality of the foregoing sentence, this Agreement supersedes any prior employment
 agreement, oral or written which shall terminate and be cancelled as of the Effective Date, except
 for any breaches thereof by Employee prior to the Effective Date which shall survive such
 termination. This Agreement may not be changed orally, but only by an agreement in writing
 signed by both Parties.

         10.    Governing Law; Construction. This Agreement shall be governed under and
 construed in accordance with the laws of the State of Texas, without regard to the principles of
 conflicts of laws. The paragraph headings and captions contained herein are for reference
 purposes and convenience only and shaH not in any way affect the meaning or interpretation of
 this Agreement. It is intended by the Parties that this Agreement be interpreted in accordance
 with its fair and simple meaning, not for or against either Party, and neither Party shall be
 deemed to be the drafter of this Agreement.

         11.    Severability. The Parties agree that if any provision of this Agreement as applied
 to any Party or to any circumstance is adjudged by a court or arbitrator to be invalid or
 unenforceable, the same will in no way affect any other circumstance or the validity or
enforceability of this Agreement. Without limiting the generality of the foregoing, in particular,
if any provision in Section 4, or any part thereof, is held to be unenforceable because of the
duration of such provision or the area covered thereby, the Parties agree that the court or
arbitrator making such determination shall have the power to reduce the duration and/or area of
such provision, andlor to delete specific words or phrases, and in its reduced form, such
provision shall then be enforceable and shall be enforced. In addition, in the event of a breach or
violation by Employee of Section 4, the Restricted Period shall be automatically extended
respectively by the amount of time between the initial occurrence of the breach or violation and
when such breach or violation has been duly cured.

        12.    Counterparts/Electronic Signatures. This Agreement may be executed in one or
more counterparts, each of which shall be deemed an original but all of which shall constitute
one and the same instrument. For purposes of this Agreement, use of a facsimile, e-mail or other
electronic medium shall have the same force and effect as an original signature.

        13.     Dollars. Unless otherwise provided in this Agreement, all dollar amounts
referenced in this Agreement are United States dollars.

        14.    Withholding. The Company shall be entitled to withhold from any payments Of
benefits made or provided under this Agreement all applicable federal, state, city or other
applicable taxes.

         15.   Survival. Sections ,1, ~, 2, 1, ~, 2, 10,11,12,11. 14 and this Section 15 shall
survive the termination of this Agreement and shall continue in full force and effect according to
their terms.

        16.    Section 409A.

             (a)     This Agreement is intended to comply with or be exempt from Section
409A of the Internal Revenue Code of 1986, as amended ("Section 409A") and shall be
constmed accordingly. It is the intention of the Parties that payments or benefits payable under



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Case 3:19-cv-00764-X Document 155 Filed 09/17/19                     Page 104 of 204 PageID 4400



 this Agreement not be subject to the additional tax or interest imposed pursuant to Section 409A.
 To the extent such potential payments or benefits are or could become subject to Section 409A,
 the Parties shall cooperate to amend this Agreement with the goal of giving Employee the
 economic benefits described herein in a manner that does not result in such tax or interest being
 imposed. However, in no event shall the Company be liable to Employee for any taxes, interest,
 or penalties due as a result of the application of Section 409A to any payments or benefits
 provided hereunder.

               (b)    Each payment provided for in this Agreement shall, to the extent
 permissible under Section 409A, be deemed a separate payment for purposes of Section 409A,
 and any payment to be made in installments shall be treated as a series of separate payments.

                (c)     Payments or benefits pursuant to this Agreement shall be treated as
 exempt from Section 409A to the maximum extent possible under Treasury Regulation Section
 I .409A-I(b)(9)(v), and/or under any other exemption that may be applicable, and this Agreement
 shall be construed accordingly. For purposes of Section 5, phrases such as "termination of
 employment" shall refer to Employee's "separation from service," as defined for purposes of
 Section 409A.

                (d)    All taxable expenses or other reimbursements or in-kind benefits under
 this Agreement shall be made on or prior to the last day of the taxable year following the taxable
 year in which such expenses were incurred by Employee. Any such taxable reimbursement or
 any taxable in-kind benefits provided in one calendar year shall not affect the expenses eligible
 for reimbursement or in-kind benefits to be provided in any other taxable year.

                (e)    Employee shall have no right to designate the date of any payment
hereunder.




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16602960v.l                                                 ~
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                                        Page 105 of 204 PageID 4401




          IN WITNESS WHEREOF, the Parties have executed this Agreement as of the day and
  year first above written.

                                                    COMPANY:




                                                    By: - - - - - - . . . . . . : . . . - - - - / i ' - - - - -
                                                           Leslie Wulf, Chief Execu· e Officer




                                                   EMPLOYEE:




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Case 3:19-cv-00764-X Document 155 Filed 09/17/19   Page 106 of 204 PageID 4402


                                Exhibit “A-3”
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                         Page 107 of 204 PageID 4403

                                                                   EXEC JTION VERSION 12/L!2017

                                    St(PARATION AGRET~U:NT


         This ScpanttionAgrcemenl(this"Agrcemeuf', ismadc and·· ltercd inlOas ofDecember It
2017 (the"EffcCtive llate"). hy and bc[weenVcroBlue Farms USA" le .. a Nevada corporation (the
"Ctltllpany't).<U1ci Leslie A. Wtdf("'Wulf'). The Company and Wulr -, som~till1es each rd~Ued to
herein a~ a "Parly'~ and c.ollectively. as the "P:u1ics", .

                                          WITNESF.TH!
                                          ----------""""""'"
         WHEREAS; WulJaIld the Company arc:parttes to lhatceti in Employment Agreement.
dated   as of July
              I. 2016 (th(~ '''F.mptoymt'nf AJ!reemcnt"): and

       . WHEREAS. pUfSllanttn a Stock Option Agreement. exceul.              by Wulfand the Compauy Ori
July 8, 20t6(thc "Stock OJ)tion AgreemenfTand Stock Option Gr                nl Nntk:e. executed by wulr
at1dtheCompany on July 8, 2(}16 the "Stock Olltinn Grant Notice").            c-Cornpany granted toWulf
a non-statutory stock opt1(m to pUl'cha<::t' J~OOO.OOO shuresof [he <.:on    on $tQck, par value $().() I per
!ihare. ofrbe Company (th\! ''Common Stockj')~ at a purchase price           1'$1.00 per share. under the
Company's 2016 Stock Option Plan (tht! "Stock Option (;f'ant");

       WHEREAS, \VuJC thrt1ugh LAW Holdings LtC. an emity j direct)y controlled by \\fuU:
owns 3~6()OyOO{) common shares (the "\Vulf Sbares") of VeroBl Farms, Inc, a corporation
incorporatedtUldcr the lu\\-s.ofthc Province nrOntario t Canada        C·"
                                                                F C~Hhtdjf'); and

         WHEREAS, lheCompany tenillnated Wulfas Chief Ex~culi eo Oilker andi1san employt.:c
.of the' Company -and irs Subsidiaries without t=ause, cflectivc as or November 6. 2017 (tJlC
 "Tcrminatitm Date"); and

        WHEREAS,pUfSllant to Section 5(c)(ii) the Employment Au              ement, \Vu!f's receipt ofiu:iy
payments under Section 5 of the Emplo),lllCnt ,l\b'TCemCflt is 5u~je         tto hIS execution and non~
revocation or a general reJ.euse of claims within sixty (60) days t          lIowing his termination of
entplQytricnt in~ form provided by the Company. with the Con                 pany having provid~d tills
Agreement 10 \-Vult' assuchgcnertli release of claims,

       NOW, THEREFORE; in considoration of the t(wegoing und fbrother good und vaJuabk
consideration. the receipt and suflldency () r \vhich is hereby acknnwle ged, iIic'Parties herch)' Ub'1'CC
as foHo\vs:

         1.     Termination orEmpl.Qn~nd Emp}ovmcfU. Al!f~C em,

                  (a)     . Effectiv~ inll11cdiatdY(lficr the Et1cctivc Date. VuJrhas made a \\riltt;.~ offer
        to the Company uudcl' Section :;(f)(ii) of the Emplnymcnt Ag.'~merit to purchase the wulr
        Shares ut upurdtase price of$O,50pcr shure (the "WnlfSha. Offer"). The Pru1ies agree
        that. \\1fh rc:spcct to the Wulf SliarcOff'er. Section 5(i)(u) ofth limplo}1llcnt Agrecmcllt is
        hereby amended to remove subsection (D) therr:ofsolcJy n.wth WulfShare Offer, such that
        the othetst(Jckhj)IMrs;ofthc COTl1pan), «)thel~that\: the holders fSeries ApreteCl'ed stock of
        th~C{ltnpany) will not beom:n:dth('. WuH'Shilrcs under th~ V ulfShure OtTcr pursuftntto
        suchsubst.Xtlort (D); it being agrt-¢d and unders.tood that if the WulfShares a.re nt1t sold by



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Case 3:19-cv-00764-X Document 155 Filed 09/17/19                      Page 108 of 204 PageID 4404

                                                                 EXECL nON VERSION 12/1/2017

        Wulf pursuant to the Wulf Share OtTer in ,u.:':c{}tdance with        c lermsand conditions of
        Section 5( f)(ji) of the Employrnent Agreement (as. such ten          alldprovisions hav!! 1,een
        amended as pl'Q\>'ide-dabow), then for any sUbsC4ucnt sale or         ansier oftheWulf Shares.
        Wult' must ugain foUowthc terms and provisions of S':CtiOl           5(t)(ii) of the Emplo~llncnt
        Agreement. \Vulf covenautsftl1o ugrecs to comply \Viththe t            g of this Section I (a) and
        Section 5(f) of the EmploynH1nl AgreeniCnt.

                (b)       Effective as of the Termination Date the Com ny removed Wulfa,s Chief
        Executive.Oflicet of the Company and its subsidiaries and "rmina.ted his employment.
        EtIective a'l of the EtIeetivc Dale, the Employment Agrccm It is tenninated (including,
        spcdJ1cally, Section 15 thereof) and 150fn(! further Rm:cOf(·f1 'el, excluding Sections 5(1).
        and 6:..14 (rhe'·Sun:ivingSect'iOftf'J. \vhich SUf'vivingScction. shan remain in fun force and
        effect.

                (c)      \Vul(rcsigns cffc(:.th'e as of the Terminution D _c n'nmany;md ull positions
        as.an officer or director ofVBF Cimudt1, the Company. Verol31 e Canada Fineo tTLC(,'VllF
        Finco'). VHF Operations Inc .. a Texas corpnrminn, VHF - 'ran:>port, Inc.) a Delaware
        corporation; Iowa) First, lnc .• an Io\\ra corporation. Verostrea Seafood Markeling.lnc;, a
        Texas corporation, VnF IP Inc.. a Texas corporation. VIW COlI tntction Assets Inc., an Jmva
        corporation, and VHf Construction Services Inl'.~ an Town {!o oration,

                 (d)     Conternpt1ralleousJy herewith. \Vulf shall excel c in blank and deliver t<> the
        <"-:Ompany the documents set tbrth on Exhihit B uttached hereto pur~uant to whiCh \VulfwiJ1
        l.U1long ()ther nctions tran~der the onc (I) common slmn:s \\ -Ilf 0\\'115 in VHf Fineo a."
        provided in such documcfits.

        ?      ThIminatinn orStock Oglion Aflfeemcnt and Stoek () .t on Grant. Effectivr..! as of the
Termination Date, the Stock Opli<mAgrccment, Stock Option Grant N tice and Stock Option Granl
arc tem1inated in thcircntirety and of no illrlher Ihree or effect; it beinugrccdlll1d understOod that
no, shares ofCommOll Stock have been. or will b~. issued wider tile Sto k OpLion Agreemcm. Stock
Option Grant Noticc'()t Stock Option Grant

       3.      Con/iJentiallnform3linn; N(Hl:!-,on) etition: Non-Soliilation,

                 (a) ,Colltidcntit,llilY. \Vulf acknowledges that ducll g his employment with the
       Company. Wi.df obtained knmNledgc ol'~ unJ h,i5 been gi en access Ii)r inf.brinatioll
       concerning the Cqmpany and VBF Cancida and their respecti Vi:! - ffiliates, including. but not
       limite.d to, informalioll regarding the bus.iness, opcrati(m~~ : ryices, proposcclscrvice~.
       busine~sprocesses, bu~iness aHO marketing strategies. a vcriising. Iharkcling und
       pr<.'lll1otional plansund mat~rial.S; pricing strategies Lind poJi les. financial infomuHion.
       stockholders and other t.l'adcSCCt~lS, r:onfidcntiaUn fbmlatiun a d proprietary material ofthe
       Companyand VUF Canada Uildthcir respective afiiliates:. hlCh.t ng infonnation and material
                                                                         C




       Originated. disc(wereJ or developed in whole or in par-thy W Ilf (coHectively referred to
       hcreiniL'l "ContidentiallnfOl'matiolf'), lhcterm "Confide inl InfOrmlltion" docs not
       include any uuotmatiotl which (i) at the time of disclosure is gei - wlly available to the public
       (other than as a rc.~uIL ura disdosu((,' by Wulf in breadl or t is Agreement or any other
       agreement by which \Vulfisor 'Va!) prohihited fi'om disclosing :ontldentialllltbm1ation), Of
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                      Page 109 of 204 PageID 4405

                                                                 EXECI      ION VERSION 12/112017


      (ii) W'.:iSavaHahlc to Wulfon a non-confid.ential basisfrom a.s.      cc {othedhan the Company
      oril<; atTlliates ortheirrepresentatives} that i.s uN anu waS.Il    t prohibited truri1discl(i8ing
      suchinfhrmatioll to Wlllfhy it contractuul.legaI ur fidudary        )bligatioo. Wulfagrces that
      Wuffwil1. ina Hdudarycapacity for the benel1t of the C{)             pan)" hold al1Confldcmial
      fnfonnationstrictly in cQluldence and will not directly or lndi       tlyreveal. report; di~cl(}s~.
      publish or tl'allsfcr any OfSllCh Conlldential tnrbrmatial1 to un   person or entityor utHizearry
      ofiheCQnfidcntialln fbnllation fhr any purpose, including the       erms of and existencb ofthil)
      Agreement~ except ttl theCXlen1 that \\'ulf may he Tcqui            cd b~i la\v lHdisdose any
      Confidential In fdrmilli(jIl ,

               (h)       limitations. WuJI' acknowledges that he un erstands the 1'o11<)\\1n-g: An
      individual ~h~t11 not be hdd criminal! v or d vill v 1iable under a \' federal or state trade secret
      IllW tOr the disdosureoJ; a trade secr;t that is ~ade in cOllt1de ~e· tQ.afederal,sLate,9riocal
      govcmmentofficial or to an ~ttomey solei>' Ibr thepurpnsc 0 reporting or investigatilig u
      suspected violation uf]aW. Anindividual shaH not be held cril inaHyorciviHy liable under
      any federal or ~tate trade secret law for the disclosure ofa t· e secret thflt is madt: in a
      cuuipiaint nr o1herdO{~ument filed in a lawsuit orolherproc 'ding. if such filing is made
      under sti.a1. An individl!aJ who mesa lawsuit I(Jrreialimion b an employer forr¢!Xl1'1ing a
      suspected violation ofla\.\I may dis.dose the trade secret tothl:: torncyoftheindividualand
      use the tt'Ji.ie'secret infomlution in the court proceeding, if!he j dividual files any document
      cOlltaining the trade secret under seal and does not disclose the rade secret. except pursuarll
      to. COtu1 order.

              (c)        ~n~Cl.lmnetili{)n   mld N()u-Solicitatlo.tL In. lrthcf consideration <:>1' the
      compensation io be paid to Wulfhereunde1'.. Wulfacknowledg- . 111.."1.1 during the course of his
      elupl\)ym~t and prio!' serviCe \vith the Company. he has be )filC 1tuniliar with the trade
      secrets ofthe Company and 1ts uftlHates und \vith other Confld Itiallnlonnr:ttionconceming
      the Corupatij' and itsaftlliates (lnd that his services have bccw-idshaH continue to be of
      spedal~ unique and tfxfraordirulry valu(>: to the Campau>', 'I 'her fore. \Vulf agrees thai, n)r il
      pcriodof one ( J ) year following the Tcrminath:m Date (the" stricted Pcriod'~); he shaH
      not directly or illdire~tly; (i) (lWn ,my interest hi. ruamtge, co trot. participate in, consult
      with, render scrvice~ tbr, be:emplnycd in an executive. manage at oradulinistrative capucity
      bY,or in any manner engage in. any Competing BU!'!iness (n.· defined bdow); (ii) solicit;
      reqticstor induce ~llY cmployee. consultant or agent oftbc Con pany or vm:Canadu OJ' any
      anilelr respective affiliates to termInate his or her emp/nym It or relationship \vitll su(:h
      company, nOf hire any employe!;! of the Company or VHF Can . a or any or their respective
      arm iates.or (iii}slIlicit!rcquest; ("1t induce or attempt tv solicit, cquest, ndn.duce or attempt
      to induce any custOmer.supplier.lkcnsce or other husiness re don oflhe Company, VUF
      Canada. or any of their resp'eiiti\.'e affiliates in lhe Restricl~d ' 'crritory (definedbelmv) to
      c~i",e doing busincss with. or ·I11O<,1ii) its business rciatiorishi with the C(lmpuny O.f V RF
      Canada onmy of their fespectiveaffiliates. or in <lny way terfcre withal' hinder the
      rc!atifloshiphetwcen 1m} such cuslomer, supplier, licensee ( business rdation and the
      Company or VBFCanadu on'my of their respective affiliates, g applicable. For pUrp{)Sl~
      herc<.lf, "C6inpcting nusine.~~H rn~an}j unaquficulLure busin ss that c()m~tcs \vith th~
      Company or VBFCallada. or any ofthcir respective tiffiliatl~~ i UllygC{)h'T'Uphic tcmt<.lry in
      which the C()mpiilly~ VHF Catmdu: or illlYSlHih uf11liatc co ducts, seHs or markets its
      busine,.qsorplanstoeohduct, scH.or.m'-'rkct its bU.,>iness (it beltil ngree<,l·and understOQd dUll
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                    Page 110 of 204 PageID 4406

                                                               EXEC m()N VERSfON 12/1/2017


      the Company iscurrctitly co,iducting. or plans (() conduct~ usiness in the United States~
      Canada and Australia) (the '~Restridcd Tertitury"). Nmhi g herein shall prohibit "Vutf
      from being a pa~sive O\\'TIl!fofnottnore dum fi Vt! percent (:;. n ~) of the outslandingstockof
      any ciassf}fa corporation that ispuhlidy tradoo,so long as. Mha..',woactive participation
      in the bl1sines~of stIch corporation.                                                     .

               (d)     proprietary Interest. All correspondence. c( mmlieations (clectronicor
      otherwise), data, rep<ll1s. software, systems, databases; meuli ology ~ processes; program~J
      templates. proccdure·s. know-how. inventions. dis~overie5. ere' 'oris, designs. improvements.
      patents. copyrights; discoveries!)!' ideus \vhich Wulfc.onccive· dcvel(}ped~orptoduced prior
      to the date·hcrcofus all employee (lr {~mcer M: or consul1UJlt t . the Co.'nlpally, VaF Canada
      or their affiliates: which relate to the busincs:-; of the Comp ny (coHccrively, the "'Voi'k
       Pmducf').incl uding uad~secrcts . . data. methodology. procees,progrilins. templates. and
       iniommtion conCCln.ing proprietary technology dc,,'cloped or the bU15iness~ or for any
      intercstsof'lhe Company. shall bl;':]ong soldy and exclusively ) tbcCompanY"togcthcrwith
      anyintcl1ecwal property righ{s associated widl slich \}\.'Qrk Pr( uct (the hIP Rights"}. Wulf
      acknowlecJgesthat 1m oi'lgimil works ofnuthorship which \ tc made by Wulf (solely or
      jointly with odwrs) during hi!> priotserviccs or within the sec . of hisempI (}yment with the
      Company and which arc protectablc byc(tpyrignr lawsan~ ~'W rks made for hire," pursuant
      to the United Swtes Copyright Act (17 V.S.c., Section t01), ld that such wprksmadefor
      hjr~ slmll cObstitute pan of the IP Rights, Wul r shnil assist th Company or its designees t{)
      ohtain, and from time to lime cnfi)rce. Unhed States and for ign fP Rights in any and aU
      c~ltmtricg~ Tn thHt end, Wulfshall execute, verify, and deliver 'uch documentsam;l perform
      such other acts (including appcaril1g ~s a witness) astlw Com l.my may reasonably request
      for use ill applj'ing for. obtaining, pcrlh;tillg~ evidehcing, sus 'ningand enforcing such IP
      Right'> und the assignment thereof. In additioli. Wulfwill xccute, "crHy~ and deliver
      assignments of such TP Rights to the Company or its design '\ Wulf hereby \~'aivcs Hnd
      quiLclaims 10 th0 O)mpauy any and all claims, \)f any nature 'rvJ atsoever. which WuIf now or
      may hereafter htlV~ for infringement or any IPRightsas~iglie hcreundcl'til the Cotnpan.Y~

              fe)     Return of Materials. WuJrexprcssly ack!lo\vle res Ihat aH physical pmpt!rty,
      data, b()oks~ records and other WorkPwduct and C:'onlidcntlal nformation of the C(}Iil}nHIY
      and itsafIiHates obtained in conne{.'tion V'iith the \:nmpany'~ m its uH1liates' business is the
      exclusive property oftne Company. Willfwtmanls and rep 'cnts thatpriott9 executing
       this Agreement Wulfhas surrendered und rctumed to the Can pany all such Work·Producl
      ·and Confidential Informntionand all otl.l~titems and pwpcrl. belonging to the Company
       then In the JX)t'session or W\lH~and \V1111' shall not make or·tain (inY copies .of cxtruc.:l$
       ihercof. \Vult' agrees Ihatto the extent thflt Wulr tX)SSCSSCS a Yfifes. datu. orinfonnatioll
       relating in any way to the Cmnpany. VHF CanttJll. any of their nil h,nes, or their husiri~sS\)H
       any pd:sonal computer or other device or ac.count. Wulhvil1 fi t returh to the Comp~my and
       then delete lho~efiles~ datu. Of intbni1ation. induding, \,,:itho limitation, all Contldcmiat
       fufontlation.andwill retain no wpies in any 1()mJ, \Vutr' 11111 c(Jmpliam.:e with the
      obligations set forth· in·thisSection 3(c) isa c;onditi<)n p ccdtmt to the Company's
      ohligations sel 1bJth iu Section 5 lwreot~ andWulf must subJ ita signed declaration and
      certification in the .form utt8ched to this Ag.recmcntus Ex ihit A (X) deInonsinite the
      satisfaction ofslIchcondition precedent,
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                        Page 111 of 204 PageID 4407

                                                                    EXEC lTION VERSIQN 12/]/2017

               {f)     Property .of (fte Compun...Y. Wulf acknowledg'         . that trom time to time, In lht,
       COlIIS¢ uf providing pust services to the Company and it'i             affiliates, Wulf has had the
       opportunity to inspt..':Cland usc ct..~taj n property, bOthtarlgible   ld intangible, QftbeCompany
       and Wulfhereby agrees thar such property shall remain t                c exclusive property of the
       Company ~md its affiliates. \\iul fshaH have no righi or propri        {My   intcrestinsl1chpropt:rty,
       whether tangible or intimgibfc.

                (g)     Rcasollablein Scope and Duration; COlWi cmtion. Wulf agree~ 1Uld
       acknowledges that the restrictionscomained in thisSediotl are rcas(')nabIc in scope and
       dUf'atiOl1 and arcnee~ssary to protec1 the business in.terests an Conl1dentiallnlbrrnation of
       the Companyanditsaftiliates from and after the Effective Dll ,and Wulffurthc:rag!eesand
       'ackno\vledgosthat he has revit:wed theprovisions orthis Agr cment with his Iegal'counse l.
        Wulf ackno\vlcdgesand a.grees that WLllfwilI rcceiv~ subst 1tial vaJuableconsideration
       from the Company fur ,the COVCnl.lli!S contained in this, ectiou 3,ilIcluding \vith()ut
       limitatlon, compensatioil <lnu utilcr benefits as set t<mhin Setion 5 odo'w.

               (h)    Enfbrcenjcnt. H: atthe lime ofenj{')rCemcllt uf ectlon3 oftbis Agreeml'llt; a
       court h~lds that the rcstri~tions sli.t1ed herein are' lUlrCasona. cundcl' circumstances then
       existing. the Parties hereto agree ihat the maxinRlm dUral10l scope Of g~(lgraphical area
       reasonable und~r such cifcumsrrukesshidl1w~ubstitutcd nwt" slated period, scope 01' area
       and that the cotln shall  oeallowed to revise the restl'ktions ntained herein to Cover the
       maximum duration. scope and areapermiucu by law.

              (0      Ext~llSi(ln of Restr.icted Period1'!.ln addition I        the remedies the Company
      may seek und obtain pursuant to this Agreement~ Ule appHca,             e restricted pcriotlsset forth
      herein shall be cxtenclr:d by any and all periods dllring which \       ·ulfsh;;lll beflmnd bya court
      of eompetent jurisdictioJ1t(Jhuve been in viokttlon of the co ...        nants contained herein.

             (i)    Coop~~ration, Wulfagrecs to cOOI1eratc v.ithan              assist the C(lmptmy or VIW
      Canada with unyinvcstigation. lawsuit. arbitration,or otl1               r proceeding to which the
      Conlpany flrVBF Canaduissubjected. Wult' agrees to he ava'               able for preparation fOf, and
      attendance of, hearings. pJ'oceedings or trial, including                retriuJ discovery and trial
      preparatkm.

      4.       Releasc~and    NSm-Dispat';:tgcnlt:!nt.

               (a)     Exccptl1)t the co\'cn,mts and ugr;!cmenls ofthc .:ompany providcdtllf inthis
      Agrct'fn¢nl. WuH~ on his oWn behalf and on behalf of his, ' liliatc:;, heirs, dependents,
      successors and axsigns. or'mll' 1)1' theril (~onl;!'ctivdy~ lrlt,!;Wulf Releasers") her~by
      ittev()'C~hJy Lmd UnCQlldit imJaU.y I'el ease, acquit and forever dls large thi.?C(lmpany and VHF
      Canada and each of thoi,' respect! vesl1cce!';l-lOrs; nssigm;, a.gents ~quil y holders. membcfso/'
      the board$ ()f direct(irs, offIcers, clllployees; representatives subsidiaries; affiliatc~ and
      related pal'tic$ ill1d ?ltl persons acting by.throllgh, under or i concert \.vith Wlyof ihem
      (c()Uectlvdy. the "Cnnipan), RNcasces~')! nr          lUI)'   of them. fromanYHnd aU charges;
      (:omplainlQ, claims, Habilitie·s; QbJ1gatiol1s, promises. agre~mc ts. controversies, dam~gcs~
      actions, causes of action. suits, rights. dcm4nds.(~ostsi I()sscs}d hlS and expenses (including
      attorneys' fees andco$tsacttlally incun'ed), of any nHturewh' ocver, known or \mknown
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                    Page 112 of 204 PageID 4408

                                                               EXEC iTION VERSION t2!lJ2017


      (each. a '''Wulf Chtim;'. and coUectivdy. th~ "Wul( Claims") "hieh the WulfReleascrs now
      have. own. hold. or which the Wulf Rcica'lcr;'; at any time h retofotc had. owncQ. or held
      againSt euch of the Company Re!easccs including; but n(}ll Ited to; (i)aII.WulfClaims
      tinder the Age Discrimination in Employment Act of 1967. as mended; (ii) all Wulf(~laim$
      under Title VTJ of the Civil Rights Act of 1964, as amclided;( ii) all WulfChiim:>widcrthe
      Employee Retirelilcnt lncol11cSecurity Act (1f 1974, as amend d; (tv) aU WulfClaims arising
      uudcrthe Americans With DisabiHtics Act of1990. as amend 'l~{v) aU WidfCluims arising
      under the Family andMtxiicalLeave At;t of1993, as amende : (vi) aU Wulf ClriiIris relale4
                                                                                   an
      toW\Jtf 5 empiO)olUent {)rengagemcnt with the Company Ret· sees; (vii) WulfClaimsof
      un luv,;fu I discrimination based un age. sex, race. r:eligio national.origin. handicap,
      diSability. equal pay. ~exuaJoricntation Of otherwise; (viii) II Wu.l1' Claims of wrongtld
      discnarge,breach of an inipIieuof exprcs~ employment con act, negligent or intentional
      infliction of emotional distress, libel. defamation, bn."'ach of rivacy, fraud, hreach ofnny
      inlpU~ c(wcnant ofgood faith and tali" deal i ng and any other doral. state. or tocal common
      law or statutory daims. whether in tort orin contrac.t; (xl) all !ull' Clalnlsrelult'!u to unpaid
      wages, 'salary, deferred "()mpens~tion. ()vertimc c,omp~nsa n. bonuses, severance pay.
      vacation payor other tumpcnsation or benefits arising ot of Wulf's employm.ent or
      engagement with any Company R,tlea&;:e; (x) all WulfClaims.. 'singtmder ~U1yfCdcraL st<lte·
      Of local regulatiortjlavr'. code or stalute~ (xi) alf WulfClaims 0 discdminatiollarising:undcr
      any state or local law or ordinancc~ (xii) the failurt of this Agrt.'enlent. or ofuriyother
      employmctl1~s~vernnce. prom l'lharing~ bonus. eqtiity incenti • or other compensatory plan
      to which Wulfand the{~ompany are or were panic.!'. to com ty with. or to be operated in
      compliance with, Internal Revenue Code Sectio1l 409A, or an similar provision of state or
      locrulnc0me tux law; and (xiii) aU WuJff'laims relating to ill agreement arrangcme,lll or
                                                                        i


      Widerstanding (hi.it the WulfRelea<)ers have, or may have, \vTt any C01rlpany Re1easec{but
      specifically excluding this Agreement amj the Surviving Sec ons) for unything occulTing
      pri()r to the Eftcct1v~ Date. The WulfRdeasers represent tat they have not heretofore
      assigned or transferred, or purported to assign or transfer, loa y person or entity, uny Vluff
                                                                                        in
      Claim or any portiQn thereof or interest therein. Nohvithslan ling anything this section
      4(a), the Parties agrc¢ that ihis Section 4(u) does not apply to Wulf with respect to hi:;
      ownership of the WulfSharcs and his rights U~ a shareholder fVBFCanada.

               (b)     WuH:(ID hkOWl1 hehalftmd on behalf ofthcotf ~r Wul fReJcasers.agrecs not
      to make any disparaging or negative statements, written or lerbal, regarding unyof the
      Company Reteasces Many time in the future, whether such 5ta n(!nt is true or false. except
      (i) as required bY,law; (ii) in drfenSI! of any legal action broug t by any Company R~lei1scc
      against any \Vulf Releuserin violation or this Agrecmcnt~ (jf it) as is necessary to correct
      Ul)Y statement made by any C{)Il'lpany Releasee that Wulf bel eves, in good faith, is lidse,
      mischaracterizing. or is a selJ'serving represcntall{)Il of:facts~ d circllmstul1cCsconcerriing
      Wulf, The Company. on its mvn behalf and on bebalf of th other Company Releascc~,
      agrcesnOl to maKe any disparaging 01' negl1tive statelllents, Wi' [()11 Of Vcrbal~ regal'ding4my
      WulfRdea.<;erat uny tlmc:in the futut(.\ ,,'hethersuchslalemcl Is tru~·or fhlse. except (i) as
      re(lUircci bylaw. (ii)indcfense 6flillY legal action brought by a y Wulf ReIeaseragainsL ~ll1Y
      Company Ret.easec in violaLi<.m ofthis AgrecmmH, (iii) inpurs it ofany legul action bf()U.ght
      by any Company Releasee not othcJ\.\ilse pfohi bited by this 1\g ~ement. or (iv) discussion of
      Hictsand cin:umstancesin lhe.ordinary course of business ofth .Cumpahy~ hicluditlg h~tl not
      limited to discussion Qf p3stpr;rfblmancc M nc.tioll~ of \l 'ulf, the Company and its
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                   Page 113 of 204 PageID 4409

                                                              EXEC ITlON·VERSION 12/1/2017


      subsidiaries with directors, employees. c()nsuitants. agt:nt . customers, suppHcrs, and
      rcpre!S~ntati\'<;:~ofthe COlilpany and any other Cl1mpany RcJa."ee,

      5.      Settlement Consideration.
             (a)     In consideration orthe covenants, agreements nd ()thcrmutter~descrihed in
       Sections J-4 above and in fullsatJsfa(:tiol1 of the COlllpan 's nbHgations under Section
       5(d)O)(B) of the Employment Agreement, and subject tt) 1C tenns of this Agreement.
       inctudingSedions~(c)and 7(c). the C{)mpany agrees to pay a Wulfan aggregatc.3.mount
       equaJ to 5400;OOOa.o;; follows: 0) an amount equal to $100. O. representing 3.monlhs of
       Wulf'sBase$alary (as defined in the Employment Agreemc t), ontne Effective Date, aliu
       (ii) ll1e remainder shall he payable in cquallnsLaHmcnt-i, ill a~ 'otdance with the ComJX'my's
       normul payroH ptactic(;~ovcf' the ~) mondls period beginning n the first regularp;;tyroU date
       of the Company followingJanuary I. :201 g.

               (b)      Subject lofllclt:Jrmsorthis Agre<:mctll. indud 19 Sediolls3(e) and 7(c)~ in
      the. event Wul fjinidy andpro~r1y ehx~ts continuation cnvera under the ~~()mpa:ny'5 health
      andweffare plans under COBRA. Company shall pay in fuB . J COBRA premiums f'Of the
      lesser (If (I) 12 months. or (m tht: duration ·of such COBRA c verogc. COBRApteniiunls
      shaJl bepald by the Company directly to the reJevam.insurci' (1 the t1rst day of each month;
      provided. that preminll'ls due for ilny month prior tOlhe date 0 which Wulf timely n1ru..:eSft
      COBRAelec~ionsh~n DC paid \vithin five (5} business days 'the date of sLlch election.

              (c)      For all mnounlS tha\ are owed to Wulfbythe(\      npany as of the Ten:ni.rtation
      Date. (jllclllding. without limilmi,on. unpaid ~alary. PTO and     eimbursablc expen..;;es), the
      Company will pay Wulf$25,I)OO Ii" accrued PTO nil the Rffe         ive Date, For the avoidance
      of doubt. the foregoing paymellts nre itl satisfaction of and Ii   t in addition to theAccrucd
      Employment EntiU~l1ients (as ddincd in the Employment               grecment) prnvidcd for in
      Section.5 of the Employment Af,'1eemcnL

             (d)     All paynwnts mHJer thh: Section ;5 \vill be made by wire transfer of
      imtnediatelY available funds to t.he fotlowing account:

                       Bunk: Wells Fargo
                       Bank Address and Telephone :212 Coit Rna Plano Texas
                       75075
                       ACCOllnt   Name·! LdHu Wulf
                              #:
                       ACC\1uOt
                       Wire Routing #;
                       SWIFT#

              (e)     The Comp~ny \'.'ill report and withhold paymen     under this Section:') for {ax
      plU'pQses as required underapplicabk lax JaWs. Ifa claim is m       et1gaiust the Company for
      any additional tax Or \vithhoIding in connection with or arising   ut orany paymentpursuailL
      tp thi~SeCtioll 5. Wu1fshaJI pay any such ciaimwithin thirty (3     ) daysofbeing n(llificuhy
      the Company and agrees to indemnify tnt::' Company l)nd ho         - it harmles..c;; against such




                                                                         I
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                        Page 114 of 204 PageID 4410

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      claims. im:lu<;ling. hut not lunited to, uny
                                   .
                                                     tax~s.   attorneys' res, peIlliltics, and/or interest.
                                                                                                 '.

      which nre or bcc{)m~dl.le frOITllheCompa.ny.

      6.      Re;uresentations and Warranties.

               (a)     Each Party ht:reby represents anJ wurrnnt~ () each other Party that the
      tolIov..-mg representations and warranties are true and corre t as of thtl EtTcctlve Date as
      follo\\,s:(a) such Party is fully competent to execute; deliver nd perfoml this Agteemcllt;
      (ii) tIns Agreement has been duly executed and delivered h} ~uch Party and cun~iitutcs a
      l~gal. 'varid and binding obligation of such Party. enCore able against such Party in
      aCcordance with its; tenus, except as Ilk'lY he limited byappI1c      .Ie bankruptcy ,insot venc,y or
      similar laws affcclingcrediton;' rights generallY or the i:lvailab    ity ofc.quitable remedies: and
      (iii) neitherth~ cxct;ution. d,divery orper{tlrllliiltCC ofrhisAgr     elUent nor1he consununat)C)11
      of the trallsactiuns contemplated hereby or thereby will: (I           contliet with. or result in a
      viulation or breach ofthe knns. cOfldi lions 01" (if(}vh;io[}s oC 0    con.."HillLte a dcHlUlt under any
      agreeri1Cnt~ indeinute Of ()ther instrument lUldcr which such P         y is bmmd Of Hubject;or (2)
      violate or conl1ict withauy judgrnrhLdecrcc. order. statl,lte,        e or regulation ofany court or
      any public, g{),lernmcmal or regulatory ugcncy or bodyhuvin            jurisdiction ovcnmch Party,

              (b)     InaJdition. \VulfwarraniS and represelltsaS r Hows~

                     (i)     he: v6111ntari Iy exec lItes thIs Agreement: 1) after having been advise(i.
              to consuh \Vilh legal counscJ and (2) after having ha opporitmity toconsuit with
              legal ,ounset:

                       (ii)     he undt:rstands that: (l) nothing contai ed in this Agreement limits
              Wutr s ahility to flle a charge or complainl with the Eq 1Employment OpportlUlit.y
              ComniissiOtl, the National I ,~lbor Relations Board, t e OeclipationalSHfctynnd
              Hcalth AdmInistration, the Securities and Exchang Cmnmission ur any ()Iher
              federal, state or local governmental ugel1CY or ommission ("(;overnmcnt
              Agen('ic;~"); and (2) this Agreement does not limit W If's ability to commlinic(lte
              with any Government Agcllcies or orhetwise parti!,;1 ate in any iiwcstigation or
              proceeding that may be conducted by uny Government \gency,includingproviciing
              d()cumeritsor olherinformlltion.without notice to the .ompany. Notwithsti-mding
              (he fbregoing, Wulfwaivcs any right to allY moneta!'y I' covery (11' oth(;!f rdiefshoufd
              any party, including, \vithnut limItation, any tcdt!fHl. state or local governmental
              entity or adlriirtistrativ(: agenCYi pllf!'ue anyClainls on lYuIf's hehtilfarising out ot:
              relating tn, {;r in any way connected with the Released Claims. provided, hmvever,
              tilis Agx~emeIlt' dnes not limit \Vulf's right to ret~ei e U reward Ibr infomiiltioll
              provided io uny Oovermncni AgeneieK,

                      (iii)     he h~ the right to ool1l:iiderthc tenus 0 this Agrcemelitt()rut least
              tWto!J1ty-onc (21 ,) dflyS; and in the evenl that he cxecutl;:s 'is AgrcementjnJess time, it
              iK with the f1lU understanding that he had tilt.' full m ~nty-one (21) days if hcs()
              (1esifed andlhm he\vasotlt pressured bY'the Company ( any OrHS1~f>rd;ejltatjvC:S(lt
              ag.emslO lake less time to consider till' Agreenlc.nt;it i e'iilgabrreedand understood




                                                                            I
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                     Page 115 of 204 PageID 4411

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              that. in such event, Wulfo}{presslyimcndsstlch cxt!cu ion to be a walver nfany right
              Wulfhad to review the AgrcCTIlenl for a full t\.venty-I ne (21) days;            ..

                      (Iv)he has. 001 violateoatly (}bligation~          mtaincd in Section 4 of'the
              Employment Agreement;

                     (v)      helms nnt eng<tged in any acts or omiS! (ll1S atncnmting 10 i'Cause" (a....
              defined in the Employtnl:llt Agreement and ttl!' purpt 'es hereof withnut regard (4:lj
              any right t.o cure) for the Company to lennlnatc' his employment pursu..lnt to the
              Employment Agrcctnenl;

                      (vi)     that(l) aSset forth in Sectkm 5(e)(ii)o the Employment Agreemcnt,
              he is not (}th(ltwisc entitled to the amounts set forth I Sections5(a) above without
              his execution und nOTJ.-revocattonof this Agreement"       (2) those amountsare good
              and sufficient consideration for this Agreement; and

                        (vii) he admits, acknowledges. and agrees lat. except for the payments
              pl'oniis<.>d in this Agreemem, Wulf h~s been fully an tInnily paid Of provided all
              w~ges;compellsation, vacation, bonuses, sttlck, srock ptions. or other benefit81rmn
              the Company which are       .01'   could he due to Wulf under the tcons of         wurr's
              employment with the Company. or o-thcrwi);c; and

                      (viii)   he has no! iriltialt:d and ba~ 11(1 IDlO\vl dge of (he existence of any
              la",'Suit. charge. (}r proceeding againsllbe Company tJ any of its officers., di rectms;
              board members; committee memberS~ cmployees., equi· . holders. lenders. successors.
              affiliates, or agents arising out of or mhenvisc conne ·ted \\·ith any ofthcmaHers
              herein released. in the event Lha1 any such Lawsuit, en rge, Or proccidingha.s been
              filed by Wulf, Wulf iOlmediatdy \\~iH takeull actio ,s nece~sary to v.lthdraw~)r
              terminate that lawsuit, charge. or proceeding, \lnk ' the requirement for such
              withdnr"val or t(.'rmimnion is prohihited by applicable: aw.



              (al      Any notice or communication hereunder .I1Ul$ be in writing and gi'Ven by
      depositing thesrunc in the United Statc~ maiL addressed to t11 Partyto be notified. poslage
      prepaid and registered or certified with return rcc.:e:iptrequeste<: orby delivering lhesnmc in
      PerSoIL Such onticeshaU be dc\:mc~ received on the d~tte on \ hichit is hand-delivered. or
      delivered by Federal1Lxpress or on the third business ell}), toUo .'Ing the date on whkhit is so
      mailed. f('lr purposes of notice, Ihe uddressi!s of the Parties sh Ube a." follows:      .

             1fto Ihe Compilhy:                        Verol3lue Fanus USA~ Inc.
                                                       3369 Pn.:micr IJ ve, Suite 300
                                                       Plano, Texas 75. 23
                                                       Alln: ChiefExe utive Ofticer

                                                       LesliaA. Wulf
                                                       144 Ocean Driv
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                          Page 116 of 204 PageID 4412

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                                                          Gun Barrd Ci          Texas 7:5156

      Any Party maychnnge its addres5fornolic(~ by writtenmHi e given to the other party ill
      accordance \\illh this   S~tion.

               (b) This Agreement is intended 10 comply with S tlion 409A of the Cod~ lUld
      Treasury Regulations promulga.ted Ihercwlder f'Scction 4 A") iindshall be Ct)Ostmcd
      uccol;dillgJy. It l$lhe intenti()11 of the Parties thal payments ( benefits payable under this
      Agreement not be subjecno the udditional u'lX Of intcfcst imp. . d pursuant to SectiQu40"9A..
      To the.
              eXtent
                 .
                     such
                      .
                            potential puymenls or benefits are or COlI become subject to Sect.ion
      409A, the PurHes shall cooperate to amend this Agrcemenhvi 1 tht! g(lru Mgiving Wulfthe
      economk benefits described herein in a In<1nncrthat doe'suo result in such t.a.'\. or interest
      being imposed. Wulfsi1aU,l.tt the rcqtie!'1 of the Company. t 'c any reasonable action «(lr
      refrain from taking any a'"~tion), required tOCt)mply·w'jt allY correction procedure
      promulgated pursuruit to Section 409A. Each pa)'mt:ut to h made under this Agreement
      shaH beu separatepayme.nt,fuld aseparatcly idemiflablcand . terminable paymffilt. fo the
      fullest extcntpennitted under Section 409A.

              (c)       Notwithstandillg any provision to thecont                herein. in addi.tion l<.l other
      remedies described in this Agrcemcnt,in the eYen! of a brc                eh of the represcnt~tkms or
      w-arrantiesset forth in Section (6)( b)(i v), Secti 011 6(b)( v), lUldf    any ofWul f' s obligations or
                                                                   future, thcn~my remaining
      agrecll'lcriL'l set forth in Section J, whether past, plesent ()
      pa)'ment obligations of the C~m1pany pur~umll to SeCtion      (a) and Section 5(b) shall
      immediately terminate and WuIt' shaH repay the amo\Hlls paid by the Company pursuant to
      Section 5(a) andSeclion5(b> of this Agreement within It;n 10) busine.ss da)'s after the
      COlnpunis notification ofthchreach and demund for payme \.

              (0)    This Agreel11.ent contains the cntircagreemem long the. Parties relating to
      the subject matter hereof and, except M pn)vided herein •. su rsedes 3.11y ptioragrecment..
      urrangcmerH (lr undetstUIlding,oral {it ""TittcH. a.mcmg the Part>s with respect to thcslIPject
      m:attcr hereof;
              (0)       The Company shall he ~.ntit1cd to \vithhold fn            <lIly   payments or be.ne1its
      made {)tpruvidcd unclerthis Agreemclltall applicable fedcl'ai, tate, city orothei'appllcablc
      tilxesifso requin..>d by law.

              (£)       N.o.dteratinns. amendments. waiver. or any               her change in unytcnn or
      provisionofthis Agrecmcntshullbc valid ()f bindin,gonuny P y unless the sante shall have
      been agreed lo in '''Tiring by all Oflhe Parties. No waiver () dd~Hllt orany teml of this
      AgrcemenlshuJI be deemed a waiver of any suhsequent breu ~h ordcf..wh of the s~ltneor
      similar nature. TJlisAgrt."'Cnlen1 may not be.dlliliged ~xcept by ~'ritten agrcementsigntxlby
      all Parties.                                                                          .

              (g)    E.ach Partyacknow1edgcs that a refusal by 'uc:h Party to perfom1 any
      c,ovcnantor agreement C(Jl1taillC(tin this Agreem~nt may caus incparable harm to <me or
      more ofthc {)thCt Pilrtit:s. for which there may be 110 adc(fttate emedy at la'Vyand tor \vhich
      lheascertainment of daulagc:$ would be diffiCult Ihei'e/(>re. hc Parties agree tha1 in any
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                    Page 117 of 204 PageID 4413

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       SUdl case, the other Party or P.irtic5 Sh'lll be entitled. in add lOll to,and without having to
       prove lhej.nad~quilcy of. ntberrcme-die1)ut km.', to specific P' limnUllccofthis Agreement.
       asweJ I as injuncHvc reHef (without heillg required tu post h nd or other security).

              (h)     The Company may a~~ign its rights und this Agreement. No othel'
       assignment is permitted except bynHltuul ...vritlen agreement •fthe Parties.

               (i)     In the event it becomes necessary to btil1gsuit ) enf<>l\:c anyprovisioil of this
       Agreement. the prevailing Party shaH beentillcd to recover, i addition to any other award.
       te~onable   legal costs~ including court cosb uud auurncy's ees l from the n()n-pr-~\'aiIing
       Party 9f Partie~,      '

                 EACH OF THE PARnES VOLlJNTARI ,Y AND IRREVOCABLY
               (j)
       WA1VES 11UAL BY JURY IN ANYACTION OR OTHEr PROCEEDIN(}BR{)t10HT
       IN C01\~ECnON WITH nus AGREEMENT OR ANY - F THE TRA'NSACTIONS
       CONTEMPLATED HEREIN.

              (k)    IrallY provision oftbis Agreement i~hdd to b lIIlcnforceablc or invalid. the
       remaining provisions of this Agreement will remain in effect

               (l)     Thi~ AgrcC111ent!'ihall be governed by and COl trued in ac\:ordance with the
       internal laws oftlle State orTcxa~. regardless oflhe la';v:; that ight otherwise !?,oveUl under
      applicable principh,~ (li ctmflicts of law thereof 1i30b Part 'irrevocablysubmits (0 the
      exciusivcjiJrisdielion of the Federal DistricL Court for the N hem Ub:trici of Texas (the
      ··Oistrict Court") I(n' th~1 purposes of finy suit, action or other rocceding arising outoC this
      Agreement .Each r'arty agrees (0 commence ,my action. suit r proceeding rdating to this
      Agreement in the District Court. Uach Party further ugrceshat service of any process,
      summons, notice (}rdOCumc~1t by registered nmi! to such Part)'respe~Live address set forth
      in Section 7(3) ub(wc shall he effective service oj' process,;' eh Party irrevQcahly and
      tmcondiriouaJJy waives uny objection (0 the laying of venue of ny action, suitur pro(:eeding
      arising om of (his :\greernc1it in tnt! District Court. and he hi' further irrevocably and
      unconditionally \.\1:lives and shall not assert by\vay of l1lo(kll1~ cfeng~; or otherwise, in any
      such ProcceJiug. any claim t.hat it lSHot subject personully to t ejurisdictiol1 of the District
      Court, that jIs property is I:xcmpl or immune Irom attach ut or ~xectltion, that ,l:iuch
      prc.)ceeding: is brought in un inconvenient forum~ that the cnue of the proceeding is,
      impr()per, Of thai the Agreetllent may riot he enfon:ed in or by lG District Court.          '

              (m)     TIle paragraph he.adings and captions wntait         d   he~inatc tl1f reterenc(~
      purposes and convenience only and shall not in any wny alTed         e meaning odnterpretatitm
      of this Agreement. It is intended byrhc Parties that (his i          ofeementbClnterpreted in
      uc~ordttncc ",Alli its fall' and simple meaning. not iuror against    ly Party. and no Party shaH
      be deemedt{) be tile drafter of' this Agreement.
               (11)    Wulfh<ls been informed HHd undcrstandsthllt (i) lOt wiili.')tanding anything in
      this AgreementtQ the contra!:y. to the extent that this Agree ent \vaivcs or rcJeasesmlY
      cjaims WuIf might haveimdcr tJ1C Age Discrimination in E Ipl()ymcnl Act, WuLf may
      rescli)d "Vuff's wuivcrancl reieu$e within scvon (7) calendar cia} ofWulf'~executiQn ofthls
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                      Page 118 of 204 PageID 4414

                                                                EXECl TION VERSION 121112017

       Ablfcemen.t; nnd (ii) uny such rescission mllst be in \"ritin hand deUvered to Nonuiu)
       MCC()WWlat the address illf the Company set tbrth helmy 1 Section 7. and etnailcd to
       Norman McCowan I1t norman,mc\.~U\\'illl;ti;h·robllldllrm:;.co ,both within the scven-day
       period. TheP,trties agree that. notwithstanding anything in th 5 Agreement to :tile ;contrw),.;
       in the event that Wulfmakcs any such rescission. (A) WuIt's] all repay to the Company by
       wire transfer of Immed~atch' uvailable fuuds,. within one (1) y ofatly ~uch re:sclssiofi. all
       amounts. paid to him pursuant to Sections 5(a) alld5(b); (Il in acco'rdancc witllSection
       5(~)(jjJ(irtheEmploymct1tAbrreement. Wulfs right tn3uyam mnts pursuant to &"'Ction5(d)
     . of the EmpJ()Yl1lcnt Agrceolent shall tcrtuinate and be of no r her force or t:ffCct~and (C)
       this Agrecmcnt shall be deemed to be terminated and of no· fCC' or effect except lor the
       terms ofth:is Section 7(n) ,

                 (0)   ThisAgreement may be executed in O!leormo counterparts, each of which
         shaJl be deemed.an 'Original butal1 of which shall COl1stitute c and 1he s..'UllC instrument
         Forpurposes OffhisAbrrfcment, use ofafacsimHc. e-mail or her electronic medium ~hall
         have the Same torce.and cllb::t as an original slgtiature,



         IN WITNESS \VllEREOF. the Partjc,~ have executed thi s A-.: cement on the dates serforth
below.


                                                        VER~B,lt F M: LI~:             ;c.
                                                       flY:_llo'V!I ~. 7            (.0 ..   ~
                                                             Nomum      L'COWall,
                                                             President

                                                        Datc:   ---".-+-~--          ......- - - . " - -




                                                             Lesli~   A. \i ulf

                                                        Date:    --        ---,"~--,-"--         ...-.-
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                         Page 119 of 204 PageID 4415

                                                                    EXECl nON VERSION 12/1/2017


                                 Exhibit A tp Separation Agreement

                                  SWOjIl Declamtion    l;1ud CertHication

LLcslic Wult: lUider pellalt~r of perJury. hereby ,~",V0l.lr, declare. and   rtify as follows:

         1.      Mycn'lpioymeot with VeroJ31uc FamL.r,; USA, Inc. (th ··Company'") has end~d,

        2.       1n ftccordartcc;\.¥ith the Separation Agreement I signe on Oeccmber .1".2017
(the "Termlll;l.tion Agreement"):

                 a.      I have. surrendered and returned to the Cun any aU Work Product and
Conftdciltial Infhrrnation (as (hOSt: terms ure dctlned in [he Terminat n Agreement) !Iud all other
itel11;s and property belonging to the Company thaI were at any time in 1)' possession, and J have not
made tlf retained any copies-or extracts thereof.

                b.     Lhavc first returned to lie Cornpanyand toen .cstroycd any flies. datu. or
information relating in }my way to the COI'npany,VBF Cariada (as dcilncd in the Termination
Agrcement).ruiy uf their ~ffil iates;or thl!Jr business, that exist or h;;wc X If;ted on or in any pefsoilaJ
computer Of other device oruccounL Jhaw not retained copies of any such files. data. or
infbrmatiOI1 in any form.

         3.      J understand lhlitany failure to acl inaccord,illce wit thi$ Sworn DcClamtiuI1 and
terti Ilcation and the 'l'cnnil"iutkPl) Agre~ment m~y r~sult in non -paym It ofal1lounts othenviscdue
tOIlle under tht: Termination Agr~erncnt, a.~ well HSU lawsuit againsrn . ~ceking damagcSI()f breach
of such tif".rreemcnt.

                                                  E.xe~utcd on Ihe_J~i d 'of December. 20 J 7




                                                  Les'l i.e Wul f
Case 3:19-cv-00764-X Document 155 Filed 09/17/19   Page 120 of 204 PageID 4416


                                Exhibit “A-4”
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                      Page 121 of 204 PageID 4417




               BUSINESS RELATIONSHIP TERMINATION AGREEMENT


        This Business Relationship Termination Agreement(this"Agreement")is made and entered
into as of October 27,2017(the "Effective Date"), by and between VeroBlue Farms USA,Inc., a
Nevada corporation (the "Company"), and Bruce Hall ("Hall"). The Company and Hall are
sometimes each referred to herein as a "Party" and collectively, as the "Parties".

                                       WITNESETH:

        WHEREAS, Hall and the Company are parties to that certain Employment Agreement,
 dated as ofJuly 1, 2016(the "Employment Agreement"); and

         WHEREAS,pursuantto a Stock Option Agreement,executed by Hall and the Company on
 July 8,2016 (the"Stock Option Agreement")and Stock Option GrantNotice,executed by Hall and
 the Company on July 8,2016 the "Stock Option Grant Notice"),the Company granted to Hall a
 non-statutory stock option to purchase 1,000,000 shares ofthe common stock, par value $0.01 per
 share, ofthe Company (the "Common Stock"), at a purchase price of $1.00 per share, under the
 Company's 2016 Stock Option Plan(the "Stock Option Grant"); and

       WHEREAS, Hall, through BHDH Family, LP (the "Hall Entity"), an entity indirectly
controlled by Hall, owns 3,600,000 common shares(the"Hall Shares")ofVeroBlue Farms Inc.,a
corporation incorporated under the laws ofthe Province of Ontario,("VBF Canada"); and

       WHEREAS the Parties desire to terminate their business relationship and to resolve any
claims they may have against each other;

         NOW,THEREFORE,in consideration ofthe foregoing and for other good and valuable
 consideration,the receipt and sufficiency ofwhich is hereby acknowledged,the Parties hereby agree
 as follows:

         1.     Termination of Employment and Employment Agreement.

               (a)      Effective as ofthe Effective Date:(i) Hall's employment and positions as
        Chief  Financial Officer and as an employee ofthe Company are hereby terminated; and (ii)
        the Employment Agreementis hereby terminated(including,specifically,Section 15 thereof)
        and ofno further force or effect, excluding Sections 5(f)(ii)-(vi), and 6-14(the "Surviving
        Sections"), which Surviving Sections shall remain in full force and effect. In addition,
        effective immediately after the Effective Date,the Hall Entity has made a written offer to the
        Company under Section 5(f)(ii)ofthe Employment Agreement to purchase the Hall Shares
        at a purchase price of$1.00 per share(the"Hall Share Offer"). The Parties agree that with
        respect to the Hall Share Offer, Section 5(f)(ii) of the Employment Agreement is hereby
        amended to:(i)remove subsection(D)thereofsolely for the Hall Share Offer,such that the
        other stockholders ofthe Company(other than the holders ofSeries A preferred stock ofthe
        Company) will not be offered the Hall Shares under the Hall Share Offer pursuant to such
        subsection(D);it being agreed and understood that ifthe Hall Shares are not sold by the Hall
        Entity pursuant to the Hall Share Offer in accordance with the terms and conditions of
        Section 5(f)(ii) of the Employment Agreement (as such terms and provisions have been



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Case 3:19-cv-00764-X Document 155 Filed 09/17/19                      Page 122 of 204 PageID 4418




        amended as provided above),then for any subsequent sale or transfer ofthe Hall Shares,the
        Hall Entity must again follow the terms and provisions ofSection 5(f)(ii)ofthe Employment
        Agreement; and (ii)provide that any offer ofEmployee Equity under Section 5(f)(ii) ofthe
        Employment Agreement,the parties under subsections(A)—(D)thereofand any third-party
        purchasers offered Employee Equity thereafter under Section 5.2(f) of the Employment
        Agreement, can purchase all or less than all of such offered Employee Equity (instead of
        only all of such offered Employee Equity as currently written in the Employment
        Agreement). Hall covenants and agrees to cause the Hall Entity to comply with the terms of
        this Section 1(a)and Section 5(1)of the Employment Agreement.

              (b)      Hall hereby resignsfrom any and all positions as an officer or director ofVBF
        Canada,the Company, VBF Operations Inc., a Texas corporation, VBF Transport, Inc., a
        Delaware corporation, Iowa's First, Inc., an Iowa corporation, Verostream Seafood
        Marketing,Inc., a Texas corporation, VBF IP Inc., a Texas corporation, VBF Construction
        Assets Inc.,an Iowa corporation,and VBF Construction Services Inc.,an Iowa corporation.

         2.      Termination ofStock Option Agreement and Stock Option Grant. Effective as ofthe
 Effective Date,the Stock Option Agreement,Stock Option Grant Notice and Stock Option Grant are
 hereby terminated in their entirety and ofno further force or effect; it being agreed and understood
 that no shares ofCommon Stock have been, or will be,issued under the Stock Option Agreement,
 Stock Option Grant Notice or Stock Option Grant.

        3.      Confidential Information; Non-Competition; Non-Solicitation.

              (a)      Confidentiality. Hall acknowledges that during his employment with the
        Company, Hall has obtained knowledge of,and has been given and will be given access to,
        information concerning the Company and VBF Canada and their respective affiliates,
        including, but not limited to, information regarding the business, operations, services,
        proposed services, business processes, business and marketing strategies, advertising,
        marketing and promotional plans and materials, pricing strategies and policies, financial
        information, stockholders and other trade secrets, confidential information and proprietary
        material of the Company, including information and material originated, discovered or
        developed in whole or in part by Hall (collectively referred to herein as "Confidential
        Information"). The term "Confidential Information" does not include any information
        which(i)at the time ofdisclosure is generally available to the public(other than as a result
        ofa disclosure by Hall in breach ofthis Agreement or any other agreement by which Hall is
        or was prohibited from disclosing Confidential Information),or(ii) was available to Hall on
        a non-confidential basis from a source (other than the Company or its affiliates or their
        representatives)that is not and was not prohibited from disclosing such information to Hall
        by a contractual, legal or fiduciary obligation. Hall agrees that Hall will, in a fiduciary
        capacity for the benefit of the Company, hold all Confidential Information strictly in
        confidence and will not directly or indirectly reveal,report,disclose, publish or transfer any
        ofsuch Confidential Information to any person or entity or utilize any ofthe Confidential
        Information for any purpose, except to the extent that Hall may be required by law to
        disclose any Confidential Information.




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Case 3:19-cv-00764-X Document 155 Filed 09/17/19                      Page 123 of 204 PageID 4419




                (b)      Hall acknowledges that he understands the following:An individual shall not
        be held criminally or civilly liable under any federal or state trade secret law for the
        disclosure ofa trade secret that is made in confidence to a federal,state,or local government
        official or to an attorney solely for the purpose of reporting or investigating a suspected
        violation of law. An individual shall not be held criminally or civilly liable under any
        federal or state trade secretlaw for the disclosure ofa trade secret that is madein acomplaint
        or other document filed in a lawsuit or other proceeding, ifsuch filing is made under seal.
        An individual who files a lawsuit for retaliation by an employer for reporting a suspected
        violation oflaw may disclose the trade secret to the attorney ofthe individual and use the
        trade secret information in the court proceeding, if the individual files any document
        containing the trade secret under seal and does not disclose the trade secret,except pursuant
        to court order.

               (c)       Non-Competition and Non-Solicitation. In fuither consideration of the
        compensation to be paid to Hall hereunder,Hall acknowledges that during the course ofhis
        employment and prior service with the Company, he has become familiar with the trade
        secrets ofthe Company and with other Confidential Information concerning the Company
        and that his services have been and shall continue to be ofspecial,unique and extraordinary
        value to the Company. Therefore,Hall agrees that,for a period ofone(1)year following the
        Effective Date (the "Restricted Period"), he shall not directly or indirectly: (i) own any
        interest in, manage,control,participate in,consult with,render services for,be employed in
        an executive, managerial or administrative capacity by, or in any manner engage in, any
        Competing Business (as defined below); (ii) solicit, request or induce any employee,
        consultant or agent ofthe Company or VBF Canada or any oftheir respective affiliates to
        terminate his or her employment or relationship with such company,nor hire any employee
        ofthe Company or VBF Canada or any oftheir respective affiliates, or (iii) solicit, request,
        or induce or attemptto solicit,request,or induce or attemptto induce any customer,supplier,
        licensee or other business relation ofthe Company or VBF Canada or any oftheir respective
        affiliates to cease doing business with,or modify its business relationship with the Company
        or VBF Canada or any oftheir respective affiliates,or in any way interfere with or hinder the
        relationship between any such customer, supplier, licensee or business relation and the
        Company or VBF Canada or any oftheir respective affiliates, as applicable. For purposes
        hereof, "Competing Business" means an aquaculture business that competes with the
        Company or VBF Canada,or any oftheir respective affiliates in any geographic territory in
        which the Company, VBF Canada, or any such affiliate conducts, sells or markets its
        business or plans to conduct,sell or market its business(it being agreed and understood that
        the Company is currently conducting, or plans to conduct, business in the United States,
        Canada and Australia). Nothing herein shall prohibit Hall from being a passive owner ofnot
        more than five percent(5.0%)ofthe outstanding stock ofany class ofa corporation that is
        publicly traded, so long as Hall has no active participation in the business of such
        corporation.

               (d) Proprietary Interest. All correspondence, communications (electronic or
        otherwise), data,reports, software,systems, databases, methodology,processes, programs,
        templates,procedures,know-how,inventions,discoveries,creations,designs,improvements,
        patents,copyrights,discoveries or ideas which Hall conceived,developed,or produced prior
        to the date hereofas an employee or officer of,or consultant to,the Company,VBF Canada



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Case 3:19-cv-00764-X Document 155 Filed 09/17/19                       Page 124 of 204 PageID 4420




       or their affiliates which relate to the business of the Company.(collectively, the "Work
       Product"),including trade secrets, data, methodology,processes,programs,templates,and
       information concerning proprietary technology developed for the business, or for any
       interests ofthe Company,shall belong solely and exclusively to the Company,together with
       any intellectual property rights associated with such Work Product(the"IP Rights"). Hall
       acknowledges that all original works of authorship which were made by Hall (solely or
       jointly with others)during his prior services or within the scope ofhis employment with the
       Company and which are protectable by copyright laws are "works made for hire," pursuant
       to the United States Copyright Act(17 U.S.C., Section 101),and that such works made for
       hire shall constitute part ofthe IP Rights. Hall shall assist the Company or its designees to
       obtain, and from time to time enforce, United States and foreign IP Rights in any and all
       countries. To that end,Hall shall execute, verify,and deliver such documents and perform
       such other acts(including appearing as a witness)as the Company may reasonably request
       for use in applying for, obtaining, perfecting, evidencing, sustaining and enforcing such IP
       Rights and the assignment thereof. In addition, Hall will execute, verify, and deliver
       assignments of such IP Rights to the Company or its designee. Hall hereby waives and
       quitclaims to the Company any and all claims,ofany nature whatsoever,which Hall now or
       may hereafter have for infringement ofany IP Rights assigned hereunder to the Company.

              (e)       Return of Materials. Hall expressly acknowledges that all physical property,
       data, books,records and other Work Product and Confidential Information ofthe Company
       and its affiliates obtained in connection with the Company's and its affiliates' business is the
       exclusive property ofthe Company. Hall warrants and represents that prior to executing this
       Agreement, Hall has surrendered and returned to the Company all such Work Product and
       Confidential Information and all other items and property belonging to the Company then in
       the possession ofHall,and Hall shall not make or retain any copies ofextracts thereof. Hall
       agrees that, to the extent that Hall possesses any files, data, or information relating in any
       way to the Company,VBF Canada,any oftheir affiliates, or their business on any personal
       computer or other device or account, Hall will first return to the Company and then delete
       those files, data, or information(and will retain no copies in any form).

             (f)       Property ofthe Company. Hall acknowledges that from time to time in the
       course of providing past services to the Company and its affiliates, Hall has had the
       opportunity to inspect and use certain property,both tangible and intangible,ofthe Company
       and Hall hereby agrees that such property shall remain the exclusive property of the
       Company and its affiliates. Hall shall have no right or proprietary interest in such property,
       whether tangible or intangible.

             (g)      Reasonable in Scope and Duration; Consideration. Hall agrees and
       acknowledges that the restrictions contained in this Section 3 are reasonable in scope and
       duration and are necessary to protect the business interests and Confidential Information of
       the Company and its affiliates from and after the Effective Date,and Hall further agrees and
       acknowledges that he has reviewed the provisions ofthis Agreement with his legal counsel.
       Hall acknowledges and agrees that Hall will receive substantial valuable consideration from
       the Company for the covenants contained in this Section 3, including without limitation,
       compensation and other benefits as set forth in Section 5 below.




19226033v
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                      Page 125 of 204 PageID 4421




                (h) Enforcement. If, at the time ofenforcement ofSection3ofthis Agreement,a
         court holds that the restrictions stated herein are unreasonable under circumstances then
         existing, the Parties hereto agree that the maximum duration, scope or geographical area
         reasonable under such circumstances shall be substituted for the stated period,scope or area
         and that the court shall be allowed to revise the restrictions contained herein to cover the
         maximum duration,scope and area permitted by law.

               (i)       Extension of Restricted Periods. In addition to the remedies the Company
         may seek and obtain pursuant to this Agreement,the applicable restricted periods set forth
         herein shall be extended by any and all periods during which Hall shall be found by a court
         ofcompetentjurisdiction to have been in violation ofthe covenants contained herein.

         4.     Releases.

                 (a)      Exceptfor the covenants and agreements ofthe Company provided for in this
         Agreement, Hall, on his own behalf and on behalf of his, affiliates, heirs, dependents,
         successors and assigns, or any of them (collectively, the "Hall Releasers") hereby
         irrevocably and unconditionally release,acquit and forever discharge the Company and VBF
         Canada and each oftheir respective successors, assigns,agents,equity holders, members of
         the boards ofdirectors, officers,employees,representatives,subsidiaries and affiliates and all
         persons acting by, through, under or in concert with any of them (collectively, the
        "Company Releasees"), or any of them, from any and all charges, complaints, claims,
         liabilities, obligations, promises, agreements, controversies, damages, actions, causes of
         action,suits, rights,demands,costs,losses,debts and expenses(including attorneys'fees and
        costs actually incurred), of any nature whatsoever, known or unknown (each, a "Hall
        Claim",and collectively,the"Hall Claims")which the Hall Releasers now have,own,hold,
         or which the Hall Releasers at any time heretofore had, owned or held against each ofthe
         Company Releasees including, but not limited to: (i) all Hall Claims under the Age
        Discrimination in Employment Act of1967,as amended;(ii)all Hall Claims under Title VII
        of the Civil Rights Act of 1964, as amended; (iii) all Hall Claims under the Employee
        Retirement Income Security Act of 1974,as amended;(iv)all Hall Claims arising under the
        Americans With Disabilities Act of1990,as amended;(v)all Hall Claims arising under the
        Family and Medical Leave Act of 1993,as amended;(vi) all Hall Claims related to Hall's
        employment or engagement with the Company Releasees;(vii)all Hall Claims ofunlawful
        discrimination based on age,sex, race, religion, national origin, handicap, disability, equal
        pay,sexual orientation or otherwise;(viii)all Hall Claims of wrongful discharge, breach of
        an implied or express employment contract,negligent or intentional infliction ofemotional
        distress, libel, defamation,breach ofprivacy,fraud,breach ofany implied covenant ofgood
        faith and fair dealing and any other federal, state, or local common law or statutory claims,
        whether in tort or in contract;(xi)all Hall Claims related to unpaid wages,salary, deferred
        compensation, overtime compensation, bonuses, severance pay, vacation pay or other
        compensation or benefits arising out of Hall's employment or engagement with any
        Company Releasee;(x)all Hall Claims arising under any federal, state or local regulation,
        law,code or statute;(xi) all Hall Claims of discrimination arising under any state or local
        law or ordinance;(xii); and(xiii)all Hall Claims relating to any agreement,arrangement or
        understanding that the Hall Releasers have, or may have, with any Company Releasee(but
        specifically excluding this Agreement and the Surviving Sections) for anything occurring



 19226033v
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                       Page 126 of 204 PageID 4422




         prior to the Effective Date. The Hall Releasers represent that they have not heretofore
         assigned or transferred, or purported to assign or transfer,to any person or entity, any Hall
         Claim or any portion thereofor interest therein. Notwithstanding anything in this section
         4(a),the Parties agree that this Section 4(a)does not apply to the Hall Entity with respect to
         its ownership ofthe Hall Shares and its rights as a shareholder of VBF Canada.

                (b)      Except for the covenants and agreements of Hall provided for in this
         Agreement,the Company,on its own behalfand on behalfofthe other Company Releasees,
         hereby irrevocably and unconditionally release, acquit and forever discharge the Hall
         Releasers from any and all charges, complaints, claims, liabilities, obligations, promises,
         agreements,controversies,damages,actions,causes ofaction,suits,rights,demands,costs,
         losses, debts and expenses (including attorneys' fees and costs actually incurred), of any
         nature whatsoever, known or unknown (the "Company Releasee Claims") which the
         Company Releasees now have,own,hold,or to which the Company Releasees at any time
         heretofore had,owned or held against each ofthe Hall Releasers. The Company Releasees
         represent that they have not heretofore assigned or transferred, or purported to assign or
         transfer, to any person or entity, any Company Releasee Claim or any portion thereof or
         interest therein.

                (c)      Hall,on his own behalfand on behalfofthe other Hall.Releasers, agrees not
         to make any disparaging or negative statements, written or verbal, regarding any of the
         Company Releasees at any time in the future,whether such statement is true or false,except
         as required by law or in defense of any legal action brought by any Company Releasee
         against any Hall Releaser in violation ofthis Agreement. The Company,on its own behalf
         and on behalf of the other Company Releasees, agrees not to make any disparaging or
         negative statements, written or verbal,regarding any ofthe Hall Releasers at any time in the
         future, whether such statement be true or false,except as required bylaw or in defense ofany
         legal action brought by any Hall Releaser against any Company Releasee in violation ofthis
         Agreement.

         5.     Settlement Consideration.

              (a)    In consideration ofthe covenants,agreements and other matters described in
Sections 1-4 above,and in full satisfaction ofthe Company's obligations under Section 5(d)ofthe
Employment Agreement,the Company agrees to make a payment ofHall of$400,000 on or prior to
November 6,2017.

                (b)    For all amounts that are owed to Hall by the Company as of the Effective
         Date,(including, without limitation, unpaid salary,PTO and reimbursable expenses),on or
         prior to November 6,2017,the Company will pay Hall $49,115.38(consisting of$25,000 of
         PTO and $24,115.38 ofunpaid salary for the last pay period which would have been paid on
         November 3,2017). For the avoidance ofdoubt,the foregoing payments are in satisfaction
         of and not in addition to the Accrued Employment Entitlements (as defined in the
         Employment Agreement) provided for in Section 5 ofthe Employment Agreement.

               (c)     All payments under this Section 5 will be made by wire transfer of
         immediately available funds to the following account:



 192260331
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                      Page 127 of 204 PageID 4423




                          Bank:                 Bank of America,N.A.
                          Bank Address and      780 S. MacArthur Blvd.
                          Telephone :           Coppell,TX 75019
                                                972-304-2140
                          Account Name:         Bruce A. Hall POD Darienne K. Hall
                          Account #:
                          Wire Routing #:

               (d)       The Company will report and withhold payment under this Section 5 for tax
 purposes as required under applicable tax laws. If a claim is made against the Company for any
 additional tax or withholding in connection with or arising out of any payment pursuant to this
 Section 5,Hall shall pay any such claim within thirty(30)days of being notified by the Company
 and agrees to indemnify the Company and hold it harmless against such claims, including, but not
 limited to, any taxes, attorneys' fees, penalties, and/or interest, which are or become due from the
 Company.

        6.      Representations and Warranties.

               (a)      Each Party hereby represents and warrants to each other Party that the
following representations and warranties are true and correct as ofthe Effective Date as follows:(a)
such Party is fully competent to execute, deliver and perform this Agreement;(ii) this Agreement
has been duly executed and delivered by such Party and constitutes a legal, valid and binding
obligation ofsuch Party,enforceable against such Party in accordance with its terms,except as may
be limited by applicable bankruptcy,insolvency or similar laws affecting creditors' rights generally
or the availability ofequitable remedies; and (iii)neither the execution,delivery or performance of
this Agreement nor the consummation ofthe transactions contemplated hereby or thereby will:(1)
conflict with,or result in a violation or breach ofthe terms,conditions or provisions of,or constitute
a default under any agreement, indenture or other instrument under which such Party is bound or
subject; or(2)violate or conflict with anyjudgment,decree,order,statute,rule or regulation ofany
court or any public, governmental or regulatory agency or body havingjurisdiction over such Party.

               (b)      In addition, Hall warrants and represents as follows:

                       (i)     he voluntarily executes this Agreement(1)after having been advised
                to consult with legal counsel and (2) after having had opportunity to consult with
                legal counsel;

                      (ii)      he understands that:(1) nothing contained in this Agreement limits
                Hall's ability to file a charge or complaint with the Equal Employment Opportunity
                Commission, the National Labor Relations Board, the Occupational Safety and
                Health Administration, the Securities and Exchange Commission or any other
                federal, state or local governmental agency or commission ("Government
                Agencies");and(2)this Agreementdoes not limit Hall's ability to communicate with
                any Government Agencies or otherwise participate in any investigation or proceeding
                that may be conducted by any Government Agency,including providing documents
                or other information,without notice to the Company. Notwithstanding the foregoing,




 19226033
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                    Page 128 of 204 PageID 4424




               Hall waives any right to any monetary recovery or other relief should any party,
               including, without limitation, any federal, state or local governmental entity or
               administrative agency,pursue any claims on Hall's behalfarising out of,relating to,
               or in any way connected with the Released Claims, provided, however, this
               Agreement does notlimit Hall's rightto receive a reward for information provided to
               any Government Agencies;

                     (iii) he has the right to consider the terms of this Agreement for at least
               twenty-one(21)days;and in the eventthat he executes this Agreementin less time,it
               is with the full understanding that he had the full twenty-one (21) days if he so
               desired and that he was not pressured by the Company or any ofits representatives or
               agents to take less time to consider the Agreement; it being agreed and understood
               that,in such event,Hall expressly intends such execution to be a waiver ofany right
               Hall had to review the Agreement for a full twenty-one(21)days;

                    (iv) he has not violated any obligations contained in Section 4 of the
               Employment Agreement;

                    (v) he has notengaged in any acts or omissions amounting to"Egregious
               Cause"(as defined in the Employment Agreement)for the Company to terminate his
               employment pursuant to the Employment Agreement;

                      (vi) that(1)as setforth in Section 5(e)(ii)ofthe Employment Agreement,
               he is not otherwise entitled to the amounts set forth in Sections 5(a)above without
               his execution and non-revocation ofthis Agreement,and(2)those amounts are good
               and sufficient consideration for this Agreement; and

                    (vii) he admits, acknowledges, and agrees that, except for the payments
               promised in this Agreement, Hall has been fully and finally paid or provided all
               wages,compensation,vacation,bonuses,stock,stock options,or other benefitsfrom
               the Company which are or could be due to Hall under the terms of Hall's
               employment with the Company,or otherwise.

         7.    Miscellaneous.

              (a)       Any notice or communication hereunder must be in writing and given by
depositing the same in the United States mail,addressed to the Party to be notified, postage prepaid
and registered or certified with return receipt requested, or by delivering the same in person. Such
notice shall be deemed received on the date on which it is hand-delivered, or delivered by Federal
Express or on the third business day following the date on which it is so mailed. For purposes of
notice,the addresses ofthe Parties shall be as follows:

               Ifto the Company:                     VeroBlue Farms USA,Inc.
                                                     3369 Premier Drive, Suite 300
                                                     Plano, Texas 75023
                                                     Attn: Chief Executive Officer




 19226033v
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                     Page 129 of 204 PageID 4425




                Ifto Hall:                            Bruce Hall
                                                      836 Blue Jay Lane
                                                      Coppell, Texas 75019

 Any Party may change its address for notice by written notice given to the other party in accordance
 with this Section.

                (b)      This Agreement is intended to comply with Section 409A ofthe Code and
 Treasury Regulations promulgated thereunder("Section 409A")and shall be construed accordingly.
 It is the intention of the Parties that payments or benefits payable under this Agreement not be
 subject to the additional tax or interest imposed pursuant to Section 409A. To the extent such
 potential payments or benefits are or could become subject to Section 409A, the Parties shall
 cooperate to amend this Agreement with the goal of giving Hall the economic benefits described
 herein in a manner that does not result in such tax or interest being imposed. Hall shall, at the
 request ofthe Company,take any reasonable action(or refrain from taking any action),required to
 comply with any correction procedure promulgated pursuant to Section 409A. Each payment to be
 made under this Agreement shall be a separate payment, and a separately identifiable and
 determinable payment,to the fullest extent permitted under Section 409A.

                (c)     Notwithstanding Section 4(b)or any other provision to the contrary herein,in
 addition to other remedies described in this Agreement,in the event a courtofcompetentjurisdiction
 renders a final, non-appealable verdict that Hall breached any ofthe warranties setforth in Sections
(6)(b)(iv)and/or 6(b)(v)above(the "Breach Verdict"),then Hall shall repay the amounts set forth
 in Section 5(a)ofthis Agreement within ten(10)business days after the Company's notification of
 the Breach Verdict.

              (d) This Agreement contains the entire agreement among the Parties relating to
 the subject matter hereof and, except as provided herein, supersedes any prior agreement,
 arrangement or understanding, oral or written, among the Parties with respect to the subject matter
 hereof.

               (e)    The Company shall be entitled to withhold from any payments or benefits
 made or provided under this Agreement all applicable federal,state,city or other applicable taxes if
 so required by law.

               (f)      No alterations, amendments, waiver, or any other change in any term or
 provision ofthis Agreement shall be valid or binding on any Party unless the same shall have been
 agreed to in writing by all ofthe Parties. No waiver or default ofany term ofthis Agreement shall
 be deemed a waiver of any subsequent breach or default of the same or similar nature. This
 Agreement may not be changed except by written agreement signed by all Parties.

               (g)      Each Party acknowledges that a refusal by such Party to perform any covenant
 or agreement contained in this Agreement may cause irreparable harm to one or more ofthe other
 Parties, for which there may be no adequate remedy at law and for which the ascertainment of
 damages would be difficult. Therefore, the Parties agree that in any such case, the other Party or
 Parties shall be entitled, in addition to, and without having to prove the inadequacy of, other




 19226033
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                      Page 130 of 204 PageID 4426




 remedies at law, to specific performance of this Agreement, as well as injunctive relief(without
 being required to post bond or other security).

              (h)      The Company may assign its rights under this Agreement. No other
 assignment is permitted except by mutual written agreement ofthe Parties.

              (i)      In the event it becomes necessary to bring suit to enforce any provision ofthis
 Agreement, the prevailing Party shall be entitled to recover, in addition to any other award,
 reasonable legal costs, including court costs and attorney's fees,from the non-prevailing Party or
 Parties.

           (j)  EACH OF THE PARTIES VOLUNTARILY AND IRREVOCABLY
 WAIVES TRIAL BY JURY IN ANY ACTION OR OTHER PROCEEDING BROUGHT IN
 CONNECTION WITH THIS AGREEMENT OR ANY OF THE TRANSACTIONS
 CONTEMPLATED HEREIN.

              (k)      Ifany provision ofthis Agreement is held to be unenforceable or invalid,the
 remaining provisions ofthis Agreement will remain in effect.

              (I)      This Agreement shall be governed by and construed in accordance with the
internal laws of the State of Texas, regardless of the laws that might otherwise govern under
applicable principles of conflicts oflaw thereof. Each Party irrevocably submits to the exclusive
jurisdiction ofthe Federal District Court for the Northern District of Texas(the "District Court")
for the purposes of any suit, action or other proceeding arising out ofthis Agreement. Each Party
agrees to commence any action, suit or proceeding relating to this Agreement in the District Court.
Each Party further agrees that service ofany process,summons,notice or document by registered
mail to such Party's respective address set forth in Section 7(a)above shall be effective service of
process. Each Party irrevocably and unconditionally waives any objection to the laying ofvenue of
any action,suit or proceeding arising out ofthis Agreement in the District Court,and hereby further
irrevocably and unconditionally waives and shall not assert by way ofmotion,defense,or otherwise,
in any such Proceeding, any claim that it is not subject personally to thejurisdiction ofthe District
Court,that its property is exempt or immune from attachment or execution,that such proceeding is
brought in an inconvenient forum, that the venue of the proceeding is improper, or that the
Agreement may not be enforced in or by the District Court.

              (m) The paragraph headings and captions contained herein are for reference
purposes and convenience only and shall not in any way affect the meaning or interpretation ofthis
Agreement. It is intended by the Parties that this Agreement be interpreted in accordance with its
fair and simple meaning,not for or against any Party,and no Party shall be deemed to be the drafter
ofthis Agreement.

              (n)       Hall has been informed and understands that(1)notwithstanding anything in
this Agreement  to the contrary, to the extent that this Agreement waives or releases any claims Hall
might have under the Age Discrimination in Employment Act,Hall may rescind Hall's waiver and
release within seven (7) calendar days of Hall's execution of this Agreement; and (ii) any such
rescission must be in writing and e-mailed and hand delivered to Les Wulf at the address for the
Company set forth below in Section 7, within the seven-day period. The Parties agree that,




 19226033'
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                  Page 131 of 204 PageID 4427




 notwithstanding anything in this Agreement to the contrary,in the event that Hall makes any such
 rescission, this Agreement shall be deemed to be terminated and of no force or effect

              (o)      This Agreement may be executed in one or more counterparts,each ofwhich
 shall be deemed an original but all of which shall constitute one and the same instrument. For
 purposes of this Agreement, use of a facsimile, e-mail or other electronic medium shall have the
 same force and effect as an original signature.

            IN WITNESS WHEREOF,the Parties have executed this Agreement on the dates setforth
 below.

                                                     VEROBLUE FARMS USA,INC.

                                                     By:
                                                         Leslie Wulf,
                                                         ChiefExecutive Officer
                                                     Date:         10-27-2017




                                                          Bruce Hal
                                                      Date:  OC-                     Zat?




 19226033
Case 3:19-cv-00764-X Document 155 Filed 09/17/19   Page 132 of 204 PageID 4428


                                Exhibit “A-5”
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                     Page 133 of 204 PageID 4429




                 BUSINESS RELATIONSHIP TERMINATION AGREEMENT


          This Business Relationship Termination Agreement(this"Agreement")is made and entered
  into as ofOctober 27,2017(the "Effective Date"), by and between VeroBlue Farms USA,Inc., a
  Nevada corporation(the "Company"),and John E.(Ted)Rea("Rea"). The Company and Rea are
  sometimes each referred to herein as a "Party" and collectively, as the "Parties".

                                         W ITNESETH:

         WHEREAS,Rea and the Company are parties to that certain Employment Agreement,dated
  as ofJuly 1, 2016(the "Employment Agreement"); and

          WHEREAS,pursuant toa Stock Option Agreement,executed by Rea and the Company on
  July 8,2016(the "Stock Option Agreement")and Stock Option Grant Notice,executed by Rea and
  the Company on July 8, 2016 the "Stock Option Grant Notice"),the Company granted to Rea a
  non-statutory stock option to purchase 1,000,000 shares ofthe common stock, par value $0.01 per
  share, ofthe Company(the "Common Stock"), at a purchase price of$1.00 per share, under the
  Company's 2016 Stock Option Plan(the "Stock Option Grant"); and

         WHEREAS,Rea,through J2 Family,L.P.(the"Rea Entity"),an entity indirectly controlled
  by Rea,owns 3,300,000 common shares(the"Rea Shares")ofVeroBlue Farms Inc.,a corporation
  incorporated under the laws ofthe Province ofOntario,("VBF Canada"); and

         WHEREAS the Parties desire to terminate their business relationship and to resolve any
  claims they may have against each other;

          NOW,THEREFORE,in consideration ofthe foregoing and for other good and valuable
  consideration,the receipt and sufficiency ofwhich is hereby acknowledged,the Parties hereby agree
  as follows:

          1.     Termination ofEmployment and Employment Agreement.

                 (a)      Effective as of the Effective Date:(i) Rea's employment and positions as
          ChiefOperating Officer and as an employee ofthe Company are hereby terminated;and(ii)
          the Employment Agreement is hereby terminated (including,specifically,Section 15 thereof)
          and ofno further force or effect, excluding Sections 5(f)(ii)-(vi), and 6-14(the "Surviving
          Sections"), which Surviving Sections shall remain in full force and effect. In addition,
          effective immediately after the Effective Date,the Rea Entity has made a written offer to the
          Company under Section 5(f)(ii)ofthe Employment Agreement to purchase the Rea Shares at
          a purchase price of USD $1.00 per share(the "Rea Share Offer"). The Parties agree that
          with respect to the Rea Share Offer, Section 5(f)(ii)ofthe Employment Agreement is hereby
          amended to:(i)remove subsection(D)thereofsolely for the Rea Share Offer, such that the
          other stockholders ofthe Company(other than the holders ofSeries A preferred stock ofthe
          Company) will not be offered the Rea Shares under the Rea Share Offer pursuant to such
          subsection(D); it being agreed and understood that ifthe Rea Shares are not sold by the Rea
          Entity pursuant to the Rea Share Offer in accordance with the terms and conditions of
          Section 5(f)(ii) of the Employment Agreement (as such terms and provisions have been



  192815481
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                     Page 134 of 204 PageID 4430




         amended as provided above),then for any subsequent sale or transfer ofthe Rea Shares,the
         Rea Entity must again follow the terms and provisions ofSection 5(f)(ii)ofthe Employment
         Agreement;and(ii)provide that any offer ofEmployee Equity under Section 5(f)(ii) ofthe
         Employment Agreement,the parties under subsections(A)—(D)thereofand any third-party
         purchasers offered Employee Equity thereafter under Section 5.2(f) of the Employment
         Agreement, can purchase all or less than all ofsuch offered Employee Equity(instead of
         only all of such offered Employee Equity as currently written in the Employment
         Agreement). Rea covenants and agrees to cause the Rea Entity to comply with the terms of
         this Section 1(a)and Section 5(f) ofthe Employment Agreement.

               (b)       Rea hereby resigns from any and all positions as an officer or directorofVBF
         Canada, the Company, VBF Operations Inc., a Texas corporation, VBF Transport, Inc., a
         Delaware corporation, Iowa's First, Inc., an Iowa corporation, Verostream Seafood
         Marketing,Inc.,a Texas corporation, VBF IP Inc.,a Texas corporation, VBF Construction
         Assets Inc., an Iowa corporation,and VBF Construction Services Inc.,an Iowa corporation.

          2.      Termination ofStock Option Agreement and Stock Option Grant. Effective as ofthe
  Effective Date,the Stock Option Agreement,Stock Option Grant Notice and Stock Option Grant are
  hereby terminated in their entirety and ofno further force or effect; it being agreed and understood
  that no shares ofCommon Stock have been, or will be, issued under the Stock Option Agreement,
  Stock Option Grant Notice or Stock Option Grant.

         3.      Conf
                    idential Information;Non-Competition:Non-Solicitation.

                (a)      Confidentiality. Rea acknowledges that during his employment with the
         Company,Rea has obtained knowledge of,and has been given and will be given access to,
         information concerning the Company and VBF Canada and their respective affiliates,
         including, but not limited to, information regarding the business, operations, services,
         proposed services, business processes, business and marketing strategies, advertising,
         marketing and promotional plans and materials, pricing strategies and policies, financial
         information, stockholders and other trade secrets, confidential information and proprietary
         material of the Company, including information and material originated, discovered or
         developed in whole or in part by Rea (collectively referred to herein as "Confidential
         Information"). The term "Confidential Information" does not include any information
         which (i) at the time ofdisclosure is generally available to the public(other than as a result
         ofa disclosure by Rea in breach ofthis Agreement or any other agreement by which Rea is
         or was prohibited from disclosing Confidential Information),or(ii) was available to Reaon a
         non-confidential basis from a source (other than the Company or its affiliates or their
         representatives) that is not and was not prohibited from disclosing such information to Rea
         by a contractual, legal or fiduciary obligation. Rea agrees that Rea will, in a fiduciary
         capacity for the benefit of the Company, hold all Confidential Information strictly in
         confidence and will not directly or indirectly reveal, report,disclose, publish or transfer any
         ofsuch Confidential Information to any person or entity or utilize any ofthe Confidential
         Information for any purpose,except to the extent that Rea may be required by law to disclose
          any Confidential Information.




  192815481
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                       Page 135 of 204 PageID 4431




                 (b)      Rea acknowledges that he understands the following: An individual shall not
         be held criminally or civilly liable under any federal or state trade secret law for the
         disclosure ofa trade secret that is made in confidence to a federal,state,or local government
         official or to an attorney solely for the purpose of reporting or investigating a suspected
         violation of law. An individual shall not be held criminally or civilly liable under any
         federal or state trade secret law for the disclosure ofa trade secret that is made in a complaint
         or other document filed in a lawsuit or other proceeding, if such filing is made under seal.
         An individual who files a lawsuit for retaliation by an employer for reporting a suspected
         violation oflaw.may disclose the trade secret to the attorney ofthe individual and use the
         trade secret information in the court proceeding, if the individual files any document
         containing the trade secret under seal and does not disclose the trade secret,except pursuant
         to court order.

                (c)       Non-Competition and Non-Solicitation. In further consideration of the
         compensation to be paid to Rea hereunder, Rea acknowledges that during the course ofhis
         employment and prior service with the Company, he has become familiar with the trade
         secrets ofthe Company and with other Confidential Information concerning the Company
         and that his services have been and shall continue to be ofspecial,unique and extraordinary
         value to the Company. Therefore, Rea agrees that,for a period ofone(1)year following the
         Effective Date (the "Restricted Period"), he shall not directly or indirectly: (i) own any
         interest in, manage,control,participate in, consult with,render services for,be employed in
         an executive, managerial or administrative capacity by, or in any manner engage in, any
         Competing Business (as defined below); (ii) solicit, request or induce any employee,
         consultant or agent ofthe Company or VBF Canada or any oftheir respective affiliates to
         terminate his or her employment or relationship with such company, nor hire any employee
         ofthe Company or VBF Canada or any oftheir respective affiliates, or(iii) solicit, request,
         or induce or attempt to solicit, request,or induce or attempt to induce any customer,supplier,
         licensee or other business relation ofthe Company or VBF Canada or any oftheir respective
         affiliates to cease doing business with,or modify its business relationship with the Company
         or VBF Canada or any oftheir respective affiliates, or in any way interfere with or hinderthe
         relationship between any such customer, supplier, licensee or business relation and the
         Company or VBF Canada or any oftheir respective affiliates, as applicable. For purposes
         hereof, "Competing Business" means an aquaculture business that competes with the
         Company or VBF Canada,or any oftheir respective affiliates in any geographic territory in
         which the Company, VBF Canada, or any such affiliate conducts, sells or markets its
         business or plans to conduct,sell or market its business(it being agreed and understood that
         the Company is currently conducting, or plans to conduct, business in the United States,
         Canada and Australia). Nothing herein shall prohibit Rea from being a passive owner ofnot
         more than five percent(5.0%)ofthe outstanding stock ofany class ofa corporation that is
         publicly traded, so long as Rea has no active participation in the business of such
         corporation.

                (d) Proprietary Interest. All correspondence, communications (electronic or
         otherwise), data, reports,software,systems, databases, methodology, processes, programs,
         templates, procedures,know-how,inventions,discoveries,creations,designs,improvements,
         patents,copyrights,discoveries or ideas which Rea conceived,developed,or produced prior
         to the date hereofas an employee or officer of,or consultant to,the Company,VBF Canada



  1928154e
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                      Page 136 of 204 PageID 4432




         or their affiliates which relate to the business of the Company (collectively, the "Work
         Product"),including trade secrets, data, methodology,processes, programs,templates, and
         information concerning proprietary technology developed for the business, or for any
         interests ofthe Company,shall belong solely and exclusively to the Company,together with
         any intellectual property rights associated with such Work Product(the "IP Rights"). Rea
         acknowledges that all original works of authorship which were made by Rea (solely or
         jointly with others)during his prior services or within the scope ofhis employment with the
         Company and which are protectable by copyright laws are"works made for hire," pursuant
         to the United States Copyright Act(17 U.S.C., Section 101), and that such works made for
         hire shall constitute part ofthe IP Rights. Rea shall assist the Company or its designees to
         obtain, and from time to time enforce, United States and foreign IP Rights in any and all
         countries. To that end, Rea shall execute, verify, and deliver such documents and perform
         such other acts(including appearing as a witness) as the Company may reasonably request
         for use in applying for, obtaining, perfecting, evidencing, sustaining and enforcing such IP
         Rights and the assignment thereof. In addition, Rea will execute, verify, and deliver
         assignments of such IP Rights to the Company or its designee. Rea hereby waives and
         quitclaims to the Company any and all claims, ofany nature whatsoever, which Rea now or
         may hereafter have for infringement ofany IP Rights assigned hereunder to the Company.

                (e)       Return ofMaterials. Rea expressly acknowledges that all physical property,
         data,books,records and other Work Product and Confidential Information ofthe Company
         and its affiliates obtained in connection with the Company's and its affiliates' business is the
         exclusive property ofthe Company. Rea warrants and represents that prior to executing this
         Agreement, Rea has surrendered and returned to the Company all such Work Product and
         Confidential Information and all other items and property belonging to the Company then in
         the possession ofRea, and Rea shall not make or retain any copies ofextracts thereof Rea
         agrees that, to the extent that Rea possesses any files, data, or information relating in any
         way to the Company,VBF Canada,any oftheir affiliates, or their business on any personal
         computer or other device or account, Rea will first return to the Company and then delete
         those files, data,or information(and will retain no copies in any form).

               (f)      Property ofthe Company. Rea acknowledges that from time to time in the
         course of providing past services to the Company and its affiliates, Rea has had the
         opportunity to inspect and use certain property, both tangible and intangible,ofthe Company
         and Rea hereby agrees that such property shall remain the exclusive property of the
         Company and its affiliates. Rea shall have no right or proprietary interest in such property,
         whether tangible or intangible.

               (g)      Reasonable in Scope and Duration: Consideration. Rea agrees and
         acknowledges that the restrictions contained in this Section 3 are reasonable in scope and
         duration and are necessary to protect the business interests and Confidential Information of
         the Company and its affiliates from and after the Effective Date,and Rea further agrees and
         acknowledges that he has reviewed the provisions ofthis Agreement with his legal counsel.
         Rea acknowledges and agrees that Rea will receive substantial valuable consideration from
         the Company for the covenants contained in this Section 3, including without limitation,
         compensation and other benefits as set forth in Section 5 below.




  1928154i
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                     Page 137 of 204 PageID 4433




                 (h) Enforcement. If, at the time ofenforcement ofSection 3 ofthis Agreement,a
          court holds that the restrictions stated herein are unreasonable under circumstances then
          existing, the Parties hereto agree that the maximum duration, scope or geographical area
          reasonable under such circumstances shall be substituted for the stated period,scope or area
          and that the court shall be allowed to revise the restrictions contained herein to cover the
          maximum duration,scope and area permitted by law.

                (i)       Extension ofRestricted Periods. In addition to the remedies the Company
          may seek and obtain pursuant to this Agreement,the applicable restricted periods set forth
          herein shall be extended by any and all periods during which Rea shall be found by a courtof
          competent jurisdiction to have been in violation ofthe covenants contained herein.

         4.      Releases.

                (a)       Except for the covenants and agreements ofthe Company provided for in this
         Agreement, Rea, on his own behalf and on behalf of his, affiliates, heirs, dependents,
         successors and assigns, or any of them (collectively, the "Rea Releasers") hereby
         irievocably and unconditionally release, acquit and forever discharge the Company and VBF
         Canada and each oftheir respective successors, assigns, agents, equity holders, members of
         the boards ofdirectors,officers,employees,representatives,subsidiaries and affiliates and all
         persons acting by, through, under or in concert with any of them (collectively, the
         "Company Releasees"), or any of them, from any and all charges, complaints, claims,
         liabilities, obligations, promises, agreements, controversies, damages, actions, causes of
         action,suits, rights,demands,costs,losses, debts and expenses(including attorneys'fees and
         costs actually incurred), of any nature whatsoever, known or unknown (each, a "Rea
         Claim",and collectively, the"Rea Claims")which the Rea Releasers now have,own,hold,
         or which the Rea Releasers at any time heretofore had, owned or held against each ofthe
         Company Releasees including, but not limited to: (1) all Rea Claims under the Age
         Discrimination in Employment Act of1967,as amended;(ii) all Rea Claims under Title VII
         of the Civil Rights Act of 1964, as amended; (iii) all Rea Claims under the Employee
         Retirement Income Security Act of1974,as amended;(iv)all Rea Claims arising under the
         Americans With Disabilities Act of1990,as amended;(v)all Rea Claims arising under the
         Family and Medical Leave Act of 1993, as amended;(vi) all Rea Claims related to Rea's
         employment or engagement with the Company Releasees;(vii) all Rea Claims ofunlawful
         discrimination based on age,se;race, religion, national origin, handicap, disability, equal
         pay, sexual orientation or otherwise;(viii) all Rea Claims ofwrongful discharge, breach of
         an implied or express employment contract, negligent or intentional infliction ofemotional
         distress, libel,defamation,breach ofprivacy,fraud, breach ofany implied covenant ofgood
         faith and fair dealing and any other federal, state, or local common law or statutory claims,
         whether in tort or in contract;(xi) all Rea Claims related to unpaid wages, salary, deferred
         compensation, overtime compensation, bonuses, severance pay, vacation pay or other
         compensation or benefits arising out of Rea's employment or engagement with any
         Company Releasee;(x)all Rea Claims arising under any federal, state or local regulation,
         law,code or statute;(xi)all Rea Claims ofdiscrimination arising under any state or locallaw
         or ordinance;(xii); and (xiii) all Rea Claims relating to any agreement, arrangement or
          understanding that the Rea Releasers have, or may have, with any Company Releasee(but
         specifically excluding this Agreement and the Surviving Sections) for anything occurring



  192815481
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                     Page 138 of 204 PageID 4434




          prior to the Effective Date. The Rea Releasers represent that they have not heretofore
          assigned or transferred, or purported to assign or transfer, to any person or entity, any Rea
          Claim or any portion thereof or interest therein. Notwithstanding anything in this section
          4(a),the Parties agree that this Section 4(a)does not apply to the Rea Entity with respect to
          its ownership ofthe Rea Shares and its rights as a shareholder of VBF Canada.

                 (b)      Except for the covenants and agreements of Rea provided for in this
          Agreement,the Company,on its own behalfand on behalfofthe other Company Releasees,
          hereby irrevocably and unconditionally release, acquit and forever discharge the Rea
          Releasers from any and all charges, complaints, claims, liabilities, obligations, promises,
          agreements,controversies,damages,actions,causes ofaction,suits, rights, demands,costs,
          losses, debts and expenses (including attorneys' fees and costs actually incurred), ofany
          nature whatsoever, known or unknown (the "Company Releasee Claims") which the
          Company Releasees now have,own,hold,or to which the Company Releasees at any time
          heretofore had,owned or held against each ofthe Rea Releasers. The Coinpany Releasees
          represent that they have not heretofore assigned or transferred, or purported to assign or
          transfer, to any person or entity, any Company Releasee Claim or any portion thereof or
          interest therein.

                (c)      Rea,on his own behalfand on behalfofthe other Rea Releasers,agrees notto
         make any disparaging or negative statements, written or verbal, regarding any of the
         Company Releasees at any time in the future, whether such statement is true or false,except
         as required by law or in defense of any legal action brought by any Company Releasee
         against any Rea Releaser in violation ofthis Agreement. The Company,on its own behalf
         and on behalf of the other Company Releasees, agrees not to make any disparaging or
         negative statements, written or verbal, regarding any ofthe Rea Releasers at any time in the
         future, whether such statement be true or false,except as required by law or in defense ofany
         legal action brought by any Rea Releaser against any Company Releasee in violation ofthis
         Agreement.

          5.     Settlement Consideration.

                (a)    In consideration ofthe covenants,agreements and other matters described in
  Sections 1-4 above,and in full satisfaction ofthe Company's obligations under Section 5(d)ofthe
  Employment Agreement,the Company agrees to make a payment ofRea of$400,000 on or prior to
  November 6,2017.

                 (b)    For all amounts that arc owcd to Rca by the Company as ofthe Effective
          Date,(including, without limitation, unpaid salary,PTO and reimbursable expenses),on or
          prior to November 6,2017,the Company will pay Rea $49,115.38(consisting of$25,000 of
          PTO and $24,115.38 ofunpaid salary for the last pay period which would have been paid on
          November 3,2017). For the avoidance ofdoubt,the foregoing payments are in satisfaction
          of and not in addition to the Accrued Employment Entitlements (as defined in the
          Employment Agreement)provided for in Section 5 ofthe Employment Agreement.

               (c)      All payments under this Section 5 will be made by wire transfer of
          immediately available funds to the following account:



   19281548
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                      Page 139 of 204 PageID 4435




                           Bank:                  Comerica Bank
                           Bank Address:          3310 Premier Drive
                                                  Plano,TX 75023
                           Account Name:          John Rea & Jodie Bruner
                           Account #:
                           Wire Routing #:

                (d) The Company will report and withhold payment under this Section 5 for tax
  purposes as required under applicable tax laws. If a claim is made against the Company for any
  additional tax or withholding in connection with or arising out of any payment pursuant to this
  Section 5, Rea shall pay any such claim within thirty(30)days of being notified by the Company
  and agrees to indemnify the Company and hold it harmless against such claims,including, but not
  limited to, any taxes, attorneys' fees, penalties, and/or interest, which are or become due from the
  Company.

          6.     Representations and Warranties.

                 (a)      Each Party hereby represents and warrants to each other Party that the
  following representations and warranties are true and correct as ofthe Effective Date as follows:(a)
  such Party is fully competent to execute, deliver and perform this Agreement;(ii) this Agreement
  has been duly executed and delivered by such Party and constitutes a legal, valid and binding
  obligation ofsuch Party,enforceable against such Party in accordance with its terms,except as may
  be limited by applicable bankruptcy,insolvency or similar laws affecting creditors' rights generally
  or the availability ofequitable remedies; and (iii) neither the execution, delivery or performance of
  this Agreement nor the consummation ofthe transactions contemplated hereby or thereby will:(1)
  conflict with,or result in a violation or breach ofthe terms,conditions or provisions of,or constitute
  a default under any agreement, indenture or other instrument under which such Party is bound or
  subject; or(2)violate or conflict with anyjudgment,decree,order,statute,rule or regulation ofany
  courtor any public,governmental or regulatory agency or body having jurisdiction over such Party.

                (b)       In addition, Rea warrants and represents as follows:

                        (i)     he voluntarily executes this Agreement(1)after having been advised
                 to consult with legal counsel and (2)after having had opportunity to consult with
                 legal counsel;

                       (ii)      he understands that:(1)nothing contained in this Agreement limits
                 Rea's ability to file a charge or complaint with the Equal Employment Opportunity
                 Commission, the National Labor Relations Board, the Occupational Safety and
                 Health Administration, the Securities and Exchange Commission or any other
                 federal, state or local governmental agency or commission ("Government
                 Agencies");and(2)this Agreement does not limit Rea's ability to communicate with
                 any Government Agencies or otherwise participate in any investigation or proceeding
                 that may be conducted by any Government Agency, including providing documents
                 or other information, without notice to the Company. Notwithstanding the foregoing,
                 Rca waives any right to any monetary recovery or other relief should any party,




   19281548f
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                     Page 140 of 204 PageID 4436




                 including, without limitation, any federal, state or local governmental entity or
                 administrative agency,pursue any claims on Rea's behalfarising out of,relating to,
                 or in any way connected with the Released Claims, provided, however, this
                 Agreement does not limit Rea's right to receive a reward for information provided to
                 any Government Agencies;

                       (iii) he has the right to consider the terms ofthis Agreement for at least
                 twenty-one(21)days;and in the event that he executes this Agreement in less time,it
                 is with the full understanding that he had the full twenty-one (21) days if he so
                 desired and that he was not pressured by the Company or any ofits representatives or
                 agents to take less time to consider the Agreement; it being agreed and understood
                 that,in such event,Rea expressly intends such execution to be a waiver ofany right
                 Rea had to review the Agreement for a full twenty-one(21)days;

                      (iv) he has not violated any obligations contained in Section 4 of the
                 Employment Agreement;

                      (v)      he has not engaged in any acts or omissions amounting to "Egregious
                 Cause"(as defined in the Employment Agreement)for the Company to terminate his
                 employment pursuant to the Employment Agreement;

                        (vi) that(1)as set forth in Section 5(e)(ii)ofthe Employment Agreement,
                 he is not otherwise entitled to the amounts set forth in Sections 5(a) above without
                 his execution and non-revocation ofthis Agreement,and(2)those amounts are good
                 and sufficient consideration for this Agreement; and

                       (vii) he admits, acknowledges, and agrees that, except for the payments
                 promised in this Agreement, Rea has been fully and finally paid or provided all
                 wages,compensation,vacation, bonuses,stock,stock options,or other benefits from
                 the Company which are or could be due to Rea under the terms ofRea's employment
                 with the Company,or otherwise.

          7.     Miscellaneous.

                (a)       Any notice or communication hereunder must be in writing and given by
  depositing the same in the United States mail, addressed to the Party to be notified, postage prepaid
  and registered or certified with return receipt requested, or by delivering the same in person. Such
  notice shall be deemed received on the date on which it is hand-delivered, or delivered by Federal
  Express or on the third business day following the date on which it is so mailed. For purposes of
  notice, the addresses ofthe Parties shall be as follows:

                 Ifto the Company:                      VeroBlue Farms USA,Inc.
                                                        3369 Premier Drive, Suite 300
                                                        Plano, Texas 75023
                                                        Attn: ChiefExecutive Officer




   19281548
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                     Page 141 of 204 PageID 4437




                 Ifto Rea:                             John E.(Ted) Rea
                                                       3900 Jefferson Circle
                                                       Plano, Texas 75023
  Any Party may change its address for notice by written notice given to the other party in accordance
  with this Section.

                 (b)     This Agreement is intended to comply with Section 409A ofthe Code and
  Treasury Regulations promulgated thereunder("Section 409A")and shall be construed accordingly.
  It is the intention ofthe Parties that payments or benefits payable under this Agreement not be
  subject to the additional tax or interest imposed pursuant to Section 409A. To the extent such
  potential payments or benefits are or could become subject to Section 409A, the Parties shall
  cooperate to amend this Agreement with the goal of giving Rea the economic benefits described
  herein in a manner that does not result in such tax or interest being imposed. Rea shall, at the
  request ofthe Company,take any reasonable action(or refrain from taking any action),required to
  comply with any correction procedure promulgated pursuant to Section 409A. Each payment to be
  made under this Agreement shall be a separate payment, and a separately identifiable and
  determinable payment,to the fullest extent permitted under Section 409A.

                 (c)     Notwithstanding Section 4(b)or any other provision to the contrary herein,in
  addition to other remedies described in this Agreement,in the event a court ofcompetentjurisdiction
  renders a final, non-appealable verdict that Rea breached any ofthe warranties set forth in Sections
 (6)(b)(iv)and/or 6(b)(v)above(the"Breach Verdict"),then Rea shall repay the amounts setforth in
  Section 5(a)ofthis Agreement within ten(10)business days after the Company's notification ofthe
  Breach Verdict.

               (d) This Agreement contains the entire agreement among the Parties relating to
  the subject matter hereof and, except as provided herein, supersedes any prior agreement,
  arrangement or understanding,oral or written, among the Parties with respect to the subject matter
  hereof.

                (e)    The Company shall be entitled to withhold from any payments or benefits
  made or provided under this Agreement all applicable federal, state,city or other applicable taxes if
  so required by law.

                (f)      No alterations, amendments, waiver, or any other change in any term or
  provision ofthis Agreement shall be valid or binding on any Party unless the same shall have been
  agreed to in writing by all ofthe Parties. No waiver or default ofany term ofthis Agreement shall
  be deemed a waiver of any subsequent breach or default of the same or similar nature. This
  Agreement may not be changed except by written agreement signed by all Parties.

                 (g) Each Party acknowledges that a refusal by such Party to perform any covenant
  or agreement contained in this Agreement may cause irreparable harm to one or more ofthe other
  Parties, for which there may be no adequate remedy at law and for which the ascertainment of
  damages would be difficult. Therefore, the Parties agree that in any such case, the other Party or
  Parties shall be entitled, in addition to, and without having to prove the inadequacy of, other




  19281548
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                      Page 142 of 204 PageID 4438




  remedies at law, to specific performance ofthis Agreement, as well as injunctive relief(without
  being required to post bond or other security).

               (h)      The Company may assign its rights under this Agreement. No other
  assignment is permitted except by mutual written agreement ofthe Parties.

               (i)      In the event it becomes necessary to bring suit to enforce any provision ofthis
  Agreement, the prevailing Party shall be entitled to recover, in addition to any other award,
  reasonable legal costs, including court costs and attorney's fees, from the non-prevailing Party or
  Parties.

            (j)  EACH OF THE PARTIES VOLUNTARILY AND IRREVOCABLY
  WAIVES TRIAL BY JURY IN ANY ACTION OR OTHER PROCEEDING BROUGHT IN
  CONNECTION WITH THIS AGREEMENT OR ANY OF THE TRANSACTIONS
  CONTEMPLATED HEREIN.

               (k) Ifany provision ofthis Agreement is held to be unenforceable or invalid,the
  remaining provisions ofthis Agreement will remain in effect.

                (1)      This Agreement shall be governed by and construed in accordance with the
  internal laws of the State of Texas, regardless of the laws that might otherwise govern under
  applicable principles ofconflicts oflaw thereof. Each Party irrevocably submits to the exclusive
  jurisdiction ofthe Federal District Court for the Northern District ofTexas(the "District Court")
  for the purposes ofany suit, action or other proceeding arising out ofthis Agreement. Each Party
  agrees to commence any action,suit or proceeding relating to this Agreement in the District Court.
  Each Party further agrees that service ofany process, summons, notice or document by registered
  mail to such Party's respective address set forth in Section 7(a)above shall be effective service of
  process. Each Party irrevocably and unconditionally waives any objection to the laying ofvenue of
  any action,suit or proceeding arising out ofthis Agreement in the District Court,and hereby further
  irrevocably and unconditionally waives and shall not assert by way ofmotion,defense,orotherwise,
  in any such Proceeding, any claim that it is not subject personally to the jurisdiction ofthe District
  Court,that its property is exempt or immune from attachment or execution,that such proceeding is
  brought in an inconvenient forum, that the venue of the proceeding is improper, or that the
  Agreement may not be enforced in or by the District Court.

                (m) The paragraph headings and captions contained herein arc for reference
  purposes and convenience only and shall not in any way affect the meaning or interpretation ofthis
  Agreement. It is intended by the Parties that this Agreement be interpreted in accordance with its
  fair and simple meaning,not for or against any Party,and no Party shall be deemed to be the drafter
  ofthis Agreement.

                (n)      Rca has been informed and understands that(i) notwithstanding anything in
  this Agreement to the contrary,to the extent that this Agreement waives or releases any claims Rea
  might have under the Age Discrimination in Employment Act, Rea may rescind Rea's waiver and
  release within seven (7) calendar days of Rea's execution of this Agreement; and (ii) any such
  rescission must be in writing and e-mailed and hand delivered to Les Wulf at the address for the
  Company set forth below in Section 7, within the seven-day period. The Parties agree that,




  1928150
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                  Page 143 of 204 PageID 4439




  notwithstanding anything in this Agreement to the contrary, in the event that Rea makes any such
  rescission, this Agreement shall be deemed to be terminated and ofno force or effect

               (o)      This Agreement may be executed in one or more counterparts,each ofwhich
  shall be deemed an original but all of which shall constitute one and the same instrument. For
  purposes ofthis Agreement, use of a facsimile, e-mail or other electronic medium shall have the
  same force and effect as an original signature.

             IN WITNESS WHEREOF,the Parties have executed this Agreement on the dates set forth
  below.

                                                      VEROBLUE FARMS USA,INC.

                                                      By.
                                                          Leslie Wulf,
                                                          Chief Executive Officer
                                                      Date:         10-27-2017




                                                           tots   .(Ted) a
                                                       Date:        Ontober27,2017




  19281541
Case 3:19-cv-00764-X Document 155 Filed 09/17/19   Page 144 of 204 PageID 4440


                                Exhibit “A-6”
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                          Page 145 of 204 PageID 4441


   Pleasefind attached my commentsto the external communication —whatdo you think?

   From:Eva Ebstein
   Sent Montag,6.November 20172350
   To:'Bjorn litelandee;Anders Wester
   Subject RE:Draft announcement

   Anders,810m,

  Please find attached some proposalsfor change from my end,as welt we need a list ofthe most
  important counterpartiesthatourexternalcommunique is going to be sent to,according to OH,it
  should be no more then the mostcrucial 2030 business relationships. Norman also needsto create an
  "away" messagefor Les'Email and forward things.I will get in touch with him aboutthat.

   Norman hasinformed me that,today,Ericlied to him and Brian on the phone that he had taken away
   the keys,computers etc.from Ted and Bruce when they departed last week.Atthe very same time of
   this phone call,today,Ted wasatthe office,justfishing outis keys etc.
   I agreed with him that Eric will have toface consequences butasked Norman not to kick him outon the
   spot.Tomorrow is anotherday.I have generally instructed Norman notto start hiring and firing right
   away butto actually come with a plan that he proposes to the board and gets ratified.

   Depending on how bad thingsgot with Eric and' he willing collusion with the political agendasofthe big
   four,I personally could see goad reason to get Eric out,assoon as tomorrow.Whatdo you think?
   I have also asked Norman to get advice from Rick as to the legal position ofthe company with respect to
   the requirements ofseverance payments.Sofar,anyone terminated by Les received a lovely golden
   parachute ofother people's money.We need to try and avoid this,if legally permissible.

   I have talked to my father and he recommended that Anders be working on the Coral Coast CD
  (financial,legal,and coordinating the genetic DD with Christine)while he is in Switzerland,so this gets
   moved forwards.The DO expense sheet looked quite over the top and there should be an attemptto
   lower these costs.

   Anders should also help Dallasan the Finance side ofthings,asthey lack guidance and Norman admitted
   he needssome help here,he is notstrong with finance. Anders,could you continue to go through the
   most urgent payments and inspect every bill that needs to be settled.
                                                                       .OH would like to address
   everything that is urgent,but still notstartgoing over-board with too generousfunding.We need to
   form an opinion on.wherethe businessis headed and keep control over spending.Tidying up the
   company expenseside with all the credit card abuse may also be a good starting signal.

   I like the proposal of"executive director",as this will allow for direct engagement with the businessand
   has,in fact, been suggested by Terry wrt.The CEO position.As tong as it doesn'tImply a work-place in
   the US.I would still recommend thatthe search for the interim CFO continues(as guided and informed
   by Anders)and none ofus hasan official work title(otherwise we get into the work visa issues).

   Anders, will you be able to give guidance to the Finance guys,during this week while you are in CH? It
   will be very helpful when Anders returns to Dallas during the coming week.Thereafter,myfather
   suggested that Anders ideally should fly to Australia for kicking offthe DD on Cora!Coast. Would this
   workfor you,Anders? I am aware this is a lotoftravel Please let me know.

   Bjorn and I should go as planned to Webster/Dallas.I propose to bein Webster next Monday/Tue and
   in Dallason Wednesday,returning thereafterto CH.Bjorn could be in Webster during this time(3 days,

                                                       4
Case 3:19-cv-00764-X Document 155 Filed 09/17/19   Page 146 of 204 PageID 4442


                                Exhibit “A-7”
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                      Page 147 of 204 PageID 4443



                           UNANIMOUS WRITTEN CONSENT
               OF THE BOARD OF DIRECTORS AND THE SOLE SHAREHOLDER
                                   OF VBF IP INC.

                                     Adopted on July 6, 2016

         The undersigned, being all of the members of the Board of Directors (the "Board") and
 the sole shareholder (the "Shareholder") of VBF IF Inc., a Texas corporation (the "Company"),
 hereby consent to the following actions and adopt the following resolutions by written consent
 without a meeting:

 Amended and Restated Certificate of Formation

        WHEREAS, the Board and Shareholder have determined it is in the best interests of the
 Company to approve the adoption of the Company's Amended and Restated Certificate of
 Formation in substantially the form presented to the Board and Shareholder (the "Amended and
 Restated Certificate").

        NOW, THEREFORE, BE IT RESOLVED, that the Amended and Restated Certificate
 are hereby approved and adopted in all respects, and that the same promptly be filed with the
 Secretary of State of the State of Texas; and

         FURTHER RESOLVED, that the Officers (as defined below) be, and each of them
 hereby is, authorized, empowered, and directed, for and on behalf of the Company, to take any
 and all action to negotiate for and enter into agreements and amendments to agreements, to
 perform all such acts, to execute, file, deliver or record in the name and on behalf of the
 Company, all such certificates, instruments, agreements, or other documents, and to make all
 such payments as they, in their judgment, or in the judgment of anyone or more of them, may
 deem necessary, advisable, or appropriate in order to carry out the purpose and intent of, or
 consummate the transactions contemplated by, the foregoing resolutions and any of the
 transactions contemplated therein or thereby, the authorization therefor to be conclusively
 evidenced by the taking of such action or the execution and delivery of such certificates,
 instruments, agreements, or documents; and

         FURTHER RESOLVED, that any and all actions taken, done, or performed in
 connection with the authority granted by the foregoing resolutions, as well as any and all lawful
 actions, of any nature whatsoever, heretofore taken by the directors, officers, agents, attorneys,
 or other representatives of the Company incidental to, contemplated by, arising out of or in
 connection with, or otherwise relating to, in any manner whatsoever, the subject of the foregoing
 resolutions, are hereby approved, ratified, and confirmed in all respects as the act and deed of the
 Company.

 Amended and Restated Bylaws

         WHEREAS, the Board believes it is in the best interest of the Company to amend and
 restate the bylaws of the Company pursuant to the Amended and Restated Bylaws of the
 Company, in the form attached hereto as Exhibit A (the "Amended and Restated Bylaws").



 16563973v.2




                                                                                                  VBF 00024201
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                   Page 148 of 204 PageID 4444



        NOW, THEREFORE, BE IT RESOLVED, that the Amended and Restated Bylaws are
 hereby approved and adopted in all respects as the Bylaws of the Company.

 Voting Agreement and Appointment of Investor Directors

        WHEREAS, VeroBlue Farms USA, Inc., the sole shareholder of the Company ("VBF
 USA") has agreed to sell and issue Series A Preferred Stock of VBF USA ("Preferred Shares",
 with such purchase and sale being the "Investment") to Alder Capital International Ltd. ("Lead
 Investor") and certain other investors pursuant to that certain Series A Preferred Stock Purchase
 Agreement between VBF USA, Lead Investor, and the other Investors which are parties thereto
 (the "Purchase Agreement");

        WHEREAS, concurrently with the execution of the Purchase Agreement, the Board and
 Shareholder have determined that it is in the best interests of the Company to approve the
 adoption of that certain Voting Agreement between the Company, VBF USA, certain affiliates of
 VBF USA, and the Lead Investor, in substantially the form presented to the Board and
 Shareholder (the "Voting Agreement"); and

         WHEREAS, pursuant to the terms of the Voting Agreement, the Shareholder agrees to
 vote, or cause to be voted, all shares of Common Stock of the Company held by the Shareholder
 to ensure that the Investor Directors (as defined in the Voting Agreement) are elected to the
 Board, subject to the terms and conditions of the Purchase Agreement and the Voting
 Agreement.

       NOW, THEREFORE, BE IT RESOLVED, that the Voting Agreement                        lS   hereby
 approved and adopted in all respects; and

         FURTHER RESOLVED, that, effective immediately following the closing of the
 Investment, and subj ect to the terms of the Purchase Agreement and the Voting Agreement, the
 Shareholder hereby appoints the following individuals to serve as Investor Directors on the
 Board of the Company, until their successors have been duly appointed and qualified or until
 their earlier resignation or removal:

                Jens Haarkotter
                Bjorn Thelander

 Loan Transaction

       WHEREAS, it has been proposed that it is appropriate and in the best interests of the
Company to enter into and consummate the transactions contemplated by (i) a Loan Agreement
by and among VBF Operations Inc. and certain of its affiliates as borrowers (collectively, the
"Borrowers"), the Company and other credit parties party thereto, Amstar Group, LLC (the
"Agent"), and the other Lenders from time to time a party thereto (the "Lenders" and each
individually a "Lender") (the "Credit Agreement") pursuant to which the Lenders shall agree,
among other things, upon the terms and conditions stated therein, to make a loan of up to
$29,000,000 to the Borrowers and (ii) a Security Agreement by and among the Borrowers, the
Company and certain of the Borrowers' other affiliates as guarantors (the "Guarantors") and the



 216563973v.2




                                                                                                VBF 00024202
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                     Page 149 of 204 PageID 4445



 Agent (the "Security Agreement") pursuant to which the Borrowers and Guarantors will grant
 liens on substantially all of their assets; and

        WHEREAS, the Board has reviewed the most recent drafts of the Credit Agreement, the
 Security Agreement, and each other Loan Document (as defined in the Credit Agreement);

          NOW, THEREFORE, BE IT RESOLVED, that the execution, delivery and performance
 of the Credit Agreement, Security Agreement and the other Loan Documents by the Company in
 substantially the form of the drafts so reviewed be, and the same hereby is, approved and adopted
 in all respects, with such changes and modifications to the terms and provisions thereof as any
 Officer (as defined below) executing the same, in his or her respective sole discretion, shall
 approve or deem necessary or appropriate, the execution and delivery thereof by any such
 Officer to be conclusive evidence of the necessity and appropriateness thereof;

         FURTHER RESOLVED, that any officer of the Company (each an "Officer"), each
 acting individually, be, and hereby is, authorized, empowered and directed, in the name and on
 behalf of the Company, to negotiate, execute, deliver and perform the Credit Agreement,
 Security Agreement, the other Loan Documents, and all credit agreements, security agreements,
 promissory notes, instruments, leasehold mortgages, mortgages, fee letters, indemnity
 agreements, contract assignments, pledge agreements, guarantees, intellectual property security
 agreements, landlord waivers, deposit account control agreements and other documents
 (collectively, the "Credit Documents") that are necessary, appropriate or advisable to effect the
 transactions contemplated by the Credit Agreement, the Security Agreement, the other Loan
 Documents or these resolutions or are required to be delivered or filed in connection therewith,
 on the terms and conditions that any Officer may approve in his or her sole discretion, and to do
 or cause to be done any and all further acts and things as such Officer may deem necessary,
 advisable or appropriate in connection with the negotiation, execution and delivery of the Credit
 Documents or in order to consummate fully all of the transactions contemplated by the Credit
 Documents or these resolutions, the execution or delivery thereof by any such Officer to be
 conclusive evidence of the necessity and appropriateness and approval thereof by such Officer;

        FURTHER RESOLVED, that the Company be, and hereby is, authorized from time to
time to (i) grant liens on, security interests in, and mortgages on all assets and property of the
Company as may be provided for in or contemplated by the Credit Documents, including,
without limitation, all real property, equipment, investment property, inventory, accounts, chattel
paper and general intangibles, in each case whether now owned or existing or hereafter acquired
or arising and (ii) cause the Company to authorize the filing by or on behalf of the Lenders from
time to time of Uniform Commercial Code financing statements, and any amendments thereto or
continuations thereof, in any such case as such Officer may deem necessary, advisable or
appropriate, each in such form and substance as may be approved by any Officer, in each case
such approval to be conclusively evidenced by the authorization, execution and/or delivery
thereof for and on behalf of the Company by such Officer;

          FURTHER RESOLVED, that each Officer, acting individually, is authorized in the name
 of and on behalf of the Company to pay any fees, including closing fees, amendment fees,
 facility fees, recording and filings fees and expenses incurred in connection with the negotiation,
 execution, delivery and enforcement of the Credit Documents (and any amendments thereto);


 316563973v.2




                                                                                                 VBF 00024203
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                    Page 150 of 204 PageID 4446



        FURTHER RESOLVED, that each Officer, acting individually, is hereby authorized, on
behalf of and in the name of the Company now and from time to time hereafter, as such person in
his or her sole discretion deems necessary or proper, to amend, modify, alter, extend, renew or
otherwise change any of the provisions, terms, conditions, covenants, guaranties or
representations contained in the Credit Documents in accordance with the terms of the Credit
Documents;

         FURTHER RESOLVED, that each Officer, acting individually, is hereby authorized and
 directed to take any and all such actions and to execute and deliver any and all agreements,
 amendments, supplements, certificates, reports, applications, notices, letters or other documents
 or instruments as such Officer shall deem necessary or advisable in furtherance of or to carry out
 the intent and effectuate the purposes of any of the foregoing resolutions; the fact that any
 Officer has taken any such action or executed or delivered any such document or instrument
 being conclusive evidence of the approval and authorization thereof by the Board;

        FURTHER RESOLVED, that each Officer, acting individually, is hereby authorized,
empowered and directed in the name and on behalf of the Company, to take all such actions that
such Officer deems necessary or appropriate to comply with the applicable laws of any
jurisdiction and with any consent, notice, approval or other authorization or requirement of any
foreign or domestic court, governmental, regulatory or administrative agency or instrumentality;

         FURTHER RESOLVED, that the authority hereby conferred is in addition to that
 conferred by any other resolution heretofore or hereafter delivered by the Company to the Agent
 and shall continue in full force and effect until the Agent shall have received notice in writing,
 certified by the Secretary of the Company, of the revocation hereof by a resolution duly adopted
 by the Board, and any such revocation shall be effective only as to credit which is extended or
 committed by the Lenders, or actions which are taken by the Company pursuant to the
 resolutions contained herein, subsequent to the Agent's receipt of such notice; and

        FURTHER RESOLVED, that all actions previously taken by any Officer, director or
 agent of the Company, relating to the foregoing resolutions are hereby adopted, ratified,
 confirmed and approved in all respects as the acts and deeds of the Company.




                                     [signature page follows]




 416563973v.2




                                                                                                VBF 00024204
Case 3:19-cv-00764-X Document 155 Filed 09/17/19               Page 151 of 204 PageID 4447



        IN WITNESS WHEREOF, the undersigned constituting all of the members of the
Board and the Shareholder of the Company have executed this Written Consent as of the date
first written above.




                                         DIRECTORS: ~



                                          Leslie A. Wulf




                                          Bruce A.


                                         SHAREHOLDER:




                                          By:
                                          Its:




Written Consent ofVBF IP Inc.




                                                                                        VBF 00024205
Case 3:19-cv-00764-X Document 155 Filed 09/17/19     Page 152 of 204 PageID 4448



                                   EXHIBIT A

                           Amended and Restated Bylaws

         See attached.




 16563973v.2




                                                                        VBF 00024206
Case 3:19-cv-00764-X Document 155 Filed 09/17/19   Page 153 of 204 PageID 4449




               AMENDED AND RESTATED BYLAWS

                                  OF

                             VBF IP INC.


                               July 6, 2016




 16606599v.l




                                                                      VBF 00024207
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                                             Page 154 of 204 PageID 4450



                                            TABLE OF CONTENTS



                                                        ARTICLE I
                                                         OFFICES

  Section 1.1    Registered Office ................................................................................................. 1
  Section 1.2    Other Offices ........................................................................................................ 1

                                                    ARTICLE II
                                                  SHAREHOLDERS

  Section 2.1    Place of Meetings ................................................................................................. 1
  Section 2.2    Annual Meeting ................................................................................................... 1
  Section 2.3    List of Shareholders ............................................................................................. 1
  Section 2.4    Special Meetings .................................................................................................. 2
  Section 2.5    Notice .................................................................................................................. .2
  Section 2.6    Quorum ............................................................................................................... .2
  Section 2.7    Voting ................................................................................................................. .2
  Section 2.8    Method of Voting ................................................................................................ .2
  Section 2.9    Record Date ......................................................................................................... 3
  Section 2.10   Action by Consent ............................................................................................... 3

                                                ARTICLE III
                                            BOARD OF DIRECTORS

  Section 3.1    Management. ........................................................................................................ 3
  Section 3.2    Qualification; Election; Term .............................................................................. 3
  Section 3.3    ~~cr ................................................................................................................ 3
  Section 3.4    Removal ............................................................................................................... 3
  Section 3.5    Vacancies ............................................................................................................. 4
  Section 3.6    Place of Meetings ................................................................................................ .4
  Section 3.7    Annual Meeting ................................................................................................... 4
  Section 3.8    Regular Meetings ................................................................................................. 4
  Section 3.9    Special Meetings .................................................................................................. 4
  Section 3.10   Quorum ................................................................................................................ 4
  Section 3.11   Interested Directors .............................................................................................. 5
  Section 3.12   Committees .......................................................................................................... 5
  Section 3.13   Action by Consent ............................................................................................... 5
  Section 3.14   Compensation of Directors .................................................................................. 5

                                                      ARTICLE IV
                                                       NOTICE

  Section 4.1    Form of Notice ..................................................................................................... 5



                                                               (i)


                                                                                                                                        VBF 00024208
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                                                Page 155 of 204 PageID 4451



  Section 4.2      Waiver .................................................................................................................. 6

                                                  ARTICLE V
                                             OFFICERS AND AGENTS

  Section   5.1    In General ............................................................................................................ 6
  Section   5.2    Election ................................................................................................................ 6
  Section   5.3    Other Officers and Agents ................................................................................... 6
  Section   5.4    Compensation ...................................................................................................... 6
  Section   5.5    Term of Office and Removal ............................................................................... 6
  Section   5.6    Employment and Other Contracts ........................................................................ 6
  Section   5.7    Chairman of the Board of Directors .................................................................... 6
  Section   5.8    Chief Executive Officer ....................................................................................... 7
  Section   5.9    President. .............................................................................................................. 7
  Section   5.10   Vice Presidents .................................................................................................... 7
  Section   5.11   Secretary .............................................................................................................. 7
  Section   5.12   Assistant Secretaries ............................................................................................ 7
  Section   5.13   Chief Financial Officer and Treasurer ................................................................. 8
  Section   5.14   Assistant Treasurers ............................................................................................. 8
  Section   5.15   Bonding ................................................................................................................ 8

                                          ARTICLE VI
                               CERTIFICATES REPRESENTING SHARES

  Section 6.1      Form of Certificates ............................................................................................. 8
  Section 6.2      Lost Certificates ................................................................................................... 8
  Section 6.3      Transfer of Shares ................................................................................................ 9
  Section 6.4      Registered Shareholders ...................................................................................... 9

                                                  ARTICLE VII
                                              GENERAL PROVISIONS

  Section 7.1      Dividends ............................................................................................................. 9
  Section 7.2      Reserves ............................................................................................................... 9
  Section 7.3      Telephone and Similar Meetings ....................................................................... 10
  Section 7.4      Books and Records ............................................................................................ 10
  Section 7.5      Fiscal year ......................................................................................................... 10
  Section 7.6      Seal .................................................................................................................... 10
  Section 7.7      Advances of Expenses ....................................................................................... 10
  Section 7.8      Indemnification .................................................................................................. 11
  Section 7.9      Insurance ............................................................................................................ 11
  Section 7.10     Resignation ........................................................................................................ 11
  Section 7.11     Amendment of Bylaws ...................................................................................... 12
  Section 7.12     Invalid Provisions .............................................................................................. 12
  Section 7.13     Relation to the Certificate of Formation ............................................................ 12




                                                                 (ii)


                                                                                                                                          VBF 00024209
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                     Page 156 of 204 PageID 4452



                           AMENDED AND RESTATED BYLAWS

                                                OF

                                           VBF IF INC.



                                           ARTICLE I
                                            OFFICES

         Section 1.1     Registered Office. The registered office and registered agent of VBF IP
 Inc. (the "Corporation") will be as from time to time set forth in the Corporation's Certificate of
 Formation, as may be amended from time to time (as amended, the "Certificate of Formation"),
 or in any certificate filed with the Secretary of State of the State of Texas, and the appropriate
 county Recorder or Recorders, as the case may be, to amend such information.

        Section 1.2    Principal Office. The principal office of the Corporation shall be in the
 City of Plano, Collin County, Texas or such other place within or outside the State of Texas as
 the Board may from time to time determine.

        Section 1.3    Other Offices. The Corporation may also have offices at such other places
 both within and without the State of Texas as the Board of Directors may from time to time
 determine or the business of the Corporation may require.

                                         ARTICLEH
                                       SHAREHOLDERS

         Section 2.1    Place of Meetings. All meetings of the shareholders for the election of
 Directors will be held at such place, within or without the State of Texas, as may be fixed from
 time to time by the Board of Directors. Meetings of shareholders for any other purpose may be
 held at such time and place, within or without the State of Texas, as may be stated in the notice
 of the meeting or in a duly executed waiver of notice thereof.

         Section 2.2  Annual Meeting. An annual meeting of the shareholders will be held at
 such time as may be determined by the Board of Directors, at which meeting the shareholders
 will elect a Board of Directors, and transact such other business as may properly be brought
 before the meeting.

        Section 2.3     List of Shareholders. At least ten days before each meeting of
 shareholders, a complete list of the shareholders entitled to vote at said meeting, arranged in
 alphabetical order, with the address of and the number of voting shares registered in the name of
 each, will be prepared by the officer or agent having charge of the stock transfer books. Such list
 will be open to the examination of any shareholder, as provided by the Texas Business
 Organizations Code ("TBOC"). Such list will be produced and kept open at the time and place
 of the meeting during the whole time thereot~ and will be subject to the inspection of any
 shareholder who may be present.




                                                 1


                                                                                                VBF 00024210
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                     Page 157 of 204 PageID 4453



         Section 2.4    Special Meetings. Special meetings of the shareholders, for any purpose or
 purposes, unless otherwise prescribed by law, the Certificate of Formation or these Bylaws, may
 be called by the Chairman of the Board, the Chief Executive Officer or the Board of Directors.
 Business transacted at all special meetings will be confined to the purposes stated in the notice of
 the meeting unless all shareholders entitled to vote are present and consent.

         Section 2.5    Notice. Written or printed notice stating the place, day and hour of any
 meeting of the shareholders and, in case of a special meeting, the purpose or purposes for which
 the meeting is called, will be delivered not less than ten nor more than sixty days before the date
 of the meeting, either personally or by mail, by or at the direction of the Chairman of the Board,
 the Chief Executive Officer, the President, the Secretary, or the officer or person calling the
 meeting, to each shareholder of record entitled to vote at the meeting. If mailed, such notice will
 be deemed to be delivered when deposited in with a nationally recognized overnight courier,
 addressed to the shareholder at his, her or its address as it appears on the stock transfer books of
 the Corporation, with postage thereon prepaid.

         Section 2.6     Quorum. At all meetings of shareholders, a quorum will be present if the
 holders of a majority of the shares of capital stock entitled to vote at the meeting are represented
 at the meeting in person or by proxy will be necessary and sufficient to constitute a quorum for
 the transaction of business except as otherwise provided by the Certificate of Formation, these
 Bylaws, or non-waivable provisions of the TBOC. If, however, such quorum is not present or
 represented at any meeting of the shareholders, the shareholders entitled to vote thereat, present
 in person or represented by proxy, will have power to adjourn the meeting from time to time,
 without notice other than announcement at the meeting, until a quorum is present or represented.
 If the adjournment is for more than 30 days, or if after the adjournment a new record date is fixed
 for the adjourned meeting, a notice of the adjourned meeting will be given to each shareholder of
 record entitled to vote at the meeting. At such adjourned meeting at which a quorum is present or
 represented, any business may be transacted that might have been transacted at the meeting as
 originally notified.

         Section 2.7    Voting. When a quorum is present at any meeting of the Corporation's
 shareholders, the vote of the holders of a majority of the shares entitled to vote on, and voted for
 or against, any matter that are present or represented by proxy at such meeting will decide any
 questions brought before such meeting, unless the question is one upon which, by express
 provision of law, the Certificate of Formation, these Bylaws, or non-waivable provisions of the
 TBOC a different vote is required, in which case such express provision will govern and control
 the decision of such question. The shareholders present in person or by proxy at a duly organized
 meeting may continue to transact business until adjournment, notwithstanding the withdrawal of
 enough shareholders to leave less than a quorum.

         Section 2.8    Method of Voting. Each outstanding share of the Corporation's capital
 stock, regardless of class, will be entitled to one vote on each matter submitted to a vote at a
 meeting of shareholders, except to the extent that the voting rights of the shares of any class or
 classes are limited or denied by the Certificate of Formation, as amended from time to time. At
 any meeting of the shareholders, every shareholder having the right to vote will be entitled to
 vote in person, or by proxy appointed by an instrument in writing subscribed by such shareholder
 and bearing a date not more than three years prior to such meeting, unless such instrument



                                                  2


                                                                                                 VBF 00024211
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                       Page 158 of 204 PageID 4454



 provides for a longer period. Each proxy will be revocable unless expressly provided therein to
 be irrevocable and if, and only as long as, it is coupled with an interest sufficient in law to
 support an irrevocable power. A proxy may be made irrevocable regardless of whether the
 interest with which it is coupled is an interest in the stock itself or an interest in the Corporation
 generally. Such proxy will be filed with the Secretary of the Corporation prior to or at the time of
 the meeting. Voting on any question or in any election may be by voice vote or show of hands
 unless the presiding officer orders, or any shareholder demands, that voting be by written ballot.

         Section 2.9    Record Date. The Board of Directors may fix in advance a record date for
 the purpose of determining shareholders entitled to notice of or to vote at a meeting of
 shareholders, which record date will not precede the date upon which the resolution fixing the
 record date is adopted by the Board of Directors, and which record date will not be less than ten
 nor more than sixty days prior to such meeting. In the absence of any action by the Board of
 Directors, the close of business on the date next preceding the day on which the notice is given
 will be the record date, or, if notice is waived, the close of business on the day next preceding the
 day on which the meeting is held will be the record date.

         Section 2.10 Action by Consent. Any action required or permitted by law, the
 Certificate of Formation or these Bylaws to be taken at a meeting of the shareholders of the
 Corporation may be taken without a meeting if a consent or consents in writing, setting forth the
 action so taken, is signed by the holders of outstanding stock having not less than the minimum
 number of votes that would be necessary to authorize or take such action at a meeting at which
 all shares entitled to vote thereon were present and voted and will be delivered to the Corporation
 by delivery to its registered office in Texas, its principal place of business or an officer or agent
 of the Corporation having custody of the minute book.

                                        ARTICLE HI
                                    BOARD OF DIRECTORS

        Section 3.1    Management. The business and affairs of the Corporation will be managed
 by or under the direction of its Board of Directors who may exercise all such powers of the
 Corporation and do all such lawful acts and things as are not by the TBOC, by the Certificate of
 Formation or by these Bylaws directed or required to be exercised or done by the shareholders.

         Section 3.2    Qualification; Election; Term. None of the Directors need be a shareholder
 of the Corporation or a resident of the State of Texas. The Directors will be elected by plurality
 vote at the annual meeting of the shareholders, except as hereinafter provided or provided in the
 Certificate of Formation, and each Director elected will hold office for one year terms or until
 the earlier of his successor being elected and qualified, his resignation, his removal from office
 by the shareholders or his death.

        Section 3.3     Number. The number of Directors shall be seven (7).

         Section 3.4    Removal. Except as otherwise provided in the Certificate of Formation,
 any Director may be removed either for or without cause, at any special meeting of shareholders
 by the affirmative vote of a majority in number of shares of the shareholders present in person or
 represented by proxy at such meeting and entitled to vote for the election of such Director;



                                                   3



                                                                                                   VBF 00024212
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                     Page 159 of 204 PageID 4455



 provided that notice of the intention to act upon such matter has been given in the notice calling
 such meeting.

         Section 3.5    Vacancies. Newly created directorships resulting from any vacancies
 occurring in the Board of Directors caused by death, resignation, retirement, disqualification or
 removal from office of any Directors or otherwise, may be chosen in accordance with the terms
 of the Certificate of Formation at a special meeting of the shareholders called for that purpose,
 and each successor Director so chosen will hold office until the next election of the class for
 which such Director has been chosen or until whichever of the following occurs first: his
 successor is elected and qualified, his resignation, his removal from office by the shareholders or
 his death.

         Section 3.6     Place of Meetings. Meetings of the Board of Directors, regular or special,
 may be held at such place within or without the State of Texas as may be fixed from time to time
 by the Board of Directors. At each meeting of the Board of Directors, each Director shall be
 afforded the opportunity to participate via telephonic or other electronic means by which all
 participants are able to hear and speak to each other participant at all times during such meeting.

        Section 3.7    Annual Meeting. The first meeting of each newly elected Board of
 Directors will be held without further notice immediately following the annual meeting of
 shareholders and at the same place, unless by unanimous consent, the Directors then elected and
 serving change such time or place.

          Section 3.8   Regular Meetings. Regular meetings of the Board of Directors may be
 held following at least five (5) business days prior oral or written notice, at such time and place
 as is from time to time determined by resolution of the Board of Directors.

         Section 3.9   Special Meetings. Special meetings of the Board of Directors may be
 called by the Chairman of the Board, the Chief Executive Officer or the President on not less
 than two (2) days prior oral or written notice to each Director, given either personally, by
 telephone, bye-mail with delivery confirmed by telephone, by telegram or by mail; special
 meetings will be called by the Chairman of the Board, Chief Executive Officer, President or
 Secretary in like manner or on like notice on the written request of at least two Directors. The
 purpose or purposes of any special meeting will be specified in the notice relating thereto.

        Section 3.10 Quorum. At all meetings of the Board of Directors the presence of a
majority of the number of Directors in accordance with these Bylaws will be necessary and
sufficient to constitute a quorum for the transaction of business, and the affirmative vote of at
least a maj ority of the Directors present at any meeting at which there is a quorum will be the act
of the Board of Directors, except as may be otherwise specifically provided by law, the
Certificate of Formation or these Bylaws. At any time that a vacancy exists on the Board of
Directors, and where the vote attributable to such vacancy has been assigned pursuant to the
Certificate of Formation to an appointed director such that such appointed director has been
afforded the additional vote of such vacancy, for the term of such of such vacancy, such vacancy
shall be counted for purposes of quorum. If a quorum is not present at any meeting of the Board
of Directors, the Directors present thereat may adjourn the meeting from time to time without
notice other than announcement at the meeting, until a quorum is present.



                                                 4



                                                                                                 VBF 00024213
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                       Page 160 of 204 PageID 4456



         Section 3.11 Interested Directors. No contract or transaction between the Corporation
 and one or more of its Directors or officers, or between the Corporation and any other
 corporation, partnership, association or other organization in which one or more of the
 Corporation's Directors or officers are directors or officers or have a financial interest, will be
 void or voidable solely for this reason, solely because the Director or officer is present at or
 participates in the meeting of the Board of Directors or committee thereof that authorizes the
 contract or transaction, or solely because his or their votes are counted for such purpose, if: (i)
 the material facts as to his relationship or interest and as to the contract or transaction are
 disclosed or are known to the Board of Directors or the committee, and the Board of Directors or
 committee in good faith authorizes the contract or transaction by the affirmative vote of a
 majority of the disinterested Directors, even though the disinterested Directors be less than a
 quorum, (ii) the material facts as to his relationship or interest and as to the contract or
 transaction are disclosed or are known to the shareholders entitled to vote thereon, and the
 contract or transaction is specifically approved in good faith by vote of the shareholders or (iii)
 the contract or transaction is fair as to the Corporation as of the time it is authorized, approved or
 ratified by the Board of Directors, a committee thereof or the shareholders. Common or
 interested directors may be counted in determining the presence of a quorum at a meeting of the
 Board of Directors or of a committee that authorizes the contract or transaction.

          Section 3.12 Committees. The Board of Directors may, by resolution passed
 unanimously by the Board, designate committees, each committee to consist of two or more
 Directors of the Corporation, which committees will have such power and authority and will
 perform such functions as may be provided in such resolution. Such committee or committees
 will have such name or names as may be designated by the Board and will keep regular minutes
 of their proceedings and report the same to the Board of Directors when required.

        Section 3.13 Action by Consent. Any action required or permitted to be taken at any
 meeting of the Board of Directors or any committee of the Board of Directors may be taken
 without such a meeting if a consent or consents in writing, setting forth the action so taken, is
 signed by all the members of the Board of Directors or such committee, as the case may be.

         Section 3.14 Compensation of Directors. Directors will receive such compensation for
 their services and reimbursement for their expenses as the Board of Directors, by resolution, may
 establish; provided that nothing herein contained will be construed to preclude any Director from
 serving the Corporation in any other capacity and receiving compensation therefor.

                                            ARTICLE IV
                                             NOTICE

         Section 4.1    Form of Notice. Whenever by law, the Certificate of Formation or of these
 Bylaws, notice is to be given to any Director or shareholder, and no provision is made as to how
 such notice will be given, such notice may be given in writing, by mail, postage prepaid,
 addressed to such Director or shareholder at such address as appears on the books of the
 Corporation. Any notice required or permitted to be given by mail will be deemed to be given at
 the time the same is deposited with a nationally recognized overnight courier.




                                                   5


                                                                                                   VBF 00024214
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                      Page 161 of 204 PageID 4457



         Section 4.2    Waiver. Whenever any notice is required to be given to any shareholder or
 Director of the Corporation as required by law, the Certificate of Formation or these Bylaws, a
 written waiver thereof, signed by the person entitled to notice, or a waiver by electronic
 transmission by the person entitled to notice, whether before or after the time stated therein, will
 be equivalent to the giving of such notice. Attendance of a shareholder or Director at a meeting
 will constitute a waiver of notice of such meeting, except where such shareholder or Director
 attends for the express purpose of objecting, at the beginning of the meeting, to the transaction of
 any business on the ground that the meeting has not been lawfully called or convened.

                                         ARTICLE V
                                    OFFICERS AND AGENTS

        Section 5.1    In General. The officers of the Corporation will be elected by the Board of
 Directors and will be a Chief Executive Officer, a President, a Secretary and a Chief Financial
 Officer and Treasurer. The Board of Directors may also elect a Chairman of the Board, Vice
 Presidents, Assistant Vice Presidents and one or more Assistant Secretaries and Assistant
 Treasurers. Any two or more offices may be held by the same person.

        Section 5.2   Election. The Board of Directors, at its first meeting after each annual
 meeting of shareholders, will elect the officers, none of whom need be a member of the Board of
 Directors.

        Section 5.3     Other Officers and Agents. The Board of Directors may also elect and
 appoint such other officers and agents as it deems necessary, who will be elected and appointed
 for such terms and will exercise such powers and perform such duties as may be determined
 from time to time by the Board.

         Section 5.4   Compensation. The compensation of all officers and agents of the
 Corporation will be fixed by the Board of Directors or any committee of the Board, if so
 authorized by the Board.

         Section 5.5     Term of Office and Removal. Each officer of the Corporation will hold
 office until his death, his resignation or removal from office, or the election and qualification of
 his successor, whichever occurs first. Any officer or agent elected or appointed by the Board of
 Directors may be removed at any time, for or without cause, by the affirmative vote of a majority
 of the entire Board of Directors, but such removal will not prejudice the contract rights, if any, of
 the person so removed. If the office of any officer becomes vacant for any reason, the vacancy
 may be filled by the Board of Directors.

        Section 5.6     Employment and Other Contracts. The Board of Directors may authorize
 any officer or officers or agent or agents to enter into any contract or execute and deliver any
 instrument in the name or on behalf of the Corporation, and such authority may be general or
 confined to specific instances. The Board of Directors may, when it believes the interest of the
 Corporation will best be served thereby, authorize executive employment contracts that will have
 terms and conditions as the Board of Directors deems appropriate.

       Section 5.7   Chairman of the Board of Directors. If the Board of Directors has elected a
 Chairman of the Board, he will preside at all meetings of the shareholders and the Board of


                                                  6


                                                                                                  VBF 00024215
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                     Page 162 of 204 PageID 4458



 Directors. Except where by law the signature of the President or Chief Executive Officer is
 required, the Chairman will have the same power as the President or Chief Executive Officer to
 sign all certificates, contracts and other instruments of the Corporation. During the absence or
 disability of the Chief Executive Officer, the Chairman will exercise the powers and perform the
 duties of the Chief Executive Officer.

         Section 5.8    Chief Executive Officer. If the Board of Directors has elected a Chief
 Executive Officer, he will be the chief executive officer of the Corporation and, subject to the
 control of the Board of Directors, will supervise and control all of the business and affairs of the
 Corporation. He will, in the absence of the Chairman of the Board, preside at all meetings of the
 shareholders and the Board of Directors. The Chief Executive Officer will have all powers and
 perform all duties incident to the office of Chief Executive Officer and will have such other
 powers and perform such other duties as the Board of Directors may from time to time prescribe.

          Section 5.9    President. The President, subject to the control of the Board of Directors
 and Chief Executive Officer, will have such duties as may be assigned to him from time to time
 by the Chief Executive Officer or the Board of Directors. The President will have all powers and
 perform all duties incident to the office of President and will have such other powers and
 perform such other duties as the Board of Directors and Chief Executive Officer may from time
 to time prescribe. In the absence or disability of the Chief Executive Officer and the Chairman of
 the Board, the President will exercise the powers and perform the duties of the Chief Executive
 Officer.

         Section 5.10 Vice Presidents. Each Vice President will have the usual and customary
 powers and perform the usual and customary duties incident to the office of Vice President, and
 will have such other powers and perform such other duties as the Board of Directors or any
 committee thereof may from time to time prescribe or as the Chief Executive Officer or
 President may from time to time delegate to him. In the absence or disability of the President and
 the Chairman of the Board, a Vice President designated by the Board of Directors, or in the
 absence of such designation the Vice Presidents in the order of their seniority in office, will
 exercise the powers and perform the duties of the President.

         Section 5.11 Secretary. The Secretary will attend all meetings of the shareholders and
 record all votes and the minutes of all proceedings in a book to be kept for that purpose. The
 Secretary will perform like duties for the Board of Directors and committees thereof when
 required. The Secretary will give, or cause to be given, notice of all meetings of the shareholders
 and special meetings of the Board of Directors. The Secretary will be under the supervision of
 the Chief Executive Officer. The Secretary will have such other powers and perform such other
 duties as the Board of Directors may from time to time prescribe or as the Chief Executive
 Officer or President may from time to time delegate to him.

          Section 5.12 Assistant Secretaries. The Assistant Secretaries in the order of their
 seniority in office, unless otherwise determined by the Board of Directors, will, in the absence or
 disability of the Secretary, exercise the powers and perform the duties of the Secretary. They will
 have such other powers and perform such other duties as the Board of Directors may from time
 to time prescribe or as the Chief Executive Officer or President may from time to time delegate
 to them.



                                                  7



                                                                                                 VBF 00024216
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                     Page 163 of 204 PageID 4459



         Section 5.13 Chief Financial Officer and Treasurer. The Chief Financial Officer and
 Treasurer will have responsibility for the receipt and disbursement of all corporate funds and
 securities, will keep full and accurate accounts of such receipts and disbursements, and will
 deposit or cause to be deposited all moneys and other valuable effects in the name and to the
 credit of the Corporation in such depositories as may be designated by the Board of Directors.
 The Chief Financial Officer and Treasurer will render to the Directors whenever they may
 require it an account of the operating results and financial condition of the Corporation, and will
 have such other powers and perform such other duties as the Board of Directors may from time
 to time prescribe or as the Chief Executive Officer or President may from time to time delegate
 to him.

          Section 5.14 Assistant Treasurers. The Assistant Treasurers in the order of their
 seniority in office, unless otherwise determined by the Board of Directors, will, in the absence or
 disability of the Chief Financial Officer and Treasurer, exercise the powers and perform the
 duties of the Chief Financial Officer and Treasurer. They will have such other powers and
 perform such other duties as the Board of Directors may from time to time prescribe or as the
 Chief Executive Officer or President may from time to time delegate to them.

        Section 5.15 Bonding. The Corporation may secure a bond to protect the Corporation
 from loss in the event of embezzlement by any of the officers, which bond may be in such form
 and amount and with such surety as the Board of Directors may deem appropriate.

                                    ARTICLE VI
                         CERTIFICATES REPRESENTING SHARES

         Section 6.1    Form of Certificates. Certificates, in such form as may be determined by
 the Board of Directors, representing shares to which shareholders are entitled will be delivered to
 each shareholder. Such certificates will be consecutively numbered and will be entered in the
 stock book of the Corporation as they are issued. Each certificate will state on the face thereof
 the holder's name, the number, class of shares, and the par value of such shares or a statement
 that such shares are without par value. They will be signed by (i) the Chairman of the Board, the
 President or a Vice President and (ii) the Secretary, an Assistant Secretary, the Chief Financial
 Officer and Treasurer, or an Assistant Treasurer and may be sealed with the seal of the
 Corporation or a facsimile thereof If any certificate is countersigned by a transfer agent, or an
 assistant transfer agent or registered by a registrar, either of which is other than the Corporation
 or an employee of the Corporation, the signatures of the Corporation's officers may be
 facsimiles. In case any officer or officers who have signed, or whose facsimile signature or
 signatures have been used on such certificate or certificates, ceases to be such officer or officers
 of the Corporation, whether because of death, resignation or otherwise, before such certificate or
 certificates have been delivered by the Corporation or its agents, such certificate or certificates
 may nevertheless be adopted by the Corporation and be issued and delivered as though the
 person or persons who signed such certificate or certificates or whose facsimile signature or
 signatures have been used thereon had not ceased to be such officer or officers of the
 Corporation.

        Section 6.2    Lost Certificates. The Board of Directors may direct that a new certificate
 be issued in place of any certificate theretofore issued by the Corporation alleged to have been



                                                  8


                                                                                                 VBF 00024217
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                      Page 164 of 204 PageID 4460



 lost or destroyed, upon the making of an affidavit of that fact by the person claiming the
 certificate to be lost or destroyed. When authorizing such issue of a new certificate, the Board of
 Directors, in its discretion and as a condition precedent to the issuance thereof, may require the
 owner of such lost or destroyed certificate, or his legal representative, to advertise the same in
 such manner as it may require and/or to give the Corporation a bond, in such form, in such sum,
 and with such surety or sureties as it may direct as indemnity against any claim that may be made
 against the Corporation with respect to the certificate alleged to have been lost or destroyed.
 When a certificate has been lost, apparently destroyed or wrongfully taken, and the holder of
 record fails to notify the Corporation within a reasonable time after such holder has notice of it,
 and the Corporation registers a transfer of the shares represented by the certificate before
 receiving such notification, the holder of record is precluded from making any claim against the
 Corporation for the transfer of a new certificate.

         Section 6.3    Transfer of Shares. Shares of stock will be transferable only on the books
 of the Corporation by the holder thereof in person or by such holder's duly authorized attorney.
 Upon surrender to the Corporation or the transfer agent of the Corporation of a certificate
 representing shares duly endorsed or accompanied by proper evidence of succession, assignment
 or authority to transfer, it will be the duty of the Corporation or the transfer agent of the
 Corporation to issue a new certificate to the person entitled thereto, cancel the old certificate and
 record the transaction upon its books.

         Section 6.4   Registered Shareholders. The Corporation will be entitled to treat the
 holder of record of any share or shares of stock as the holder in fact thereof and, accordingly,
 will not be bound to recognize any equitable or other claim to or interest in such share or shares
 on the part of any other person, whether or not it has express or other notice thereof, except as
 otherwise provided by law.

                                        ARTICLE VII
                                    GENERAL PROVISIONS

         Section 7.1    Dividends. Dividends upon the outstanding shares of the Corporation,
 subject to the provisions of the Certificate of Formation, if any, may be declared by the Board of
 Directors at any regular or special meeting. Dividends may be declared and paid in cash, in
 property, or in shares of the Corporation, subject to the provisions of the TBOC and the
 Certificate of Formation. The Board of Directors may fix in advance a record date for the
 purpose of determining shareholders entitled to receive payment of any dividend, such record
 date will not precede the date upon which the resolution fixing the record date is adopted, and
 such record date will not be more than sixty days prior to the payment date of such dividend. In
 the absence of any action by the Board of Directors, the close of business on the date upon which
 the Board of Directors adopts the resolution declaring such dividend will be the record date.

         Section 7.2     Reserves. There may be created by resolution of the Board of Directors
 out of the surplus of the Corporation such reserve or reserves as the Directors from time to time,
 in their discretion, deem proper to provide for contingencies, or to equalize dividends, or to
 repair or maintain any property of the Corporation, or for such other purpose as the Directors
 may deem beneficial to the Corporation, and the Directors may modify or abolish any such
 reserve in the manner in which it was created. Surplus of the Corporation to the extent so



                                                  9


                                                                                                  VBF 00024218
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                      Page 165 of 204 PageID 4461



 reserved will not be available for the payment of dividends or other distributions by the
 Corporation.

         Section 7.3    Telephone and Similar Meetings. Shareholders, directors and committee
 members may participate in and hold meetings by means of conference telephone or similar
 communications equipment by which all persons participating in the meeting can hear each
 other. Participation in such a meeting will constitute presence in person at the meeting, except
 where a person participates in the meeting for the express purpose of objecting, at the beginning
 of the meeting, to the transaction of any business on the ground that the meeting has not been
 lawfully called or convened.

          Section 7.4    Books and Records. The Corporation will keep correct and complete
 books and records of account and minutes of the proceedings of its shareholders and Board of
 Directors, and will keep at its registered office or principal place of business, or at the office of
 its transfer agent or registrar, a record of its shareholders, giving the names and addresses of all
 shareholders and the number and class of the shares held by each.

         Section 7.5   Fiscal Year. The fi seal year of the Corporation will be fixed by resolution
 of the Board of Directors.

         Section 7.6   Seal. The Corporation may have a seal, in such form as determined by the
 Board of Directors, and the seal may be used by causing it or a facsimile thereof to be impressed
 or affixed or reproduced or otherwise. Any officer of the Corporation will have authority to affix
 the seal to any document requiring it.

         Secti on 7.7   Advances of Expenses. The Corporati on will advance to its directors and
 officers expenses incurred by them in connection with any "Proceeding," which term includes
 any threatened, pending or completed action, suit or proceeding, whether brought by or in the
 right of the Corporation or otherwise and whether of a civil, criminal, administrative or
 investigative nature (including all appeals therefrom) other than a proceeding brought by an
 officer or director against the Corporation, in which a director or officer may be or may have
 been involved as a party or otherwise, by reason of the fact that he is or was a director or officer
 of the Corporation, by reason of any action taken by him or of any inaction on his part while
 acting as such, or by reason of the fact that he is or was serving at the request of the Corporation
 as a director, officer, trustee, employee or agent of another corporation, partnership, joint
 venture, trust, employee benefit plan or other enterprise ("Official," which term also includes
 directors and officers of the Corporation in their capacities as directors and officers of the
 Corporation), whether or not he is serving in such capacity at the time any liability or expense is
 incurred; provided that the Official undertakes to repay all amounts advanced unless:

                        (a)    in the case of all Proceedings other than a Proceeding by or in the
 right of the Corporation, the Official establishes to the satisfaction of the disinterested members
 of the Board of Directors that he acted in good faith or in a manner he reasonably believed to be
 in or not opposed to the best interests of the Corporation and, with respect to any criminal
 proceeding, that he did not have reasonable cause to believe his conduct was unlawful; provided
 that the termination of any such Proceeding by judgment, order of court, settlement, conviction,
 or upon a plea of nolo contendere or its equivalent, shall not by itself create a presumption as to



                                                  10


                                                                                                  VBF 00024219
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                      Page 166 of 204 PageID 4462



 whether the Official acted in good faith or in a manner he reasonably believed to be in or not
 opposed to the best interests of the Corporation or, with respect to any criminal proceeding, as to
 whether he had reasonable cause to believe his conduct was unlawful; or

                         (b)     in the case of a Proceeding by or in the right of the Corporation,
 the Official establishes to the satisfaction of the disinterested members of the Board of Directors
 that he acted in good faith or in a manner he reasonably believed to be in or not opposed to the
 best interests of the Corporation; provided that if in such a Proceeding the Official is adjudged to
 be liable to the Corporation, all amounts advanced to the Official for expenses must be repaid
 except to the extent that the court in which such adjudication was made shall determine upon
 application that despite such adjudication, in view of all the circumstances, the Official is fairly
 and reasonably entitled to indemnity for such expenses as the court may deem proper.

        Section 7.8     Indemnification. Except to the extent restricted by applicable law, the
Corporation shall indemnify any person who was or is a party or is threatened to be made a party
to any threatened, pending, or completed Proceeding (other than an action by or in the right of
the Corporation) by reason of the fact that he is or was a director or officer of the Corporation,
or, while a director or officer of the Corporation, is or was serving at the request of the
Corporation as a director, officer, employee, or agent of another corporation, partnership, joint
venture, trust, association, or other enterprise, against expenses (including attorneys' fees),
judgments, fines and amounts paid in settlement actually and reasonably incurred by him in
connection with such action, suit, or proceeding, if he acted in good faith and in a manner he
reasonably believed to be in or not opposed to the best interests of the Corporation, and, with
respect to any criminal action or proceeding, had no reasonable cause to believe his conduct was
unlawful. The termination of any action, suit, or proceeding by judgment, order, settlement,
conviction, or upon plea of nolo contendere or its equivalent, shall not, of itself, create a
presumption that the person did not act in good faith and in a manner which he reasonably
believed to be in or not opposed to the best interests of the Corporation, and, with respect to any
criminal action or proceeding, that he had reasonable cause to believe that his conduct was
unlawful. The indemnification and advancement of expenses provided by, or granted pursuant to,
the these Bylaws shall not be deemed exclusive of any other rights to which any person seeking
indemnification or advancement of expenses may be entitled, under the Certificate of Formation
or under any other bylaw, agreement, insurance policy, vote of stockholders or disinterested
directors, statute, or otherwise, both as to action in his official capacity and as to action in
another capacity while holding such office. Any indemnification under this Section 7.8 (unless
ordered by a court) shall be made (1) by a majority vote of the directors who are not parties to
such action, suit or proceeding, even though less than a quorum, or (2) by a quorum of such
directors designated by majority vote of such directors, even though less than a quorum, or (3) if
there are no such directors, or if such directors so direct, by independent legal counsel in a
written opinion, or (4) by the stockholders.

        Section 7.9   Insurance. The Corporation may at the discretion of the Board of Directors
 purchase and maintain insurance on behalf of the Corporation and any person whom it has the
 power to indemnify pursuant to law, the Certificate of Formation, these Bylaws or otherwise.

         Section 7.10 Resignation. Any director, officer or agent may resign by giving written
 notice to the Chief Executive Officer or the Secretary. Such resignation will take effect at the



                                                 11


                                                                                                  VBF 00024220
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                     Page 167 of 204 PageID 4463



 time specified therein or immediately if no time is specified therein. Unless otherwise specified
 therein, the acceptance of such resignation will not be necessary to make it effective.

          Section 7.11 Amendment of Bylaws. These Bylaws may be altered, amended, or
 repealed at any meeting of the Board of Directors at which a quorum is present, by the
 affirmative vote of a majority of the Directors present at such meeting, subject to any restrictions
 set forth in the Certificate of Formation.

        Section 7.12 Invalid Provisions. If any part of these Bylaws is held invalid or
 inoperative for any reason, the remaining parts, so far as possible and reasonable, will be valid
 and operative.

         Section 7.13 Relation to the Certificate of Formation. These Bylaws are subject to, and
 governed by, the Certificate of Formation of the Corporation. In the event of a conflict between
 these Bylaws and the Certificate of Formation of the Corporation, the Certificate of Formation
 shall control.




                                                 12


                                                                                                 VBF 00024221
Case 3:19-cv-00764-X Document 155 Filed 09/17/19   Page 168 of 204 PageID 4464


                                Exhibit “A-8”
Case 3:19-cv-00764-X Document 155 Filed 09/17/19   Page 169 of 204 PageID 4465
Case 3:19-cv-00764-X Document 155 Filed 09/17/19   Page 170 of 204 PageID 4466
Case 3:19-cv-00764-X Document 155 Filed 09/17/19   Page 171 of 204 PageID 4467
Case 3:19-cv-00764-X Document 155 Filed 09/17/19   Page 172 of 204 PageID 4468
Case 3:19-cv-00764-X Document 155 Filed 09/17/19   Page 173 of 204 PageID 4469
Case 3:19-cv-00764-X Document 155 Filed 09/17/19   Page 174 of 204 PageID 4470
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                         Page 175 of 204 PageID 4471




  to be a director or officer; and will inure to the benefit of the heirs, executors and administrators
  of such a person.

          TENTH: To the fullest extent permitted by the laws of the State of Texas as the same
  exist or may hereafter be amended, a director of the Corporation will not be liable to the
  Corporation or its shareholders for monetary damages for breach of fiduciary duty for an act or
  omission in the director's capacity as a director. Any repeal or modification of this Section will
  not increase the personal liability of any director of the Corporation for any act or occurrence
  taking place before such repeal or modification, or adversely affect any right or protection of a
  director of the Corporation existing at the time of such repeal or modification. The provisions of
  this Section shall not be deemed to limit or preclude indemnification of a director by the
  Corporation for any liability of a director that has not been eliminated by the provisions of this
  Section.

          ELEVENTH: The address of the Corporation's initial registered office is 206 E. 9th
  Street, Suite 1300, Austin, TX 78701 and the name of its initial registered agent at that address is
  Capitol Corporate Services, Inc.

         TWELFTH: The number of directors constituting the Board of Directors of the
  Corporation is seven, and shall at no time be greater than seven, and the name and mailing
  address of such person, who is to serve as director until their successors are elected and qualified,
  is:
                         Name                  Address
                         Leslie A. Wulf        1507 Capital Ave, Suite 101
                                               Plano Texas 75074

                         James Rea             1507 Capital Avenue,   Suite 101
                                               Plano, Texas 75074
                         Terry Lyons           1507 Capital Avenue,   Suite 101
                                               Plano, Texas 75074
                         Kenneth Lockard       1507 Capital Avenue,   Suite 101
                                               Plano, Texas 75074
                         Gregg Sedun           1507 Capital Avenue,   Suite 101
                                               Plano, Texas 75074
                         Jens Haarkotter       1507 Capital Avenue,   Suite 10 1
                                               Plano, Texas 75074
                         Bjorn Thelander       1507 Capital Avenue,   Suite 101
                                               Plano, Texas 75074


  Hereafter, the number of directors will be determined in accordance with the Bylaws of the
  Corporation. In the event of a vacancy on the Board of Directors of the Corporation that Alder
  Capital International Ltd., a company organized under the laws of the British Virgin Islands
  (together with its successors and/or assigns, the "Investor") is entitled to designate pursuant to
  that Voting Agreement, dated as of July 7, 2016, by and among the Corporation, Investor,
  VeroBlue Farms USA, Inc., Iowa's First, Inc., VBF Operations Inc., VBF Transport, Inc., and
  VeroStream Seafood Marketing, Inc. (the" Voting Agreement"), the director or directors serving




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Case 3:19-cv-00764-X Document 155 Filed 09/17/19   Page 176 of 204 PageID 4472
Case 3:19-cv-00764-X Document 155 Filed 09/17/19   Page 177 of 204 PageID 4473


                                Exhibit “A-9”
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                     Page 178 of 204 PageID 4474




                                                                               No: WO l 056678
                                                                               Date: 08/03/2016




    490 DP-289111
    IOWA'S FIRST, INC.




                         ACKNOWLEDGEMENT OF DOCUMENT FILED


    The Secretary of State acknowledges receipt of the following document:

                      Restated Articles

    The document was filed on Aug 3 2016 2:21PM, to be effective as of Aug 3 2016 2:21PM.

    The amount of $50.00 was received in full payment of the filing fee.




                                                           PAUL D. PATE SECRETARY OF STATE
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Case 3:19-cv-00764-X Document 155 Filed 09/17/19                        Page 179 of 204 PageID 4475




                           RESTATED ARTICLES OF INCORPORATION

                                                     OF

                                           IOWA'S FIRST, INC.

               Pursuant to Section 490.1007 of the lowa Business Corporation Act (the ·'JBCA"), Iowa's ~-
      First, Inc., a corporation organized and existing under and by virtue of the laws of the State of er
      Iowa (the "Corporation"), does hereby certify:                                                    ~
         I. The name of the entity is Iowa's First, Inc., and it is a domestic for profit corporation.             ~
                                                                                                                   ffi
         2. The Restated Articles of Incorporation attached hereto as Exhibit A consolidate all ~
            amendments to the Articles of Incorporation of the Corporation into a single document.

         3. Each new amendment has been duly adopted by the shareholders of the Corporation in
            the manner required by the IBCA and the Articles of Incorporation.




             IN WITNESS WHEREOF. Iowa's First, Inc. has caused these Restated Articles of
      Incorporation to be signed by Leslie A. Wulf, a duly authorized officer of the Corporation. on
      -bJ_jl~t . . . ~-'  2016.




                                                          ~Jtq
                                                   Leslie A. Wulf, President




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Case 3:19-cv-00764-X Document 155 Filed 09/17/19                       Page 180 of 204 PageID 4476




                           RESTATED ARTICLES OF INCORPORATION
                                           OF
                                    IOWA'S FIRST, INC.

           FIRST: The entity being formed is a for-profit business corporation. The name of the
    corporation is Iowa's First, Inc. (the "Corporation").

            SECOND: The Corporation will have perpetual existence.

           THIRD: The purpose of the Corporation is to engage in any lawful act or activity for
    which corporations may be organized under the IBCA.

           FOURTH: The aggregate number of shares of capital stock that the Corporation will
    have authority to issue is two thousand four hundred (2,400), all of which will be shares of
    Common Stock, having no par value.

            FIFTH: J\'o shareholder of the Corporation will, solely by reason of holding shares of
    any class of capital stock, have any preemptive or preferential right to purchase or subscribe for
    any shari:s of capital stock of the Corporation, now or hereafter to be authorized, or any notes,
    debentures, bonds or other securities convertible into or carrying warrants, rights or options to
    purchase shares of any class of capital stock, now or hereafter to be authorized. whether or not
    the issuance of any such shares or such notes, debentures, bonds or other securities would
    adversely affect 1he dividend, voting or any other rights of such shareholder. The Board of
    Directors may authorize the issuance of, and the Corporation may issue, shares of any class of
    capital stock of the Corporation, or any notes, debentures, bonds or other securities convertible
    into or carrying warrants, rights or options to purchase any such shares, without offering any
    shares of any class of capital stock to the existing holders of any class of stock of the
    Corporation.

           SIXTH: At all meetings of shareholders, a quorum will be present if the holders of a
    majority of the shares of capital stock entitled to vote at the meeting are represented at the
    meeting in person or by proxy. Meetings of shareholders may be held within or without the State
    of Iowa, as the Bylaws of the Corporation may provide. The books of the Corporation may be
    kept outside the State of Iowa at such place or places as may be designated from time to time by
    the Board of Directors or in the Bylaws of the Corporation.

            SEVENTH: Shareholders of the Corporation· will not have the right of cumulative voting
    for the election of directors or for any other purpose.

          EIGHTH: The Board of Directors is expressly authorized to alter, amend or repeal the
    Bylaws of the Corporation or to adopt new Bylaws.

            NINTH: The Corporation shall, to the fullest extem permitted by the IBCA, as the same
    exists or may hereafter be amended, indemnify the directors and officers from and against any
    and all of the expenses, liabilities or other matters referred to in or covered by such law. Such
    indemnification may be provided pursuant to any Bylaw, agreement, vote of shareholders or
    disinterested directors, or otherwise, both as to action in his director or officer capacity and as to
    action in another capacity while holding such office; will continue as to a person who has ceased




                                           CONFIDENTIAL                                         SNB 16777
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                      Page 181 of 204 PageID 4477




    to be a director or officer; and will inure to the benefit of the heirs, executors and administrators
    of such a person.

            TENTH: To the fullest extent permitted by the laws of the State of Iowa as the same
    exist or may hereafter be amended, a director of the Corporation will not be liable to the
    Corporation or its shareholders for monetary damages for breach of fiduciary duty for an act or
    omission in the director's capacity as a director. Any repeal or modification of this Section will
    not increase the personal liability of any director of the Corporation for any act or occurrence
    taking place before such repeal or modification, or adversely affect any right or protection of a
    director of the Corporation existing at the time of such repeal or modification. The provisions of
    this Section shall not be deemed to lin1it or preclude indemnification of a director by the
    Corporation for any liability of a director that has not been eliminated by the provisions of this
    Section.

           ELEVENTH: The address of the Corporation ·s initial registered office is 503 N. Main,
    PO Box 128, Goldfield, Iowa 50542 and the name of its initial registered agent at that address is
    Robert Malloy.

           TWELFTH: The number of directors constituting the Board of Directors of the
    Corporation is seven, and shall at no time be greater than seven, and the name and mailing
    address of such person. who is to serve as director until their successors are elected and qualified.
    is:
                           Name                  Address
                           Leslie A. Wulf        1507 Capital Ave, Suite 101
                                                 Plano Texas 75074

                           James Rea             1507 Capital Avenue, Suite    101
                                                 Plano, Texas 75074
                           Terry Lyons           1507 Capital Avenue, Suite    101
                                                 Plano. Texas 75074
                           Kenneth Lockard       1507 Capital Avenue, Suite    101
                                                 Plano, Texas 75074
                           Gregg Sedun           1507 Capital A venue, Suite   IO I
                                                 Plano, Texas 75074
                           Jens Haarkotter       1507 Capital Avenue, Suite    IO I
                                                 Plano, Texas 75074
                           Bjorn Thelander       1507 Capital Avenue, Suite    10 I
                                                 Plano, Texas 75074


    Hereafter. the number of directors will be determined in accordance with the Bylaws of the
    Corporati~n. In the event of a vacancy on the Board of Directors of the Corporation that Alder
    Capital International Ltd., a company organized under the laws of the British Virgin Islands
    (together with its successors and/or assigns, the "Investor'') is entitled to designate pursuant to
    that Voting Agreement, dated as of July 7, 2016, by and among the Corporation, Investor,
    VeroBlue Farms USA, Inc., VBF IP Inc., VBF Operations Inc., VBF Transport, Inc., and
    VeroStream Seafood Marketing, Inc. (the "Voting Agreement"), the director or directors serving




                                             CONFIDENTIAL                                      SNB 16778
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                     Page 182 of 204 PageID 4478




    on the Board of Directors that were designated by the Investor pursuant to the Voting Agreement
    shall be entitled to vote with respect to such vacant seat.

            THIRTEENTH: Any action required or permitted by law, these Articles of
    Incorporation, or the Bylaws of the Corporation to be taken at a meeting of the shareholders of
    the Corporation may be taken without a meeting, without prior notice and without a vote, if a
    consent or consents in writing, setting forth the action so taken, shall have been signed and dated
    by the holder or holders of shares having not less than the minimum number of votes that would
    be necessary to take such action at a meeting at which the holders of all shares entitled to vote on
    the action were present and voted.

            Prompt notice of the taking of any action by shareholders without a meeting by less than
    unanimous written consent shall be given to those shareholders who did not consent in writing to
    the action.
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                                                                            SECRETA~Y OF STATE
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                                          CONFIDENTIAL                                        SNB 16779
Case 3:19-cv-00764-X Document 155 Filed 09/17/19   Page 183 of 204 PageID 4479


                                Exhibit A-10”
Case 3:19-cv-00764-X Document 155 Filed 09/17/19               Page 184 of 204 PageID 4480


              MINUTES OF THE MEETING OF THE BOARD OF DIRECTORS
                                     OF
                          VEROBLUE FARMS USA, INC.

                                          Held On
                                    September 20-21, 2016


DIRECTORS PRESENT:             Jens Haarkotter, Ken Lockard, Terry Lyons, James Rea, Gregg
                               Sedun, Bjorn Thelander and Les Wulf.

OTHERS PRESENT:                Rick Dahlson and various members of the management team.

PLACE:                         The Company’s office in Plano, Texas.


        Mr. Lyons acted as Chairman of the meeting (the “Meeting”) of the Board of Directors
(the “Board”) of VeroBlue Farms USA, Inc. (the “Company”). Mr. Dahlson acted as Secretary
of the Meeting. Mr. Lyons stated that the first day of the Meeting would be management
presentations, which are listed below, and that the formal Meeting would be tomorrow. Thereafter,
Mr. Wulf introduced the various management team members who made presentations to the Board,
during which time the Board and management had extensive interaction. The areas presented were
as follows:

        1.     Team Development (Keith Driver).

        2.     Sales and Marketing (Jim Bruffy).

        3.     Operations (Jeanine Siemens). During this presentation, Ms. Siemens and Mr.
Driver described operational processes and risks, with the Board requesting follow-up
reports/information from management regarding the following:

               (a)    An internal audit on the Company’s biosecurity program;

               (b)     An internal and external risk assessment and review of the Company’s
        transportation plan;

               (c)     An internal and external coverage and content review of the Company’s
        insurance policies; and

               (d)    A risk matrix (which should be provided to the Board on a quarterly basis).

        4.     Construction and Manufacturing (James Rea). Mr. Rea will provide the Board from
time to time status/timeline updates on the various construction projects being undertaken by the
Company.

        5.     Key Operations Initiatives (Keith Driver).




17048347v.1                                     1
                                                                                                    #9068.1
Case 3:19-cv-00764-X Document 155 Filed 09/17/19               Page 185 of 204 PageID 4481


      6.    Recommendation for Approval of, and Migration to, the Net Suite Business
Management Software (Bruce Hall).

      7.    Recommendation for Approval of, and Migration to, the aquaManager Data
Management System (Katie Olson).

       8.      Nanobubble Technology, Water Conditioning Technology, Waste Management
Process and the St. Louis Facility Status (Ted Rea).

        After the above presentations, the Meeting was adjourned for the day.

______________________________________________________________________________

      On September 21, 2016, the Board and management reconvened, and the following
management presentations were given:

        1.     Financial Matters (Bruce Hall). During this discussion, Mr. Hall presented to the
Board an analysis of the Company’s cash position and stated that the Company was in compliance
with all covenants of its senior lender.

        2.      Company Update (Mr. Wulf). During this presentation, the Board requested that
the Company create and distribute to the Board from time-to-time maps and pictures depicting the
Company’s locations and facilities. In addition, Mr. Wulf discussed with the Board the status of
a possible new business arrangement with Mainstream Aquaculture PTY LTD (“Mainstream”)
and other opportunities. Lastly, Mr. Wulf presented the status of the purchase of the Beam
Building and an option to purchase an additional 36-acre parcel of land in the Webster City’s
industrial park, and assume a purchase option that the Webster City has for an additional 20-acre
parcel of land adjacent to such 36-acre parcel.

______________________________________________________________________________

        After these presentations, the Meeting was called to order by Mr. Lyons, who acted as
Chairman. Ms. Dahlson acted as Secretary. The Chairman stated that a quorum was present and
that the Meeting was in all respects duly convened. All members of the Board were in attendance
as well as Mr. Hall and Mr. Dahlson.

MAINSTREAM OPPORTUNITIES

        Mr. Wulf led the Board in a further discussion of the different alternatives to the
Company’s business relationship with Mainstream. The Board also discussed potential business
opportunities with Robarra. Mr. Wulf requested thirty days to evaluate a potential business
relationship with Robarra.

BOARD COMMITTEES

        The Chairman stated that the next order of business was the consideration of the formation
of Audit, Compensation and Corporate Governance Committees of the Board. The Chairman
indicated that his preference was to have two committees, Audit and a combined Governance and



17048347v.1                                     2
                                                                                                     #9068.2
Case 3:19-cv-00764-X Document 155 Filed 09/17/19               Page 186 of 204 PageID 4482


Compensation Committee. After discussion and upon a motion duly made and seconded, the
Board unanimously approved the establishment of an Audit Committee and a Governance and
Compensation Committee, and the election of the following directors as members of such
committees:

        Audit Committee
        Jens Haarkotter
        Ken Lockard
        Terry Lyons

        Governance and Compensation Committee
        Gregg Sedun
        Bjorn Thelander
        Jens Haarkotter

       The Board deferred approving the Committee Operating Guidelines and Charters for the
Audit Committee and the Governance and Compensation Committee, drafts of which had
previously been distributed to the Board, until such time as all comments to the drafts of these
documents have been assimilated and processed. Mr. Hall will collect comments on these
documents from the members of the Board.

VISION OF BOARD EVOLUTION

        The Board then discussed the evolution of the Board over time. All members of the Board
agreed that as the Company progresses there will be a need to attract and retain Board members
with industry expertise and connections. The Chairman suggested that the Board undertake annual
evaluations of the Board members, which proposal was agreed to by all members of the Board.

IN-HOUSE COUNSEL

       The Board then discussed the concept of hiring in-house counsel. After discussion, the
Board decided to defer such hire at this time, and asked management and Mr. Dahlson to prepare
a scope of work and retainer proposal with Jackson Walker L.L.P.

CANACCORD SETTLEMENT AGREEMENT AND MUTUAL RELEASE

        The Chairman stated that the next order of business was the consideration for approval of
a Settlement Agreement and Mutual Release with Canaccord Genuity Inc. (the “Settlement
Agreement”). Messrs. Dahlson and Wulf explained the background of the claims and the
settlement terms. After discussion, and upon a motion duly made and seconded, the Board
unanimously approved the Settlement Agreement, and authorized and directed the Company to
execute and deliver the Settlement Agreement.

MIGRATION OF CANADIAN SHAREHOLDERS TO UNITED STATES COMPANY

       The next order of business was the consideration of the migration of the shareholders of
VeroBlue Farms Inc. to a company in the United States. Mr. Hall presented charts and analysis
on possible alternatives, and recommended one alternative. Messrs. Haarkotter and Thelander



17048347v.1                                    3
                                                                                                    #9068.3
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                Page 187 of 204 PageID 4483


requested that the Board defer consideration of this matter until they have reviewed this matter in
depth.

APPOINTMENT OF TRANSFER AGENT

        Mr. Wulf then presented a proposal to the Board to retain Transfer Online as the transfer
agent for the Company’s common stock (“Transfer Agent”). Messrs. Hall and Wulf have worked
with Transfer Agent in the past and for a minimal monthly fee Transfer Agent will handle all
Company common stock transfer matters. After discussion, and upon a motion duly made and
seconded, the Board unanimously approved retaining Transfer Agent as the transfer agent of the
Company’s common stock, and authorized and empowered the officers of the Company, or any of
them, to execute and deliver all documents, instruments and agreements reasonably necessary to
retain Transfer Agent as the Company’s transfer agent for its common stock.

CONVERSION OF THE COMPANY TO A PARTNERSHIP FOR TAX PURPOSES

       Mr. Hall explained to the Board that the majority preferred shareholder of the Company
had previously requested that the Company consider converting from a company taxed as a
corporation to a company taxed as a partnership, and Mr. Hall and tax counsel had undertaken a
tax analysis of such a conversion. After analysis, the estimated tax liability would be over
$14,000,000. Given that result, the Board determined not to pursue a conversion.

PURCHASE OF BEAM BUILDING AND OPTION TO PURCHASE ADJACENT LAND

        The next item for consideration on the Agenda was the purchase of the Beam Building in
Webster City, Iowa and an option to purchase an additional 36-acre parcel of land in Webster
City’s industrial park, and assume a purchase option that Webster City has for an additional 20-
acre parcel of land adjacent to such 36-acre parcel. Mr. Wulf explained that a purchase offer has
been submitted to the City Counsel of Webster City, and that a mandatory bid period was running.
After the bid period expires, management will submit the purchase agreement for the Beam
Building and the Option Agreement for the 36-acre parcel to the Board for approval.

APPOINTMENT OF TAX AND AUDIT FIRM

        The next order of business was the appointment of a tax and audit firm for the Company.
Mr. Hall explained that he had considered and evaluated the retention by the Company of Deloitte,
PricewaterhouseCoopers LLP (“PWC”) and Montgomery Coscia Greilich LLP, and that his
recommendation is that the Company retain PWC. After discussion, and upon a motion duly made
and seconded, the Board unanimously approved the retention of PWC as the Company’s tax
advisor and auditor; subject, however, to the Company receiving an acceptable fee arrangement
with PWC; it being further agreed and understood that Mr. Hall will bring such fee arrangement
to the Board for approval once it has been negotiated with PWC.

ESTABLISHMENT OF FISH PARK I

       Mr. Wulf then discussed the concept of raising outside capital to build Fish Park I, which
would consist of a 96-tank salmon farm in Webster City, Iowa, on the land adjacent to the Urban
Farm, and two live-haul barns, one on the east coast (Upstate NY), and one on the west coast



17048347v.1                                     4
                                                                                                      #9068.4
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                  Page 188 of 204 PageID 4484


(Seattle-Tacoma). After discussion, the Board asked Mr. Wulf to draft a proposal using input from
Mr. Lockard and Mr. Dahlson.

NET SUITE BUSINESS MANAGEMENT SOFTWARE

         The next order of business was the consideration for approval of, and migration to, the Net
Suite Business Management Software as discussed yesterday by Mr. Hall. Mr. Hall stated that he
was finalizing requirements and negotiating pricing and would request approval from the Board at
a later date.

AQUAMANAGER DATA MANAGEMENT SYSTEM

        The next order of business was the consideration for approval of, and migration to, the
aquaManager Data Management System as discussed yesterday by Ms. Olson. Mr. Hall stated
that he was finalizing requirements and negotiating pricing and would request approval from the
Board at a later date.

DISCUSSION OF MONTHLY BOARD REPORTING PACKAGE

        The Board then discussed what information they would like from management on a
monthly basis. After discussion, the Board asked management provide the following information
to the Board on a monthly basis, which information will be placed into the data room:

        •     Milestones and progress to the milestones
        •     Compliance with senior debt covenants
        •     Red-flag items (i.e., material issues and delays)
        •     Market intelligence and analysis

        In addition, the Board agreed to provide further input to management on the monthly Board
reporting package.

BOARD MEETINGS

        The Board discussed the number of regularly scheduled Board meetings they should have
each year. After discussion, and upon a motion duly made and seconded, the Board unanimously
agreed to have four regular Board meetings each year, which Board meetings would be held on a
quarterly basis.

        In addition, the Board discussed having the next regularly scheduled Board meeting in
October (telephonic), with an in-person Board meeting the week of January 23, 2017, with final
dates to be determined in the future.

BOARD MANUAL

       The next order of business was the consideration of adoption of a Board Manual, a draft of
which was previously distributed to the Board. The Board discussed the concept of having a Board
Manual, and a number of the members of the Board said that they had comments to the draft. The




17048347v.1                                         5
                                                                                                       #9068.5
Case 3:19-cv-00764-X Document 155 Filed 09/17/19               Page 189 of 204 PageID 4485


Board asked Mr. Hall to collect comments and work with Mr. Dahlson on circulating a revised
Board Manual.

CODE OF BUSINESS CONDUCT AND ETHICS

        The next matter for consideration was the adoption of a Code of Business Conduct and
Ethics, a draft of which was previously distributed to the Board. The Chairman stated that this
was an urgent item to get finalized and approved and that every employee, officer and director of
the Company should be required to sign the Code of Business Conduct and Ethics. The Board
asked Mr. Hall to collect comments and work with Mr. Dahlson on circulating a revised draft of
the Code of Business Conduct and Ethics.

ANTI-BRIBERY AND CORRUPTION OF PUBLIC OFFICER POLICY

       The next matter for consideration was the adoption of an Anti-Bribery and Corruption of
Public Officer Policy, a draft of which was previously distributed to the Board. After discussion,
and upon a motion duly made and seconded, the Board unanimously approved the Anti-Bribery
and Corruption of Public Officer Policy, and requested that the officers of the Company have each
employee, officer and director of the Company execute a copy of the Anti-Bribery and Corruption
of Public Officer Policy.

BOARD COMPENSATION PLAN

        The Chairman next outlined potential compensation for non-employee directors, which
compensation plan would include cash compensation and stock options. After discussion and upon
a motion duly made and seconded, the Board unanimously approved the granting of options to
purchase up to 200,000 shares of Common Stock of the Company, at an exercise price of $1.00
per share, to each of Jens Haarkotter, Bjorn Thelander and Ken Lockard, which options will be
vested 100% at issuance, and will otherwise be in substantially the form of the Company’s standard
Nonqualified Stock Option Agreement. The Board then provided comments to the outlined
potential cash-compensation plan and asked for additional time to consider the cash-compensation
plan.

DISSEMINATION OF COMPANY INFORMATION

         The Chairman than stated that all Company inquiries should be delivered to, and handled
by, Mr. Wulf as the Company’s Chief Executive Officer. The Board unanimously approved this
policy and asked management to make all employees and officers of the Company aware of this
policy.




17048347v.1                                     6
                                                                                                     #9068.6
Case 3:19-cv-00764-X Document 155 Filed 09/17/19          Page 190 of 204 PageID 4486


ADJOURNMENT

       There being no further business to come before the Board, upon a motion duly made,
seconded and unanimously passed, the meeting was adjourned.



                                               _____________________________________
                                                Richard F. Dahlson, Secretary of the Meeting


 Approved:


 ________________________________
 Terry Lyons, Chairman




17048347v.1                                7
                                                                                               #9068.7
Case 3:19-cv-00764-X Document 155 Filed 09/17/19   Page 191 of 204 PageID 4487


                                Exhibit “A-11”
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                                                              Page 192 of 204 PageID 4488




 FORM BCA 13.15 (rev. Dec. 2003)
 APPLICATION FOR AUTHORITY TO
 TRANSACT BUSINESS IN ILLINOIS
 Business Corporation Act

 Secretary of Stale
 Department of Business Services
 501 S. Second St., Rm. 350
 Springfield, IL 62756
 217-782-1632
 www.cyberdrlvelllinois.com

 Remit payment in the form of a cashier's
 check, certified check, money order
 or an Illinois attorney's or CPA's check
 payable to the Secretary of Slate.
 SEE NOTE 1 CONCERNING PAYMENT!                        File II _ _ _ _ _ _ _ _ _ __

 Filing Fee: $_ _ _ _ Franchise Tax: $_ _ _ _ Penalty/Interest: $,___ _ _ Total: $._ _ _ _ Approved: _ __

 ------Submit In dupllcata -----Type or Print clearly In black lnk---------Do not write above this llna-----

 1. (a)     CORPORATE NAME:         _l_ow_a_'s_F_i_rs_t'-,l_n_c_.- - - - - - - - - - - - - - - - - - - - -
      (Complete Item 1 (b) only If the corporate name Is not available In this state.)
      (b)   ASSUMED CORPORATE NAME: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
            (By electing this assumed name, the corporation hereby agrees NOT to use Its corporate name In the
            transaction of business In llllnols. Form BCA 4.15 Is attached.)

 2.   Slata or Country                                        Date ol                                                   Period ol
      of Incorporation _l_o_w_a____                           Incorporation   O1/13/2004                                Duration    Perpetual

 3. (a)      Address of the principal office, wherever located:                    (b)             Address of principal office In Illinois:
                                                                                                    nohe, so stale)
                                                                                                   (If

      3369 Premier Drive, Suite 300                                                None
      Plano, TX 75023


 4. Name and address of the registered agent and registered office in Illinois.

      Registered Agent:        Capitol Corporate Services. Inc.
                                      Flnit N1111111                              Middle Initial                               La.st Name
      Registered Office:       1315 W Lawrence Ave                                                                                              (AP.0~,a;;o;
                                          Number                                    Streat                                          Suite II    hlll<llllOl>IPlllhlo,I
                               Springfield                                      ...6=2-7...;::;0_,_4_ _ __                  Sangamon
                                           City                                    ZIP Code                                         County

 5. States and countries In which It Is admitted or quallfled to transact business: (Include state of Incorporation)
      Iowa
 6. Name and addresses of officers and directors: (If more than 3 directors and/or additional officers, attach list.)

                           Name                                 No. & Street                                City                    State        ZIP

      President     Leslie A. Wulf                            3369 Premier Drive, Suite 300, Plano, TX 75023
      Secretary     Bruce A. Hall                             3369 Premier Drive, Suite 300, Plano, TX 75023
      Director      James Rea                                 3369 Premier Drive, Suite 300, Plano, TX 75023
      Director      Terry Lyons                               3369 Premier Drive, Suite 300, Plano, TX 75023
      Director      Kenneth Lockard                           3369 Premier Drive, Suite 300, Plano, TX 75023


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                                                                 CONFIDENTIAL                                                                  SNB 16687
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                                                             Page 193 of 204 PageID 4489




7. The purpose or purposes for which It was organized which It proposes to pursue In the transaction of business In this
   state: (If not sufficient space to cover this point, add one or more sheets of this size)
   Aquaculture



8. Authorized and Issued shares:
                                                                                   Number of Shares               Number of Shares
   Class           Serles                           Par Value                         Authorized                      Issued
Common             N/A                             0.00                          2400                             2400
                                                                                 ---------


                                                                 (II more, attach llat)


9. Paid-In Capital: $ _4_9_4....3_4_5_________
   ("Paid-In Capital" replaces the tenns Stated Capital & Paid-in Surplus and Is equal to the total of these accounts.)


1o. (a)   Give an estimate of the total value of all the property• of the
          corporation for the following year:                                                    $   40 000 000
    (b)   Give an estimate of the total value of all the property• of the
          corporation for the following year that wlll be located In llllnols:                   $   2 000 000
    (c)   State the estimated total business of the corporation to be
          transacted by It everywhere for the following year:                                    $   24 000 000
    (d)   State the estimated annual business of the corporation to be
          transacted by It at or from places of business In the State of
          Illinois:                                                                              $   2 880 000

11. Interrogatories: (Important• this section must be completed.)

    (a)   Is the corporation transacting business in this state at this time?      Yes    D
                                                                                         IZ] No
    (b)   If the answer to Item 11 (a) Is yes, state the exact date on which It commenced to transact business In Illinois: N/A
                                                                                                                                      ------
                                                                                                                                      Mon!h/Oay/Year


12. This application is accompanied by a certified copy of the articles of Incorporation, as amended, duly authenticated, within the last
    ninety (90) days, by the proper officer of the state or country wherein the corporation is Incorporated.


13. The undersigned corporation has caused this application to be signed by a duly authorized officer, who affirms, under penalties of
    perjury, that the facts stated herein are true. (All signatures must be In BLACK INK.)
                                                                                , . . . I_   _   _   _   _l_o_w_a_'s-F-ir-st-,-ln_c__- - - - - .


                                                                                                          Exact Name of Corporation



                               (Print Name and iltle)

           PROPERTY as used in this application shall apply to all property of the corporation, real, personal, tangible, intangible, or
           mixed without qualifications.


Note 1: Payment in connection with this application must be in the form of a certified check, cashier's check, Illinois attorney or CPA's
   check or money order made payable to the "Secretary of State". The minimum fee due upon quallflcatlon Is $175. Any additional
   fees will be bllled and must be paid before this application can be filed.




                                                                CONFIDENTIAL                                                                SNB 16688
Case 3:19-cv-00764-X Document 155 Filed 09/17/19              Page 194 of 204 PageID 4490




     Iowa's First, Inc.
     Application for Certificate of Authority (cont)

     #6.

     Gregg Sedun                    Director
     Jens Haarkotter                Director
     Bjorn Thelander                Director



     Address for all directors listed above is:

     3369 Premier Drive
     Suite 300
     Plano, TX 75023




                                               CONFIDENTIAL                   SNB 16689
Case 3:19-cv-00764-X Document 155 Filed 09/17/19   Page 195 of 204 PageID 4491


                                Exhibit “A-12”
Case 3:19-cv-00764-X Document 155 Filed 09/17/19                            Page 196 of 204 PageID 4492



                      MINUTES OF THE MEETING OF THE BOARD OF DIRECTORS
                                                      OF
                                       VEROBlUE FARMS USA INC.

                                Held by teleconference on October 24,2017



 Directors Present: Ken Lockard, Terry Lyons, Gregg Sedun, Bjorn Thelander, Eva Ebstein and Les
                    Wulf

 Others Present: None



 Mr. Lyons, the Chairman of the Board (The "Chairman") of VeroBlue Farms USA Inc. (The "Company" or
 "VBF") acted as Chairman of the meeting and also acted as recording Secretary of the meeting. The
 Chairman called the meeting to order noting that all Directors except Jens Haarkotter were present by
 telephone and a quorum had been constituted. Notice having been waived by the Directors the meeting
 was in all respects duly called for the transaction of business.

 REVIEW OF TERMINATION OF BRUCE HALL AND TED REA

 Prior to this meeting Bruce Hall and Ted Rea were terminated by the CEO. The terms of their severance
 was one year of salary each with a full release. This release was being circulated to Bjorn Thelander and
 Les Wulf today for finalization. Terms such as no defamation, confidentiality and release of liability were
 to be included however no consultancy agreement was being offered. Les Wulf explained the process
 for offering stock for sale from terminated executives. There is a gO-day window to first offer shares to
 Aqua Alder and then Fish Dish-to be reported on at future Board meetings.

 Bjorn Thelander commented on the skills required for a CFO in a startup such as VBF including tight
 expense controls, the ability to challenge assumptions and financial acumen-Bruce was lacking in these
 skills. Ted had lost the confidence of the Board especially in working with advisors and in coming to grips
 with the stocking plans-we need independent verification of these assumptions and mass balance
 calculations.

 OPERATIONAL CHANGES

 Norman McCowan is in Charge of production and it was the consensus of the Board to have Norman
 also assume the title of Chief Operating Officer. A discussion then ensued on operating problems. The
 CEO commented that with the current analysis (not yet complete or tested) the current view is that the
 production issues centred around air balancing not mass balancing-this has yet to be determined with
 many Board members skeptical.

 JENS HAARKOTTER DISCUSSION

 The discussion then turned to the alleged improprieties of one of our Directors Jens Haarkotter who has
 been accused of sexual harassment and bullying by certain female staff. The question was raised as to
 why it took so long for these issues to get to the Board level. The CEO explained that he felt that the first




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Case 3:19-cv-00764-X Document 155 Filed 09/17/19                          Page 197 of 204 PageID 4493



 step was to have HR do an internal investigation which took somewhat longer than expected. There was
 unanimous support for commissioning an independent investigation and undertaking this with a
 professional investigator the selection should be undertaken in the next 2 days. A report of the
 findings/progress is to be given at the Board meeting of Dec. 6, 2017.

 DIRECTOR REALIGNMENT

 A further concern was raised is that while many requests have been made of management to acquire
 D&O insurance no insurance has been put in place as of this meeting date. This must be prioritized.

 Bjorn Thelander confirmed that with the recent exercise of warrants into VBF common shares, the
 family office now has the right to appoint 4 directors of a seven-person Board. After extensive discussion
 it was agreed that Jens Haarkotter step down as a Director, Anders Wester be appointed to replace him
 and Bjorn Thelender be granted 2 votes until a suitable fourth director can be appointed representing
 the Family Office. After further discussion it was agreed that in order to reduce the Board to seven votes
 Les Wulf would tender his resignation from The Company's Board

 On Motion Duly made and seconded and unanimously approved it was agreed to take such actions and
 prepare such omnibus resolutions to implement this proposal

 There being no further business on Motion duly made and seconded the meeting terminated




 Terry Lyons
 Chairman and Recording Secretary




                                                                                                        VBF 00024110
Case 3:19-cv-00764-X Document 155 Filed 09/17/19   Page 198 of 204 PageID 4494


                                Exhibit “A-13”
       Case 3:19-cv-00764-X Document 155 Filed 09/17/19   Page 199 of 204 PageID 4495




> From: Ted Rea <trea@j2capco.com>
> Sent: Tuesday, November 14, 2017 1:11 PM
> To: 'Bjorn Thelander' <Bjorn.Thelander@lufin.ch>

                                                     1
       Case 3:19-cv-00764-X Document 155 Filed 09/17/19               Page 200 of 204 PageID 4496
> Cc: 'Bruce Hall' <brucearthurhall@gmail.com>
> Subject: RE: VBF - Severance Demand Letters [IWOV-JWDOCS.FID2801357]
>
>
>
> Bjorn,
>
> We have forwarded this to our counsel for review and hope to hear back
> from her shortly.
>
>
>
> Thanks,
>
>
>
> Ted
>
>
>
> From: Bjorn Thelander [mailto:Bjorn.Thelander@lufin.ch]
> Sent: Tuesday, November 14, 2017 11:19 AM
> To: trea@j2capco.com <mailto:trea@j2capco.com>
> Subject: Fwd: VBF - Severance Demand Letters [IWOV-JWDOCS.FID2801357]
>
>
>
> Hi Ted (and Bruce),
>
> Good speaking with you just now. Please see the attached release
> letter. If you can sign and return this attachment electronically, we
> will process the payment immediately. Afterwards please send the
> original to Rick at Jackson Walker.
> Thanks and best of luck going forward,
>
> Brgds Bjorn
>
> Ps. My mobile number is +41 79 264 4744
>
> Begin forwarded message:
>
> From: "Taylor, Justin" <Justin.Taylor@dgslaw.com
> <mailto:Justin.Taylor@dgslaw.com> >
> Date: 13 November 2017 at 20:27:43 GMT-6
> To: "Eva Ebstein <ehe@dnw.ch <mailto:ehe@dnw.ch> >" <ehe@dnw.ch
> <mailto:ehe@dnw.ch> >, Bjorn Thelander <Bjorn.Thelander@lufin.ch
> <mailto:Bjorn.Thelander@lufin.ch> >, Anders Wester <aw@dnw.ch
> <mailto:aw@dnw.ch> >
> Cc: "Boonstra, Brian" <Brian.Boonstra@dgslaw.com
> <mailto:Brian.Boonstra@dgslaw.com> >, "Painter, Brett"
> <Brett.Painter@dgslaw.com <mailto:Brett.Painter@dgslaw.com> >, "Lynch,
> Jason" <Jason.Lynch@dgslaw.com <mailto:Jason.Lynch@dgslaw.com> >

                                                       2
       Case 3:19-cv-00764-X Document 155 Filed 09/17/19                Page 201 of 204 PageID 4497
> Subject: RE: VBF - Severance Demand Letters [IWOV-JWDOCS.FID2801357]
>
> Eva,
>
>
>
> The attached is what we would suggest to JW be sent to Bruce and Ted
> to resolve the remaining uncertainty. Please let us know your thoughts
> on this when you can, and we’re happy to discuss at your convenience.
>
>
>
> Best regards,
>
> Justin
>
>
>
> Justin Taylor ▪ Davis Graham & Stubbs LLP
>
> P: 303.892.7419 ▪ C: 312.772.2383 ▪
> <http://www.dgslaw.com/images/vCards/jtay.vcf> vcard
>
>
>
>
>
> <winmail.dat>




                                                        3
Case 3:19-cv-00764-X Document 155 Filed 09/17/19   Page 202 of 204 PageID 4498


                                Exhibit “A-14”
              Case 3:19-cv-00764-X Document 155 Filed 09/17/19                                          Page 203 of 204 PageID 4499




From: Leslie Wulf
Sent: Wednesday, November 22, 2017 7:17 AM
To: 'Bjorn Thelander' <Bjorn.Thelander@lufin.ch>
Cc: Leslie Wulf <law@wulfs.com>
Subject: RE: Paperwork



Bjorn,



Morning It is almost a week from your last correspondence on my paperwork. If you can have DGS /JW send me the paperwork that we can get it completed and the 85k
paid first of next week.



Thanks



Les




From: Bjorn Thelander [mailto:Bjorn.Thelander@lufin.ch]
Sent: Wednesday, November 15, 2017 8:55 AM
To: Leslie Wulf <law@wulfs.com>
Subject: Re: Paperwork




Hi Les,

I'm sincerely sorry for this. I have been pushing from my side to settle this as soon as possible, and have no desire to delay or draw
anything out. I will again do my best to push the lawyers. The terms are agreed.

Hope you're well and perhaps enjoying some free time.

Best regards, Bjorn


On 13 Nov 2017, at 05:00, Leslie Wulf <law@wulfs.com> wrote:
Bjorn,



It has been a week, did you hear from the lawyers on my paperwork? Seems strange as they had a template to already work from. If you can have them provide me with my
severance paperwork with the terms that we have agreed upon.




Leslie Wulf


                                                                                                                                                            #152.1
C (214) 679 Case
            5263    3:19-cv-00764-X Document 155 Filed 09/17/19                       Page 204 of 204 PageID 4500




From: Bjorn Thelander [mailto:Bjorn.Thelander@lufin.ch]
Sent: Thursday, November 9, 2017 5:35 AM
To: Leslie Wulf <law@wulfs.com>
Subject: Re: Paperwork




Hi Les,

This is my understanding as well. I promise to follow up with the lawyers today and see where we stand.

Brgds Bjorn




On 9 Nov 2017, at 10:49, Leslie Wulf <law@wulfs.com> wrote:

Bjorn,



Morning, can you give me a update on when the lawyers will be sending me my paperwork. With the changes we have agreed upon it
should be easy changes for the lawyers.



1) Payment as per under my employment agreement one year severance under no cause.

2) One year health care coverage

3) Instead of one time full payment just leaving me on payroll to make it easier on cash draws for the company.

4) Advance myself $85K that will be taken off the back end of the one years severance.



Thanks



Leslie Wulf
C (214) 679 5263

Sent from mobile device
Please excuse typos and shortness of message




                                                                                                                          #152.2
